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                                   COHEN MILSTEIN SELLERS & TOLL PLLC
For decades, Cohen Milstein Sellers & Toll PLLC has represented individuals, small businesses, institutional investors, and
employees in many of the major class action cases litigated in the United States for violations of the antitrust, securities,
consumer protection, civil rights/discrimination, ERISA, employment, and human rights laws. Cohen Milstein is also at the
forefront of numerous innovative legal actions that are expanding the quality and availability of legal recourse for
aggrieved individuals and businesses both domestic and international. Over its history, Cohen Milstein has obtained many
landmark judgments and settlements for individuals and businesses in the United States and abroad. The firm’s most
significant successes include:

    •   L Brands, Inc. Derivative Litigation: Cohen Milstein, in partnership with the State of Oregon, the Oregon Public
        Employees Retirement Fund, and other shareholders, helped resolve allegations that officers and directors of L
        Brands, Inc., previous owners of Victoria’s Secret, breached their fiduciary duties by maintaining ties with alleged
        sex offender and pedophile Jeffrey Epstein and fostering a culture of discrimination and misogyny at the company.
        Following a Delaware General Corporate Law Section 220 books and records demand and an extensive,
        proprietary investigation, L Brands and the now-standalone company, Victoria’s Secret, agreed to stop enforcing
        non-disclosure agreements that prohibit the discussion of a sexual harassment claim’s underlying facts; stop using
        forced arbitration agreements; implement sweeping reforms to their codes of conduct, policies and procedures
        related to sexual misconduct and retaliation; and to invest $45 million each, for a total of $90 million, in diversity,
        equity and inclusion initiatives and DEI Advisory Councils.

    •   In re Alphabet Shareholder Derivative Litigation No. 19CV341522 (Sup. Crt. Cal., Santa Clara Cnty.): Cohen Milstein,
        as Co-Lead Counsel, represented Northern California Pipe Trades Pension Plan and Teamsters Local 272 Labor
        Management Pension Fund in this shareholder derivative action seeking to hold Alphabet’s leadership
        accountable for a “culture of concealment,” which involved covering up pervasive gender discrimination and
        sexual harassment and approving secretive, multi-million dollar payouts to high-level executives credibly accused
        of serious sexual misconduct against junior employees. In November 2020, the Court granted final approval of a
        historic settlement, which includes a $310 million funding commitment and sweeping reforms to eliminate
        practices that silence victims and implement new measures to improve workplace equity and board oversight.

    •   In re Flint Water Cases No. 16-cv-10444 (E.D. Mich.): In January 2021, the Court granted preliminary approval of
        a $641.25 million settlement between Flint residents and businesses and multiple governmental defendants,
        including the State of Michigan, Michigan Department of Environmental Quality (DEQ), and individual defendants,
        including former Governor Rick Snyder, in this environmental toxic tort class action, affecting over 90,000 Flint
        residents and businesses. Litigation will continue against other defendants, including two private engineering
        firms, Veolia North America and Lockwood, Andrews & Newnam (LAN), both charged with professional
        negligence, and separate litigation against the U.S. Environmental Protection Agency will also continue. Cohen
        Milstein’s is Interim Co-Lead Class Counsel in this litigation.

    •   Wynn Resorts, Ltd. Derivative Litigation No. A-18-770013-B (Eighth Jud. Dist. Crt., Clark Cnty., Nev.): Cohen
        Milstein represented New York State Common Retirement Fund and the New York City Pension Funds as Lead
        Counsel in a derivative shareholder lawsuit against certain officers and directors of Wynn Resorts, Ltd., arising out
        of their failure to hold Steve Wynn, the former CEO and Chairman of the Board, accountable for his longstanding
        pattern of sexual abuse and harassment of female employees. In March 2020, the Court granted final approval
        of a $90 million settlement in the form of cash payments and landmark corporate governance reforms, placing it
        among the largest, most comprehensive derivative settlements in history.

    • National Association of the Deaf v. Harvard & MIT (D. Mass.): In February 2020 and June 2020, Cohen Milstein and
      co-counsel successfully settled the second of two groundbreaking class actions on behalf and deaf and hearing-
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       impaired individuals. The landmark settlements are historic because they require two of the most lauded
       academic research institutions in the world to include closed captioning on all content, including videos and
       podcasts, available to the public online, establishing a precedent for academia and business worldwide.

   •   Sutter Health Antitrust Litigation No. CSG 14-538451 (Sup. Crt., San Fran. Cnty., Cal.): Cohen Milstein is part of a
       small team of firms representing a certified class of self-funded employers and union trust funds against Sutter
       Health, a large hospital chain in Northern California, for restraining hospital competition through anticompetitive
       contracting agreements. In October 2019, on the eve of trial, the case settled for $575 million and comprehensive
       injunctive relief, subject to approval by the Court.

   •   In Re Equifax, Inc., Customer Data Security Breach Litigation No. 1:17-md-2800-TWT (N.D. Ga.): On December 19,
       2019 the court granted final approval a landmark $1.5 billion settlement concluding this data breach class action
       affecting more than 147 million people in the U.S. The settlement consists of a record-breaking $425 million in
       monetary and injunctive benefits and requires Equifax to spend $1 billion to upgrade its security and technology.
       Cohen Milstein was on the Plaintiffs’ Steering Committee.

   •   New Jersey Carpenters Health Fund v. Royal Bank of Scotland Group PLC et al. No. 1:08-cv-05310-DAB-HBP
       (S.D.N.Y.): On March 8, 2019, the Honorable Deborah A. Batts granted final approval to a $165 million all-cash
       settlement, bringing this lawsuit, the last of 11 MBS class actions Cohen Milstein successfully handled, to
       conclusion. Cohen Milstein was lead counsel in this certified MBS class action.

   •   In re Lidoderm Antitrust Litigation No. 3:14-md-02521 (N.D. Cal.): Plaintiffs allege that Endo and Teikoku,
       manufacturers of the Lidoderm patch, paid Watson Pharmaceuticals to delay its generic launch. The case settled
       on the eve of trial and on September 20, 2018, plaintiffs obtained final approval of a $104.75 million settlement –
       more than 40% of plaintiffs’ best-case damages estimate. This case was ranked by Law360 as “The Biggest
       Competition Cases Of 2017 So Far” (July 7, 2017).

   •   In re Domestic Drywall Antitrust Litigation No. 2:13-md-02437 (E.D. Pa.): Cohen Milstein served as co-lead counsel
       for a class of direct purchasers of drywall against drywall manufacturers for price-fixing. The court approved
       settlements that total more than $190 million. The court commented that it had sided with plaintiffs because of
       counsel’s “outstanding work,” and that plaintiffs’ counsel had a “sophisticated and highly professional approach.”
       It complemented the attorneys as “highly skilled” and noted that their performance on class action issues was
       “imaginative.” It also stated, “Few cases with no government action, or investigation, result in class settlements
       as large as this one.”

   •   In re Anthem Data Breach Litigation No. 15-MD-02617-LHK (N.D. Cal.): On August 16, 2018, the Honorable Lucy H.
       Koh in the U.S. District Court for the Northern District of California granted final approval to a $115 million
       settlement – the largest data breach settlement in U.S. history – ending claims that Anthem Inc., one of the
       nation’s largest for-profit managed health care companies, put 78.8 million customers’ personal information,
       including social security numbers and health date, at risk in a 2015 data breach. Cohen Milstein was co-lead
       counsel.

   •   Relvas v. The Islamic Republic of Iran, et al. No. 1:14-cv-01752-RCL (D.D.C.): On February 28, 2018 U.S. District
       Court Judge Royce C. Lamberth, for the District of Columbia, ordered the Republic of Iran to pay $920 million to
       80 families of soldiers and other military service members who were killed or injured in the 1983 bombing of the
       U.S. Marine barracks in Beirut, Lebanon. The Beirut Marine Barracks bombing, which killed 241 American
       servicemembers and injured numerous others, was the deadliest state-sponsored terrorist attack against United
       States citizens before September 11, 2001.



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   •   Moody’s Litigation: Represented the co-lead state Mississippi and represented New Jersey in the $864 million
       consumer fraud settlement achieved in January 2017 by 22 states and the U.S. Department of Justice with
       Moody’s Corporation, Moody’s Investors Service, Inc., and Moody’s Analytics, Inc. Together with the S&P
       settlement, these cases against the nation’s two largest credit rating agencies produced key industry reforms that
       provide greater transparency for consumers and that divested the credit rating agencies of more than $2.2 billion
       for their conduct contributing to the national housing crisis and the Great Recession.

   •   S&P Litigation: Represented co-lead state Mississippi in the $1.375 billion-dollar consumer fraud settlement
       achieved in 2015 by 20 states and the U.S. Department of Justice with Standard & Poor’s. Together with the
       Moody’s settlement, these cases against the nation’s two largest credit rating agencies produced key industry
       reforms that provide greater transparency for consumers and that divested the credit rating agencies of more
       than $2.2 billion for their conduct contributing to the national housing crisis and the Great Recession.

   •   In re BP Securities Litigation No. 4:10-MD-02185 (S.D. Tex.): Cohen Milstein represented the New York State
       Common Retirement Fund as co-lead plaintiff in a securities class action filed in 2010, alleging that BP injured
       investors by intentionally downplaying the severity of the Deepwater Horizon oil spill and preventing investors
       from learning the magnitude of the disaster. After successfully arguing for class certification to the district court,
       Cohen Milstein presented plaintiffs’ defense of that court’s decision to the U.S. Court of Appeals for the Fifth
       Circuit, which affirmed the class. The case settled for $175 million a few weeks before trial was set to begin.

   •   Providence Health Services Church Plan Litigation No. 2:14-cv-01720-JCC (W.D. Wash.): Cohen Milstein served as
       co-lead counsel to a class of defined benefit participants of Providence’s health & Service Case Balance Retirement
       Plan who alleged that fiduciaries underfunded the pension plan because they improperly operated it under the
       ERISA “church plan” exemption. In March 2017, the court granted final approval of a $315.9 million settlement,
       one of the largest settlements of its kind, and requires Providence to continue making minimum plan contributions
       that aim to fully fund the plan by 2029.

   •   Bon Secours Health System Church Litigation No. 1:16-cv-01079-RDB (D. Md.): Cohen Milstein served as lead
       counsel to a class of defined benefit participants of seven Bon Secours Health System Inc. pension plans which
       improperly operated under the “church plan” exemption of ERISA. In May 2017, the court granted final approval
       of a settlement of over $102 million, one of the largest settlements of its kind.

   •   In re Animation Workers Litigation No. 5:14-cv-04062 (N.D. Cal.): Cohen Milstein served as co-lead counsel
       representing a class of animation and visual effects workers who alleged that Pixar, Lucasfilm, DreamWorks,
       Disney and other studios conspired to suppress their pay primarily through no poach agreements. The court
       granted final approval of $168.95 million in settlements. To our knowledge, this is the most successful no-poach
       class action, achieving an average recovery per class member of nearly $17,000.

   •   Mincey v. Honda Motor Company, et al. No. 22787197 (Circ. Crt. Duval Cty, Fla.): On July 15, 2016, Cohen Milstein
       resolved a closely watched lawsuit against the Japanese company and airbag maker, Takata, involving the injury
       and eventual death of a woman whose car was involved in a minor accident in 2014.The confidential resolution
       was announced moments before a critical hearing in which a judge in Jacksonville, Fla., could have considered
       allowing punitive damages and for the company’s chief executive, Shigehisa Takada, to submit a civil deposition.

   •   HEMT MBS Litigation No. 1:08-cv-05653 (S.D.N.Y.): On May 10, 2016, U.S. District Judge Paul A. Crotty finally
       approved a $110 million settlement in the mortgage-backed securities class action brought by investors against
       Credit Suisse AG and its affiliates. This settlement ends claims brought by the New Jersey Carpenters Health Fund
       and other investors who claimed that the offering documents for the mortgage-backed securities at issue violated
       the Securities Act as they contained false and misleading misstatements concerning compliance with underwriting
       standards.
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   •   In re Urethane Antitrust Litigation (Polyether Polyol Cases) MDL No: 1616 (D. Kan.): Cohen Milstein served as co-
       lead counsel on behalf of a class of direct purchasers of chemicals used to make many everyday products, from
       mattress foam to carpet cushion, who were overcharged as a result of a nationwide price-fixing conspiracy. On
       February 25, 2016, Cohen Milstein reached an agreement with The Dow Chemical Company to settle the case
       against Dow for $835 million. Combined with earlier settlements obtained from Bayer, Huntsman, and BASF, the
       Dow settlement pushed the total settlements in the case to $974 million. The settlement was approved on July
       29, 2016.

   •   United States of America et al., ex rel. Lauren Kieff, v. Wyeth, No. 03-12366 (D. Mass.): Cohen Milstein was co-
       lead counsel in this False Claims Act whistleblower case against pharmaceutical giant Wyeth (subsequently
       acquired by Pfizer), in which the whistleblowers alleged that Wyeth defrauded Medicaid, the joint federal/state
       healthcare program for the poor, when it reported falsely inflated prices for its acid suppression drug Protonix
       from 2001 through 2006 for Medicaid rebate purposes. Weeks before trial, in February 2016, in one of the largest
       qui tam settlements in U.S. history, Wyeth agreed to pay $784.6 million to the U.S. government and the over 35
       intervening states.

   •   RALI MBS Litigation No. 08-8781 (S.D.N.Y.): On July 31, 2015, Judge Katherine Failla gave final approval to a $235
       million settlement with underwriters Citigroup Global Markets Inc., Goldman Sachs & Co., and UBS Securities LLC.
       She also approved a plan for distribution to investors of those funds as well as the previously approved $100
       million settlement with RALI, its affiliates, and the individual Defendants that was reached in in 2013. This global
       settlement marks an end to a long and complicated class action over MBS offerings that RALI and certain of its
       affiliates issued and sold to the New Jersey Carpenters Health Fund and other investors from 2006 through 2007.
       The case took seven years of intense litigation to resolve.

   •   In re: Bear Stearns Mortgage Pass-Through Certificates Litigation No. 08-08093 (S.D.N.Y.): On May 27, 2015, U.S.
       District Judge Laura Taylor Swain finally approved a class action settlement with JPMorgan Chase & Co., which
       agreed to pay $500 million and up to an additional $5 million in litigation-related expenses to resolve claims arising
       from the sale of $27.2 billion of mortgage-backed securities issued by Bear Stearns & Co. during 2006 and 2007 in
       22 separate public offerings.

   •   Harborview MBS Litigation No. 08-5093 (S.D.N.Y.): In February 2014, Cohen Milstein reached a settlement with
       the Royal Bank of Scotland (RBS) in the Harborview MBS Litigation, resolving claims that RBS duped investors into
       buying securities backed by shoddy home loans. The $275 million settlement is the fifth largest class action
       settlement in a federal MBS case. This case is one of eight significant MBS actions that Cohen Milstein has been
       named lead or co-lead counsel by courts and one of three that were nearly thrown out by the court, only to be
       revived in 2012.

   •   In Re Electronic Books Antitrust Litigation No. 11-md-02293 (S.D.N.Y.): In August 2014, a New York federal judge
       approved a $400 million antitrust settlement in the hotly contested ebooks price-fixing suit against Apple Inc.
       Combined with $166 million in previous settlements with five defendant publishing companies, the final
       settlement totaled more than $560 million. The settlement resolves damages claims brought by a class of ebook
       purchasers and attorneys general from 33 U.S. states and territories.

   •   Countrywide MBS Litigation No. 2:10-cv-00302 (C.D. Cal.): In April 2013, plaintiffs in the landmark mortgage-
       backed securities (MBS) class action litigation against Countrywide Financial Corporation and others, led by Lead
       Plaintiff, the Iowa Public Employees’ Retirement System (IPERS), agreed to a $500 million settlement. It is the
       nation’s largest MBS-federal securities class action settlement. The settlement was approved in December 2013
       and brings to a close the consolidated class action lawsuit brought in 2010 by multiple retirement funds against


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       Countrywide and other defendants for securities violations involving the packaging and sale of MBS. The
       settlement is also one of the largest (top 20) class action securities settlements of all time.

   •   In re Beacon Associates Litigation No. 09-cv-0777 (S.D.N.Y): Class action settlement of $219 million for trustees
       and participants in ERISA-covered employee benefit plans whose assets were lost through investments made on
       their behalf by Beacon Associates LLC I & II in the investment schemes of Bernard Madoff.

   •   In re Plasma-Derivative Protein Therapies Antitrust Litigation No. 09 C 7666 (N.D Ill.): After four years of litigation,
       in October of 2013, CSL Limited, CSL Behring LLC, CSL Plasma, Inc. (collectively, “CSL”), and the Plasma Protein
       Therapeutics Association (“PPTA”) agreed to pay $64 million dollars to settle a lawsuit brought by the University
       of Utah Hospital and other health care providers alleging that CSL, the PPTA, and Baxter agreed between 2003-
       2009 to restrict the supply of immunoglobulin and albumin and thereby increase the prices of those therapies.
       Two months later, Baxter International Inc. and Baxter Healthcare Corp. (collectively “Baxter”) agreed to pay an
       additional $64 million to settle these claims – bringing the total recovery to the class to $128 million.

   •   Keepseagle v. Vilsack Civil Action No. 1:99CV03119 (D.D.C.): A class of Native American farmers and ranchers allege
       that they have been systematically denied the same opportunities to obtain farm loans and loan servicing that
       have been routinely afforded white farmers by the USDA. A class was certified in 2001 by Judge Emmet Sullivan,
       District Judge for the U.S. District Court for the District of Columbia, and the D.C. Circuit declined USDA’s request
       to review that decision. On October 19, 2010, the case reached a historic settlement, with the USDA agreeing to
       pay $680 million in damages to thousands of Native American farmers and ranchers and forgive up to $80 million
       worth of outstanding farm loan debt.

   •   In re Parmalat Securities Litigation No. 1:04-md-1653 (S.D.N.Y.): Cohen Milstein, as co-lead counsel, successfully
       negotiated several settlements totaling approximately $90 million, including two settlements with Parmalat’s
       outside auditors. Judge Lewis A. Kaplan remarked that plaintiffs’ counsel “did a wonderful job here for the class
       and were in all respects totally professional and totally prepared. I wish I had counsel this good in front of me in
       every case.” Parmalat’s bankruptcy filing was the biggest corporate bankruptcy in Europe, and in December 2003,
       the U.S. Securities and Exchange Commission filed a suit charging Parmalat with “one of the largest and most
       brazen corporate financial frauds in history.” During the litigation, the company subsequently emerged from
       bankruptcy, as a result we added “New Parmalat” as a defendant because of the egregious fraud committed by
       the now-bankrupt old Parmalat. New Parmalat strenuously objected and Judge Kaplan of the Southern District of
       New York ruled in the class plaintiffs’ favor, a ruling which was affirmed on appeal. This innovative approach of
       adding New Parmalat enabled the class to obtain an important additional source of compensation, as we
       subsequently settled with New Parmalat for shares worth approximately $26 million.

   •   Dukes v. Wal-Mart Stores, Inc. No. C-01-2252 (N.D. Cal.): Cohen Milstein is co-lead counsel in this sex
       discrimination case. In 2004, the U.S. District Court certified a nationwide class action lawsuit for all female
       employees of Wal-Mart who worked in U.S. stores anytime after December 26, 1998. This was the largest civil
       rights class action ever certified against a private employer, including approximately 1.5 million current and former
       female employees. That ruling was appealed, and while affirmed by the Ninth Circuit, was reversed by the
       Supreme Court in June 2011. Cohen Milstein argued the case for the plaintiffs-respondents in the Supreme Court.
       Since then, the Dukes action has been amended to address only the Wal-Mart regions that include stores in
       California, and other regional class cases have been or are soon to be filed. This litigation to resolve the merits of
       the claims – whether Wal-Mart discriminates against its female retail employees in pay and promotions –
       continues.

   •   Rubin v. MF Global, Ltd. No. 08-CV-02233 (S.D.N.Y.): Acting as co-lead counsel in this class action, the Firm
       represented the Central States, Southeast and Southwest Areas Pension Fund which was one of the co- lead
       plaintiffs in the case. In September 2010, as a result of Plaintiffs’ decision to appeal, the U.S. Second Circuit Court
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       of Appeals vacated in part the lower court’s dismissal of the case and remanded the case for further proceedings.
       In overturning the District Court decision, the Second Circuit issued a decision which differentiated between a
       forecast or a forward-looking statement accompanied by cautionary language -- which the Appellate Court said
       would be insulated from liability under the bespeaks caution doctrine -- from a factual statement, or non-forward-
       looking statement, for which liability may exist. Importantly, the Second Circuit accepted Plaintiffs’ position that
       where a statement is mixed, the court can sever the forward-looking aspect of the statement from the non-
       forward-looking aspect. The Court further stated that statements or omissions as to existing operations (and
       present intentions as to future operations) are not protected by the bespeaks caution doctrine. Mediation
       followed this decision and resulted in a settlement comprised of $90 million in cash.

   •   Hughes v. Huron Consulting Group No. 09-CV-04734 (N.D. Ill.): Cohen Milstein represented lead plaintiffs the
       Public School Teachers’ Pension & Retirement Fund of Chicago and the Arkansas Public Employees Retirement
       System (“APERS”) in this case against Huron Consulting Group, founded by former Arthur Anderson personnel
       following its collapse in the wake of the Enron scandal. In August 2010, the District Court for the Northern District
       of Illinois denied defendants' motions to dismiss in their entirety and upheld plaintiffs’ allegations that defendants
       intentionally improperly accounted for acquisition- related payments, which allowed plaintiffs to move forward
       with discovery. The case was settled for $40 million, comprised of $27 million in cash and 474,547 shares in Huron
       common stock, with an aggregate value at the time of final approval in 2011 of approximately $13 million.

   •   In re Lucent Technologies Securities Litigation No. 00-621 (D.N.J.): A settlement in this massive securities fraud
       class action was reached in late March 2003. The class portion of the settlement amounts to over $500 million
       in cash, stock and warrants and ranks as the second largest securities class action settlement ever completed.
       Cohen Milstein represented one of the co-lead plaintiffs in this action, a private mutual fund.

   •   Nate Pease, et al. v. Jasper Wyman & Son, Inc., et al. No. 00-015 (Knox County Superior Court, Me.): In 2004, a
       state court jury from Maine found three blueberry processing companies liable for participating in a four-year
       price-fixing and non-solicitation conspiracy that artificially lowered the prices defendants paid to approximately
       800 growers for wild blueberries. The jury ordered defendants Cherryfield Foods, Inc., Jasper Wyman & Son,
       Inc., and Allen’s Blueberry Freezer, Inc. to pay $18.68 million in damages, the amount which the growers would
       have been paid absent the defendants’ conspiracy. After a mandatory trebling of this damage figure under Maine
       antitrust law, the total amount of the verdict for the plaintiffs is just over $56 million. The firm served as co-lead
       counsel.

   •   In re StarLink Corn Products, Liability Litigation MDL No. 1403 (N.D. Ill.): Cohen Milstein successfully represented
       U.S. corn farmers in a national class action against Aventis CropScience USA Holding and Garst Seed Company, the
       manufacturer and primary distributor of StarLink corn seeds. StarLink is a genetically modified corn variety that
       the United States government permitted for sale as animal feed and for industrial purposes, but never approved
       for human consumption. However, StarLink was found in corn products sold in grocery stores across the country
       and was traced to widespread contamination of the U.S. commodity corn supply. The Firm, as co-lead counsel,
       achieved a final settlement providing more than $110 million for U.S. corn farmers, which was approved by a
       federal district court in April 2003. This settlement was the first successful resolution of tort claims brought by
       farmers against the manufacturers of genetically modified seeds.

   •   Snyder v. Nationwide Mutual Insurance Company No. 97/0633 (Sup. Ct. N.Y. Onondaga Cty.): Cohen Milstein
       served as one of plaintiffs’ principal counsel in this case on behalf of persons who held life insurance policies issued
       by Nationwide through its captive agency force. The action alleged consumer fraud and misrepresentations.
       Plaintiffs obtained a settlement valued at more than $85 million. The judge praised the efforts of Cohen Milstein
       and its co-counsel for having done “a very, very good job for all the people.” He complimented “not only the
       manner” in which the result was arrived at, but also the “time … in which it was done.”


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   •   Oncology & Radiation Associates, P.A. v. Bristol Myers Squibb Co., et al. No. 1:01CV02313 (D.D.C.): Cohen Milstein
       has been co-lead counsel in this case since its inception in 2001. Plaintiffs alleged that Bristol-Myers Squibb
       unlawfully monopolized the United States market for paclitaxel, a cancer drug discovered and developed by the
       United States government, which Bristol sells under the brand name Taxol. Bristol’s scheme included a conspiracy
       with American BioScience, Inc., a generic manufacturer, to block generic competition. Cohen Milstein’s
       investigation and prosecution of this litigation on behalf of direct purchasers of Taxol led to a settlement of
       $65,815,000 that was finally approved by U.S. District Judge Emmet G. Sullivan on August 14, 2003 and preceded
       numerous Taxol-related litigations brought by the Federal Trade Commission and State Attorneys General offices.

   •   Kruman v. Christie’s International PLC, et al. No. 01-7309 (S.D.N.Y.): A $40 million settlement on behalf of all
       persons who bought or sold items through Christie’s or Sotheby’s auction houses in non-internet actions was
       approved in this action. Cohen Milstein served as one of three leading counsel on behalf of foreign plaintiffs. The
       Court noted that approval of the settlement was particularly appropriate, given the significant obstacles that faced
       plaintiffs and plaintiffs’ counsel in the litigation. The settlement marked the first time that claims on behalf of
       foreign plaintiffs under U.S. antitrust laws have been resolved in a U.S. court, a milestone in U.S. antitrust
       jurisprudence.

   •   Roberts v. Texaco, Inc. 94-Civ. 2015 (S.D.N.Y.): Cohen Milstein represented a class of African-American employees
       in this landmark litigation that resulted in the then-largest race discrimination settlement in history ($176 million
       in cash, salary increases and equitable relief). The Court hailed the work of class counsel for, inter alia, “framing
       an imaginative settlement, that may well have important ameliorative impact not only at Texaco but in the
       corporate context as a whole …”.

   •   Trotter v. Perdue Farms, Inc. No. 99-893 (D. Del.): This suit on behalf of hourly workers at Perdue’s chicken
       processing facilities – which employ approximately 15,000 people – forced Perdue to pay employees for time
       spent “donning and doffing,” that is, obtaining, putting on, sanitizing and removing protective equipment that
       they must use both for their own safety and to comply with USDA regulations for the safety of the food supply.
       The suit alleged that Perdue’s practice of not counting donning and doffing time as hours worked violated the Fair
       Labor Standards Act and state law. In a separate settlement with the Department of Labor, Perdue agreed to
       change its pay practices. In addition, Perdue is required to issue retroactive credit under one of its retirement
       plans for “donning and doffing” work if the credit would improve employees’ or former employees’ eligibility for
       pension benefits. Cohen Milstein was co-lead counsel.




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                                              Awards & Recognition

                                                         2021
   •   In 2021, Cohen Milstein named the 2021 Elite Trial Lawyers “Environmental Protection Practice of the Year” by
       The National Law Journal.
   •   In 2021, Cohen Milstein’s Sharon K. Robertson named to Benchmark Litigation’s 2021 “40 & Under Hot List.”
   •   In 2021, three Cohen Milstein Attorneys Named to Florida Trend’s 2021 “Florida Legal Elite.”
   •   In 2021, Cohen Milstein’s Emmy L. Levens named to Bloomberg Law’s inaugural “They’ve Got Next: The 40
       Under 40.”
   •   In 2021, Cohen Milstein’s Richard A. Koffman Recognized as GCR’s “Who’s Who Legal: Thought Leaders –
       Competition 2022.”
   •   In 2021, seven Cohen Milstein Antitrust attorneys named to GCR’s “Who’s Who Legal: Competition 2021.”
   •   In 2021, Cohen Milstein’s Julie S. Selesnick elected to the “Fellows of the American Bar Foundation.”
   •   In 2021, seven Cohen Milstein attorneys recognized in “Florida Super Lawyers.”
   •   In 2021, twelve Cohen Milstein Attorneys Recognized as 2021 “Washington, DC Super Lawyers”; six recognized
       as 2021 “Washington, DC Rising Stars.”
   •   In 2021, Legal 500 named Cohen Milstein a “Leading Firm” in Antitrust Litigation: Plaintiff; Labor and
       Employment Disputes: Plaintiff; Products Liability, Mass Torts & Class Action: Plaintiff; and Securities Litigation:
       Plaintiff.
   •   In 2021, Legal 500 named four Cohen Milstein attorneys “Next Generation Partners.”
   •   In 2021, Legal 500 named eight Cohen Milstein partners “Leading Lawyers.”
   •   In 2021, Cohen Milstein’s Kit A. Pierson “Ranked” by Chambers USA for Antitrust: Plaintiff.
   •   In 2021, Cohen Milstein’s Sharon K. Robertson “Top Ranked” by Chambers USA for Antitrust: Plaintiff.
   •   In 2021, eight Cohen Milstein lawyers named among the “Lawdragon 500 Leading Plaintiff Consumer Lawyers.”
   •   In 2021, Cohen Milstein’s Kalpana Kotagal receives Reel Works “Change Maker Award.”
   •   In 2021, Cohen Milstein was recognized as a “Leading Firm” by Chambers USA in Three Categories – Antitrust:
       Plaintiff; Product Liability: Plaintiff; and Securities Litigation: Plaintiff.
   •   In 2021, Cohen Milstein’s Julie S. Selesnick named a National Law Journal “Plaintiffs’ Trailblazer.”
   •   In 2021, Cohen Milstein’s Molly J. Bowen and Jessica Weiner named The National Law Journal’s “Rising Stars of
       the Plaintiffs Bar.”
   •   In 2021, Cohen Milstein’s Betsy A. Miller named The National Law Journal’s “Keith Givens Visionary Award”
       winner.
   •   In 2021, Cohen Milstein named an “Elite Trial Lawyer” finalist in eight practice areas by The National Law
       Journal.
   •   In 2021, Cohen Milstein’s Laura H. Posner and Emmy L. Levens named “Elite Women of the Plaintiffs Bar”
       winners by The National Law Journal.
   •   In 2021, Daily Business Review recognized Theodore J. Leopold Recognized as a “2021 Distinguished Leader.”
   •   In 2021, Law360 recognized Julie Goldsmith Reiser as a “Titan of the Plaintiffs Bar.”
   •   In 2021, The National Law Journal and The Trial Lawyer named Betsy A. Miller and Steven J. Toll among
       “America’s 50 Most Influential Trial Lawyers.”
   •   In 2021, Lawdragon named Agnieszka Fryszman Named to the “Lawdragon Global Litigation 500.”
   •   In 2021, Lawdragon recognized 12 Cohen Milstein lawyers among the “500 Leading Lawyers in America.”
   •   In 2021, Lawdragon inducted Steven J. Toll into the “Lawdragon 500 Hall of Fame.”


                                                         2020
   •   In 2020, Crain’s New York Business recognized Laura H. Posner among New York’s “Notable Women in Law.”

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   •   In 2020, Law360 recognized Cohen Milstein as a “Class Action Group of the Year.”
   •   In 2020, Law360 recognized Cohen Milstein as a “Environmental Group of the Year.”
   •   In 2020, Law360 recognized Cohen Milstein as a “Life Sciences Group of the Year.”
   •   In 2020, Law360 recognized Cohen Milstein as a “Securities Group of the Year.”
   •   In 2020, Cumberland School of Law named Theodore J. Leopold its “2020 Distinguished Alumnus of the Year.”
   •   In 2020, U.S. News & World Report and Best Lawyers named Cohen Milstein among their 2021 “Best Law Firms”
       nationally in ERISA Litigation, Employee Benefits Law, and Labor & Employment Litigation; for Washington, DC in
       Civil Rights Law, Employee Benefits (ERISA) Law, Employment Law – Individuals, Labor Law – Union, Litigation –
       ERISA, and Litigation – Labor & Employment; and for West Palm Beach, FL in Mass Tort Litigation / Class Actions
       – Plaintiffs Medical Malpractice Law – Plaintiffs, Personal Injury Litigation – Plaintiffs, and Product Liability
       Litigation – Plaintiffs for West Palm Beach, FL.
   •   In 2020, Super Lawyers recognized five Cohen Milstein attorneys as “2020 New York – Metro Super Lawyers.”
   •   In 2020, Benchmark Litigation recognized Cohen Milstein as a 2021 “Top Plaintiffs Firm.”
   •   In 2020, Law360’s Glass Ceiling Report named Cohen Milstein among “The Best Law Firms for Female
       Attorneys.”
   •   In 2020, Lawdragon named seven Cohen Milstein attorneys to its “500 Leading Plaintiff Employment Lawyers”
       list.
   •   In 2020, the Human Trafficking Legal Center named Agnieszka M. Fryszman “Human Trafficking Advocate of the
       Year.”
   •   In 2020, Crain’s Chicago Business named Carol V. Gilden one of its “Notable Women in Law.”
   •   In 2020, Palm Beach Illustrated named six Cohen Milstein attorneys to its “Top Lawyers” list.
   •   In 2020, The National Law Journal named Shaylyn Cochran a “Washington D.C. Trailblazer.”
   •   In 2020, Lawdragon named 15 Cohen Milstein attorneys to its “500 Leading Plaintiff Financial Lawyers” list.
   •   In 2020, The Best Lawyers in America named 15 Cohen Milstein attorneys to its 2021 “Best Lawyers in America”
       list.
   •   In 2020, The Best Lawyers in America named Stephan A. LeClainche “Personal Injury Lawyer of the Year – West
       Palm Beach, FL.”
   •   In 2020, American Lawyer Media and The National Trial Lawyers named Cohen Milstein “Antitrust Law Firm of
       the Year.”
   •   In 2020, Florida Trend named Poorad Razavi a “Legal Elite” in the Civil Trial section.
   •   In 2020, Law360 named Jamie Bowers a “Rising Star – Benefits.”
   •   In 2020, Law360 named Emmy L. Levens a “Rising Star – Class Actions.”
   •   In 2020, Law360 named Shaylyn Cochran a “Rising Star – Employment.”
   •   In 2020, The Legal 500 named Cohen Milstein a “Top-Tier” firm in Labor and Employment: Labor and
       Employment Disputes (including Collective Actions): Plaintiff.
   •   In 2020, The Legal 500 named Cohen Milstein a “Leading Practice” in Antitrust, Products Liability, and Securities
       Litigation.
   •   In 2020, Florida Super Lawyers recognized Nicholas C. Johnson, Leslie M. Kroeger, Stephan A. LeClainche,
       Theodore J. Leopold as “Super Lawyers” in the area of Personal Injury Law (Plaintiff); Adam J. Langino
       recognized as a “Rising Star” in Personal Injury Products: Plaintiff.
   •   In 2020, Law360 named Cohen Milstein’s Daniel A. Small a “Law360 Titan of the Plaintiffs Bar” for his decades
       of successful work in antitrust litigation.
   •   In 2020, The National Law Journal named Cohen Milstein’s John Sheehan a “2020 Plaintiffs’ Trailblazer” in
       Environmental Law.
   •   In 2020, Daily Business Review named Cohen Milstein’s Leslie M. Kroeger a “2020 DBR Distinguished Leader.”
   •   In 2020, Super Lawyers recognized 17 Cohen Milstein attorneys as “2020 Washington, DC Super Lawyers” and
       seven Cohen Milstein attorneys as “2020 Washington, DC Rising Stars.”
   •   In 2020, Chambers USA recognized Cohen Milstein as a leading firm in the “Antitrust: Plaintiffs – Nationwide”
       category.
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   •   In 2020, Lawdragon recognized eight Cohen Milstein lawyers in the “2020 Lawdragon 500 Leading Plaintiff
       Consumer Lawyers” list.
   •   In 2020, Lawdragon recognized 12 Cohen Milstein lawyers in the “2020 Lawdragon 500 Leading Lawyers in
       America” list.
   •   In 2020, American Lawyer Media and The National Trial Lawyers named Cohen Milstein “Antitrust Law Firm of
       the Year.”
   •   In 2020, Law360 named Cohen Milstein “Practice Group of the Year – Benefits” for the firm’s work in 2019.
   •   In 2020, Law360 named Cohen Milstein “Practice Group of the Year – Consumer Protection” for the firm’s work
       in 2019.

                                                        2019
   •   In 2019, Law360 named Cohen Milstein’s Sharon K. Robertson “Life Sciences – MVP” for her cutting-edge “pay
       for delay” antitrust class actions in the Life Sciences industry.
   •   In 2019, Law360 named Cohen Milstein’s Karen L. Handorf a 2019 “Benefits – MVP” for her exemplary work in
       ERISA litigation.
   •   In 2019, Lawdragon named Cohen Milstein’s Agnieszka Fryszman and Steve Toll to “Lawdragon Legends,” a list
       recognizing 30 of the “nation’s elite lawyers” who have been named to the Lawdragon 500 for at least ten years.
   •   In 2019, ALM and The National Trial Lawyers named seven of Cohen Milstein’s practice areas to its “Elite Trial
       Lawyer – Finalist” list and recognized Karen L. Handorf Recognized as one of its “Elite Women of the Plaintiffs
       Bar” (2020).
   •   In 2019, the Seven Hills School awarded Cohen Milstein’s Kalpana Kotagal with the “Norma Martin Goodall
       Distinguished Alumni Award.”
   •   In 2019, the Chicago Business Journal named Cohen Milstein’s Carol V. Gilden a 2019 “Woman of Influence.”
   •   In 2019, the American Antitrust Institute honored Cohen Milstein’s Jessica Weiner with an “Outstanding
       Antitrust Litigation Achievement Award.”
   •   In 2019, Lawdragon named 15 Cohen Milstein lawyers to is 2019 “500 Leading Plaintiff Financial Lawyers” list.
   •   In 2019, Law360 named Cohen Milstein’s Mary Bortscheller a “Rising Star.”
   •   In 2019, The Best Lawyers in America named 12 Cohen Milstein attorneys to its 2020 “Best Lawyers in America”
       list.
   •   In 2019, The Best Lawyers in America named Cohen Milstein’s Karen L. Handorf as “ERISA Litigation Lawyer of
       the Year – Washington, DC.”
   •   In 2019, The Best Lawyers in America named Cohen Milstein’s Stephan A. LeClainche “Medical Malpractice
       Lawyer of the Year – West Palm Beach, FL.”
   •   In 2019, Public Justice Foundation named Cohen Milstein one of five finalists for the “Trial Lawyer of the Year
       Award.”
   •   In 2019, Cohen Milstein’s Environmental Toxic Tort practice was named a winner of The National Law Journal’s
       “Elite Trial Lawyers” Award, and Cohen Milstein’s Agnieszka Fryszman and Sharon Robertson were named
       winners of The National Law Journal’s “Elite Women of the Plaintiffs Bar” Award.
   •   In 2019, six of Cohen Milstein lawyers were named among the “Lawdragon 500 Leading Plaintiff Consumer
       Lawyers.”
   •   In 2019, Cohen Milstein’s Carol V. Gilden received Lawyer Monthly Magazine’s “Women in Law Award.”
   •   In 2019, four of Cohen Milstein partners were named to Benchmark Litigation’s “40 & Under Hot List.”
   •   In 2019, Cohen Milstein’s Christine E. Webber received the Washington Lawyers’ Committee for Civil Rights and
       Urban Affairs’ “Roderic V.O. Boggs Award.”
   •   In 2019, Cohen Milstein’s Nicholas C. Johnson and Poorad Razavi were named to Florida Trend’s “Legal Elite.”
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   •   In 2019, Cohen Milstein’s Nicholas C. Johnson was appointed to serve on the AAJ Board of Governors.
   •   In 2019, The National Law Journal named Cohen Milstein an “Elite Trial Lawyer” finalist in five practice areas
       and named Agnieszka Fryszman and Sharon Robertson “Elite Women of the Plaintiffs Bar.”
   •   In 2019, Law360’s 2019 Glass Ceiling Report named Cohen Milstein among “The Best Law Firms for Female
       Attorneys.”
   •   In 2019, The Legal 500 recognized Cohen Milstein’s Antitrust, Civil Rights & Employment, Products Liability, and
       Securities Litigation practices as “Leading Practices,” and named seven Cohen Milstein attorneys among their
       “Leading Lawyers,” “Next Generation Lawyers,” and “Rising Stars.”
   •   In 2019, Cohen Milstein was named to The National Law Journal’s “Pro Bono Hot List.”
   •   In 2019, 21 Cohen Milstein attorneys were recognized as “Super Lawyers,” and nine Cohen Milstein attorneys
       were recognized as “Rising Stars.”
   •   In 2019, Cohen Milstein’s Takisha D. Richardson was named a Florida Bar Association's Wm. Reece Smith, Jr.
       Leadership Academy Fellow.
   •   In 2019, six of Cohen Milstein’s Civil Rights & Employment Litigation lawyers were named among the
       “Lawdragon 500 Leading Plaintiff Employment Lawyers 2019.”
   •   In 2019, the Daily Business Review honored Cohen Milstein with three Professional Excellence Awards, including
       Theodore J. Leopold, DBR’s 2019 “Distinguished Leaders” award, Nicolas C. Johnson, DBR’s 2019 “On the Rise”
       award, and the firm’s Sexual Abuse, Sex Trafficking, and Domestic Violence Litigation team, DBR’s 2019
       “Innovative Practice Areas” award.
   •   In 2019, four Cohen Milstein lawyers received “The Burton Awards' Law360 Distinguished Legal Writing Award
       - Law Firm.”
   •   In 2019, nine Cohen Milstein lawyers were named among the “Lawdragon 500 Leading Lawyers in America.”


                                                        2018
   •   In 2018, The National Law Journal and Trial Lawyer Magazine, named Steven J. Toll and Betsy A. Miller among
       “America’s 50 Most Influential Trial Lawyers.”
   •   In 2018, Law360 named Cohen Milstein “Practice Group of the Year” in two categories: Consumer Protection
       and Environmental.
   •   In 2018, Law360 named three partners MVP in the respective practices, including: Theodore J. Leopold as
       Law360’s Environmental MVP, Andrew N. Friedman as Law360’s Cybersecurity and Privacy MVP, and Kalpana
       Kotagal as Law360’s Employment MVP.
   •   In 2018, The National Law Journal named Cohen Milstein winner of “Elite Trial Lawyer of the Year” in four
       categories, including Consumer Protection, Counterterrorism, Immigration, and Financial Products, and finalist
       in five other categories, including Antitrust, Civil Rights, Disability Rights, Employment Rights, and Racial
       Discrimination.
   •   In 2018, The National Law Journal named Kalpana Kotagal, Betsy A. Miller, and G. Julie Reiser – “Elite Women of
       the Plaintiffs Bar.”
   •   In 2018 the Daily Business Review named Stephan A. LeClainche and Diana L. Martin as one of its “Most
       Effective Lawyers” for Medical Malpractice and Pro Bono, respectively.
   •   In 2018, A Better Balance presented Kalpana Kotagal with “A Better Balance: The Work & Family Legal Center’s
       Distinguished Public Service Award.”
   •   In 2018, the American Antitrust Institute honored Sharon K. Robertson with its “Outstanding Antitrust Litigation
       Achievement Award.”
   •  In 2018, the NAACP honored Cohen Milstein with its “Foot Soldier in the Sand Award,” in recognition of the
      firm’s outstanding commitment to providing pro bono legal services.
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   •   In 2018, The Best Lawyers in America recognized eleven Cohen Milstein attorneys as among the Best Lawyers in
       America (2019), in their respective areas of law.
   •   In 2018, The Best Lawyers in America singled out and named Joseph M. Sellers “The Best Lawyers in America
       2019, Labor Law Lawyer of the Year – Washington, D.C.”
   •   In 2018, The Best Lawyers in America singled out and named Milstein’s Leslie M. Kroeger “The Best Lawyers in
       America 2019, Mass Tort Litigation / Class Actions “Lawyer of the Year – West Palm Beach, FL.”
   •   In 2018, Palm Beach Illustrated named seven Cohen Milstein attorneys to its ““Top Lawyers” List.”
   •   In 2018, Benchmark Litigation named four Cohen Milstein attorneys to its “40 & Under Hot List.”
   •   In 2018, Florida Trend named five Cohen Milstein attorneys to its list of “Florida’s Legal Elite.”
   •   In 2018, Lawdragon 500 named five Cohen Milstein attorneys to “Leading Plaintiff Employment Lawyers.”
   •   In 2018, Crain’s named Carol V. Gilden one of Chicago’s “Notable Women Lawyers.”
   •   In 2018, Harvard Law School named Kalpana Kotagal a “Wasserstein Fellow.”
   •   In 2018, Chambers USA Women in Law honored Kalpana Kotagal with its “Outstanding Contribution to the
       Community in Advancing Diversity Award.”
   •   In 2018, the New York Law Journal named Sharon K. Robertson to its list of “New York Rising Stars.”
   •   In 2018, The Legal 500: Guide to the US Legal Profession listed Cohen Milstein’s Antitrust, Employment
       Disputes, and Securities Litigation practices among its “Leading Practices.”
   •   In 2018, the Daily Business Review named Leslie M. Kroeger a “Distinguished Leader.”
   •   In 2018, Law360 named Steven J. Toll a 2018 “Titan of the Plaintiffs Bar.”
   •   In 2018, Leslie M. Kroeger was sworn-in as President-Elect to the Florida Justice Association.
   •   In 2018, Lawdragon named seven Cohen Milstein attorneys to the 2018 “Lawdragon 500,” an annual list of the
       500 Leading Lawyers in America.
   •   In 2018, Theodore J. Leopold was recognized as an “Energy and Environmental Trailblazer” by The National Law
       Journal.
   •   In 2018, Super Lawyers recognized 20 Cohen Milstein attorneys as “2018 Super Lawyers” and 12 Cohen Milstein
       attorneys as “Super Lawyer Rising Stars.”


                                                          2017
   •   In 2017, Law360 named Cohen Milstein a “Practice Group of the Year: Privacy.”
   •   In 2017, Steven J. Toll was named a Law360 “MVP – Class Action.”
   •   In 2017, the Daily Business Review named Theodore J. Leopold a “Most Effective Lawyer of 2017: Class Action.”
   •   In 2017, Joel Laitman, Christopher Lometti, Betsy Miller, and Victoria Nugent were named The National Law
       Journal’s “Plaintiffs’ Lawyers Trailblazers.”
   •   In 2017, The Best Lawyers in America recognized seven Cohen Milstein partners as among the “Best Lawyers in
       America” for their respective practices of law.
   •   In 2017, Law360 named Cohen Milstein partners, S. Douglas Bunch and Kalpana Kotagal as “Rising Stars.”
   •   In 2017, The Legal 500 named Cohen Milstein a Leading Firm in “Antitrust: Civil Litigation / Class Actions” and
       “Dispute Resolution: Securities Litigation – Plaintiff.”
   •   In 2017, The Legal 500 named Richard A. Koffman to its “Legal 500 Hall of Fame."
   •   In 2017, Legal 500 named Sharon K. Robertson and Brent W. Johnson as “Legal 500 Next Generation Lawyer” in
       the area of Antitrust: Civil Litigation/Class Actions.
   •   In 2017, Super Lawyers named Brent W. Johnson as a "Rising Star" and a "Top Rated Antitrust Litigation
       Attorney in Washington, DC.”
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   •   In 2017, Super Lawyers named Leslie M. Kroeger, Stephan A. Le Clainche, and Theodore J. Leopold “Florida
       Super Lawyers” and Nicholas C. Johnson and Adam J. Langino “Florida Rising Stars.”
   •   In 2017, the Coalition for Independent Living Options Inc. presented Michael Dolce a Special Acknowledgment
       Award for his “Commitment to Ending Sex Crimes against People with Disabilities.”
   •   In 2017, Adam J. Langino was elected American Association for Justice’s Newsletter Chair for the Product
       Liability Section.
   •   In 2017, Florida Trend named Manuel J. Dominguez a “Legal Elite.”
   •   In 2017, Nicholas C. Johnson was elected President of the F. Malcolm Cunningham, Sr. Bar Association.
   •   In 2017, Leslie M. Kroeger was elected Treasurer to the Florida Justice Association.
   •   In 2017, South Florida Legal Guide named Theodore J. Leopold as a “Top Lawyer,” and Diana L. Martin and
       Adam Langino a “Top Up and Comer."


                                                         2016
   •   In 2016, Law360 selected Cohen Milstein as a “Competition Practice Group of the Year” and a “Class Action
       Practice Group of the Year.”
   •   In 2016, Women in Wealth Awards selects Carol V. Gilden Selected as "Best in Securities Litigation Law - Illinois
       & Excellence Award for Investor Protection Law."
   •   In 2016, Richard A. Koffman was named a Law360 “MVP – Competition Law.”
   •   In 2016, Martha Geer was selected as a “North Carolina Leaders in the Law Honoree.”
   •   In 2016, the Washington Lawyers’ Committee for Civil Rights and Urban Affairs named Cohen Milstein a
       recipient of its “Outstanding Achievement Award.”
   •   In 2016, for the eighth consecutive year, Cohen Milstein was recognized by The Legal 500 as one of the leading
       plaintiff class action antitrust firms in the United States.
   •   In 2016, Agnieszka Fryszman, Joel Laitman, Chris Lometti, Kit Pierson, Joe Sellers and Steve Toll were named to
       the 2016 Lawdragon 500 Leading Lawyers in America.
   •   In 2016, Law360 named Julie Goldsmith Reiser one of the “25 Most Influential Women in Securities Law.”
   •   In 2016, Cohen Milstein is named to The National Law Journal’s “Plaintiffs Hot List” for the fifth time in six
       years.
   •   In 2016, Law360 named Cohen Milstein as one of the top firms for female attorneys.


                                                         2015
   •   In 2015, Law360 named Cohen Milstein as the sole plaintiffs firm to be selected in two "Practice Groups of the
       Year" categories and one of only five class action firms recognized.
   •   In 2015, Cohen Milstein was named an “Elite Trial Lawyer Firm” by The National Law Journal for the second
       year in a row.
   •   In 2015, Steven J. Toll named a Law360 “MVP – Securities Law.”
   •   In 2015, Cohen Milstein was selected as a "Most Feared Plaintiffs Firm" by Law360 for the third year in a row.
   •   In 2015, Richard Koffman was named, for the fifth consecutive year, in The Legal 500 "Leading Lawyers" in
       "Litigation - Mass Tort and Class Action: Plaintiff Representation – Antitrust."
   •   In 2015, Theodore J. Leopold, Leslie M. Kroeger, and Stephan A. LeClainche were selected as “Florida Super
       Lawyers” and Adam J. Langino was selected as a “Florida Rising Star.”



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   •   In 2015, Andrew Friedman, Agnieszka Fryszman, Karen Handorf, Kit A. Pierson, Julie Reiser, Joseph M. Sellers,
       Daniel A. Small, Daniel S. Sommers, Steven J. Toll and Christine E. Webber were selected as “Washington DC
       Super Lawyers.”
   •   In 2015, Monya Bunch, S. Douglas Bunch, Johanna Hickman, Kalpana Kotagal, and Emmy Levens were selected
       as “Washington DC Rising Stars” by Super Lawyers.
   •   In 2015, for the fourth time in five years, Cohen Milstein was selected to The National Law Journal “Plaintiffs’
       Hot List.”
   •   In 2015, Carol V. Gilden was selected as "Pension Funds Litigation Attorney of the Year in Illinois" for the second
       year in a row by the Corporate INTL Legal Awards.


                                                         2014
   •   In 2014, Cohen Milstein's Antitrust Practice was selected as a “Practice Group of the Year” by Law360.
   •   In 2014, Cohen Milstein Partner Kit Pierson was selected as an “Antitrust MVP” by Law360.
   •   In 2014, Cohen Milstein was named a "Most Feared Plaintiffs Firm" by Law360 for the second year in a row. In
       2014, Cohen Milstein was selected as an Elite Trial Lawyer firm by The National Law Journal.
   •   Cohen Milstein Partners Steven J. Toll, Joseph M. Sellers, Kit A. Pierson, and Agnieszka M. Fryszman Selected to
       the 2014 Lawdragon 500.
   •   Released in 2015, Joseph M. Sellers, Theodore J. Leopold, and Leslie M. Kroeger listed in "Best Lawyers in
       America."
   •   Released in 2014, the 2013 SCAS 50 Report on Total Securities Class Action Settlements ranked Cohen Milstein as
       a top firm.
   •   In 2014, Cohen Milstein’s Theodore J. Leopold was named among the “Top 100” Florida Super Lawyers, Leslie M.
       Kroeger was named to the “Florida Super Lawyers,” and Diana L. Martin was named a “Florida Rising Star.”
   •   In 2014, Cohen Milstein attorneys Leslie M. Kroeger and Adam J. Langino were recognized in Florida Trend’s
       “Florida Legal Elite.” Kroeger is recognized as Legal Elite and Langino is listed as an Up-and-Comer.
   •   In 2014, Cohen Milstein was selected to the selected to the National Law Journal's Midsize Hot List.
   •   In 2014, Cohen Milstein was recognized as a "Highly Recommended Washington, DC Litigation Firm" by
   •   Benchmark Plaintiff: The Definitive Guide to America’s Leading Plaintiff Firms and Attorneys.
   •   In 2014, Cohen Milstein was ranked as a Leading Plaintiff Class Action Antitrust Firm in the United States by the
       Legal 500 for the sixth year in a row.
   •   In 2014, Partner Richard Koffman was named, for the fourth consecutive year, in the Legal 500 United States
       "Leading Lawyers" list under the category of "Litigation - Mass Tort and Class Action: Plaintiff Representation -
       Antitrust".
   •   In 2014, Cohen Milstein attorneys Agnieszka Fryszman, Julie Goldsmith Reiser, Joseph Sellers, Daniel Sommers,
       and Steven Toll were recognized as Local Litigation Stars by Benchmark Plaintiff: The Definitive Guide to America’s
       Leading Plaintiff Firms and Attorneys.
   •   In 2014, Cohen Milstein attorneys R. Joseph Barton, Andrew Friedman, Agnieszka Fryszman, Karen Handorf, Kit A.
       Pierson, Julie Reiser, Joseph M. Sellers, Daniel A. Small, Daniel S. Sommers, Steven J. Toll and Christine E. Webber
       were selected as Washington DC Super Lawyers.
   •   In 2014, Cohen Milstein attorneys Monya Bunch, S. Douglas Bunch, Jeffrey Dubner, Johanna Hickman, Joshua
       Kolsky, Kalpana Kotagal, Emmy Levens, and Michelle Yau were selected as Washington DC Rising Stars by Super
       Lawyers.
   •   In 2014, Cohen Milstein Partner Carol V. Gilden was selected as the Illinois Pension Fund Attorney of the Year.
   •   In 2014, Best Lawyers named Cohen Milstein Partner Joseph Sellers D.C. Litigation - Labor & Employment Lawyer
       of the Year.


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   •   In 2013, for the third-year in a row, Cohen Milstein was selected to the National Law Journal Plaintiffs’ Hot List.
   •   In 2013, Cohen Milstein was named a "Most Feared Plaintiffs Firm" by Law360.
   •   In 2013, Cohen Milstein was ranked as a Leading Plaintiff Class Action Antitrust Firm in the United States by the
       Legal 500 for the fifth year in a row.
   •   In 2013, Cohen Milstein attorneys Joseph Barton, Andrew Friedman, Agnieszka Fryszman, Karen Handorf, Kit A.
       Pierson, Julie G. Reiser, Joseph M. Sellers, Daniel A. Small, Daniel S. Sommers, Steven J. Toll, and Christine E.
       Webber were selected as Washington DC Super Lawyers.
   •   In 2013, Cohen Milstein attorney Michelle Yau was selected as Washington DC Rising Stars by Super Lawyers. In
       2013, Cohen Milstein Partner Carol V. Gilden was selected as a 2013 Illinois Super Lawyer. She has been selected
       every year since 2005.

                                                         2012
   •   In 2012, for the second-year in a row, Cohen Milstein was selected to the National Law Journal Plaintiffs’ Hot List.
   •   In 2012, Cohen Milstein was the recipient of the Judith M. Conti Pro Bono Law Firm of the Year Award from the
       Employment Justice Center.
   •   In 2012, Cohen Milstein was recognized as a "Highly Recommended Washington, DC Litigation Firm" by
   •   Benchmark Plaintiff: The Definitive Guide to America’s Leading Plaintiff Firms and Attorneys.
   •   In 2012, Cohen Milstein was ranked as a top firm by the 2011 SCAS Report on Total Securities Class Action
       Settlements.
   •   In 2012, Cohen Milstein was ranked as a Leading Plaintiff Class Action Antitrust Firm in the United States by the
       Legal 500 for the fourth year in a row.
   •   In 2012, Partner Joseph M. Sellers was selected as a Washington DC Super Lawyer. Mr. Sellers was also selected
       for this prestigious award in 2007, 2008, 2009, 2010, and 2011.
   •   In 2012, Partner Steven J. Toll was selected as a Washington DC Super Lawyer. Mr. Toll was also selected for this
       prestigious award in 2007, 2009, 2010, and 2011.
   •   In 2012, Partner Daniel S. Sommers was selected as a Washington DC Super Lawyer. Mr. Sommers was also
       selected for this prestigious award in 2011.
   •   In 2012, Partner Christine E. Webber was selected as a Washington DC Super Lawyer. Ms. Webber was also
       selected for this prestigious award in 2007.
   •   In 2012, Partner Agnieszka M. Fryszman was selected as a Washington DC Super Lawyer. In 2012, Partner Kit A.
       Pierson was selected as a Washington DC Super Lawyer.
   •   In 2012, Partner Carol V. Gilden was selected as an Illinois Super Lawyer. Ms. Gilden was also selected for this
       prestigious award in 2005, 2006, 2007, 2008, 2009, 2010, and 2011.

                                                         2011
   •   In 2011, Cohen Milstein was selected to the National Law Journal Plaintiffs’ Hot List.
   •   In 2011, Partner Joseph M. Sellers was selected as a "Visionary" by The National Law Journal.
   •   In 2011, Partner J. Douglas Richards, Of Counsel Joel Laitman, and Of Counsel Christopher Lometti were selected
       as New York - Metro Super Lawyers.
   •   In 2011, Partner Joseph M. Sellers and the Keepseagle v. Vilsack team were selected as a finalist for the 2011
   •   Trial Lawyer of the Year Award from the Public Justice Foundation.
   •   In 2011, Cohen Milstein was ranked as a Leading Plaintiff Class Action Antitrust Firm in the United States by the
       Legal 500 for the third year in a row.
   •   In 2011, Partners Steven Toll, Joseph Sellers, and Daniel Sommers were selected as Washington DC Super
       Lawyers. Partner J. Douglas Richards, Of Counsel Joel Laitman and Christopher Lometti were selected as New
       York - Metro Super Lawyers. Partner Carol Gilden was selected as an Illinois Super Lawyer.
   •   In 2011, Cohen Milstein was a recipient of The National Law Journal’s Pro Bono Award. The Firm was named one
       of the “six firms that best reflect the pro bono tradition.”

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                                                        2010
   •   In 2010, Partner Joseph M. Sellers was selected as one of “The Decade’s Most Influential Lawyers” by The
       National Law Journal.
   •   In 2010, Partner Steven J. Toll was named one of Law360’s “Most Admired Attorneys”. In 2010, Partner Andrew
       N. Friedman was selected as a Washington DC Super Lawyer.
   •   In 2010, Partner Agnieszka M. Fryszman was selected as a finalist for the Trial Lawyer of the Year Award from the
       Public Justice Foundation.
   •   In 2010, Partners Joseph M. Sellers and Agnieszka M. Fryszman were both selected as one of the Lawdragon 500
       Leading Lawyers in America.
   •   In 2010, Cohen Milstein was once again ranked as a Leading Plaintiff Class Action Antitrust Firm in the United
       States by the Legal 500.




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                                    Attorney Profiles – Executive Committee
Steven J. Toll

Steven J. Toll is Managing Partner at Cohen Milstein, a member of the Executive Committee, and Co-Chair of the firm's
Securities Litigation & Investor Protection practice group. In this role, Mr. Toll guides the firm’s mediation efforts and
strategy, and has been lead or principal counsel on some of the most high-profile stock fraud lawsuits in the past 30 years,
arguing important matters before the highest courts in the land.

Mr. Toll has built a distinguished career and reputation as a fierce advocate of the rights of shareholders and has guided
mediation efforts on the firm’s largest and most important matters (both securities fraud and other consumer type cases),
a role in which he has earned the trust of mediators, as well as the respect of defense counsel. Mr. Toll has been involved
in settling some of the most important mortgage-backed securities (MBS) class-action lawsuits in the aftermath of the
financial crisis, including: Countrywide Financial Corp., which settled for $500 million in 2013; Residential Accredited Loans
Inc. (RALI), which settled for $335 million in 2014; Harborview MBS, which settled for $275 million, also in 2014; and
Novastar MBS, which settled for $165 million in 2019. He also negotiated a $90 million settlement of a suit against MF
Global.

Among Mr. Toll’s important cases is the Harman class action suit, where Mr. Toll argued and won an important ruling from
the U.S. Court of Appeals for the District of Columbia Circuit. The Circuit Court reinstated the suit against electronics maker
Harman International Industries; the ruling is significant in that it places limits on the protection allowed by the safe harbor
rule for forward-looking statements. A $28.25 million settlement was achieved in this action in 2017.

Mr. Toll was also co-lead counsel in the BP Securities class action securities fraud lawsuit that arose from the devastating
Deepwater oil spill in the Gulf of Mexico. The Fifth Circuit Court of Appeals affirmed the certification of the class of
investors alleged to have been injured by BP’s misrepresenting the amount of oil spilling into the Gulf of Mexico, and thus
minimizing the extent of the cost and financial impact to BP of the clean-up and resulting damages. In February 2017, the
court granted final approval to a $175 million settlement reached between BP and lead plaintiffs for the “post-explosion”
class.

Mr. Toll was co-lead counsel in the consumer class action suit against Lumber Liquidators, a lawsuit that alleges the
nationwide retailer sold Chinese-made laminate flooring containing hazardous levels of the carcinogen formaldehyde
while falsely labeling their products as meeting or exceeding California emissions standards, a story that was profiled twice
on 60 Minutes in 2015. In October 2018, the court granted final approval to a settlement of $36 million between Lumber
Liquidators and plaintiffs.

Over the course of his career, Mr. Toll has received numerous industry recognitions for his work. Most recently, in 2019,
The National Law Journal and The Trial Lawyer named him one of “America’s 50 Most Influential Trial Lawyers,” in 2018,
Mr. Toll was named Law360’s “Titan of the Plaintiffs Bar,” as well as a Legal 500 “Leading Lawyer – Securities Litigation.”
In 2017, he was named Law360’s “MVP – Class Actions,” in 2015, he was named Law360’s “MVP – Securities,” and since
2014, he has been perennially named to the Lawdragon 500, which recognizes the 500 leading lawyers in America. He is
also annually recognized as a Super Lawyer in Securities Litigation and Class Action/Mass Torts.

Mr. Toll writes and speaks extensively on securities litigation and investor protection issues. His articles have appeared in
Harvard Law School Forum on Corporate Governance and Financial Regulation and Cohen Milstein’s Shareholder
Advocate.

Mr. Toll has provided a great deal of pro bono legal work during a career at Cohen Milstein that spans more than three
decades. In addition, he has been an active supporter of Children’s Hospital National Medical Center for decades, setting
up an endowment in his daughter’s name to help the Hospital’s leukemia patients and their families (his daughter passed

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away from leukemia in 1987), plus more recently establishing regular programs for music and laughter for the children
during their hospital stays.

Mr. Toll is a graduate of the Wharton School of the University of Pennsylvania, earning a B.S., cum laude, and received his
J.D. from Georgetown University Law Center, where he was Special Project Editor of The Tax Lawyer.

Joseph M. Sellers

Joseph M. Sellers is a Partner at Cohen Milstein, Chair of the firm’s Executive Committee and Chair of the Civil Rights &
Employment Practice Group, a practice he founded. In a career spanning nearly four decades, Mr. Sellers has represented
victims of discrimination and other illegal employment practices individually and through class actions. He brings to his
practice a deep commitment and broad background in fighting discrimination in all its forms. That experience includes
decades of representing clients in litigation to enforce their civil rights, participating in drafting and efforts to pass
landmark civil rights legislation, testifying before Congress on various civil rights issues, training government lawyers on
the trial of civil rights cases, teaching civil rights law at various law schools and lecturing extensively on civil rights and
employment matters.

Mr. Sellers, who joined the firm in 1997, has been practicing civil rights law for more than 35 years, during which time he
has represented individuals and classes of people who have been victims of civil rights violations or denied other rights in
the workplace. He has tried to judgment before courts and juries several civil rights class actions and a number of individual
cases and has argued more than 30 appeals in the federal and state appellate courts, including the United States Supreme
Court. He has served as class counsel, and typically lead counsel, in more than 75 civil rights and employment class actions.

His clients have included persons denied the rights and opportunities of employment because of race, national origin,
religion, age, disability and sex, including sexual orientation and identity. He has represented victims of race discrimination
in the denial of equal access to credit, in the rates charged for insurance and in the equal access to health clubs, retail
stores, restaurants and other public places. He has challenged housing discrimination on the basis of race and the denial
of housing and public accommodations to people with disabilities.

Some of the noteworthy matters he has handled include: Walmart v. Dukes (U.S. S.Ct.), delivered argument on behalf of
class of women who alleged sex discrimination in pay and promotions in case establishing new rules governing class
certification; Randolph v. Greentree Financial (U.S. S.Ct.), delivered argument on behalf of consumer challenging
enforcement of arbitration agreement in case establishing rules governing the enforceability of arbitration agreements;
Beck. v. Boeing Company (W.D. Wash.), co-lead counsel on behalf of class of more than 28,000 women employees
alleging sex discrimination in pay and overtime decisions; Conway, et al. v. Deutsch (E.D. Va.), co-lead counsel on
behalf of class of female covert case officers at the CIA alleging sex discrimination in promotions and job assignments;
Johnson, et al. v. Freeh (D.D.C.), co- lead counsel on behalf of class of African-American FBI special agents alleging racial
discrimination in promotion and job assignments; Keepseagle v. Veneman (D.D.C.), lead counsel on behalf of class of
Native American farmers and ranchers alleging denial of equal access to credit by USDA; Neal v. Director, D.C Dept. of
Corrections (D.D.C.), co-lead counsel in which he tried first sexual harassment class action to a jury, on behalf of a class of
women correctional employees and women and men subject to retaliation; Doe v. D.C. Fire Department (D.D.C.), in which
he established after trial that an applicant with HIV could properly serve as a firefighter; Floyd-Mayers v. American Cab
Co. (D.D.C.), in which he represented persons who alleged they were denied taxi service because of their race and the
race of the residents at the location to which they asked to be driven; and Trotter, et al. v. Perdue Farms (D. Del.), lead
counsel on behalf of chicken processing workers alleging violations of federal wage and hour and employee benefits law.

Prior to joining Cohen Milstein, Mr. Sellers served for over 15 years as the Director of the Employment Discrimination
Project of the Washington Lawyers’ Committee for Civil Rights and Urban Affairs, an organization providing pro bono
representation in a broad range of civil rights and related poverty issues. He was a member of the transition teams of
Obama/Biden in 2008 and Clinton/Gore in 1992 and 1993, and served as a Co-Chair of the Special Committee on Race and
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Ethnicity of the D.C. Circuit Task Force on Gender, Race and Ethnic Bias to which he was appointed by the judges of the
D.C. Circuit Court of Appeals and the U.S. District Court for the District of Columbia.

Throughout his career, Mr. Sellers has also been active in legislative matters. He helped to draft and worked for the
passage of the Civil Rights Act of 1991, the Americans with Disabilities Act of 1990 and the Lily Ledbetter Fair Pay
Restoration Act of 2009. He has testified more than 20 times before Committees of the United States Senate and House
of Representatives on various civil rights and employment matters.

A teacher and mentor, Mr. Sellers has trained lawyers at the U.S. Equal Employment Opportunity Commission and the
U.S. Department of Justice on the trial of civil rights cases, and was an Adjunct Professor at the Washington College of Law
at American University, where he taught Employment Discrimination law, and at the Georgetown University Law Center,
where he taught Professional Responsibility. In addition, he has lectured extensively throughout the country on various
civil rights and employment topics.

Mr. Sellers has been recognized as one of the top lawyers in Washington and as one of the top plaintiffs’ employment
lawyers in the U.S. In 2010, The National Law Journal named him one of “The Decade’s Most Influential Lawyers,” in 2011
The Legal Times named him a “Legal Visionary,” and in 2012 the Washington Lawyers’ Committee for Civil Rights and
Urban Affairs awarded him the Wiley Branton Award for leadership in civil rights. He is a professionally trained mediator
and has served as the President of the Washington Council of Lawyers.

Mr. Sellers received his B.A. in American History and Literature from Brown University, and earned his J.D. from Case
Western Reserve School of Law, where he served as Research Editor of the Case Western Reserve Law Review.

Benjamin D. Brown

Benjamin D. Brown is a Partner at Cohen Milstein, and Co-Chair of the firm's Antitrust practice group. Mr. Brown is also a
member of the firm’s Executive Committee.

Mr. Brown, who previously served in the Antitrust Division of the United States Department of Justice, brings to his role
extensive experience leading complex litigation, particularly antitrust class actions.

Mr. Brown has been appointed by federal courts to serve as co-lead counsel for plaintiffs in numerous important matters,
such as In re Plasma-Derivative Protein Therapies Antitrust Litigation (N.D. Ill.); Carlin, et al. v. DairyAmerica, Inc. (E.D.
Cal.); and Mixed Martial Arts (MMA) Antitrust Litigation (D. Nev.). He has led cases through trial and argued appeals and
stands ready to take cases through to the finish line.

Mr. Brown is also an adjunct professor at Georgetown Law School, where he teaches Complex Litigation, a course that
explores the policy and procedures implicated by aggregated, high stakes, multi-party litigation, especially class actions.

Mr. Brown is also a leader in the area of takings cases, claims that are brought under the Fifth Amendment of the U.S.
Constitution for the unconstitutional taking of property without compensation. He also represents individuals or groups
in litigations and confidential arbitrations involving complex commercial disputes, particularly those involving regulated
markets.

Currently, Mr. Brown is litigating a number of large, complex antitrust and price manipulation lawsuits, where he plays a
prominent role and leads all aspects of the litigation, from deciding on the claims to be brought, the strategy to be pursued
and charting the course of the case. Notable matters include:

    •   Mixed Martial Arts (MMA) Antitrust Litigation (D. Nev.): Cohen Milstein is co-lead counsel in a class action on
        behalf of MMA fighters alleging that Zuffa LLC – commonly known as the Ultimate Fighting Championship or “UFC”
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        – has unlawfully monopolized the markets for promoting live professional MMA bouts and for purchasing the
        services of professional MMA fighters. The district court denied the defendant’s motion to dismiss the case in
        September 2015 and discovery is ongoing. Mr. Brown is co-lead in this class action.
    •   Allen, et al. v. Dairy Farmers of America, Inc. (D. Vt.): Cohen Milstein served co-lead counsel in a class action lawsuit
        on behalf of Northeast dairy farmers against Dairy Farmers of America (DFA) and Dean Foods Company charging
        a conspiracy to reduce competition for raw milk and that DFA monopolized the milk market in the Northeast,
        forcing dairy farmers to market their milk through DFA or its affiliate Dairy Marketing Services (DMS). Final,
        approved settlements total $80 million.
    •   DairyAmerica Litigation (E.D. Cal.): Cohen Milstein served as court-appointed lead counsel to a putative class of
        dairy farmers who alleged that defendants fraudulently misreported nonfat dry milk prices to the National
        Agricultural Statistics Service, resulting in artificially depressed raw milk prices and unfairly depriving American
        dairy farmers of tens-of-millions-of-dollars. In May 2019, the Court granted final approval of a $40 million
        settlement – 90% of what the USDA Inspector General’s independents analysis estimated damages to be. Mr.
        Brown directed all aspect of this class action.

Mr. Brown is also currently litigating a number of takings lawsuits, including the following notable matters:

    •   Ideker Farms, et al. v. United States of America (Fed. Cl.): Cohen Milstein represents Ideker Farms and more than
        400 other plaintiffs located in six states along the Missouri River in a landmark mass action lawsuit in the U.S.
        Court of Federal Claims alleging that the federal government took land and flooding easements over lands owned
        by farmers without any compensation in violation of the takings clause of the Fifth Amendment. Mr. Brown has
        helped lead the litigation team, including during a months-long liability trial in 2017, during which he directed and
        cross-examined numerous witnesses, including six experts. In March 2018, the Court ruled largely in favor of
        plaintiffs on liability and cause of flooding claims. Bellwether trials continue. The Court will next determine the
        extent of the losses due to the taking.
    •   Big Oak Farms, Inc., et al. v. United States of America (Fed. Cl.): Cohen Milstein represents over 100 farmers along
        the Mississippi River in a Fifth Amendment takings case alleging that the U.S. Army Corps of Engineers intentionally
        flooded plaintiffs’ land without providing just compensation. Mr. Brown has been directing and leading all aspects
        of the litigation.

Mr. Brown joined Cohen Milstein in 2005, following four years as a trial attorney with the Antitrust Division of the United
States Department of Justice. At the Department of Justice, Mr. Brown led and assisted in numerous investigations,
litigations and trials involving antitrust activity and mergers. Mr. Brown also served as a Special Assistant United States
Attorney in the Eastern District of Virginia, where he prosecuted criminal cases. Prior to serving in the U.S. Department
of Justice, Mr. Brown was in private practice with one of Washington’s most prestigious defense firms, where he counseled
defendants in antitrust litigation matters. This experience has provided him with insights into defense strategies and has
earned him the respect of defendants’ counsel.

The Legal 500 has recognized Mr. Brown as one of the nation’s leading class action antitrust attorneys. Mr. Brown is also
recognized in Who’s Who Legal: Thought Leaders – Competition, and he has been listed as one of Washington D.C.’s
"Leading Star” Plaintiffs’ Litigators by Benchmark Litigation, recognizing his writing, his depositions and his arguments in
court. He is a frequent panelist at legal industry gatherings and is a recognized expert on antitrust litigation whose opinions
on the newest developments and trends in antitrust litigation are often quoted in the media. Mr. Brown is a contributing
author of the ABA’s Antitrust Class Actions Handbook and served as a state editor for the ABA's Survey of State Class
Action Law. He authored several chapters on private antitrust recovery actions for the Global Competition Review's
Antitrust Review of the Americas, and co-authored with fellow partner Douglas Richards, “Predominance of Common
Questions – Common Mistakes in Applying the Class Action Standard,” Rutgers Law Journal (Vol. 41).

Mr. Brown is currently serving on the Advisory Board of the Institute for Consumer Antitrust Studies at Loyola University
Chicago's School of Law.
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Mr. Brown attended the University of Wisconsin – Madison, where he graduated Phi Beta Kappa, majoring in Philosophy,
and earned his J.D., from Harvard Law School, graduating cum laude. He served as Law Clerk to the Hon. Chief Judge Juan
R. Torruella, U.S. Court of Appeals for the First Circuit. The United States District Court for the District of Columbia has
honored Mr. Brown for his outstanding commitment to pro bono litigation.

Victoria S. Nugent

Victoria S. Nugent is a Partner at Cohen Milstein and Co-Chair of the Consumer Protection practice group and immediate
past Co-Chair of the Public Client practice group. Ms. Nugent is also a member of the firm’s Executive Committee.

Ms. Nugent is a highly regarded consumer protection litigator, having overseen significant consumer fraud investigations
and litigation on behalf of the state Attorneys General of Nevada, New Mexico, Pennsylvania, New Jersey, Indiana, and
Vermont – as well as class actions brought on behalf of consumers under the laws of numerous states. Ms. Nugent is
named among Lawdragon’s “500 Leading Lawyers in America” (2019 – 2021), as well as Lawdragon’s “500 Leading Plaintiff
Consumer Lawyers” (2020), and The National Law Journal’s “Plaintiffs’ Lawyers Trailblazers” (2017).

Most recently, Ms. Nugent has been representing restaurant owners, retailers, and other small businesses across the
United States in litigation against their insurance companies for failing to honor their business interruption claims due to
the COVID-19 pandemic. These cases are being litigated in state and federal courts as class actions and individual cases.

While working in the Public Client Practice Group, Ms. Nugent represented state Attorneys General in civil law
enforcement investigations and litigation involving consumer protection, Medicaid fraud, and other areas of enforcement
that protect government interests and vulnerable communities. These included:

    •   Deceptive and Unfair Opioid Marketing and Distribution: Representing the states of Indiana, New Jersey, and
        Vermont in consumer protection, Medicaid fraud, and nuisance claims against opioid manufacturers and
        distributors.
    •   Deceptive and Irresponsible Lending: Representing the state of Nevada in investigations into the conduct of
        Deutsche Bank and the Royal Bank of Scotland, two of the investment banks that encouraged and enabled the
        predatory lending practices of retail lenders. Ms. Nugent helped develop the State’s legal theories and claims and
        handled numerous aspects of these investigations.
    •   Improper Foreclosures: Representing the states of Arizona and Nevada in litigation against Bank of America for
        deceptive conduct in connection with servicing approximately 500,000 mortgages, resulting in financial payments
        to consumers and the states, commitments to mortgage modifications and other equitable relief valued at nearly
        $1 billion.

During her earlier years in the Consumer Practice Group, Ms. Nugent was involved in precedent-setting matters:

    •   In re StarLink Corn Product Liability Litigation (N.D. Ill.): Ms. Nugent represented farmers suing Aventis
        CropScience after an unapproved variety of genetically modified corn was detected in the U.S. corn supply and
        drove down prices for all U.S. corn exports. More than $100 million was recovered for the class in a landmark
        settlement.
    •   Negative Option Marketing Litigation: In 2009 and 2010, Ms. Nugent filed suit on behalf of consumers challenging
        the post-transaction marketing practices (also sometimes called “negative option marketing”) and in two
        significant rulings persuaded federal courts in California and Washington that these practices ran afoul of state
        consumer protection laws.

In addition to trial court work, Ms. Nugent has argued cases before the high courts of Georgia, Nebraska, and the District
of Columbia, as well as the federal D.C. Circuit Court of Appeals and the Commonwealth Court of Pennsylvania.
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Prior to joining Cohen Milstein in 2000, Ms. Nugent worked for seven years at Public Citizen, a national consumer advocacy
organization. There, she worked on many legislative and regulatory campaigns addressing issues that ranged from
automobile safety to international trade policy. After graduating from law school in 1998, Ms. Nugent received a two-
year fellowship sponsored by the National Association for Public Interest Law (NAPIL/Equal Justice Works). As a NAPIL
Fellow, she worked at Trial Lawyers for Public Justice, where she helped develop and prosecute impact litigation in the
areas of arbitration, banking, credit, and insurance. Since 2018, Ms. Nugent has been a member of Public Justice’s Board
of Directors.

Ms. Nugent is on the Board of Directors of Public Justice Foundation, the Nation’s foremost consumer litigation and
advocacy organization. Ms. Nugent served on the D.C. Bar Committee on the Rules of Professional Conduct from 2012 to
2019. Since 2019, she has been a member of the Bar’s Legal Ethics Committee.

Ms. Nugent received her B.A. from Wesleyan University and her J.D. from Georgetown University Law Center.

Sharon K. Robertson

Sharon Robertson is a Partner at Cohen Milstein and a member of the Antitrust practice group. Ms. Robertson is also a
member of the firm’s Executive Committee.

Ms. Robertson has been repeatedly recognized for her success in leading complex, multi-district antitrust litigation. In
2020, Chambers ranked Ms. Robertson “Band 2 in Antitrust: Plaintiff – New York and USA – Nationwide” while Lawdragon
included her on its “500 Leading Lawyers in America” list. In 2019, The National Law Journal named her as one of nine
“Elite Women of the Plaintiffs Bar,” an award that recognizes female lawyers who “have consistently excelled in high-
stakes matters on behalf of plaintiffs over the course of their careers.” In the same year, Law360 named Ms. Robertson a
“Life Sciences-MVP” for her “hard-earned successes” and “record-breaking deals.” In 2018, the American Antitrust
Institute honored her with its prestigious “Outstanding Antitrust Litigation Achievement by a Young Lawyer” award for
her role in securing one of the largest recoveries on behalf of end-payors in a federal generic suppression case in over a
decade. Similarly, for three consecutive years, The Legal 500 has repeatedly selected her as a “Next Generation Lawyer”
(2017 -2020), an honor bestowed upon only 10 lawyers under 40 years old across the country, who are positioned to
become leaders in their respective fields. Likewise, The New York Law Journal recognized her as a Rising Star (2018) – one
of only twenty individuals selected to receive this honor. In addition, Benchmark Litigation selected Ms. Robertson for
inclusion on its “40 & Under Hot List” for three consecutive years (2018-2020) and Law360 named her as one of five “Rising
Stars” (2018) in the field of competition law whose “professional accomplishments belie their age,” as did Super Lawyers
(2014-2016, 2019-2020). Ms. Robertson has also been recognized by Law360 as one of a few female litigators to secure
leadership roles in high-profile MDLs, such as In re Lidoderm Antitrust Litigation (March 16, 2017).

Ms. Robertson is spearheading the firm’s efforts in cutting-edge and industry-defining pay-for-delay pharmaceutical
antitrust lawsuits, which allege that the defendant brand manufacturer entered into non-competition agreements with
generic manufacturers in order to delay entry of lower-priced generic products. Ms. Robertson also heads up the firm’s
generic price-fixing cases, which allege that certain generic drug manufacturers conspired to inflate the prices of generic
drug products. These cases come on the heels of a government investigation led by the U.S. Department of Justice alleging
similar conduct, which, while ongoing, has already resulted in indictments and guilty pleas.

In addition to leading complex MDLs, Ms. Robertson is an accomplished trial lawyer. She served as a trial team member
in two of the largest antitrust cases tried to verdict, including In re Urethanes Antitrust Litigation, where the jury returned
a $400 million verdict, which was trebled by the Court, as required by antitrust law, to $1.06 billion, resulting in the largest
price-fixing verdict in U.S. history, as well as In re Nexium Antitrust Litigation, the first pharmaceutical antitrust case to go
to trial following the Supreme Court’s landmark decision in FTC v. Actavis, 570 U.S. 756 (2013).


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Ms. Robertson represents End-Payor Plaintiffs in the following pay-for-delay pharmaceutical antitrust cases in which the
firm serves as Co-Lead Counsel:

    •   In re Lipitor Antitrust Litigation (D.N.J.): Plaintiffs allege that Pfizer, the manufacturer of the cholesterol drug
        Lipitor, the best-selling drug in pharmaceutical history, conspired with Ranbaxy, the generic manufacturer, to
        delay its introduction of a generic Lipitor product. On August 21, 2017, the Third Circuit handed a sweeping victory
        to Plaintiffs, reviving their antitrust claims. This case was ranked by Law360 as “The Biggest Competition Cases Of
        2017 So Far” (July 7, 2017).
    •   In re Tracleer Antitrust Litigation (D. Md.): Plaintiffs allege that Defendant Actelion engaged in an anticompetitive
        scheme to withhold samples of its life-saving pulmonary arterial hypertension medication from would-be rivals,
        under the guise of the REMs program, which conduct ultimately delayed generic competition.

In addition, Ms. Robertson co-chairs the executive committee in In re Humira Antitrust Litigation (N.D. Ill.) and serves as a
member of the executive committee in similar pay-for-delay cases in which Cohen Milstein plays a significant role,
including: In re Niaspan Antitrust Litigation (E.D. Pa.), In re Suboxone Antitrust Litigation (E.D. Pa.) and In re ACTOS
Antitrust Litigation (S.D.N.Y.). She also represents End-Payor Plaintiffs in In re Zytiga Antitrust Litigation (D.N.J).

Ms. Robertson represents direct purchaser plaintiffs in a number of cases as well, including: In re Zetia Antitrust Litigation
(E.D. Va.), In re Generic Pharmaceuticals Pricing Antitrust Litigation (E.D. Pa.), In re Sensipar (Cinacalcet Hydrochloride
Tablets) Antitrust Litigation (D. Del.), In re Intuniv Antitrust Litigation (D. Mass.) and In re Ranbaxy Fraud Antitrust Litigation
(D. Mass.).

Ms. Robertson has successfully litigated the following notable matters:

    •   Urethanes (Polyether Polyols) Antitrust Litigation: Cohen Milstein was Co-Lead Counsel in an antitrust class action
        alleging a nationwide conspiracy to fix the prices of polyether polyols. Ms. Robertson played a leading role in
        helping obtain settlements with several defendants for $139 million and was a member of the trial team that
        obtained a $400 million jury verdict (trebled to more than $1 billion), which was affirmed on appeal by the 10th
        Circuit. The case against Dow ultimately settled for $835 million while Dow’s petition for certiorari was pending
        before the Supreme Court, bringing the total recovery to $974 million – nearly 250% of the damages found by the
        jury.
    •   In re Lidoderm Antitrust Litigation (N.D. Cal.): Cohen Milstein served as Co-Lead Counsel for the End-Payor Class
        in a suit alleging that Endo and Teikoku, manufacturers of the Lidoderm patch, paid Watson Pharmaceuticals to
        delay its generic launch. The case settled on the eve of trial and on September 20, 2018, Plaintiffs obtained final
        approval of a $104.75 million settlement – more than 40% of Plaintiffs’ best-case damages estimate. This case was
        ranked by Law360 as “The Biggest Competition Cases Of 2017 So Far” (July 7, 2017).
    •   In re Loestrin Antitrust Litigation (D.R.I.): Cohen Milstein served as Co-Lead Counsel for the End-Payor Plaintiffs in
        a case alleging that Warner Chilcott PLC entered into agreements to delay the introduction of a generic version of
        the contraceptive drug Loestrin and thereafter engaged in a “product hop” to further impede generic entry. The
        case settled on the last business day before trial for $63.5 million – representing one of the largest settlements in
        a federal generic suppression case in over a decade. On September 1, 2020, the settlements received final
        approval.
    •   In re Aggrenox Antitrust Litigation (D. Conn.): Cohen Milstein served as an executive committee member on behalf
        of the End-Payor Plaintiffs and alleged that Defendants Boehringer Ingelheim and Teva Pharmaceutical engaged
        in anticompetitive conduct that delayed the availability of a less-expensive generic versions of Aggrenox. The case
        settled for $54 million.
    •   In re Solodyn Antitrust Litigation: Cohen Milstein served as a member of the executive committee and Ms.
        Robertson played a significant role in coordinating discovery on behalf of the End-Payor Plaintiffs. The case, which
        settled mid-trial, resulted in a $43 million recovery for the Class.

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    •   In re Blood Reagents Antitrust Litigation (E.D. Pa.): Plaintiffs alleged that the two leading producers of blood
        reagents, Ortho–Clinical Diagnostics, Inc. and Immucor, Inc., conspired to raise prices on traditional blood
        reagents. In September 2012, Immucor reached a settlement with Plaintiffs. On July 19, 2017 the Court denied in
        part Ortho’s Motion for Summary Judgement. Ms. Robertson was slated to serve as one of four lead trial counsel
        in the case, which was set for trial in June of 2018 but ultimately settled for a total recovery of $41.5 million.
    •   In re Wellbutrin SR Antitrust Litigation (E.D. Pa.): Cohen Milstein represented the Direct Purchaser Plaintiffs in this
        case alleging that Defendant GSK filed and then continued “sham” patent infringement lawsuits against two
        manufacturers of generic drugs, Eon and Impax, to delay competition to GSK’s blockbuster antidepressant,
        Wellbutrin SR. The case settled before trial for $49 million.
    •   Albany and Detroit Nurses Litigation: Cohen Milstein represented registered nurses employed by hospitals in
        Albany and Detroit in class actions alleging a wage-fixing conspiracy. Ms. Robertson obtained settlements with
        five Albany Defendants totaling over $14 million. In the Detroit case, Ms. Robertson helped obtain $98 million in
        settlements with eight Defendants.
    •   Indonesian Villagers Litigation: Ms. Robertson represented Indonesian villagers in a lawsuit against Exxon Mobil
        over torture and extrajudicial killings allegedly committed by the Defendant’s security forces (a unit of the
        Indonesian military).

Ms. Robertson co-chairs the firm’s Professional Development and Mentoring Committee and serves on the firm’s Diversity
Committee. She is also an active member of the Executive Committee for the Antitrust Section of the New York State Bar
Association.

While attending law school, Ms. Robertson was an intern in the Litigation Bureau of the Office of the New York State
Attorney General and the United States Court of Appeals for the Second Circuit. Additionally, while in law school, Ms.
Robertson was selected as an Alexander Fellow and spent a semester serving as a full-time Judicial Intern to the Hon. Shira
A. Scheindlin, U.S. District Court for the Southern District of New York.

Ms. Robertson graduated from State University of New York at Binghamton, magna cum laude with a B.A. in Philosophy,
Politics and Law. She earned her J.D. from the Benjamin N. Cardozo School of Law, where she served as Notes Editor of
the Cardozo Public Law, Policy and Ethics Journal.

Prior to attending law school, Ms. Robertson worked on the campaign committee of Councilman John Liu, the first Asian
American to be elected to New York City’s City Council.




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                                            Attorney Profiles – Partners
Gary L. Azorsky

Gary L. Azorsky is a Partner at Cohen Milstein, and Co-chair of the Firm’s Whistleblower/False Claims Act Practice. Mr.
Azorsky joined Cohen Milstein in 2012, establishing the practice. In his role, Mr. Azorsky pursues whistleblower cases
under the federal and state false claims act statutes in the health care, pharmaceutical, banking and defense contractor
industries and other industries that conduct business with the government. Mr. Azorsky specializes in the complex, highly
detailed process for filing and pursuing these cases. In his practice, he has helped right wrongs and to recover nearly $2.5
billion in defrauded funds for federal and state governments, including hundreds of millions of dollars for whistleblower
clients.

Most recently, Mr. Azorsky served as co-lead counsel in the qui tam action against the pharmaceutical company Wyeth
pending in the District of Massachusetts, in which more states joined to intervene along with the government of the
United States than had ever before intervened in a qui tam action. (United States of America et al., ex rel. Lauren Kieff, v.
Wyeth, No.1:03-CV-12366-DPW [D.Mass.].) The $784.6 million settlement was the seventh-largest False Claims Act
recovery on record and the second-largest recovery in history involving a single class of drugs. Mr. Azorsky worked
alongside Department of Justice attorneys and states Attorneys General throughout the 12-year pendency of the case.

Mr. Azorsky was actively involved in precedent-setting cases, such as the series of Ven-A-Care cases, which were among
the first large FCA multi-state cases and laid the groundwork for much of the false claims act litigation that goes on today.
He has also represented whistleblowers in False Claims Act cases involving defense contractors, off-label marketing and
misbranding by pharmaceutical companies and fraud in connection with the banking industry, for-profit colleges and
student loan programs. In addition, Mr. Azorsky represents whistleblowers in tax fraud claims against large and small
corporations through the IRS Whistleblower Office, as well as whistleblowers alleging violations of the Foreign Corrupt
Practices Act and violations of the federal securities laws filed with the SEC Whistleblower Office.

Mr. Azorsky served as co-counsel for the whistleblower on the following representative matters:

    •   United States of America ex rel. Ven-a-Care of the Florida Keys Inc. v. Dey Laboratories, et al., Civil Action No. 05-
        11084 (D. Mass) ($280 Million settlement in December 2010)
    •   United States of America ex rel. Ven-A-Care of the Florida Keys Inc. v. Boehringer Ingelheim Corp, et al., Civil Action
        No. 07-10248 (D. Mass.) ($280 Million settlement in December, 2010)
    •   Florida ex rel. Ven-A-Care of the Florida Keys Inc. v. Boehringer Ingelheim Corp, et al., Civil Action No. 98-3-32A
        (Leon Cty., Fla.) ($6.5 Million settlement with Dey Laboratories, Inc. in March 2010)
    •   Florida ex rel. Ven-A-Care of the Florida Keys Inc. v. Boehringer Ingelheim Corp, et al., Civil Action No. 98-3-32A
        (Leon Cty., Fla.) ($9.57 Million settlement with Schering-Plough in December 2009)
    •   Florida ex rel. Ven-A-Care of the Florida Keys Inc. v. Boehringer Ingelheim Corp, et al., Civil Action No. 98-3-32A
        (Leon Cty., Fla.) ($8.5 Million settlement with Boehringer Ingelheim in December 2009)
    •   Texas ex rel. Ven-A-Care of the Florida Keys Inc. v. Roxane Laboratories, Inc., Boehringer Ingelheim
        Pharmaceuticals, Inc., Ben Venue Laboratories, Inc. and Boehringer Ingelheim Corporation, Civil Action No. GV3-
        03079 (Travis Cty., Tex.) ($10 Million settlement with Boehringer Ingelheim in November 2005)
    •   Texas ex rel. Ven-A-Care of the Florida Keys Inc. v. Warrick Pharmaceuticals Corporation, Schering Plough
        Corporation, Schering Corporation, Civil Action No. GV002327 (Travis Cty., Tex.) ($27 Million settlement with
        Schering-Plough in May 2004)
    •   Texas ex rel. Ven-A-Care of the Florida Keys Inc. v. Dey, Inc., Dey, L.P., Civil Action No. GV002327 (Travis Cty., Tex.)
        ($18.5 Million settlement with Dey Laboratories, Inc. in June 2003)

Mr. Azorsky is recognized for his expertise. He has served as an expert witness in a legal malpractice case concerning qui
tam practice. He has provided expert guidance on the False Claims Act in congressional hearings, as well as before the
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Vermont Senate Judiciary Committee in support of the passage of a False Claims Act for the state. In addition, he regularly
speaks before professional audiences regarding the federal and state False Claims Acts.

Mr. Azorsky is a member of Taxpayers Against Fraud, a nonprofit, public interest organization dedicated to combating
fraud against the Federal Government through the promotion and use of the Federal False Claims Act and its qui tam
provisions. Prior to joining Cohen Milstein, in addition to his Whistleblower/False Claims Act practice, he was actively
involved in groundbreaking civil rights, commercial and intellectual property litigation, including Internet and software
industry-related litigation.

Mr. Azorsky is a graduate of the University of Pennsylvania, with a B.A. in English, and received his law degree from Cornell
University Law School.

Mary J. Bortscheller

Mary J. Bortscheller is a Partner at Cohen Milstein and a member of the firm’s Employee Benefits Practice Group. In this
role, Ms. Bortscheller represents the interests of employees, retirees, and plan participants and beneficiaries in ERISA
cases in the district court and on appeal.

Ms. Bortscheller is a hands-on, strategic litigator, thoroughly versed in the complexities of ERISA law. In 2019, she was
named a Law360 “Rising Star,” recognizing lawyers under the age of 40 whose professional accomplishments transcend
their age.

Ms. Bortscheller is involved in a series of groundbreaking cases involving employer-sponsored defined benefit plans known
as “church plans,” where non-profit health care systems in the United States claim their benefit plans are exempt from
ERISA regulation under the church plan exemption. Ms. Bortscheller also represents employees in litigation involving
401(k) plans and Employee Stock Ownership Plans (ESOPs) in complex breach of fiduciary duty litigation under ERISA.

Ms. Bortscheller is currently litigating the following matters:

    •   BlackRock 401(k) Plan Litigation (N.D. Cal.): Cohen Milstein represents participants in the BlackRock 401(k) Plan,
        who allege that the Plan fiduciaries violated their duties under ERISA by investing employees’ 401(k) savings
        almost exclusively in BlackRock proprietary funds and by using BlackRock subsidiaries to broker securities lending
        deals using the Plan’s assets.
    •   AT&T Pension Benefit Plan Litigation (N.D. Cal.): Cohen Milstein represents plaintiffs and a putative class of
        participants and beneficiaries in the AT&T Pension Benefit Plan in a case alleging AT&T improperly calculated the
        pension benefits of certain retirees who retired early and/or took a joint and survivor annuity. As a result of the
        improper calculation, plaintiffs received a lower pension benefit than they were entitled to under ERISA.
    •   Western Milling ESOP Litigation (E.D. Cal.): Cohen Milstein is representing plaintiff in a suit brought on behalf of
        participants and beneficiaries of the Western Milling Employee Stock Ownership Plan. Plaintiff, a participant in
        the ESOP, alleges that the ESOP’s fiduciaries breached their fiduciary duties and engaged in prohibited
        transactions under ERISA by causing the ESOP to purchase 100% of Kruse-Western, Inc. company stock at an
        inflated stock price which did not take into account significant liabilities of the company. The value of the company
        stock subsequently dropped by 90% shortly after the purchase and has not significantly recovered.

Ms. Bortscheller was also significantly involved in the following high-profile successes:

    •   Bon Secours Health System Church Litigation (D. Md.): Cohen Milstein served as lead counsel to a class of defined
        benefit participants of seven Bon Secours Health System Inc. pension plans which plaintiffs alleged improperly
        operated under the “church plan” exemption of ERISA. In May 2017, the court granted final approval of a
        settlement of over $102 million, one of the largest settlements of its kind.
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    •   Trinity Health Corporation Church Plan Litigation (D. Md.): Cohen Milstein served as co-lead counsel to a class of
        defined benefit participants of Trinity Health Corp. pensions plans which plaintiffs alleged improperly operated
        under the “church plan” exemption of ERISA. In May 2017, the court granted final approval of a $75 million
        settlement.
    •   Advocate Health Care Church Plan Litigation (N.D. Ill.): Cohen Milstein served as co-lead counsel to a class of
        defined benefit participants, who alleged that the hospital’s plan was not a church plan and thus the class was
        entitled to ERISA’s protections. After the Supreme Court redirected this case back to the district court, in June
        2018, the court granted final approval of a settlement, which provides a guarantee of accrued benefits for ten
        years and significant non-monetary equitable consideration.
    •   SSM Health Care Church Plan Litigation (E.D. Mo.): Cohen Milstein served as lead counsel to a class of defined
        benefit participants who alleged that SSM Health improperly operated its defined benefit pension plans under the
        ERISA church plan exemption, thereby underfunding the plans as required by ERISA to the detriment of plan
        benefits. In June 2019, the court granted final approval of a $60 million settlement.

In addition to her ERISA case work, Ms. Bortscheller has represented, pro bono, unaccompanied minor clients in
immigration proceedings. Prior to joining Cohen Milstein in 2013, Ms. Bortscheller practiced at a boutique commercial
litigation firm based in Chicago, where she represented plaintiffs in antitrust and qui tam matters, as well as defendants
in general commercial litigation.

Ms. Bortscheller graduated from Gustavus Adolphus College with a B.A., cum laude, in Political Science, and received her
J.D., cum laude, from American University, Washington College of Law. During law school, she served as Features Editor
and Senior Editor of Sustainable Development Law & Policy and was a staff member of the American University
International Law Review. Ms. Bortscheller served as a judicial intern with the United States District Court for the District
of Minnesota.

Before attending law school, Ms. Bortscheller served in the United States Peace Corps teaching English as a foreign
language in Sichuan Province, China. Following law school, she was a volunteer for the Chicago Legal Clinic, Inc.'s
Foreclosure Defense Project.

Brian E. Bowcut

Brian E. Bowcut is a Partner at Cohen Milstein and a member of the firm’s Public Client practice group. Mr. Bowcut
represents state Attorneys General and other public-sector clients as outside counsel in investigations and lawsuits
involving fraudulent and deceptive trade practices. Mr. Bowcut, who joined the firm in 2015, brings with him deep
experience representing the federal government in complex litigation and in enforcement investigations. In his role as a
senior lawyer in the Public Client practice group, he brings this experience to bear in false claims and consumer fraud
enforcement at the state and local levels.

Mr. Bowcut’s recent representations include:

    •   Opioid Painkillers: Representing the states of Indiana, New Jersey and Vermont in investigations and litigation
        against entities responsible for the deceptive marketing and sale of opioids. Click here to view the lawsuit filed by
        New Jersey; click here to view the lawsuit filed by Vermont.
    •   Nursing Homes: Representing the State of New Mexico in litigation related to Medicaid fraud and deceptive
        marketing by skilled nursing facilities that promised, but failed to provide, basic care to their elderly residents. Mr.
        Bowcut briefed and successfully argued the defendants’ motion to dismiss the case.
    •   Energy Drinks: Representing a state government in litigation against Living Essentials, Inc., the creator of 5-Hour
        ENERGY, for misrepresenting the benefits of its so-called “liquid energy shot.” Mr. Bowcut is preparing this case
        for trial.

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Mr. Bowcut formerly was a Trial Attorney and Senior Trial Counsel in the Civil Division of the U.S. Department of Justice
for nine years. Most recently, as a member of the Fraud Section, he investigated and litigated fraud across an array of
government programs, from Medicare fraud by nursing facilities, hospices and medical device makers to schemes
involving federal mortgage, foreign aid, and TARP funds. Before that, as a member of the Environmental Torts Section, he
defended the United States as lead counsel in large-scale tort litigation. Prior to joining DOJ, Mr. Bowcut practiced at a
preeminent national law firm, where he specialized in pharmaceutical product liability, and commercial litigation. He has
argued cases in numerous federal district courts, the U.S. Court of Appeals for the Fourth Circuit, and the District of
Columbia Court of Appeals.

Mr. Bowcut attended Utah State University, graduating summa cum laude with a B.A. in Journalism and Political Science.
He earned his J.D. from Duke Law School, graduating cum laude and Order of the Coif, and also earned an M.A. in Public
Policy from Duke. During law school, Mr. Bowcut was an Articles Editor for the Duke Law Journal. After law school, he
clerked for the Honorable Stanley S. Brotman of the United States District Court for the District of New Jersey.

Robert A. Braun

Robert A. Braun, a Partner at Cohen Milstein and a member of the firm’s Antitrust Practice Group, focuses on cutting-
edge, industry-changing antitrust and class action litigation on behalf of individuals and small businesses harmed by price-
fixing and other illegal corporate behavior.

Mr. Braun recently helped obtain more than $50 million in settlements in In re Resistors Antitrust Litigation (N.D. Cal.),
and has also played significant roles in suits involving anticompetitive behavior in the real estate services industry, LIBOR
manipulation ($180 million in preliminary settlements), price-fixing by manufacturers of metal pipes and fittings ($47
million in settlements across two cases), and “pay-for-delay” and other practices by pharmaceutical companies to limit
access to less expensive generic drugs.

Mr. Braun is also experienced in international claims litigation, including representing victims of state-sponsored terrorism
in suits amounting to nearly $1 billion in judgments.

Currently, Mr. Braun is litigating the following notable matters:

    •   Moehrl v. National Association of Realtors (N.D. Ill.): Cohen Milstein represents a proposed class of home sellers
        in litigation against the four largest national real estate services conglomerates, and their trade association. The
        class alleges that the defendants violated federal antitrust law by conspiring to require sellers to pay the broker
        representing their homes’ buyer (and to do so at an inflated level). Mr. Braun assists in managing all aspects of
        the case.
    •   In re: Iran Beirut Bombing Litigation (D.D.C.): Cohen Milstein represents victims and family members of victims in
        the 1983 Beirut Marine Barracks bombing—the deadliest act of terrorism against Americans prior to September
        11, 2001. Mr. Braun manages this litigation, which has resulted in judgments amounting to more than $942 million
        against the government of Iran.

Mr. Braun also maintains an active pro bono practice. He is currently a member of the legal teams in Citizens for
Responsibility & Ethics in Washington v. Trump (S.D.N.Y.) and District of Columbia v. Trump (D. Md.), which seek to enjoin
President Trump’s unconstitutional receipt of emoluments on behalf of restaurant and hotel plaintiffs and the Attorneys
General of Maryland and the District of Columbia.

Prior to joining Cohen Milstein, Mr. Braun served as a law clerk for Hon. Carolyn Dineen King (5th Cir.), and Hon. Lee H.
Rosenthal (S.D. Tex.). He was also an Arthur Liman Fellow at Southeast Louisiana Legal Services, where he worked on
public interest housing litigation.


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Mr. Braun earned his J.D. at Yale Law School and attended Princeton University, graduating summa cum laude. During
law school, Mr. Braun was an editor of the Yale Journal of International Law and a member of the mock trial team.

S. Douglas Bunch

S. Douglas Bunch is a Partner at Cohen Milstein, a member of the Securities Litigation & Investor Protection practice group,
and Co-Chair of the firm’s Pro Bono Committee.

Mr. Bunch represents individual and institutional investors in securities and shareholder class actions. His work and path-
breaking legal arguments in precedent-setting cases, such as In re Harman International Industries, Inc. Securities
Litigation, have earned him numerous accolades, including being named to Benchmark Litigation’s 2019 “40 & Under Hot
List” and as one of Law360’s “Rising Stars – Securities” (2017), honoring lawyers under the age of 40 whose professional
accomplishments transcend their age.

Mr. Bunch played a leading role in the following securities class actions:

    •   In re Harman International Industries, Inc. Securities Litigation (D.D.C.): Cohen Milstein obtained a precedent-
        setting ruling by the U.S. Court of Appeals for the D.C. Circuit, reversing the dismissal of the case by the lower
        court, protecting investors by limiting the scope of protection afforded by the so-called “safe-harbor” for forward-
        looking statements in the Private Securities Litigation Reform Act of 1995.
    •   Schwartz v. Opus Bank (C.D. Cal.): Cohen Milstein was Lead Counsel in this putative securities class action, alleging
        that certain directors and officers of this commercial bank misled investors by portraying an image of a disciplined
        and conservative approach to credit, underwriting, and credit controls. In November 2018, the Court granted final
        approval of a $17 million settlement.
    •   In re ITT Educational Services, Inc. Securities Litigation (S.D.N.Y.): Cohen Milstein achieved a $16.96 million
        settlement against ITT and two of its officers. The case was hotly contested and involved unraveling complex
        accounting treatments governing ITT’s transactions with third-party lenders, whereby the third parties agreed to
        assume liability for student loan defaults up to a particular threshold. The case settled during discovery after the
        parties had reviewed and analyzed over two million pages of documents, after depositions had been taken, while
        class certification briefing was ongoing.
    •   Plumbers & Pipefitters National Pension Fund v. Orthofix International N.V. (S.D.N.Y.): Cohen Milstein reached an
        $11 million settlement against this medical device company headquartered in Curacao, Netherlands
    •   Antilles, despite significant logistical obstacles during investigation and discovery. Much of the information
        relevant to the case—including internal Company documents and witness testimony—were in six foreign
        languages, and located in nine different countries on four different continents.
    •   Rubin v. MF Global, Ltd. (S.D.N.Y.): Cohen Milstein achieved a significant $90 million settlement in this precedent-
        setting case, in which the U.S. Court of Appeals for the Second Circuit sided with the Plaintiffs and held that
        companies cannot make false or misleading statements in their offering documents, and then hide behind
        associated risk disclosures in an attempt to escape liability. The National Law Journal named Cohen Milstein to its
        Plaintiffs’ Hot List for its achievement.
    •   MBS Litigation (S.D.N.Y): Cohen Milstein is a legal pioneer in mortgage-backed securities (MBS) litigation, having
        negotiated some of the largest and most significant MBS settlements in history and achieved more than $2.5
        billion in investor recoveries. Mr. Bunch played a key role in these cases, particularly those against Residential
        Accredit Loans, Inc. (RALI) ($335 million settlement), Harborview Mortgage Loan Trusts ($275 million settlement),
        and Bear Stearns & Co. Inc. ($500 million settlement).

Mr. Bunch is currently involved the following notable cases:

    •   Cape Fear River Contaminated Water Litigation (E.D.N.C.): Cohen Milstein is Interim Co-Lead Class Counsel in this
        environmental toxic tort class action filed against E.I. du Pont de Nemours & Company and The Chemours
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        Company. Plaintiffs allege that for more than four decades, DuPont and Chemours polluted the Cape Fear River
        near Wilmington, North Carolina, with a chemical called GenX; contaminated the water supply in five North
        Carolina counties; and misrepresented the Company’s conduct to state and federal regulators, all while knowing
        that GenX was carcinogenic. Plaintiffs allege extensive property damage and personal injury as a result of
        Defendants’ actions.
    •   Plumbers & Pipefitters National Pension Fund v. Davis (S.D.N.Y.): Cohen Milstein is Lead Counsel in this high-
        profile, putative securities class action involving Performance Sports Group’s failure to disclose that its purported
        financial success was not based on sustainable, “organic” growth as represented, but was driven by the Company’s
        manipulative and coercive sale practices, which included pulling orders forward to earlier quarters and pressuring
        customers to increase their orders without regard for market demand. The SEC and Canadian authorities
        subsequently initiated investigations, and PSG filed for bankruptcy. On April 14, 2020, the Court largely denied
        Defendants’ motion to dismiss, moving the case to active discovery.
    •   In re GreenSky Securities Litigation (S.D.N.Y): Cohen Milstein is Co-Lead Counsel, representing Northeast
        Carpenters Annuity Fund and the El Paso Firemen & Policemen’s Pension Fund, in this securities class action
        involving fintech company GreenSky’s failure to disclose in its Initial Public Offering documents significant facts
        about the Company’s decision to pivot away from its most profitable line of business. In the months following the
        IPO, Defendants explained these facts to the market, and GreenSky’s stock plummeted, causing significant harm
        to investors. In June 2020, the Court certified the class of investors.
    •   In re EQT Corporation Securities Litigation (W.D. Pa.): Cohen Milstein is Co-Lead Counsel in this securities class
        action, in which Plaintiffs allege that EQT misrepresented the “substantial synergies” that were expected to arise
        from a planned merger with rival natural gas producer Rice Energy due to “the contiguous and complementary
        nature of Rice’s asset base with EQT’s.”

For his legal achievements, Mr. Bunch has received numerous industry recognitions, including being named to Benchmark
Litigation’s 2019 “40 & Under Hot List,” and Law360’s “Rising Stars – Securities” (2017), recognizing outstanding lawyers
under the age of 40. Mr. Bunch has also been annually recognized by Super Lawyers for Securities Litigation (2014-2020).

Mr. Bunch is Co-Founder and Chairman of Global Playground, Inc., a nonprofit that builds schools and other educational
infrastructure in the developing world, and serves or has served on the boards of the Northeast Conference on the
Teaching of Foreign Languages, Ascanius: The Youth Classics Institute, and Virginia21. Mr. Bunch has twice been
appointed, in 2016 and again in 2020, by Governors of Virginia to the Board of Visitors of the College of William & Mary.

A member of Phi Beta Kappa, Mr. Bunch graduated with a B.A., summa cum laude, from the College of William & Mary,
earned an Ed. M. from Harvard University, and received his J.D. from William & Mary Law School, where he was a recipient
of the Benjamin Rush Medal in 2006. In 2011, he was awarded William & Mary’s inaugural W. Taylor Reveley III award,
recognizing alumni who have demonstrated a sustained commitment to public service.

Michael Dolce

Michael Dolce is a Partner at Cohen Milstein, a member of the firm’s Complex Tort Litigation practice, and the leader of
the firm’s Sexual Abuse, Sex Trafficking, and Domestic Abuse team.

A highly regarded trial lawyer and political activist, Mr. Dolce’s practice is dedicated to representing survivors of sexual
crimes, including child and adult victims, and adult survivors of child sexual abuse. His team represents clients from initial
disclosure to law enforcement, to police investigations, criminal prosecutions, injunction proceedings and civil lawsuits
against individual criminals and any institution that gave them safe harbor to commit their crimes. Mr. Dolce brings to his
work the insight and commitment of a survivor, having himself been the victim of sexual abuse as a young boy at the
hands of a sadistic predator.



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In litigation, he has achieved multiple multi-million-dollar trial verdicts for his clients, as well as numerous substantial
settlements. Among many awards that he has received for his work is his selection by his peers to be included in The Best
Lawyers in America.

Named to Lawdragon’s 2020 list of “500 Leading Lawyers in America” Mr. Dolce was also named to Lawdragon’s list of
"500 Leading Plaintiff Consumer Lawyers" in 2019 and 2020. Mr. Dolce received Daily Business Review’s 2019 “Innovative
Practice Areas” award, as well.

His expertise and accomplishments in sex crime victim rights is nationally recognized. CNN relied on him as an expert for
an investigative report into mishandling of sex crime investigations. He has been quoted and has published editorials in
the nation’s top news outlets and law journals, including: The Associated Press, Newsweek, USA Today, The Guardian, The
Hill, The New York Times, New York Daily News, The Washington Post, The Christian Science Monitor, Law360, The Daily
Business Review, The Epoch Times, The Herald (Sharon), The Palm Beach Post, PENN Live, Politico, Salon.com, SunSentinel
(Ft. Lauderdale), Tampa Bay Times, among others. He also appears as an expert in the award-winning documentary film,
Pursuit of Truth: Adult Survivors of Child Sexual Abuse Seeking Justice.

In 2004, he broke his decades-long public silence about his status as a child sex abuse survivor in order to help other
survivors. That year, he testified about his past before the Florida Senate Criminal Justice Committee, starting what
became a six-year crusade to repeal all statutes of limitation for civil and criminal prosecution of child sexual battery.
Supported by a grassroots organization of some 200 survivors that he led as the chair of the political committee, Protect
Our Kids First, Inc., his precedent-setting strategy worked to compel the Florida Legislature to ensure that never again
would a child in Florida be turned away from any court due to the passage of time.

Mr. Dolce has achieved significant victories for his clients in civil and criminal courts. He has assisted prosecutors in
securing convictions against multiple sex criminals. He has represented clients in “impact litigation” against institutions,
from schools to group homes, which have changed their policies and practices as a result to improve child safety. He has
also recovered millions of dollars in damages for clients, including a $19.2 million jury verdict in 2009, which was ranked
by The National Law Journal’s “Verdict Search” as one of the top 100 verdicts nationwide for the year.

Currently, Mr. Dolce is litigating the following notable matters:

    •   Doe, et al. v. Washington Hebrew Congregation, et al. (D.D.C.): On April 15, 2019, Cohen Milstein, on behalf of the
        families of 11 children between the ages of three and four, filed a lawsuit against Washington Hebrew
        Congregation Edlavitch Tyser Early Childhood Center and its Director for failing to protect their children from
        sexual abuse by a preschool teacher over a two-year period.
    •   Doe v. Scores, et al. (Cir. Crt., Hillsborough Cty., Fla.): On January 29, 2020, Cohen Milstein filed a lawsuit on behalf
        of a young woman against Scores Holding Company, Inc. and its affiliates for illegally employing her when she was
        a minor at one of its Florida locations, subjecting her to be sexual abuse and human trafficking.
    •   Garrett v. University of South Florida Board of Trustees (M.D. Fla): Mr. Dolce represents a University of South
        Florida doctoral candidate, who alleges she is the victim of rape by a fellow student and that the university failed
        to protect her against her assailant after she disclosed the rape to university authorities, while actively
        empowering her assailant. After originally not wanting to draw attention to her victimization, Ms. Garrett
        courageously chose to share her story with the regional media, including Tampa Bay Times, as a means to help
        other victims.

Mr. Dolce’s recent successes include:

    •   Trahan v. Mulholland (Cir. Crt., Alachua Cty., Fla.): In August 2018, after a week-long trial, a jury awarded Ms.
        Trahan, an adult survivor of childhood sexual abuse, $4.6 million in damages for more than a decade of sexual

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        abuse perpetrated by her father, a prominent Central Florida businessman. The jury also found her mother
        negligent in failing to use reasonable care to protect her from the abuse.
    •   Doe v. Unnamed Institution: In November 2017, Mr. Dolce successfully settled a matter, prior to filing a lawsuit in
        court, on behalf of a client who survived a sexual assault in a medical setting. The $800,000 settlement and
        outcome for his client was life-altering and life-sustaining, as she had profoundly struggled with suicidal behaviors
        and needed expensive residential treatment due to her trauma.
    •   Jane Doe v. Seagate Hotel and Spa (Cir. Crt., Palm Beach Cty., Fla.): Mr. Dolce successfully represented an adult
        against a resort hotel for negligence, asserting that she was sexually assaulted by a massage therapist, who had
        been discharged just two months earlier by his prior employer for sexually assaulting a guest.
    •   Doe v. Doe (Cir. Crt., Norfolk Cty., Va.): In October 2017, Mr. Dolce successfully settled a survivor of child sexual
        abuse lawsuit in Virginia for $880,000 – more than 40 years after the abuse occurred –on behalf of a 49-year-old
        south Florida resident, whose repressed memories of traumatic sexual abuse began to surface two years earlier,
        causing him to relive the painful experiences.
    •   Jane Doe v. Florida Sheriffs Youth Ranches (Cir. Crt., Polk Cty., Fla): Mr. Dolce represented a teenaged sex abuse
        victim who was abused in a residential childcare facility by an adult resident of the facility. This civil suit against
        the facility follows a successful criminal prosecution of the abuser, asserting that the facility failed to maintain
        proper child safety procedures and policies.
    •   Rose, Fitzsimons and Davis v. The Devereux Foundation, Inc. (Cir. Crt., Leon Cty., Fla.): Mr. Dolce represented adult
        survivors in three related lawsuits, asserting child physical and sexual abuse at a licensed therapeutic group home
        perpetrated by several staff members.
    •   Hollins v. Watchtower Bible and Tract Society of New York, Inc. (Cir. Crt., Leon Cty., Fla.): Mr. Dolce represented
        an adult survivor of child sexual abuse against his former church (Jehovah’s Witnesses), resulting in a confidential
        settlement.
    •   A.S.W. v. Happy House, Inc. (Cir. Crt, Duval Cty., Fla.): Mr. Dolce represented a pre-school child against a day care
        center in a child-on-child sex abuse case, resulting in a confidential settlement.
    •   Jane Doe v. James Byrne and Linda Byrne (Cir. Crt., St. Lucie Cty., Fla): Mr. Dolce represented a mentally disabled
        child in an action against a neighbor who sexually abused her over a two-year period and against the abuser’s
        wife, on a theory that she failed to protect the child after finding evidence of ongoing abuse. The jury awarded
        damages of $3.5 million, ordering both defendants to pay.

Mr. Dolce’s work has been cited across the nation by law professors and state Supreme Court judges, garnering him
national recognition and awards from both attorneys and crime victim advocates, including the National Center for Victims
of Crime, the Florida Council Against Sexual Violence, the Florida Justice Association, The Best Lawyers in America for
Personal Injury Litigation.

He recently served on the board of directors of the Florida Council Against Sexual Violence.

Mr. Dolce graduated with a Bachelor of Arts, summa cum laude, from Lynn University and received his J.D. from Stetson
University, which awarded him at graduation the Walter Mann Award for leadership in the legal profession and the Victor
O. Wehle Award for outstanding trial advocacy.

Manuel J. Dominguez

Manuel J. (“John”) Dominguez is a Partner at Cohen Milstein and a member of the Antitrust practice group. Mr. Dominguez
specializes in complex, multi-district antitrust litigation, representing individuals and businesses harmed by
anticompetitive business practices. Mr. Dominguez also plays a significant role in identifying and investigating potential
antitrust violations for the practice group.




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Mr. Dominguez has been litigating complex antitrust, securities, and consumer cases for more than 20 years, and has
served as lead counsel and handled numerous high-profile, high-stakes cases during that time. His efforts have enabled
aggrieved businesses and consumers to recover hundreds of millions of dollars.

A hands-on litigator, Mr. Dominguez currently represents plaintiffs in litigation alleging price-fixing and monopolistic
practices in the medical products, finance and other industries. These cases include:

    •   Automotive Parts Antitrust Litigation: Cohen Milstein represents direct purchasers of Bearings, Mini-Bearings, IG
        coils, Power Window Motors, Valve Timing Control Devices and other automotive parts in a series of antitrust
        class action lawsuits accusing manufacturers and suppliers of price-fixing and bid-rigging conspiracies. These
        cases, being litigated in the Eastern District of Michigan in Detroit, stem from the largest antitrust investigation in
        the history of the U.S. Department of Justice, with over $1 billion in fines and multiple criminal indictments.
        Bearings is the first matter currently being considered for certification by the court. Mr. Dominguez has significant
        responsibilities in these cases, including leading discovery efforts against defendants, briefing and assisting
        experts. Settlements in several of these cases have recovered more than $500 million for direct purchaser
        plaintiffs.
    •   Liquid Aluminum Sulfate Antitrust Litigation: In this action it was alleged that the manufacturers of Aluminum
        Sulfate, a product used by municipalities for water treatment, conspired to allocate customers, rig bids and fix
        prices. Mr. Dominguez was appointed by the court to serve on the Plaintiffs’ Steering Committee. As part of his
        responsibilities he has been responsible for selecting class representatives and working on the consolidated
        amended complaint. Thus far, this case has resulted in the preliminary approval of settlements for direct
        purchaser plaintiffs of more than $10.7 million in cash and up to $13.5 million from the sale of defendant’s assets
        resulting from the company’s dissolution or acquisition.

In addition to antitrust class action litigation, Mr. Dominguez continues to be involved in significant non-class and non-
antitrust class actions, including winning a significant motion to dismiss in a non-class action antitrust action brought on
behalf of doctors and practice groups against a major insurance company and hospital in Florida in Omni Healthcare, Inc.
v. Health First, Inc. The case presented and argued issues of first impression for the middle district of Florida. Mr.
Dominguez was also involved in cutting-edge data privacy breach litigation against AOL for allegedly unlawfully collecting
internet search data of millions of users and making their private information available for public downloading. In addition,
Mr. Dominguez litigated a highly significant securities matter that settled for hundreds of millions of dollars involving
Symbol Technologies Inc., a barcode technology maker that intentionally overstated its revenues through premature
revenue recognition, improper consignments arrangements and channel stuffing.

Mr. Dominguez began his career as an Assistant Attorney General in the Attorney General of the State of Florida’s
Department of Economic Crimes. In that role, he represented the State of Florida in prosecuting corporations and business
entities for alleged violations of Florida’s RICO, antitrust and Unfair and Deceptive Trade Practices Act statutes. Following
his service as an Assistant Attorney General, Mr. Dominguez entered private practice, litigating and trying numerous cases
involving unfair trade practices and other alleged violations of state and federal consumer protection statutes. In 2000,
he joined a premier class action firm focused on antitrust and securities litigation; there, he rose to be one the heads of
the firm’s antitrust practice group.

Mr. Dominguez also has been at the forefront of exploring ways to develop and apply e-discovery to the law—authoring
white papers and presenting on e-discovery amendments to the Federal Rules of Civil Procedure. He also participated in
The Sedona Conference® Working Group 1, the legal industry’s vanguard e-discovery standards organization.

Mr. Dominguez formerly served as the Chair of the Antitrust, Franchise & Trade Regulation Committee of the Florida Bar’s
Business Law Section. He previously served as the Vice Chair of that committee and was a member of the Executive Council
of Florida Bar’s Business Law Section. He is also co-author of an article that appeared in the Florida Bar Journal, “The


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Plausibility Standard as a Double Edge Sword: The application of Twombly and Iqbal to Affirmative Defenses” (Vol. 84,
No. 6).

Mr. Dominguez is recognized as a “Legal Elite” by Florida Trend (2017-2018) and named a Palm Beach Illustrated “Top
Lawyers” (2018).

Mr. Dominguez received a B.A. from Florida International University, and earned his J.D. from the Florida State University
Law School, graduating with honors. In law school, he was a member of the Transnational Journal of Law and Policy.

Michael B. Eisenkraft

Michael B. Eisenkraft is a Partner at Cohen Milstein where he takes a leading role in prosecuting innovative cases relating
to the protection of financial and commodity markets for the firm and currently represents investors in the Interest Rate
Swaps, Treasuries, Stock Lending, KOSPI 200, XIV ETN, and Overstock.com markets. He has also helped investors recover
hundreds of millions of dollars in the firm’s mortgage-backed securities cases and represents businesses in commercial
contingency litigation. Mr. Eisenkraft serves as the Administrative Partner for Cohen Milstein’s New York office and chairs
the firm’s New Business Development Committee.

Mr. Eisenkraft was honored by Law360 in 2018 as one of six attorneys under the age of forty in the field of securities
whose “professional accomplishments belie their age,” by Benchmark Litigation (40 & Under Hot List) for the last two
years, and by Legal 500 as a “Next Generation Lawyer.” He has been recognized repeatedly by New York Super Lawyers
(Rising Star 2013-2019) and is rated "AV Preeminent" by Martindale-Hubbell (2017-2020). Mr. Eisenkraft currently serves
as Co-Chair of the Committee on Federal Courts for the New York County Lawyers’ Association and was appointed by
Law360 to serve on its 2020 Securities Editorial Advisory Board.

His notable successes at Cohen Milstein include:

    •   NovaStar MBS Litigation (S.D.N.Y.): $165 million settlement on behalf of investors in a Securities Act litigation
        involving billions of dollars of mortgage-backed securities underwritten by the Royal Bank of Scotland, Wachovia
        and Deutsche Bank.
    •   HEMT MBS Litigation (S.D.N.Y.): $110 million settlement on behalf of investors in mortgage-backed securities
        issued and underwritten by Credit Suisse after more than seven years of litigation, which included the first written
        decision certifying a Securities Act class of mortgage-backed securities in the country.
    •   RALI MBS Litigation (S.D.N.Y.): $335 million in settlements on behalf of investors in mortgage-backed securities
        issued by Residential Capital and underwritten by various investment banks after seven years of litigation.
    •   Harborview MBS Litigation (S.D.N.Y.): $275 million settlement on behalf of investors in mortgage-backed
        securities issued and underwritten by the Royal Bank of Scotland and its subsidiaries after more than six years of
        litigation.
    •   Dynex Litigation (S.D.N.Y.): $7.5 million settlement on eve of trial on behalf of investors in asset-backed securities.
        The decision certifying the class in the case was the first decision within the Second Circuit certifying a class of
        asset-backed bond purchasers under the 1934 Act.
    •   China MediaExpress Litigation (S.D.N.Y.): $12 million settlement with auditor defendant in case involving alleged
        fraud at Chinese reverse merger company China MediaExpress. One of the largest settlements with an auditor
        defendant in a case involving a Chinese reverse merger company.
    •   LIBOR (Exchange Traded Class) (S.D.N.Y.): $187 million in settlements with defendants, the largest class action
        settlement of manipulation claims in the history of the Commodity Exchange Act, 7 U.S.C. § 1 et seq.

Mr. Eisenkraft’s current cases include:


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    •   In Re: Interest Rate Swaps Antitrust Litigation (S.D.N.Y.): Court-appointed co-lead counsel in antitrust class action
        alleging that major investment banks conspired to prevent an all to all market for interest rate swaps from
        developing.
    •   In Re: Treasuries Securities Auction Antitrust Litigation (S.D.N.Y.): Court-appointed co-lead counsel in antitrust and
        Commodity Exchange Act class action alleging manipulation of the multi-trillion dollar market for U.S. Treasuries
        and related instruments.
    •   Stock Lending Antitrust Litigation (S.D.N.Y.): Leading antitrust class action alleging that major investment banks
        conspired to prevent the stock lending market from evolving by boycotting and interfering with various platforms
        and services designed to increase transparency and reduce costs in the stock lending market.
    •   Tower Research Capital (S.D.N.Y.): Leading Commodity Exchange Act class action against a high frequency trading
        firm alleging manipulation of the market for KOSPI 200 futures contracts (the representative stock market index
        of South Korea and one of the most widely traded futures in the world) using spoofing or faked trades.
    •   Chahal v. Credit Suisse Grp. AG, et al. (S.D.N.Y.): Court-appointed co-lead counsel in securities class action alleging
        fraud and market manipulation of XIV Exchange Traded Note market.
    •   In re: Overstock Securities Litigation: (D. Utah): Court-appointed sole Lead Counsel in class action alleging
        materially false and misleading statements and omissions and engineering a market manipulation scheme during
        the Class Period of Overstock.com securities.

Mr. Eisenkraft served as a law clerk to the Honorable Judge Barrington D. Parker of the United States Court of Appeals for
the Second Circuit. He is the author or co-author of numerous articles on legal issues in the securities and antitrust fields
among other subjects.

Mr. Eisenkraft attended Brown University, where he received a B.A., magna cum laude and Phi Beta Kappa, and graduated
cum laude from Harvard Law School.

Andrew N. Friedman

Andrew N. Friedman is a Partner at Cohen Milstein and the immediate past Co-Chair of the firm’s Consumer Protection
practice group.

Practicing in the class action field since 1985, Mr. Friedman is a nationally recognized leader in the area of complex, multi-
state class action lawsuits against manufacturers and consumer service providers, such as banks, insurers, credit card
companies, and others, who is ready to take litigation all the way through trial.

In 2018, Mr. Friedman was named Law360’s “MVP – Data Privacy and Security,” an award recognizing only five lawyers in
the United States in this emergent area of law. In addition, under his leadership, Cohen Milstein’s Consumer Protection
practice has received numerous industry awards, including Law360’s “Practice Group of the Year – Consumer Protection”
(2018, 2019) and The National Law Journal’s “Elite Trial Lawyers – Consumer” award (2018), as well as Law360’s “Practice
Group of the Year – Privacy” (2017).

Over the years, Mr. Friedman has been court-appointed Lead or Co-Lead Counsel in numerous high-profile and often
precedent-setting class actions, bringing relief to millions of consumers and recovering hundreds of millions of dollars in
class actions, including:

    •   In re Anthem Data Breach Litigation (N.D. Cal.): Mr. Friedman was Co-Lead Counsel in a data breach class action
        involving the theft of personal identification and health information of more than 78 million customers of Anthem,
        the second largest health insurance company in the nation. The lawsuit involved novel claims and cutting-edge
        damage theories, resulting in a $115 million settlement – at the time, the largest data breach settlement in history.
    •   In re Equifax, Inc., Customer Data Security Breach Litigation (N.D. Ga.): Mr. Friedman was a member of the
        Plaintiffs’ Steering Committee and was Co-Chair of the Expert Committee in this data privacy breach class action
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        against Equifax, a leading credit-reporting company that safeguards some of the most sensitive financial and
        personal information of over 147 million individuals across the United States, for its failure to inform the public of
        a massive data breach and theft of client data. On December 19, 2019 the court granted final approval of a
        landmark $1.5 billion settlement, consisting of a record-breaking $425 million in monetary and injunctive benefits
        and requiring Equifax to spend $1 billion to upgrade its security and technology.
    •   Symantec, Corp. and Digital River, Inc. (D. Minn.): Mr. Friedman also litigated a lawsuit against a four-year long
        nationwide class action battle related to the marketing of a re-download service in conjunction with the sale of
        Norton software. The case settled in a $60 million all-cash deal one month before the case was about to go to trial
        – one of the most significant consumer settlements in years.
    •   Nationwide (N.D.N.Y.) and Country Life (Cook Cty. Ill. Cir. Ct.): Mr. Friedman was one of the principal counsel in
        cases against two of the largest insurance companies in which plaintiffs asserted sales marketing abuses in the
        marketing of so-called “vanishing premium policies,” where insurance agents sold insurance policies to
        unsuspecting consumers promising that after a relatively short time the dividends generated from the policy
        would be so high as to be able to fully pay the premiums. In fact, the calculations of the policies were based on
        unrealistic interest rate projections and, therefore, the premiums never “vanished.” Nationwide resulted in a
        settlement valued at between $85 million and $103 million, while a settlement with Country Life made $44 million
        in benefits available to policyholders.
    •   Keithly v. Intelius, Inc. (W.D. Wash.): Mr. Friedman was Co-Lead Counsel, where he negotiated two nationwide
        settlements with Intelius, Inc., relating to negative option programs and improper post-transaction marketing.
        The combined settlements made $12 million in cash available to the Class.
    •   Home Depot Data Breach Litigation (N.D. Ga.): Mr. Friedman was a member of the Plaintiffs’ Steering Committee,
        representing financial institutions and headed the expert committee. This class action lawsuit arose out of the
        Home Depot data breach, a cyber-attack that affected hundreds of financial institutions and more than 40 million
        consumers who used their debit and credit cards to patronize Home Depot. On September 22, 2017, the court
        granted final approval of a $25 million settlement.
    •   HCA Litigation (M.D. Fla.): Mr. Friedman was one of the principal counsel in the a state-wide consumer class action
        in Florida federal court. Plaintiffs alleged that post-car accident emergency room patients were billed inflated fees
        for emergency radiology services, in excess of the amount allowed by law, covered in part by their mandatory
        Florida Personal Injury Protection (PIP) insurance. In December 2018, the court granted final approval of an
        injunctive relief settlement of $220 million.

Mr. Friedman has also litigated important consumer product lawsuits, including one against Thomson Consumer
Electronics, which resulted in a settlement that made up to $100 million available for persons who paid for unreimbursed
repairs to defective televisions. In addition, Mr. Friedman was one of the principal counsel in the Dex-Cool Litigation, a
nationwide lawsuit alleging that General Motors sold millions of cars with defective coolant that gummed up and caused
corrosion to engines. GM settled ahead of trial, offering relief of cash payments of up to $800 per repair.

Prior to his Co-Chairing the Consumer Protection group, Mr. Friedman was a member of Cohen Milstein’s Securities
Litigation & Investor Protection practice, litigating many important matters, including Globalstar Securities Litigation in
which he served as one of the lead trial counsel. The case settled for $20 million during the second week of the trial. In
addition, Mr. Friedman served as Co-Lead or principal counsel in Norman Frank et al. v. David L. Paul (a recovery of over
$18 million); In re Jiffy Lube Securities Litigation (D. Md.) (a recovery of over $12 million); and In re Immunex Securities
Litigation (W.D. Wash.) (a recovery of $14 million).

Currently, Mr. Friedman is litigating such notable matters as:

    •   In re: Marriott International Inc. Customer Data Security Breach Litigation (D. Md.): On April 29, 2019, the court
        appointed Mr. Friedman Consumer Plaintiffs’ Co-Lead Counsel to oversee a putative nationwide class action
        related to the data breach of personal information of nearly 400 million customers of Starwood-branded hotels,
        subsequently acquired by Marriott in 2016, making it one of the largest data breaches in U.S. history.
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    •   Facebook 2018 Data Breach Litigation (N.D. Cal.): On February 14, 2019, the court appointed Mr. Friedman Co-
        Interim Class Counsel in a putative nationwide class action against Facebook for breach of personal data.
        According to Facebook, the data breach was the result of a software vulnerability that existed for over a year (July
        2017 – September 2018). On November 15, 2020, the court preliminarily approved an injunctive relief settlement,
        which will require Facebook to adopt, implement, and/or maintain a detailed set of security commitments for the
        next five years.
    •   COVID-19 Business Interruption Insurance Litigation: Cohen Milstein represents restaurants, retailers, and other
        small businesses across the United States in litigation against their property and casualty insurance providers for
        failing to cover their COVID-19-related business interruption losses.

Mr. Friedman is a noted speaker who has appeared on numerous panels for legal education seminars and institutional
investor conferences on the issues of consumer and securities class actions. In 2011, Lawdragon named him one of the
Leading Plaintiffs’ Lawyers. His work has been cited in the media and he was profiled in the April 14, 2000, Washington
Business Journal.

Prior to joining Cohen Milstein, Mr. Friedman served as an attorney with the U.S. Patent and Trademark Office.

Mr. Friedman attended Tufts University, graduating magna cum laude and was elected Phi Beta Kappa, with a B.A. in
Psychology. He earned his J.D. from the National Law Center, George Washington University.

Agnieszka Fryszman

Agnieszka Fryszman is a Partner at Cohen Milstein and Chair of the firm’s Human Rights practice.

Ms. Fryszman has been recognized as leading one of the best private international human rights practices in the world.

Ms. Fryszman represents individuals who have been victims of torture, human trafficking, forced and slave labor and other
violations of international law. A recognized expert and leader in the field of human rights law, Ms. Fryszman regularly
litigates cases against corporate giants.

She was a member of the legal team that successfully represented survivors of Nazi-era forced and slave labor against the
German and Austrian companies that allegedly profited from their labor. These cases were resolved by international
negotiations that resulted in multi-billion-dollar settlements.

Ms. Fryszman earned the National Law Journal Pro Bono Award for efforts on behalf of Nepali laborers injured or killed at
U.S. military bases in Iraq and Afghanistan. Her team obtained several judgments and significant settlements on behalf of
the families. She currently represents victims of a human trafficking ring that allegedly lured men from Nepal with the
promise of employment at luxury hotels, but instead took them against their will to work for a U.S. military contractor in
Iraq.

Ms. Fryszman also filed and settled the first successfully resolved case of fishing boat slavery in the world. She represented
two Indonesian men who escaped from a fishing boat when it docked in California. The settlement included provisions
intended to protect future seamen, including a code of conduct for ship captains and a hand-out for seamen informing
them of their rights and who to call for help.

Ms. Fryszman has also represented men and women who were trafficked by diplomats, in the seafood industry, and to
work cleaning houses in Northern Virginia. In one recent case, after Ms. Fryszman obtained a full recovery for her client
in a civil suit, the Department of Justice brought criminal charges, resulting in guilty pleas by the perpetrators.



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Her work on behalf of the former “comfort women,” women and girls trafficked into sexual slavery by the government of
Japan during World War II, was recognized with the “Fierce Sister” award from the National Asian Pacific American
Women’s Forum. Ms. Fryszman is also leading a high-profile litigation against the Republic of Turkey for its role in the
brutal May 16, 2017 attack of peaceful protestors, outside the Turkish Chief of Mission Residence in Washington D.C.

Ms. Fryszman has received some of the legal profession’s highest honors, including being named a "Lawdragon Legend"
in 2019, which recognizes 30 of the “nation’s elite lawyers,” who have been annually recognized among the Lawdragon
500 for at least ten years. Also in 2019, The National Law Journal named Ms. Fryszman an “Elite Women of the Plaintiffs
Bar,” recognizing women attorneys who “have consistently excelled in high-stakes matters on behalf of plaintiffs over the
course of their careers.” Benchmark Plaintiff has named her a Leading Star Plaintiffs’ Litigator and one of the Top 150
Women in Litigation. For her pro bono work, she has been awarded the Beacon of Justice Award by the National Legal Aid
and Defender and the Frederick Douglass Human Rights Award from the Southern Center for Human Rights. She was also
a finalist for the Public Justice Foundation's Trial Lawyer of the Year Award for her work on Wiwa v. Royal Dutch Shell. Ms.
Fryszman joined the legal team in that case to prepare it for trial, resulting in a multi-million-dollar settlement on the
morning of jury selection.

Ms. Fryszman represented, pro bono, victims of the September 11 attack on the Pentagon and obtained one of the highest
awards for an injured survivor from the Victim’s Compensation Fund.

Ms. Fryszman also represented, pro bono, two individuals detained by the United States at Guantanamo Bay who were
ultimately cleared without charge.

Prior to joining Cohen Milstein in 1998, Ms. Fryszman served as counsel to the United States House of Representatives
Committee on the Judiciary, Subcommittee on Commercial and Administrative Law, and as counsel to Representative
Henry Waxman, Ranking Member on the House Government Reform and Oversight Committee. Earlier in her career, she
was legislative director to U.S. Representative, now Senator, Jack Reed.

Ms. Fryszman graduated from Brown University with an A.B. in International Relations, and earned her law degree from
Georgetown University, graduating magna cum laude, Order of the Coif. At law school, she was a Public Interest Law
Scholar.

Carol V. Gilden

Carol V. Gilden is a Partner in Cohen Milstein’s Securities Litigation & Investor Protection practice group. She represents
public pension funds, Taft-Hartley pension and health and welfare funds, and other institutional investors in securities
class actions, transaction and derivative litigation, and individual actions, as well as in foreign securities litigation. She also
litigates other types of complex litigation and class actions in state and federal courts nationwide.

Ms. Gilden is an industry leader and client champion, spearheading some of the most novel securities disputes in the
financial markets, resulting in aggregate recoveries in excess of several billion dollars for investors. Her guiding principle –
those who commit fraud on the financial markets should be held accountable.

Ms. Gilden has been court appointed lead, co-lead or executive committee counsel on numerous high-profile securities
cases, including MF Global, in which the U.S. Court of Appeals for the Second Circuit held that companies that make false,
misleading statements cannot hide behind risk disclosures in an attempt to escape liability, and for which she was named
in the National Law Journal’s Hot Plaintiffs Firm of the Year; and IntraLinks – one of the first securities class actions to be
certified following the Supreme Court’s decision in Halliburton II, providing a roadmap for obtaining class certification to
other cases. She is currently Co-Lead Counsel in two groundbreaking antitrust lawsuits involving two of the world’s largest
financial markets.


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Ms. Gilden began her career at the Securities and Exchange Commission in the Enforcement Division, spending five years
investigating and litigating cases involving securities fraud. Prior to joining Cohen Milstein in 2007, Ms. Gilden served as
the head of the securities class action practice at a prominent mid-sized Chicago law firm and the vice chair of its class
action department.

Representative Matters:

    •   Interest Rate Swaps Market Manipulation Litigation (S.D.N.Y.): Ms. Gilden represents the Chicago Public School
        Teachers’ Pension Fund and other institutions in a groundbreaking putative class action, charging 12 Wall Street
        banks with conspiring to engineer and maintain a collusive and anti-competitive stranglehold over the interest
        rate swaps market – one of the world’s biggest financial markets. Cohen Milstein is Co-Lead Counsel in this case,
        which is now in active discovery.
    •   Treasuries Market Manipulation Litigation (S.D.N.Y.): Ms. Gilden represents the Cleveland Bakers and Teamsters
        Pension and Health and Welfare Funds and other institutions in a groundbreaking putative antitrust securities
        class action, alleging two dozen financial institutions with an inside role at the auction for U.S. Treasuries,
        conspired to manipulate yields and prices to their own benefit. Cohen Milstein is Co-Lead Counsel in this case.
    •   Plumbers & Pipefitters National Pension Fund v. Davis, et al. (S.D.N.Y.): Ms. Gilden represents Plumbers &
        Pipefitters National Pension Fund and other investors, in this high-profile, putative securities class action involving
        PSG’s failure to disclose that its growth was not based on sustainable “organic growth” as represented, but was
        driven by the company’s manipulative and coercive sale practices, which included pulling orders forward and
        forcing customers to increase their orders without regard for market demand. The SEC and Canadian authorities
        subsequently initiated investigations, and PSG filed for bankruptcy. Cohen Milstein is sole Lead Counsel in this
        case and successfully defeated defendants’ motion to dismiss, which the court largely denied on April 14, 2020.
    •   Credit Suisse Group AG Securities Litigation (S.D.N.Y.): Ms. Gilden is representing the International Brotherhood
        of Teamsters Local No. 710 Pension Plan in a securities class action against Credit Suisse Group AG, involving
        misrepresentations of its trading and risk limits, and subsequent accumulation of billions of dollars in extremely
        risky, highly illiquid investments, including the surreptitious accumulation of nearly $3 billion in distressed debt
        and U.S. collateralized loan obligations (“CLOs”). Cohen Milstein is Co-Lead Counsel. On July 10, 2020, the parties
        agreed to a $15.5 million settlement, pending court approval.
    •   Karimian, et al. v. Alkermes Public Limited Company, et al. (E.D.N.Y.): Cohen Milstein is sole Lead Counsel
        representing the Midwest Operating Engineers Pension Trust Fund in a securities class action against Alkermes, a
        global biopharmaceutical company, for material misrepresentations about the likelihood of approval for a drug in
        development. Although the U.S. Food and Drug Administration (FDA) repeatedly shared concerns about the drug’s
        viability with the company, Alkermes represented to investors that FDA approval was imminent. Defendants’
        motion to dismiss is fully briefed and awaiting decision.
    •   Pluralsight, Inc. Securities Litigation (D. Utah): Cohen Milstein is sole Lead Counsel representing the Indiana Public
        Retirement System and the Public School Teachers’ Pension and Retirement Fund of Chicago in a securities class
        action against Pluralsight, Inc, a provider of cloud-based and video training courses. The case alleges Pluralsight
        obscured and omitted material information from investors that would have revealed its billing projections to be
        unrealistic before an over $450 million stock cash-out by Pluralsight insiders. On June 9, 2020 plaintiffs filed their
        amended complaint against Pluralsight.
    •   Intuitive Surgical Inc. Derivative Litigation (Sup. Crt. Cal.): Ms. Gilden represented the Public School Teachers’
        Pension and Retirement Fund of Chicago and negotiated a total settlement worth $20.2 million at final approval,
        consisting of cash and options, and requiring Intuitive to adopt extensive product safety, FDA compliance, and
        insider trading and corporate governance measures.
    •   ITT Educational Services, Inc. Securities Litigation (S.D.N.Y.): Ms. Gilden represented Plumbers and Pipefitters
        National Pension Fund and Metropolitan Water Reclamation District Retirement Fund and achieved a $16.96
        million settlement against ITT and two of its officers. The case was hotly contested and involved unraveling
        complex accounting treatments governing ITT’s transactions with the third-party lenders, set against the
        Department of Education and Higher Education Act default guidelines. The case settled during discovery after
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        reviewing and analyzing over two million pages of documents, after depositions had been taken and in the middle
        of class certification briefing.
    •   Singh et al. v. Orthofix International NV (S.D.N.Y.): Ms. Gilden represented Plumbers and Pipefitters National
        Pension Fund and reached an $11 million settlement against this medical device company headquartered in
        Curacao, Netherlands Antilles, despite significant logistical obstacles during investigation and discovery. Much of
        the information relevant to the case—internal company documents, witnesses, and news reports—were in six
        foreign languages and located in nine different countries on four different continents.
    •   City of Chicago v. Hotels.com, et al. (Circ. Crt. Cook Cty., Ill.): Ms. Gilden represented the City of Chicago in a high-
        profile lawsuit in Cook County Circuit Court, alleging that Expedia, Hotels.com, Orbitz, Priceline and Travelocity
        failed to properly remit hotel taxes to the City of Chicago for hotel bookings. Expedia, the last remaining
        defendant, appealed a $29 million judgement, and settled on appeal and after the conclusion of briefing. In total,
        the City of Chicago recouped $23.6 million in back taxes and penalties, and these defendants now collect and
        remit to the City of Chicago taxes on the mark-up of the room bookings.

Other Recent Leadership Roles:

In addition to the notable matters listed above, Ms. Gilden has been Lead and Co-Lead counsel in many notable matters,
including:

    •   MF Global Litigation (S.D.N.Y.): A significant settlement of $90 million and a precedent–setting case, in which the
        U.S. Court of Appeals for the Second Circuit sided with the plaintiffs and held that companies cannot make false
        or misleading statements in their offering documents, and then hide behind risk disclosures related to those facts
        in their attempt to escape liability. The National Law Journal singled out Ms. Gilden’s work on the case in
        connection with its selection of Cohen Milstein as a Hot Plaintiffs’ Firm for that year.
    •   IntraLinks Litigation (S.D.N.Y.): One of the first securities class actions to be certified following the Supreme
        Court’s decision in Halliburton II. That case was successfully resolved for $14 million. Ms. Gilden served as lead
        counsel.
    •   Huron Securities Litigation (N.D. Ill.): A total $40 million settlement, including $27 million in cash plus 474,547
        shares of common stock, valued at $13,292,061 as of the market’s close on May 6, 2011.
    •   In re RehabCare Group, Inc. Shareholders Litigation (Del. Ch.): Ms. Gilden was co-lead counsel and settled the case
        for a cash payment to shareholders and significant deal reforms including enhanced disclosures and an amended
        merger agreement.

Ms. Gilden’s executive committee roles include other high-profile cases: Global Crossing Securities Litigation (settlements
of $448 million) and the Merrill Lynch Analyst cases ($125 million settlement), as well as on the litigation team of the
Waste Management Litigation ($220 million settlement). Under her leadership, her former firm was an active member of
the litigation teams in the AOL Time Warner Securities litigation ($2.5 billion settlement), CMS Securities Litigation ($200
million settlement) and the Salomon Analyst Litigation/In re AT&T ($75 million settlement). Further, Ms. Gilden was lead
counsel in an opt-out securities litigation action in connection with the McKesson/HBOC merger, Pacha, et al. v. McKesson
Corporation, et al., which settled for a substantial, confidential sum.

Ms. Gilden has earned the trust of her clients, who know she will go to the mat for them, tenaciously advocating for them
from start to finish in their cases. She draws respect from colleagues, as well as from adversaries who consistently place
her in the highest ranks of the profession. In 2019, she was named a “Women of Influence” by the Chicago Business
Journal, recognized with a “Women in Law Award” by Lawyer Monthly Magazine, and listed among the “500 Leading
Plaintiff Financial Lawyers” by Lawdragon. In 2018, she was named one of “Chicago’s Notable Women Lawyers” by Crain’s
Chicago Business and the “Securities Litigation Attorney of the Year – Illinois” by Lawyer International’s Global Awards.
Ms. Gilden is rated AV Preeminent by Martindale-Hubbell (the highest possible rating for professional excellence) and is
consistently listed as an “Illinois Super Lawyer” by the Thomson Reuters publication, Super Lawyers Magazine.

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Ms. Gilden served as the first woman President of the National Association of Shareholder and Consumer Attorneys, the
preeminent trade association for securities class action attorneys, as well as the organization’s first woman Treasurer. As
President of NASCAT, Ms. Gilden made repeated visits to Capitol Hill advocating for strong investor protection. She also
engaged in outreach to the institutional investor community on needed reforms to reverse the erosion of investor rights.
Under Ms. Gilden’s leadership, NASCAT also filed amicus briefs in connection with major securities cases before the
Supreme Court and other courts. Prior to becoming President, she served as the President-Elect. She continues to serve
on NASCAT’s Executive Committee.

Ms. Gilden was selected to serve on the Corporate Governance and Markets Advisory Councils to the Board of Directors
for the Council for Institutional Investors (CII) during 2013-2015. CII is a nonprofit association of pension and other
employee benefits funds, endowments and foundations and a voice for effective corporate governance and strong
shareholder rights. Ms. Gilden is also a member of the National Association of Public Pension Attorneys (NAPPA).

Ms. Gilden regularly lectures at legal conferences around the country on securities litigation and class action law, and is a
frequent speaker at institutional investor conferences and symposiums regarding securities law developments,
shareholder rights and regulatory reform. She has authored and co-authored numerous scholarly articles and course
materials on securities fraud cases, class actions, derivative litigation and related topics.

Ms. Gilden attended the University of Illinois, earning a B.S. in Business Administration, and received her J.D. from Chicago-
Kent College of Law, where she graduated with honors and was a member of the Chicago-Kent Law Review.

Geoffrey Graber

Geoffrey Graber is a Partner at Cohen Milstein and a member of the firm’s Consumer Protection practice, where he
specializes in representing consumers in complex class action litigation involving issues of false advertising, fraud, data
privacy theft and other forms of unfair business practices at the hands of banks, insurance, health care companies, and
other consumer providers.

Mr. Graber also represents whistleblowers in qui tam litigation under the False Claims Act and whistleblower programs
under the U.S. Securities Exchange (SEC), U.S. Department of Transportation (DOT), and U.S. Department of Defense
(DOD). Often these lawsuits involve Foreign Corrupt Practices Act allegations.

Prior to joining Cohen Milstein in 2015, Mr. Graber had a distinguished career at the U.S. Department of Justice (DOJ),
serving as Deputy Associate Attorney General and Director of the Residential Mortgage-Backed Securities (RMBS) Working
Group at the DOJ, where he oversaw the DOJ’s nationwide investigation into the packaging and sale of mortgage-backed
securities (MBS), leading up to the financial crisis. He supervised more than 100 DOJ prosecutors, lawyers, investigators
and analysts and worked closely with senior officials from the SEC, Department of Housing and Urban Development (HUD),
Inspector General’s Office for the Federal Finance Agency and more than 10 state attorneys general offices.

The DOJ investigations overseen by Mr. Graber ultimately recovered more than $36 billion. These recoveries include the
record-breaking $16.65 billion settlement reached in August 2014 with Bank of America – the largest settlement with a
single entity in U.S. history – as well as settlements with Citigroup ($7 billion) and JP Morgan ($13 billion).

Earlier in his tenure at the DOJ, Mr. Graber served as Counsel in the Civil Division, where he proposed and then led the
three-year investigation (2004 – 2007) of Standard & Poor’s (S&P) and its ratings of structured finance products. Mr.
Graber oversaw the investigation and supervised a team of more than 50 prosecutors, DOJ lawyers, investigators and
analysts. The investigation, which made groundbreaking use of the Financial Institutions Reform, Recovery and
Enforcement Act of 1989 (FIRREA), resulted in the largest enforcement action filed by the United States concerning the
financial crisis (United States v. Standard & Poor’s). As a result of his successful work on S&P, Mr. Graber earned the
Attorney General’s Distinguished Service Award in 2015.
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In 2014, while at the DOJ, Mr. Graber also received the Attorney General’s Distinguished Service Award for his work
relating to the $13 billion settlement with JP Morgan – including, at the time, the largest FIRREA penalty recovered by the
DOJ.

Mr. Graber’s distinguished background and experience has proven invaluable to clients. He is currently litigating the
following high-profile matters:

    •   Singer, et al. v. Facebook (N.D. Cal.): Mr. Graber serves as lead counsel representing a putative class of advertisers
        who claim that Facebook’s key advertising metrics (Potential Reach and Estimated Daily Reach) are false and
        misleading due to systemic inflation of Facebook’s user base.
    •   Ariza v. Luxottica Retail North America (LensCrafters) (E.D.N.Y.): Mr. Graber represents a putative class of
        purchasers of LensCrafters’ Accufit Digital Measurement System (Accufit) services, who allege that LensCrafters
        used false, misleading advertising and deceptive sales practices about Accufit being “five times more accurate” in
        measuring pupillary distance than traditional methods, to induce customers to purchase LensCrafters higher-
        priced prescription lens products.
    •   LLE One, LLC v. Facebook (N.D. Cal.): Mr. Graber serves on the co-lead counsel team representing a class of
        advertising purchasers who claim Facebook breached its implied duty to perform with reasonable care and
        violated California’s Unfair Competition Law by intentionally miscalculating and inflating metrics related to its
        video advertisement and monitoring services. If not for these miscalculations, plaintiffs claim, they would not have
        purchased more video advertisements and at a higher price than they otherwise would have paid. On June 12,
        2019, the parties announced that they had reached a class-wide settlement, which is set for preliminary approval
        in November 2019.

Mr. Graber’s recent successes include:

    •   In re Anthem, Inc. Data Breach Litigation (N.D. Cal.): Cohen Milstein was co-lead counsel in a certified class action
        involving the 2015 cyberattack and massive data breach of Anthem, Inc., one of the nation’s largest for-profit
        managed health care companies, which resulted in the theft of personal identification and health information of
        78.8 million insureds. On August 16, 2018 the Court granted final approval to a $115 million settlement in this
        class action – the largest data breach settlement in U.S. history. Mr. Graber was involved in all aspects of the
        litigation.

Before joining the DOJ, Mr. Graber was an associate at a top-tier defense law firm, where he defended Fortune 500
companies and their officers and directors in securities and derivative suits, consumer class actions and government
investigations. Mr. Graber also devoted substantial time to pro bono representation of indigent individuals and families
in civil rights actions against local law enforcement.

Mr. Graber received his undergraduate degree in Philosophy from Vassar College, and earned his law degree from the
University of Southern California Law School, where he served as the Managing Articles Editor on Southern California Law
Review.

Karen L. Handorf

Karen L. Handorf is a Partner at Cohen Milstein and Co-Chair of the firm’s Employee Benefits/ERISA practice group, where
she leads the firm’s efforts in identifying, litigating, and appealing often novel employee benefits issues. In this role, Ms.
Handorf represents the interests of employees, retirees, plan participants and beneficiaries in ERISA cases in the district
courts and on appeal.



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A Fellow of the American College of Employee Benefits Counsel, Ms. Handorf joined Cohen Milstein in 2007 following a
distinguished 25 year career in government service where she was the Deputy Associate Solicitor, Plan Benefits Security
Division, among other senior positions she held at the U.S. Department of Labor (DOL). During her tenure at the DOL, Ms.
Handorf played a major role in formulating and litigating the Government’s position on ERISA issues expressed in amicus
briefs filed by the Solicitor General in the United States Supreme Court.

At Cohen Milstein, Ms. Handorf has led some of the most significant ERISA-related litigation in recent U.S. history. Under
her guidance, Cohen Milstein has successfully litigated over twenty “church plan” cases, which allege that employers had
improperly claimed their pension plans qualified for the “church plan” exemption under ERISA, resulting in billions-of-
dollars of underfunded plans and losses to beneficiaries. In 2016, the Supreme Court agreed to hear arguments on three
consolidated church plan cases, which Ms. Handorf co-led. In June 2017, the Court reversed the lower courts’ rulings,
which favored the plaintiffs, but would not rule on plaintiffs’ other theories of liability, thereby re-directing the cases back
to district court for further litigation. Since then, under Ms. Handorf’s guidance, the remaining cases have settled
successfully or continue to be litigated in federal court on alternative grounds.

Ms. Handorf also leads the firm’s investigation into what is often groundbreaking litigation of other types of employer-
sponsored defined benefit plans, such as 401ks, Employee Stock Ownership Plans (ESOPs), and health plans that are
allegedly in breach of ERISA.

Recent high-profile successes include:

    •   Providence Health Services Church Plan Litigation (W.D. Wash.): Cohen Milstein served as co-lead counsel to a
        class of defined benefit participants of Providence’s health & Service Case Balance Retirement Plan who alleged
        that fiduciaries underfunded the pension plan because they improperly operated it under the ERISA “church plan”
        exemption. In March 2017, the court granted final approval of a $315.9 million settlement, one of the largest
        settlements of its kind, and requires Providence to continue making minimum plan contributions that aim to fully
        fund the plan by 2029.
    •   Bon Secours Health System Church Litigation (D.Md.): Cohen Milstein served as lead counsel to a class of defined
        benefit participants of seven Bon Secours Health System Inc. pension plans which improperly operated under the
        “church plan” exemption of ERISA. In May 2017, the court granted final approval of a settlement of over $102
        million, one of the largest settlements of its kind.
    •   Trinity Health Corporation Church Plan Litigation (D.Md.): Cohen Milstein served as co-lead counsel to a class of
        defined benefit participants of Trinity Health Corp. pensions plans which improperly operated under the “church
        plan” exemption of ERISA. In May 2017, the court granted final approval of a $75 million settlement.
    •   SSM Health Care Church Plan Litigation (E.D. Mo.): Cohen Milstein served as lead counsel to a class of defined
        benefit participants who alleged that SSM Health improperly operated its defined benefit pension plans under the
        ERISA church plan exemption, thereby underfunding the plans as required by ERISA to the detriment of plan
        benefits. In June 2019, the court granted final approval of a $60 million settlement.
    •   Advocate Health Care Church Plan Litigation (N.D. Ill.): Cohen Milstein served as co-lead counsel to a class of
        defined benefit participants, who alleged that the hospital’s plan was not a church plan and thus the class was
        entitled to ERISA’s protections. After the Supreme Court redirected this case back to the district court, in June
        2018, the court granted final approval of a settlement, which provides a guarantee of accrued benefits for ten
        years and significant non-monetary equitable consideration.
    •   OregonSaves (D. Or.): Retained as outside counsel, Ms. Handorf represented the State of Oregon, which became
        the first state in the nation to implement a defined contribution savings program, called OregonSaves, for private
        sector employees. The ERISA Industry Committee filed a lawsuit, arguing that the program is preempted by ERISA.
        A settlement was reached in March 2018.

On-going high-profile litigation includes:

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    •   Dignity Health Church Plan Litigation (N.D. Cal.): Cohen Milstein is co-counsel to a class of defined benefit
        participants, which alleges that Dignity Health pension plans are improperly operated under ERISA’s “church plan”
        exemption, and, as a result, has underfunded its plans by over $1.2 billion. After the Supreme Court redirected
        this case back to the district court, in April 2019, the district court denied defendant’s motion to dismiss, allowing
        plaintiffs’ claims to proceed. A settlement is pending preliminary approval.
    •   St. Peter’s Healthcare System Church Plan Litigation (D.N.J.): Cohen Milstein is counsel to a class of defined benefit
        participants, which alleges that the hospital’s plan is not a church plan and thus the class is entitled to ERISA’s
        protections. After the Supreme Court redirected this case back to the district court, in April 2019, the district court
        denied defendant’s motion to dismiss, allowing plaintiffs’ claims to proceed.

As a testament to her expertise in ERISA, and excellent lawyering and advocacy skills, Ms. Handorf is frequently invited to
represent entities in filing their amicus briefs before appellate courts, including the Supreme Court. Recent filings include:

    •   On behalf of former senior officials of the DOL, including the former Solicitor of the DOL and former Assistant
        Secretary for Employee Benefits Security Administration as amicus counsel before the US. Court of Appeals for
        the District of Columbia Circuit, supporting the appellees and affirmance on the merits in State of New York v.
        United States Department of Labor, arguing that the DOL’s Final Rule, as guided by the Trump Administration, is
        an unreasonable interpretation of ERISA and encourages the proliferation of entrepreneurial schemes designed
        to enrich the promoters, contrary to Congress’s clear intent that ERISA protect the health care benefits of
        America’s workers.
    •   On behalf of the Pension Rights Center as amicus counsel before the United States Supreme Court supporting the
        petitioners on the merits in Tibble v. Edison International, arguing that 401(k) plan fiduciaries must monitor the
        fees charged by plan investments on a periodic basis, and that participants can sue to require fiduciaries to replace
        overpriced investment options in 401(k) plans more than six years after the investment options were initially
        added to the plan.
    •   On behalf of AARP and the National Employment Lawyers Association as amicus counsel before the Unites States
        Court of Appeals for the Second Circuit in support of the appellants in Burnett v. Express Scripts Inc., Anthem, Inc.,
        arguing that Anthem, a third-party administrator, was retained by the plans, had the management discretion over,
        and was therefore a fiduciary of Express Scripts prescription drug program and assets used to pay for prescription-
        drug benefits.

Elected by her peers as a Fellow to the American College of Employee Benefits Counsel in 2007, Ms. Handorf was elected
to the College’s Board of Governors in 2018. She served as Plaintiffs' Co-Chair of Preemption and Civil Procedure
Subcommittee of the Employee Benefits Committee of the ABA's Labor Section. Ms. Handorf has also received numerous
industry recognitions, including being named Law360’s “MVP – Benefits” (2020), recognizing the top five most influential
employee benefits and ERISA attorneys in the United States, as well as being named among The National Law Journal’s
“Elite Women of the Plaintiffs’ Bar” (2020). She has also been named to the Best Lawyers in America (2016 – 2020), and,
in 2019, she was named “Lawyer of the Year” in Washington, DC in ERISA Litigation.

While working at the DOL, Ms. Handorf was the recipient of the Department’s Career Service Award. She also received
several Exceptional Achievement Awards for her work on ERISA 401(k) plan remedies, the amicus brief in the Enron
litigation, retiree health care, the amicus program in general, the appellate brief in the Department’s Tower litigation,
termination annuities litigation and multiple employer welfare arrangement (MEWAs) litigation.

Ms. Handorf is a frequent commentator and speaker on ERISA issues for the press, the ABA, Practising Law Institute,
American Conference Institute, various Bar associations, and private seminars.

Ms. Handorf attended the University of Wisconsin-River Falls, where she received a B.S. in Speech and History, and earned
her J.D. from the University of Wisconsin Law School.

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Brent W. Johnson

Brent W. Johnson is a Partner at Cohen Milstein and Co-Chair of the firm’s Antitrust practice group. Mr. Johnson also co-
leads the group’s new case investigations. He has initiated and developed cases that have compensated class members
hundreds of millions of dollars and helped break new ground in antitrust law, including challenging no-poach agreements
in labor markets.

Mr. Johnson was recognized in 2017, 2018 and 2019 by The Legal 500 as a “Next Generation Lawyer,” an honor bestowed
upon less than a dozen lawyers positioned to become leaders in the field of antitrust civil litigation and class actions. He
also was named by Super Lawyers a “Rising Star” in Antitrust Litigation in 2016, 2017, and 2018 and a Super Lawyer for
Antitrust Litigation in 2020. He was named a “Future Star” by Benchmark Litigation in 2018. Lawdragon named him to its
list of “500 Leading Plaintiff Financial Lawyers” in 2019 and 2020.

Mr. Johnson has considerable expertise and strategic perspective in large, complex antitrust litigation and class actions,
having represented businesses and individuals as plaintiffs and defendants. His practice encompasses a broad range of
antitrust claims, including Sherman Act Section 1 restraints of trade and Section 2 monopoly and monopsony claims. He
has argued before federal district courts and state trial and appellate courts and brought cases to trial.

Mr. Johnson’s recent successes include the following notable antitrust class actions:

    •   In re Domestic Drywall Antitrust Litigation (E.D. Pa.): Mr. Johnson initiated the investigation and filed the first
        complaint in this case, in which Cohen Milstein serves as co-lead counsel for a class of direct purchasers of drywall
        against drywall manufacturers for price-fixing. The Court has approved settlements that total more than $190
        million. The Court commented that it had sided with Plaintiffs because of counsel’s “outstanding work,” and that
        Plaintiffs’ counsel had a “sophisticated and highly professional approach.” It complemented the attorneys as
        “highly skilled” and noted that their performance on class action issues was “imaginative.” It also stated that “Few
        cases with no government action, or investigation, result in class settlements as large as this one.”
    •   In re Animation Workers Antitrust Litigation (N.D. Cal.): Mr. Johnson developed this case with two other attorneys
        in the firm, and Cohen Milstein filed the first complaint. Cohen Milstein serves as co-lead counsel representing a
        class of animation and visual effects workers in a lawsuit alleging that the defendants, who include Pixar, Lucasfilm
        Ltd. and DreamWorks Animation, secretly agreed not to solicit class members and to coordinate on compensation.
        The Court approved settlements with all of the defendants for a total of $168.5 million.
    •   Grand Strand v. Oltrin (D. S.C.): Mr. Johnson was personally appointed co-lead Class Counsel and led the CMST
        team in representing a class of direct purchasers of bulk bleach, including municipal water authorities and others,
        against that product’s manufacturers who engaged in an illegal market allocation agreement. The Court approved
        a settlement worth nearly all of the class’s single damages and remarked that the case had been “skillfully
        handled.”
    •   In re Urethane Antitrust Litigation (D. Kan.): Cohen Milstein served as co-lead counsel on behalf of a certified class
        of direct purchasers of several types of chemicals who were overcharged as a result of a nationwide price-fixing
        and market allocation conspiracy. In the litigation, multiple defendants collectively settled for over $130 million,
        and a jury verdict of $1.1 billion was secured against Dow Chemical, the final defendant, in 2013. Dow ultimately
        settled for $835 million while the case was on appeal before the Supreme Court, bringing the total recovery to
        $974 million – nearly 250% of the damages found by the jury.
    •   The Shane Group, Inc. v. Blue Cross Blue Shield of Michigan (E.D. Mich.): Cohen Milstein serves as co-lead counsel,
        representing a class of purchasers of hospital services against Blue Cross Blue Shield of Michigan for agreeing to
        MFN provisions in its contracts with hospitals throughout Michigan that required those hospitals to charge other
        insurers as much or considerably more for services provided to class members. The Court approved a settlement
        with BCBSM for nearly $30 million.

Currently, Mr. Johnson is litigating the following antitrust class actions:
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    •   In re Interest Rate Swaps Antitrust Litigation (S.D.N.Y.): Cohen Milstein serves as co-lead counsel, representing the
        Public School Teachers’ Pension and Retirement Fund of Chicago and a proposed buy-side investor class against
        numerous Wall Street investment banks. The class alleges that the defendants conspired to prevent class
        members from trading IRS on modern electronic trading platforms and from trading with each other, all to protect
        the banks’ trading profits from inflated bid/ask spreads.
    •   In re Broiler Chicken Antitrust Litigation (N.D. Ill.): Cohen Milstein serves as co-lead counsel, representing a class
        of end-user consumers of broiler chicken in a litigation alleging that the defendants, who include Perdue Farms
        and Tyson Foods, agreed to restrict the supply of broilers, among other things, thereby raising their price to
        consumers. The Court so far approved settlements with four of the defendants for a total of $105 million.
    •   Jien v. Perdue Farms, Inc. (D. Md.): Cohen Milstein serves as co-lead counsel, representing a proposed class of
        poultry plant workers, in a suit alleging that the nation’s largest chicken and turkey producers conspired to
        suppress their wages.

Prior to joining Cohen Milstein, Mr. Johnson practiced at a premier global law firm, where he focused on antitrust litigation
for plaintiffs and defendants. Some of Mr. Johnson's matters included:

    •   Feesers, Inc. v. Michael Foods, Inc. and Sodexho, Inc. (M.D. Pa.): Mr. Johnson was a member of the successful trial
        team that represented Michael Foods, a manufacturer of processed egg products and refrigerated potato
        products, in a three-week trial of a Robinson-Patman Act action brought by a broad-line distributor of food
        products.
    •   Dahl, et al. v. Bain Capital, et al. (D. Mass.): Mr. Johnson represented The Carlyle Group in a class action where
        plaintiffs alleged collusion among certain private equity firms and investment banks in specific going-private
        transactions in violation of Section 1 of the Sherman Act.
    •   In re Aftermarket Filters Antitrust Litigation (N.D. Ill.): Mr. Johnson represented Champion Laboratories, a
        manufacturer of aftermarket automotive filters, in a class action where plaintiffs alleged a conspiracy among
        manufacturers to fix prices in violation of Section 1 of the Sherman Act.
    •   National Laser Technology, Inc. v. Biolase Technology, Inc. (S.D. Ind.): Mr. Johnson represented Biolase, the
        country's largest manufacturer of lasers for dental applications, against Sherman Act claims brought by a
        competitor aftermarket dental laser support company. The matter resulted in a favorable settlement for the
        client.

Mr. Johnson has significant experience in other complex civil litigation, including mass torts and government contracts.

Mr. Johnson is a commentator on antitrust and class action issues. In the fall of 2016, he provided testimony concerning
Rule 23 to the Advisory Committee on Civil Rules on behalf of the Committee to Support the Antitrust Laws. Along with
Emmy Levens, he has published two articles in the ABA’s Antitrust magazine – one on ascertainability in the Spring 2016
issue and another on circuit splits affecting antitrust class actions in the Fall 2019 issue. He is a member of the ABA Section
of Antitrust Law, and in July of 2019, he gave an ABA presentation on the legal standard to apply in cases regarding no-
poach agreements. In his pro bono work, he has represented Covenant House Washington, D.C., Habitat for Humanity
International Inc. and the Cystic Fibrosis Foundation.

Mr. Johnson graduated magna cum laude from Duke University, with a B.A. in Political Science and Spanish, and attended
Stanford Law School, where he earned his law degree.

Richard A. Koffman

Richard A. Koffman is a Partner at Cohen Milstein and former Co-Chair of the Antitrust practice group. He litigates antitrust
cases on behalf of the victims of corporations engaged in price-fixing, market monopolization, and other unlawful conduct.

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Mr. Koffman has been repeatedly recognized as one of the nation’s top plaintiffs’ antitrust lawyers. He was named
Law360’s Competition Law MVP (2016) and inducted into The Legal 500 Hall of Fame (2017), after being recognized by
The Legal 500 annually since 2010 as one of the top plaintiffs’ class action antitrust litigators. Mr. Koffman was also named
one of the world’s leading competition lawyers by Global Competition Review (2016, 2019 and 2020), as one of 500 leading
plaintiff financial lawyers by Lawdragon (2019), and as a Washington, D.C. Super Lawyer (2019 & 2020).

Mr. Koffman has had the honor of serving as court-appointed lead or co-lead counsel in many landmark antitrust class
actions, including the Urethanes Antitrust Litigation, which resulted in the largest price-fixing verdict in U.S. history and
the largest jury verdict of 2013.

A former Senior Trial Attorney in the U.S. Department of Justice’s Antitrust and Civil Rights Divisions, Mr. Koffman views
his role in litigating antitrust lawsuits as an extension of the public interest work he pursued at the DOJ in promoting
competition and fighting discrimination.

Recent case successes include:

    •   In re: Urethanes (Polyether Polyols) Antitrust Litigation (D. Kan.): Co-Lead Counsel for plaintiffs in an antitrust class
        action alleging a conspiracy to fix the prices of chemicals used to make polyurethane foam. Four defendants
        settled pre-trial for a total of $139 million. After a four-week trial, the jury returned a $400 million verdict for
        plaintiffs against the final defendant, The Dow Chemical Co., which the district court trebled to more than $1
        billion. Dow ultimately settled for $835 million while the case was on appeal, bringing the total recovery to $974
        million – nearly 250% of the damages found by the jury.
    •   In re: Plasma-Derivative Protein Therapies Antitrust Litigation (N.D. Ill.): Co-Lead Counsel for plaintiffs alleging a
        conspiracy to reduce the supply and increase prices of IVIG and Albumin – life-saving therapies derived from blood
        plasma. Mr. Koffman and his team obtained settlements totaling $128 million to compensate customers who
        were overcharged for these vital therapies.
    •   In re: Dental Supplies Antitrust Litigation (E.D.N.Y): Co-lead counsel for a proposed class of dental practices and
        dental laboratories. The case alleges that Defendants Henry Schein, Inc., Patterson Companies, Inc., and Benco
        Dental Supply Company – the three largest dental supply and dental equipment distributors in the United States
        – fixed price margins on dental equipment, jointly pressured manufacturers to squeeze out competitors, and
        agreed not to “poach” each other’s employees, in violation of federal antitrust law. The court granted final
        approval to an $80 million settlement on June 24, 2019. In approving the settlement, the Honorable Brian M.
        Cogan of the U.S. District Court for the Eastern District of New York stated, “This is a substantial recovery that has
        the deterrent effect that class actions are supposed to have, and I think it was done because we had really good
        Plaintiffs' Lawyers in this case who were running it.”
    •   In re: Polyester Staple Antitrust Litigation (W.D.N.C.): Co-Lead Counsel for plaintiffs alleging a conspiracy to fix
        prices for polyester staple fiber; the case settled for $46 million.

Current cases include:

    •   Mixed Martial Arts (MMA) Antitrust Litigation (D. Nev.): Co-Lead Counsel in a class action on behalf of MMA
        fighters alleging that Zuffa LLC – commonly known as the Ultimate Fighting Championship – has unlawfully
        monopolized the markets for promoting live professional MMA bouts and for purchasing the services of
        professional MMA fighters. The district court denied defendant’s motion to dismiss the case in September 2015.
    •   In re: Treasuries Securities Antitrust Litigation (S.D.N.Y.): Co-Lead Counsel in a ground-breaking antitrust and
        Commodity Exchange Act class action alleging many of the nation’s biggest banks manipulated the multi-trillion-
        dollar market for U.S. Treasuries and related instruments.

In 2016, Law360 named Mr. Koffman a Competition Law MVP – one of only five attorneys (and only two plaintiffs’
attorneys) to be so honored. The Legal 500 has recognized Mr. Koffman as a Leading Lawyer for "Litigation - Mass Tort
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and Class Action: Plaintiff Representation - Antitrust" for eight years in a row, describing him as a “strong brief writer and
an excellent oral advocate.” In 2017, Mr. Koffman was inducted to the inaugural “Legal 500 Hall of Fame." Mr. Koffman
was also named as one of the world’s leading competition lawyers by Global Competition Review in the U.S. Plaintiffs
section of Who’s Who Legal: Competition (2016 and 2019).

Mr. Koffman served as a law clerk to two Federal Judges: James B. McMillan, of the U.S. District Court for the Western
District of North Carolina and Anthony J. Scirica of the U.S. Court of Appeals for the Third Circuit.

Mr. Koffman attended Wesleyan University, where he received a B.A. in English, with honors, and is a member of Phi Beta
Kappa. Mr. Koffman is a graduate of Yale Law School, where he was Senior Editor of the Yale Law Journal.

Kalpana Kotagal

Kalpana Kotagal is a Partner at Cohen Milstein, a member of the firm’s Civil Rights & Employment practice group, and
Chair of the firm’s Hiring and Diversity Committee. Ms. Kotagal plays an active role in the investigation and development
of new matters for the Civil Rights & Employment practice group.

Ms. Kotagal is co-author of the "Inclusion Rider," referenced by Oscar-winning actress Frances McDormand in her 2018
Best Actress acceptance speech, together with Dr. Stacy Smith of the Annenberg Inclusion Initiative and Fanshen Cox of
Pearl Street Films. Ms. Kotagal is also currently serving as an advisor to noted filmmakers on a film addressing issues of
gender pay disparities.

Currently, Ms. Kotagal represents female sales employees in a Title VII and Equal Pay Act case against one of the nation's
largest jewelry chains in Jock, et al. v Sterling Jewelers Inc. Her clients have alleged a pattern of sex discrimination in
compensation and promotions. Ms. Kotagal also represents female sales employees in a putative class action against
AT&T Mobility, alleging violations of the Title VII, the Americans with Disabilities Act and the Family Medical Leave Act in
Allen v. AT&T Mobility Services LLC, as well as individuals with mobility disabilities seeking to improve accessibility of fuel
pumps. Pro bono, Ms. Kotagal represents the Center for Reproductive Rights in a Freedom of Information Act enforcement
litigation against the U.S. Department of Health and Human Services for staffing and budgetary information on HHS’s
Office for Civil Rights’ Conscience and Religious Freedom Division, created under the Trump administration, and
information related to the Office for Civil Rights’ Health Insurance Portability and Accountability Act enforcement
activities.

Among other notable cases, Ms. Kotagal played an instrumental role in representing Wal-Mart employees in the landmark
Supreme Court case, Dukes v. Wal-Mart Stores Inc., which addressed the standards for class certification in employment
discrimination matters.

Ms. Kotagal’s past successes include:

    •   Gender-Affirming Surgery Coverage by Aetna: With the Transgender Legal Defense & Education Fund, Ms. Kotagal
        led a pivotal access-to-healthcare class action on behalf of four transgender women. On January 26, 2021, Aetna,
        one of the largest health insurance companies in the United States, agreed to expand its coverage to include
        gender-affirming surgery, including, in this matter, breast augmentation. As a part of the pre-litigation agreement,
        TLDEF and Ms. Kotagal worked with Aetna to update its clinical policy bulletin to cover such medically necessary
        surgery for transfeminine members.
    •   Sutton v. McCoy (N.D. Ga.): Cohen Milstein and the ACLU successfully represented a plaintiff in a race-based Fair
        Housing Act discrimination lawsuit, where the plaintiff claimed she was unjustly evicted for inviting an African-
        American family to her home. On February 13, 2020, in exchange for dismissing the case, the landlords admitted
        to their discriminatory actions and making racist statements in violation of the Civil Rights Act and Fair Housing
        Act, apologized for the harm they caused, and paid restitution.
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    •   Hill, et. al v. Donohue, United States Postal Service (E.D.N.Y.): Ms. Kotagal represented a class of disabled veteran
        job applicants, who alleged the U.S. Postal Service illegally required pre-offer medical inquiries during their
        application process. The case, which settled for $9.58 million, resulted in USPS’s agreeing to implement changes
        in its practices to prevent similar violations in the future.
    •   Aaron v. Pilgrim’s Pride Corp. (W.D. Ark.): Ms. Kotagal represented 8,000 workers in 11 states in a wage and hour
        lawsuit, in which the workers sought redress for unpaid overtime. The $10 million settlement allowed class
        members to recover about 85% of the back pay owed them.
    •   Nurse Wages Matters: Cohen Milstein represented nurses in several antitrust cases, contending that hospitals
        conspired to suppress and fix wages of nurses.

For her work on the Inclusion Rider and her other efforts in championing equity, diversity, and inclusion through her
practice of law, Ms. Kotagal has received numerous industry recognitions, including being listed in the Lawdragon 500
Leading Lawyers in America (2019, 2020), named Law360’s “Employment – MVP” (2018), recognizing the top five most
influential employment lawyers in the United States, named one of The National Law Journal’s “Elite Women of the
Plaintiffs Bar”(2018), and receiving Chambers Women in Law: USA 2018, “Outstanding Contribution to the Community in
Advancing Diversity” Award, as well as “The Work & Family Legal Center’s Distinguished Public Service Award” from A
Better Balance. In 2017, Ms. Kotagal was also recognized by Law360 as a “Rising Star,” an annual list recognizing lawyers
under the age of 40 whose professional accomplishments transcend their age.

A noted public speaker, Ms. Kotagal is often called on to address issues of employment and civil rights law, class actions,
mandatory arbitration, diversity in the workplace to a wide range of audiences, including TEDxLinz, the Democratic
Attorneys General Association, the American Constitution Society, the National Employment Lawyers Association, the
Impact Fund, among many others. She also speaks regularly to law students and new lawyers. Ms. Kotagal has twice had
the honor of being invited to deliver the commencement addresses to graduating law school classes, including University
of Pennsylvania Law School in 2019 and the University of California, Irvine School of Law in 2018. In 2018, Harvard Law
School named Ms. Kotagal as a Wasserstein Public Interest Fellow.

Ms. Kotagal is a prolific writer. Her recent Op-Eds include: “Inclusion Rider Work Must Continue in Hollywood and Beyond,”
Law360, February 21, 2019; “Push for Diversity in Hollywood Paves Path for Rest of America,” The Hill, March 28, 2018;
“The ‘Inclusion Rider’ Should Be a Hollywood Standard,” The Washington Post, March 9, 2018; and “The Need for Female
Equality and Diversity in Hollywood,” Variety, February 23, 2017 (Co-Authored with Cohen Milstein’s Anita Hill. Recent
articles include: “Your Thoughts: Can Trump Ban Transgender from the US Military?” Lawyer Monthly Opinion Piece,
August 08, 2017.

Ms. Kotagal is a member of the Advisory Board of the Annenberg Inclusion Initiative and sits on the Board of Directors of
A Better Balance. She is also a member of American Constitution Society Task Force on #MeToo in the Legal Profession
and co-chairs the Alumni Advisory Board for Equity and Inclusion at Penn Law. She has also served as a member of the
Center for Worklife Law’s Working Group on Pregnancy Accommodation and the National Employment Lawyers
Association (NELA).

Ms. Kotagal brings to her litigation practice her experience as an organizer, having previously served as field organizer
with Green Corps, a field director with the U.S. Public Interest Research Group, and as an advisor to a Congressional
candidate. Ms. Kotagal also served as an honorary chair of the National Finance Committee of Young Lawyers for Obama
in 2008. She is the immediate past chair of the governance committee of the Board of Directors of CISV USA, an
international youth-empowerment and peace education organization with more than 20 chapters in the United States.

Prior to joining Cohen Milstein, she served as a law clerk to the Honorable Betty Binns Fletcher of United States Court of
Appeals for the Ninth Circuit.



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Ms. Kotagal attended Stanford University, where she was a Morris K. Udall Scholar and graduated with honors. She earned
her J.D., cum laude, from the University of Pennsylvania Law School, where she was a James Wilson Fellow. Ms. Kotagal
was Articles Editor of the University of Pennsylvania Law Review.

Leslie M. Kroeger

Leslie M. Kroeger is a Partner at Cohen Milstein and Co-Chair of the firm’s Complex Tort Litigation practice group. She
focuses on complex, high-profile product liability, wrongful death, and managed care abuse litigation.

Ms. Kroeger is a highly accomplished trial attorney who began her legal career in the courtroom as an Assistant Public
Defender for the 18th Judicial Circuit of Florida and later became an Assistant State Attorney in Miami-Dade County,
Florida. She then moved into private practice where she continues to handle a variety of complex civil litigation before
state and federal courts in Florida and nationwide.

Ms. Kroeger is the Past-President of the Florida Justice Association (FJA), one of the nation’s premier plaintiffs trial
associations. She is the second female President in the history of the association.

Currently, Ms. Kroeger is litigating the following notable matters:

    •   Dunn v. Sacoolas (E.D. Va.): On September 9, 2020 Cohen Milstein filed a wrongful death lawsuit on behalf of
        Charlotte Charles and Tim Dunn, citizens of the U.K., against Anne Sacoolas, a U.S. citizen, after she hit 19-year-
        old Harry Dunn, the son of Charlotte and Tim, on his motorcycle, causing him catastrophic injuries that ultimately
        led to his death.
    •   Edwards v. Tesla (Sup. Crt. Cal., Alameda Cnty.): On June 25, 2020, Cohen Milstein filed a product liability lawsuit
        against Tesla, Inc. on behalf of Kristian and Jason Edwards. Ms. Edwards sustained catastrophic injuries as a result
        of the failure of the airbags to deploy in her Tesla Model 3 during an accident.
    •   Edenville and Sanford Dam Failure Litigation (Mich. Crt. of Claims; Cir. Crt., Cty. Saginaw, Mich.): On June 24, 2020,
        Cohen Milstein filed two separate property damage lawsuits against Michigan State Government agencies,
        including the Michigan Department of Environment, Great Lakes & Energy and Michigan Department of Natural
        Resources for blatantly mismanaging and failing to properly maintain the Edenville and Sandford dams, which
        catastrophically failed on May 19, 2020. Cohen Milstein is representing more than 300 residents and businesses
        in Midland County and Saginaw County, Michigan and the surrounding areas, including, Arenac, Gladwin, and
        losco counties.
    •   Bernardo, et al. v. Pfizer, Inc., et al. (S.D. Fla.): On February 20, 2020, Cohen Milstein filed a false advertising,
        medical monitoring, and personal injury class action against Pfizer, Inc., Boehringer Ingelheim, Sanofi, and other
        pharmaceutical companies on behalf of multiple plaintiffs and putative class members across the United States
        who, as a result of taking Zantac (ranitidine), may have been afflicted with cancer or may now be subjected to an
        increased risk of developing cancer.
    •   Lindsay X-LITE Guardrail Litigation (State Crts: Tenn., S.C.): Cohen Milstein represents more than five families of
        decedents and victims of catastrophic injuries in a series of individual products liability, wrongful death and
        catastrophic injury lawsuits in Tennessee and South Carolina state courts against the Lindsay Corporation and
        several related entities for designing, manufacturing, selling, and installing defective, X-Lite guardrails on state
        roadways.
    •   Ratha, et al v Phatthana Seafood Co. (C.D. Cal.): Cohen Milstein is representing seven Cambodian plaintiffs in a
        cross-border human rights lawsuit, involving human trafficking, forced labor, involuntary servitude, and peonage
        by factories in Thailand that produce shrimp and seafood for export to the United States.

Ms. Kroeger has successfully litigated the following lawsuits:



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    •   Quinteros, et al v. DynCorp, et al (D.D.C.): Cohen Milstein represented over 2,000 Ecuadorian farmers and their
        families who suffered physical injuries and property damage as a result of aerial spraying of toxic herbicides on or
        near their land by DynCorp, a U.S. government contractor. A bellwether trial on behalf of the first six Ecuadorian
        clients came to a conclusion in April 2017, when the ten-person jury unanimously determined that DynCorp was
        responsible for the conduct of the pilots with whom it had subcontracted to conduct the chemical spraying after
        April 2003. This resolution allowed for a successful case settlement.
    •   Mincey v. Takata (Cir. Crt., Duval Cty., Fla.): Cohen Milstein was lead counsel in a lawsuit brought on behalf of
        Patricia Mincey and her family. Patricia Mincey sustained catastrophic injuries that rendered her a quadriplegic in
        2014 when the driver’s side airbag in her Honda Civic deployed too aggressively during a collision due to a product
        defect. She passed away in early 2016 due to complications from her quadriplegia caused by the problematic
        airbag. The suit charged that Takata, the manufacturer of the airbag system, knew of the airbag defect and hid
        the problem from consumers. Evidence uncovered by the firm showed that Takata concealed the defective nature
        of the airbag system for more than a decade. The case was resolved in July 2016.
    •   Quinlan v. Toyota Motor Corporation (S.D. Fla.): Cohen Milstein was lead counsel in a product liability case filed
        against Toyota, alleging that manufacturing defects in the defendant’s car caused the car being driven by the
        plaintiff to suddenly accelerate and go out of control, resulting in catastrophic injuries that left Quinlan a
        quadriplegic. The defendant entered into a confidential settlement. Ms. Kroeger was engaged in all aspects of the
        litigation.
    •   In re: Caterpillar, Inc. Engine Products Liability Litigation (D.N.J.): Cohen Milstein was co-lead counsel in a
        nationwide product liability class action lawsuit, alleging Caterpillar sold diesel engines with defective exhaust
        emissions system that resulted in power losses and shutdowns. Ms. Kroeger was involved all aspects of the
        litigation.
    •   John Doe v. Sunz Insurance Company and CorVel Corporation (State Crt., Fla.): Cohen Milstein successfully
        represented John Doe in a workers’ compensation arbitration against his workers’ compensation carrier and third-
        party administrator for breach of fiduciary duty and intentional infliction of emotional distress relating to their
        denial of medically necessary cervical spine surgery, recommended by a carrier-approved orthopedic surgeon,
        and their termination of his workers’ compensation benefits.

Since 2001, Ms. Kroeger has been an active member of FJA, serving on the Executive Committee since 2011 and more
recently as FJA’s President in 2019. She is a past Chair of the Women’s Caucus.

FJA has also recognized Ms. Kroeger for her leadership and advocacy efforts. In 2017, 2018 and 2019, she was presented
with FJA’s Cornerstone Award in recognition of her leadership and efforts in recruiting new members to the organization.
In 2015, Ms. Kroeger was awarded FJA’s Champion of Consumer Safety Award for her lobbying efforts before the Florida
legislature, resulting in passage of SB 518, a state law requiring children under age five to be secured in federally-approved
child-restraint devices.

Ms. Kroeger also currently serves on the Board of Directors of Communities Connected for Kids, and she oversees the
Cohen Milstein/Safe Kids bi-annual booster seat giveaway. She is Past-President and Founder of the Martin County
Chapter of the Florida Association for Women Lawyers. She also served seven years on the Florida Bar Professional Ethics
Committee.

Ms. Kroeger is widely recognized for her leadership and legal skills. Lawdragon named her on its 2021 and 2020 “500
Leading Lawyers in America” lists, as well as its 2020 and 2019 “500 Leading Plaintiff Consumer Lawyers” lists. The Best
Lawyers in America also recognized her as “Lawyer of the Year” in Mass Tort/Class Actions in 2018. She was awarded Daily
Business Review’s “Distinguished Leader” award in 2020 and 2018. Ms. Kroeger is consistently recognized by Best Lawyers
in America in the field of Product Liability Litigation – Plaintiffs, as well as Florida Super Lawyers, Palm Beach Illustrated,
and Florida Trend’s Legal Elite. Ms. Kroeger is AV rated by Martindale-Hubbell.



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Ms. Kroeger often speaks and writes on a range of issues dealing with litigation strategies and tactics from addressing the
standards for expert witness testimony in light of the Supreme Court’s Daubert ruling to delivering compelling opening
statements and other trial skills, as well as legal trends related to automotive negligence, roadway safety and guardrail
systems, managed care abuse, and denial of workers’ compensation claims. She is frequently invited to speak at the Florida
Workers’ Advocates Annual Conference, the Annual Trial Lawyers Summit, and Florida Justice Association seminars and
conventions throughout the year. In 2016, Ms. Kroeger was named to Law360’s Product Liability Editorial Advisory Board.

Ms. Kroeger graduated with high honors from the University of Tennessee at Knoxville, and obtained her law degree from
the Cumberland School of Law, Samford University. Following law school, she served in a trial clerkship in Miami.

Theodore J. Leopold

Theodore J. Leopold is a Partner at Cohen Milstein and Co-Chair of the firm’s Complex Tort Litigation and Consumer
Protection practice groups. Mr. Leopold is also a member of the firm’s Executive Committee.

Mr. Leopold’s practice is devoted solely to trial work, with a focus on complex product liability, environmental toxic torts,
managed care abuse, consumer class actions, and catastrophic injury and wrongful death litigation. Mr. Leopold has tried
cases throughout the country and has recovered multi-million-dollar verdicts, including jury verdicts in the eight-figure
and nine-figure amounts.

In his role, Mr. Leopold litigates high-stakes, complex lawsuits on behalf of consumer safety issues, particularly as it relates
to product defects, automobile safety and managed care matters. In 2010, he obtained a $131 million jury verdict against
the Ford Motor Company, the ninth-largest verdict against an automobile company in U.S. history.

Mr. Leopold is court-appointed Interim Co-Lead Counsel in two high-profile putative environmental toxic tort class actions,
including In re Flint Water Cases and the Cape Fear River Contaminated Water Class Action Litigation. Mr. Leopold also
serves as lead counsel in the LensCrafters, Polaris ATV, and General Motors Litigation class actions.

Currently, Mr. Leopold is litigating the following notable matters:

    •   In re Flint Water Cases (E.D. Mich.): On July 26, 2017, Mr. Leopold was court-appointed Interim Co-Lead Class
        Counsel to consolidate and oversee a group of toxic tort class actions filed on behalf of Flint, Michigan residents
        and businesses harmed by exposure to toxic levels of lead and other contaminants in the city’s drinking water.
    •   Cape Fear River Contaminated Water Litigation (E.D.N.C.): On January 4, 2018, Mr. Leopold was court-appointed
        Interim Co-Lead Class Counsel to consolidate and oversee a series of five putative environmental toxic tort class
        actions filed against E.I. DuPont de Nemours Company and The Chemours Company for knowingly discharging
        PFAS, such as GenX, and other “forever chemicals” into the Cape Fear River, one of North Carolina’s principal
        drinking water sources.
    •   General Motors Litigation (E.D. Mich.): On September 26, 2019, Mr. Leopold was court-appointed Lead Counsel
        and Chair of the Plaintiffs’ Steering Committee to consolidate and oversee consumer class actions filed on behalf
        of thousands of GM vehicle owners across 30 states against GM related to defective eight-speed automatic
        transmissions in vehicles manufactured between 2015 and 2019.
    •   Edwards v. Tesla (Sup. Crt. Cal., Alameda Cnty.): On June 25, 2020, Mr. Leopold filed a product liability lawsuit
        against Tesla, Inc. on behalf of Kristian and Jason Edwards. Ms. Edwards sustained catastrophic injuries as a result
        of the failure of the airbags to deploy in her Tesla Model 3 during an accident.
    •   Edenville and Sanford Dam Failure Litigation (Mich. Crt. of Claims; Cir. Crt., Cty. Saginaw, Mich.): On June 24, 2020,
        Mr. Leopold filed two separate property damage lawsuits against Michigan State Government agencies, including
        the Michigan Department of Environment, Great Lakes & Energy and Michigan Department of Natural Resources
        for blatantly mismanaging and failing to properly maintain the Edenville and Sandford dams, which
        catastrophically failed on May 19, 2020. Cohen Milstein is representing more than 300 residents and businesses
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        in Midland County and Saginaw County, Michigan and the surrounding areas, including, Arenac, Gladwin, and
        losco counties.
    •   Reed, et al. v USA (E.D. Tenn.): Mr. Leopold is representing plaintiffs in a wrongful death and property damage
        mass action against the U.S. Department of Interior and National Park Service for the negligence of its employees
        to perform their duties during The Chimney Tops 2 Fire in Tennessee, which originated in the Great Smoky
        Mountains National Park and ultimately damaged or destroyed 2,500 homes, buildings and other structures, and
        killed more than 12 people.
    •   Bernardo, et al. v. Pfizer, Inc., et al. (S.D. Fla.): On February 20, 2020, Mr. Leopold filed a false advertising, medical
        monitoring, and personal injury class action against Pfizer, Inc., Boehringer Ingelheim, Sanofi, and other
        pharmaceutical companies on behalf of multiple plaintiffs and putative class members across the United States
        who, as a result of taking Zantac (ranitidine), may have been afflicted with cancer or may now be subjected to an
        increased risk of developing cancer.
    •   Lindsay X-LITE Guardrail Litigation (State Crts.: Tenn., S.C.): Mr. Leopold represents the families of Hannah Eimers,
        Lauren Beuttel, Jacob Davison, Charlotte Blankenship and Wilbert Byrd, who were allegedly killed by defective
        Lindsay X-LITE guardrails, against the Lindsay Corporation and several related entities for designing,
        manufacturing, and selling defective public roadway guardrails.
    •   Johannessohn, et al. v. Polaris Industries (D. Minn.): On July 31, 2017, Mr. Leopold, lead counsel, filed a class action
        suit against Polaris Industries, the manufacturer of the Sportsman all-terrain vehicles (ATVs), alleging the ATVs
        have a design defect that makes them dangerous to drive.
    •   Ariza v. Luxottica Retail North America (LensCrafters) (E.D.N.Y.): Mr. Leopold, as lead counsel, is representing a
        putative class of purchasers of LensCrafters’ Accufit Digital Measurement System (Accufit) services, who allege
        that LensCrafters used false, misleading advertising and deceptive sales practices about Accufit being “five times
        more accurate” in measuring pupillary distance than traditional methods, to induce customers to purchase
        LensCrafter’s higher-priced prescription lens products.
    •   Doe v. Chiquita Brands International (S.D. Fla.): Mr. Leopold is representing families of banana workers and others
        killed or tortured by the Autodefensas Unidas de Colombia, a foreign terrorist organization designated by the
        United States, which was allegedly receiving financial support and firearms and ammunition from Chiquita, a U.S.
        corporation with operations throughout Colombia.

Examples of some of Mr. Leopold’s litigation successes are:

    • HCA Litigation (M.D. Fla.): Mr. Leopold was lead counsel in a class action lawsuit alleging that HCA hospitals billed
      inflated fees for emergency room radiology services provided to people involved in automobile accidents and who
      received care that was covered by their Florida Personal Injury Protection (PIP) insurance. In December 2018,
      Cohen Milstein secured final approval of a $220 million injunctive relief settlement on behalf of the class.
  • Quinteros, et al v. DynCorp, et al (D.D.C.): Mr. Leopold represented over 2,000 Ecuadorian farmers and their
      families who suffered physical and mental injuries and property damage as a result of aerial spraying of toxic
      herbicides on or near their land by DynCorp, a U.S. government contractor. The bellwether trial on behalf of the
      first six Ecuadorian clients came to a conclusion in April 2017, when the ten-person jury unanimously determined
      that DynCorp was responsible for the conduct of the pilots with whom it had subcontracted to conduct the
      chemical spraying after April 2003. In July 2017, Mr. Leopold successfully settled the case.
  • Mincey v. Takata (Cir. Crt., Duval Cty., Fla.): Mr. Leopold was the lead attorney in a lawsuit brought on behalf of
      Patricia Mincey, a Florida woman who was paralyzed when the driver’s side airbag in her car deployed too
      aggressively during a vehicle collision. The injuries Ms. Mincey sustained in the accident ultimately led to her
      death. In groundbreaking litigation at the forefront of what would become a Department of Justice investigation
      and the largest defective product recall in automobile history, Ms. Mincey alleged that the airbag system in her
      car, manufactured by Takata Corporation, was defective and that Takata knowingly hid the defect from
      consumers. On July 15, 2016, immediately before a hearing was to be held on Plaintiff’s motions to depose the
      CEO of Takata and to amend the complaint to plead a claim for punitive damages, Mr. Leopold successfully
      resolved the case.
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    •   Caterpillar Product Liability Litigation (D.N.J.): Mr. Leopold was co-lead counsel in a class action lawsuit alleging
        Caterpillar sold diesel engines with defective exhaust emissions system that resulted in power losses and
        shutdowns. Mr. Leopold developed the case and led all aspects of the litigation, which he successfully resolved in
        September 2016 for $60 million.
    •   Cole v. Ford (Cir. Crt., Jasper Cty., Miss.): Mr. Leopold was co-trial attorney for the family of former New York Mets
        infielder Brian Cole who was killed when the Ford Explorer he was driving rolled over, ejecting him from the
        vehicle. The lawsuit charged that the seat belt in the Explorer was defective in that it failed to keep Mr. Cole in his
        seat. Following two hung juries, eleven of the 12 jury members, in the third trial, agreed on the verdict and found
        for the Cole family in the amount of $131 million.
    •   Quinlan v. Toyota (S.D. Fla.): Mr. Leopold was lead counsel in a product liability case against Toyota Motor
        Company after Bret Quinlan was paralyzed when his Toyota Camry suddenly and without warning began
        accelerating and failed to respond to the brakes. Mr. Leopold successfully resolved the case prior to trial.
    •   Chipps v. Humana (Cir. Crt., Palm Beach Cty., Fla.): Mr. Leopold tried one of the first managed care abuse cases in
        the country after Humana wrongfully denied physical and occupational therapy for a 6-year-old child with cerebral
        palsy. The jury returned the largest punitive damage award on behalf of an individual in Florida history, and this
        seminal case was featured in the movie Damaged Care.
    •   Carrier v. Trinity (Cit. Crt., Sullivan Cty., Tenn): Mr. Leopold represented the Carrier family in this wrongful death
        matter. The death occurred as a result of the guardrail safety device failing. Instead of protecting the driver, the
        guardrail intruded into the passenger compartment of the vehicle and impaled the driver, causing her death. Mr.
        Leopold successfully resolved the case in October 2016.
    •   Mr. Leopold is the past president of Public Justice Foundation, one of the nation’s preeminent litigation and
        advocacy organizations that fights for consumer justice through precedent-setting and socially significant
        individual and class action litigation.

Mr. Leopold is also frequently recognized by peers as being among the best in his area of practice. He was named to
Lawdragon’s 2020 list of “500 Leading Lawyers in America,” and Lawdragon’s 2020 and 2019 “500 Leading Plaintiff
Consumer Lawyers” lists. In 2019, he was named Daily Business Review’s “Distinguished Leader” and Best Lawyers in
America: 2019 “Lawyer of the Year” Mass Tort Litigation/Class Actions – Plaintiffs, West Palm Beach, Florida. In 2018, Mr.
Leopold was named a “Law360 MVP: Environmental,” recognizing the top five practitioners in the United States from both
the Defense and Plaintiffs’ Bar in this area of law. Other recent recognitions include: The National Law Journal: “2018
Energy and Environmental Trailblazer”; Daily Business Review’s “Most Effective Lawyer of 2017: Class Action”; In addition,
he was nominated for “Trial Lawyer of the Year” by the Public Justice Foundation for his ground-breaking litigation
involving the managed care industry, and his work has been featured in the National Law Journal’s “Top Verdicts of the
Year.” He is also consistently recognized by Best Lawyers in America in the fields of Product Liability Litigation – Plaintiffs,
as well as Super Lawyers and Palm Beach Illustrated.

Mr. Leopold lectures frequently at professional gatherings on such issues as personal injury, product liability, class action
litigation, trial tactics and consumer justice. He is also author and co-author of several legal publications, including Florida
Insurance Law and Practice (Thomson/West). Additionally, he has earned the Florida Bar Civil Trial Certification, the
highest level of recognition by the Florida Bar for competency and experience within civil trial law.

Mr. Leopold is a graduate of the University of Miami, where he received a B.A. He earned his J.D. from Cumberland School
of Law, Samford University.

Emmy L. Levens

Emmy Levens is a Partner at Cohen Milstein and a member of the firm’s Antitrust practice group. With over a decade of
experience, Ms. Levens has particular expertise in complex antitrust litigation, class actions, and appellate litigation. She
also plays a central role in helping the Antitrust practice evaluate potential cases and Chairs the firm’s Summer Associate
Committee.
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Ms. Levens has been recognized by the legal industry for her exceptional work for an attorney under the age of 40,
including being named to Law360’s “Rising Stars – Class Action” (2020).

Currently, Ms. Levens is litigating the following notable matters:

    •   Flint Water Crisis Litigation (E.D. Mich.): Cohen Milstein serves as Interim Co-Lead Counsel, representing Flint,
        Michigan citizens and businesses in a putative class action seeking damages for illness and injuries sustained as a
        result of their exposure to toxic levels of lead and other bacteria in the City’s drinking water. Ms. Levens oversees
        class strategy and manages all aspects of the litigation.
    •   Iowa Public Employees Retirement System et al. v. Bank of America Corp. (S.D.N.Y.): Cohen Milstein is Co-Lead
        Counsel in this putative class action, in which investors accuse Morgan Stanley, Goldman Sachs, Credit Suisse, UBS,
        J.P. Morgan, and other Wall Street banks of conspiring to thwart the modernization of and preserve their
        dominance over the $1.7 trillion stock loan market. Ms. Levens is one of the lead Antitrust partners in this suit.

Some of her past successes include:

    •   Pre-Filled Propane Tank Antitrust Litigation (W.D. Mo.): Cohen Milstein served as Co-Lead Counsel to Direct
        Purchasers in this price fixing class action against two of the largest distributors of propane exchange tanks. In
        June 2020, the court granted final approval of the $12.6 million settlement. Ms. Levens drafted the successful
        appellate brief argued before the Eighth Circuit en banc. The Court adopted Plaintiffs’ articulation of the
        continuing violation doctrine and held that sales made pursuant to an anticompetitive agreement constitute new
        acts for purposes of determining the timeliness of a claim, thereby reviving Direct Purchasers’ antitrust claims
        against distributors of pre-filled propane tanks. In January 2018, the U.S. Supreme Court refused to review the
        Eighth Circuit’s ruling, allowing it to stand.
    •   Resistors Antitrust Litigation (N.D. Cal.): Cohen Milstein served as Interim Co-Lead Counsel for the direct
        purchasers of resisters, who accused the world’s largest manufacturers of resistors of fixing prices. In November
        2019, the court granted final approval of a $50.25 million settlement – a remarkable recovery, reflecting 33% -
        57% of estimated single damages according to Plaintiffs’ preliminary analysis. Estimated payments to class
        members would be an average payment of $46,850.64; a median payment of $768.39. Ms. Levens managed all
        aspects of this litigation.
    •   Allen vs. Dairy Farmers of America (D. Vt.): Cohen Milstein served as Lead Counsel for one of two subclasses of
        dairy farmers challenging anticompetitive conduct in the Northeast which resulted in lower prices paid to farmers.
        In April 2017 the Second Circuit Court of Appeals affirmed a $50 million settlement between plaintiffs and the
        remaining defendants, bringing the total settlement to more than $80 million, in addition to industry-changing
        equitable relief. Ms. Levens served as one of the principle attorneys litigating this matter since its inception.
    •   Plasma-Derivative Protein Therapies Antitrust Litigation (N.D. Ill.): Cohen Milstein served as Co-Lead Counsel for
        plaintiffs alleging that the two largest manufacturers of IVIG and Albumin – life-saving therapies derived from
        blood plasma – conspired to reduce the supply, and increase the prices, of these therapies. Ms. Levens played an
        active role in the litigation, helping to obtain settlements totaling $128 million for hospitals and other direct
        purchasers.
    •   Bulk Bleach Litigation (D.S.C.): Ms. Levens served as one of the key attorneys at Cohen Milstein representing a
        class of municipalities and other direct purchasers of bulk bleach in a case alleging that the two dominant
        manufacturers of bulk bleach in the Carolina’s engaged in an illegal market allocation agreement. After
        successfully defeating multiple motions to dismiss, class counsel obtained a settlement that satisfied nearly all of
        the class’s damages. In approving the settlement, Judge Gergel complimented counsel, stating that the, “whole
        case has been, I think, very professionally handled, skillfully handled.”

Ms. Leven’s recent pro bono work includes:

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    •   Access to Education Class Action (Circ. Crt., Prince George’s Cnty.): On June 12, 2019, Cohen Milstein, the ACLU of
        Maryland, and the Howard University School of Law Civil Rights Clinic filed an education discrimination class action
        and motion for a temporary restraining order against the Prince George’s County School Board, seeking to declare
        its charging of fees for summer school violates the Maryland Constitution (which requires the state to provide a
        free education), causing serious, irreparable harm to students in the county who cannot afford the fees.

Ms. Levens was also a member of the Apple price-fixing litigation team recognized as “Legal Lions” by Law360.

In addition to her work at the Cohen Milstein, Ms. Levens has served as an adjunct Professor at Georgetown School of Law
and is a Board member and Secretary of Global Playground, a nonprofit that builds schools in the developing world. She
recently co-authored an article entitled, “Heightened Ascertainability Requirement Disregards Rule 23’s Plain Language,”
which appeared in the Spring, 2016 issue of Antitrust magazine.

Prior to joining the firm, Ms. Levens worked as a staff law clerk at the U.S. Court of Appeals for the Seventh Circuit.

Ms. Levens attended the University of Kansas, graduating with honors, and earned her J.D. at UCLA Law School, graduating
Order of the Coif. While at law school, Ms. Levens served as the Managing Editor for the UCLA Journal of Environmental
Law and Policy, Director of the Downtown Legal Housing Clinic, and President of Moot Court.

Jeanne A. Markey

Jeanne A. Markey is a Partner at Cohen Milstein and Co-Chair of the firm's Whistleblower/False Claims Act practice group.

Ms. Markey has successfully represented whistleblowers in federal and state cases across the country in some of highest-
profile qui tam litigation in the healthcare, defense, financial services, and education industries. She has also represented
whistleblower clients in the public housing sector, in S.E.C. related matters, and in matters involving complex financial
instruments.

Representative settled cases include:

    •   United States of America et al., ex rel. Lauren Kieff, v. Wyeth: Ms. Markey was co-lead counsel in this False Claims
        Act whistleblower case against pharmaceutical giant Wyeth (subsequently acquired by Pfizer), in which the
        whistleblowers alleged that Wyeth defrauded Medicaid, the joint federal/state healthcare program for the poor,
        when it reported falsely inflated prices for its acid suppression drug Protonix from 2001 through 2006 for Medicaid
        rebate purposes. Weeks before trial, in February 2016, in one of the largest qui tam settlements in U.S. history,
        Wyeth agreed to pay $784.6 million to the U.S. government and the over 35 intervening states.
    •   United States et al. ex relators v. Southern SNF Management, Inc. and Rehab Services in Motion, LLC: Ms. Markey
        was lead counsel in this False Claims Act case in which three whistleblowers employed by a chain of skilled nursing
        facilities located in Florida and Alabama alleged that the chain was engaged in a multi-year scheme of inflating
        the facilities’ Medicare collections by assigning Medicare patients to levels of therapy, (often referred to as “RUG”
        levels), higher than what was medically reasonable and necessary for that patient. In July 2018 this case settled
        for $10 million.
    •   Ven-A-Care Whistleblower Litigation: Ms. Markey was involved in a series of Ven-A-Care whistleblower cases
        which pertained to the inflated reimbursement amounts drug companies were causing Medicare and Medicaid to
        pay for prescription drugs by reporting inflated wholesale prices to the government. These large, highly-successful
        groundbreaking cases helped to pave the way for a wide range of subsequent False Claims Act cases in the realm
        of healthcare and directed at drug companies in particular.

In 2016, Ms. Markey was recognized as one of the top 25 women lawyers in the Commonwealth of Pennsylvania by The
Legal Intelligencer.
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In 2018, Ms. Markey, an alumna of Cornell University Law School, was invited to become a member of The President’s
Council of Cornell Women.

She is also an active member of Taxpayers Against Fraud, a nonprofit, public interest organization dedicated to combating
fraud against the Federal Government through the promotion and use of the Federal False Claims Act and its Qui Tam
provisions, and the Association of qui tam attorneys.

She frequently speaks about developments in the qui tam field and has co-authored several articles about topics including
statistical sampling and representing whistleblowers in cases involving issues of medical necessity.

Ms. Markey received her B.A. (cum laude) from Colgate University and her J.D. from Cornell University Law School.

Daniel McCuaig

Daniel McCuaig is a Partner at Cohen Milstein and a member of the firm’s Antitrust practice. In this role, Mr. McCuaig
represents a broad range of individuals and businesses in civil litigation, with a focus on multi-district class actions and
antitrust litigation.

Immediately prior to joining Cohen Milstein, Mr. McCuaig was a trial attorney in the Antitrust Division at the U.S.
Department of Justice for more than a decade, where he led investigation and litigation teams in both criminal and civil
matters related to price fixing, bid rigging, collusion, and other antitrust claims.

As a criminal prosecutor at the DOJ, Mr. McCuaig led the investigation and prosecution of antitrust, fraud, and obstruction
of justice claims against corporations and individuals. He was the principal trial lawyer in related plea hearings,
sentencings, and before grand juries, and successfully generated significant charges and guilty pleas. Even while carrying
out his prosecutorial duties, Mr. McCuaig continued to provide his expertise on major Antitrust Division civil actions, such
as its successful challenge to the proposed merger between Anthem and Cigna—in which McCuaig cross-examined
Anthem expert economist Robert Willig at trial.

While a civil litigation trial lawyer at the DOJ, Mr. McCuaig oversaw the government’s investigation into the e-books price
fixing conspiracy litigated in In Re Electronic Books Antitrust Litigation (S.D.N.Y.), involving Apple and five major publishers,
and played a principal role in the trial of Apple. Leading up to that trial, Mr. McCuaig coordinated with foreign enforcement
agencies, 33 state attorneys general, and plaintiffs counsel, and negotiated consent decrees with all publisher defendants.
More generally, McCuaig investigated competitive effects of proposed mergers in media, sports, real estate, and
tangential industries, as well as potential competitive effects of non-merger activity in the same industries, and negotiated
divestitures and consent decrees to remedy anticompetitive aspects of mergers and non-merger activities.

Prior to his work with the DOJ, Mr. McCuaig was counsel at a prestigious international white collar and corporate defense
firm, where, in addition to civil antitrust defense work, he focused on telecommunications disputes before state public
service commissions, the FCC, and state and federal courts. He also counseled business entities on their privacy and data
security obligations.

Mr. McCuaig is the co-author of Telecommunications Convergence Overview (with William T. Lake and Thomas P. Olson),
698 PLI/Pat 9 (May 2002), and the author of Halve the Baby: An Obvious Solution to the Troubling Use of Trademarks as
Metatags, 18 J. Marshall J. Computer & Info. L. 643 (Spring 2000).

Mr. McCuaig received his B.A., summa cum laude, from The George Washington University. He is a member of Phi Beta
Kappa. He received his J.D., cum laude, from Harvard Law School, where he was a Senior Editor and the Treasurer of the
Harvard Negotiation Law Review.
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Mr. McCuaig was a judicial clerk to The Honorable Algenon L. Marbley of the United States District Court for the Southern
District of Ohio (Columbus).

Douglas J. McNamara

Douglas J. McNamara is a Partner at Cohen Milstein, and a member of the firm’s Consumer Protection practice group. In
this role, Mr. McNamara specializes in litigating complex, multi-state class action lawsuits against manufacturers and
consumer service providers, such as banks, insurers, credit card companies and others. He has helped litigate precedent-
setting cases, involving issues of preemption, choice of law, and class certification. He is a hands-on litigator who takes
pleasure in the details, facts, and documents of each case. Mr. McNamara is a highly regarded speaker who has presented
at several forums on such topics as federal preemption, class certification and civil litigation, and is the author of scholarly
articles focusing on emerging legal issues.

Mr. McNamara has worked on numerous cases involving dangerous pharmaceuticals and medical devices, light cigarettes,
defective consumer products, and environmental torts. Mr. McNamara is currently litigating the following notable
matters:

    •   In re Apple Inc. Device Performance Litigation (N.D. Cal.): On January 9, 2018, Cohen Milstein and co-counsel, filed
        a putative nationwide class action against Apple Inc., on behalf of owners of Apple’s iPhone SE, 6, 6 Plus, 6s, 6s
        Plus, 7, and 7 Plus, for unfair and deceptive business practices in violation of California Business & Professions
        Code § 17200 and making material misrepresentations and failing to disclose material information related to
        Apple’s iOS software operating system updates for Apple iPhones. Mr. McNamara was appointed to the Plaintiffs’
        Steering Committee and is Co-Chair of the Expert Committee.
    •   Cape Fear River Contaminated Water Litigation (E.D.N.C.): On January 4, 2018, Cohen Milstein was appointed
        Interim Co-Lead Class Counsel in a consolidated toxic tort class action filed against DuPont and Chemours, alleging
        that for more than four decades the companies polluted the Cape Fear River near Wilmington, North Carolina
        with a chemical called GenX, contaminating the water supply of five counties, and misrepresented their conduct
        to state and federal regulators.
    •   In re: Marriott International Inc. Customer Data Security Breach Litigation (D. Md.): In April 2019, Cohen Milstein
        was appointed Consumer Plaintiffs’ Co-Lead Counsel to oversee a class action related to the data breach that
        compromised the personal data of nearly 400 million customers, making it one of the largest data breaches in U.S.
        history.
    •   Johnannessohn, et al. v. Polaris (D. Minn.): In October 2016, Cohen Milstein filed a class action on behalf of
        purchasers of Polaris Sportsman four-wheel all-terrain vehicles (ATVs) for violating state consumer protection and
        warranty laws related to a design defect of its exhaust system. The exhaust system gets so hot that it can burn
        riders and melt the ATV’s components.
    •   BK Trucking Co., et al. v. PACCAR, Inc. et al. (D.N.J.): On August 20, 2015, Cohen Milstein and co-counsel filed a
        putative class action against PACCAR, the third-largest manufacturer of medium- and heavy-duty trucks in the
        world, and its subsidiaries, Kenworth Truck Company and Peterbilt Motors for breach of warranty and other
        products liability and unfair business practices related to the manufacture and sale of its 2010 PACCAR MX-13
        diesel engines, which include a specially designed and defective emissions control unit, which causes engine power
        loss and shut downs, impeding commerce.

Some of Mr. McNamara’s recent successes include:

    •   Herrera v. JFK Medical Center and HCA, Inc. (M.D. Fla.): Cohen Milstein was Lead Counsel in a class action, alleging
        that emergency room patients were billed unreasonably high fees for emergency radiology services, in excess of
        the amount allowed by their mandatory Florida Personal Injury Protection (PIP) insurance. In December 2018, the
        Court granted final approval of a $220 million injunctive relief settlement.
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    •   Lumber Liquidators Chinese-Manufactured Flooring Products Liability Litigation (E.D. Va.): Cohen Milstein is co-
        lead counsel in a consumer class action lawsuit, alleging the nationwide retailer sold Chinese-made laminate
        flooring containing hazardous levels of the carcinogen formaldehyde while falsely labeling their products as
        meeting or exceeding California emissions standards, a story that was profiled twice on 60 Minutes in 2015. On
        October 9, 2018, the Court granted final approval of a $36 million settlement. Mr. McNamara was involved in all
        aspects of the litigation, including discovery, writing and arguing pleadings, and settlement.
    •   Khoday et al. v. Symantec Corp. et al. (D. Minn.): Cohen Milstein was lead counsel in a nationwide class action
        involving the marketing to consumers of a re-download service in conjunction with the sale of Norton software.
        In April 2016, the case settled in a $60 million all-cash deal a month before it was to go to trial – one of the most
        significant consumer settlements in years. Mr. McNamara was involved in all aspects of the case, from managing
        the litigation to overseeing a staff of contract attorneys to settlement discussions.
    •   Caterpillar Engine Product Liability Litigation (D.N.J.): Cohen Milstein was co-lead counsel on behalf of 22 trucking
        and transportation companies in 18 states in a class action lawsuit against Caterpillar alleging that the MY2007
        CAT engine, designed to meet the EPA’s tougher Clean Air Act emissions standards, was defective, causing power
        loss and shutdowns that prevented or impeded vehicles from transporting goods or passengers. Caterpillar sought
        to dismiss the case claiming EPA approval of the engine preempted any state law claims. Mr. McNamara was the
        architect of the successful opposition to the motion, and he was involved in all aspects of the litigation. On
        September 20, 2016, the Court granted final approval of the $60 million settlement.

Mr. McNamara also is actively involved in the firm’s high-profile pro bono litigation, including:

    •   NAACP v. Donald J. Trump, President of the United States (D.D.C.): Cohen Milstein is representing the NAACP and
        two unions in a lawsuit against President Donald J. Trump, Department of Homeland Security and other U.S.
        immigration enforcement agencies and their efforts to terminate the Deferred Action for Childhood Arrivals
        (DACA) program.

Prior to joining Cohen Milstein in 2001, Mr. McNamara was a litigation associate at an international defense firm,
specializing in pharmaceutical and product liability cases. He started his career at New York City's Legal Aid Society,
defending indigent criminal defendants at trial and on appeal.

He has been the lead author on three law review articles: “Buckley, Imbler and Stare Decisis: The Present Predicament of
Prosecutorial Immunity and An End to Its Absolute Means,: 59 Albany Law Review, 1135 (1996); “Sexual Discrimination
and Sexual Misconduct: Applying New York’s Gender-Specific Sexual Misconduct Law to Minors,” 14 Touro Law Review,
477 (Winter 1998), and most recently, Douglas McNamara, et al, “Reexamining the Seventh Amendment Argument
Against Issue Certification,” 34 Pace Law Review, 1041 (2014). He has also taught a course on environmental and toxic
torts as an adjunct at George Washington University School of Law.

Mr. McNamara graduated summa cum laude from SUNY Albany, and he earned his J.D. from New York University School
of Law.

Betsy A. Miller

Betsy A. Miller is a Partner at Cohen Milstein and Chair of the Public Client practice group. Ms. Miller represents state
Attorneys General and political subdivisions in civil law enforcement investigations and litigation involving consumer
protection, Medicaid fraud, and other areas of enforcement that protect government interests and vulnerable
communities. She currently represents the states of Indiana, New Jersey and Vermont in the national opioid crisis
litigation against manufacturers and distributors of prescription narcotics.

For her accomplishments and continued work in high-stakes matters, Ms. Miller has been honored on several occasions
by industry peers, including Lawdragon 500, which recognizes “the best of the best” in the U.S. legal profession, The
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National Law Journal and The Trial Lawyer, which have identified Ms. Miller as one of America’s “50 Most Influential Trial
Lawyers,” and The National Law Journal, which named Ms. Miller as one of nine women in the nation to its inaugural list
of “Elite Women of the Plaintiffs’ Bar.”

Prior to joining Cohen Milstein, Ms. Miller served as the Chief of Staff and Senior Counsel to the Attorney General for the
District of Columbia. Her responsibilities included supervising an office of 700+ employees and serving as the lead lawyer
for the historic transition of the D.C. Public Schools under Mayor Adrian Fenty and Chancellor Michelle Rhee.

Earlier in her career, Ms. Miller served as Nominations Counsel for Senator Patrick J. Leahy (D-VT) on the Senate Judiciary
Committee, where she was responsible for handling confirmation hearings on presidential nominations to the federal
judiciary, the Department of Justice, the Federal Bureau of Investigation, and to the Offices of the United States Attorneys.

Ms. Miller also spent eight years as a litigator for two premier defense firms, where she represented some of the nation’s
largest companies and individuals in matters including First Amendment issues, complex commercial disputes, collective
bargaining negotiations and arbitration, employment class actions and challenges to independent contractor
classification. Her civil defense experience adds to Ms. Miller’s deep and balanced litigation skillset.

Ms. Miller’s recent representations include:

    •   Opioids Crisis Litigation & Investigations: Representing the states of Indiana, New Jersey, and Vermont in
        investigations and litigation against entities responsible for the marketing and distribution of prescription opioids.
    •   Moody’s Litigation: Represented the co-lead state (Mississippi) and New Jersey in the $864 million consumer
        fraud settlement achieved in January 2017 by 22 states and the U.S. Department of Justice with Moody’s
        Corporation, Moody’s Investors Service, Inc., and Moody’s Analytics, Inc.
    •   S&P Litigation: Represented co-lead state (Mississippi) in the $1.375 billion-dollar consumer fraud settlement
        achieved in 2015 by 20 states and the U.S. Department of Justice with Standard & Poor’s. Together with the
        Moody’s settlement, these cases against the nation’s two largest credit rating agencies produced key industry
        reforms that provide greater transparency for consumers and that divested the credit rating agencies of more
        than $2.2 billion for their conduct contributing to the national housing crisis and Great Recession.

Ms. Miller’s other investigation and litigation successes include matters in the financial, health care, and employment law
sectors. Examples include:

    •   Representing the states of Arizona and Nevada in litigation against Bank of America for deceptive conduct in
        connection with servicing approximately 500,000 mortgages; resulting in financial payments to consumers and
        the states, commitments to mortgage modifications, and other equitable relief valued at nearly $1 billion.
    •   Representing the state of Montana in an investigation of a Fortune 100 company regarding alleged
        misclassification of employees as independent contractors; resulting in a multimillion-dollar resolution for the
        state.
    •   Representing other state attorneys general and municipalities in numerous confidential investigations and
        settlements.

Since 2001, Ms. Miller has served as an Adjunct Professor at Georgetown Law, where she teaches seminars on negotiation
and mediation strategy. In addition to Georgetown, she has taught intensive negotiation courses at Harvard Law School’s
Program on Negotiation (PON) (a consortium program of Harvard University, Massachusetts Institute of Technology, and
Tufts University) (formerly Harvard’s Program of Instruction for Lawyers) and has provided negotiation skills training for a
wide variety of federal and state government agencies, law firms, corporations, and non-profit organizations. She also
holds Executive Certificates in both Leadership Coaching and Navigating Polarities: Leading and Coaching in a Complex
World from Georgetown University’s Institute for Transformational Leadership (ITL) and is a member of the International
Coach Federation (ICF).
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Ms. Miller has authored several articles, including, “Untapped Potential: Creating a Systematic Model for Mediation
Preparation,” which appears as Chapter 13 in the AAA Handbook on Mediation – Third Edition (2016), and she has been
acknowledged for her work in the area of leadership coaching, including in Navigating Polarities: Using Both/And Thinking
to Lead Transformation by Brian Emerson and Kelly Lewis (Paradoxical Press, 2019).

Ms. Miller speaks nationally on the practice of law and issues of significance for state attorneys general and other
government entities. She is also in high demand as a speaker on negotiation and resolution strategy, leadership, team
dynamics, and change management. The development of women leaders is an area of particular focus within these
presentation topics. Ms. Miller’s thought leadership has been profiled extensively, including by Above the Law, The
American Lawyer, Law360, National Law Journal, Thomson Reuters Legal Executive Institute, among others.

Ms. Miller earned her undergraduate degree in Comparative Literature from Dartmouth College, graduating magna cum
laude and Phi Beta Kappa, and earned her law degree from Harvard Law School, where she was an editor on the Harvard
Human Rights Journal and the Harvard Latinx Law Review. She is the recipient of Harvard Law School’s Heyman Post-Grad
Fellowship for federal government service and academic excellence and of Harvard Law School’s Irving R. Kaufman Public
Interest Fellowship for public service. Immediately after graduating from Harvard, she clerked for the Honorable Thomas
Penfield Jackson in the U.S. District Court for the District of Columbia.

Kit A. Pierson

Kit A. Pierson is a Partner at Cohen Milstein and a member of the firm’s Antitrust practice group. Mr. Pierson has also had
the honor of serving as Co-Chair of the Antitrust practice (2010-2017). Under his leadership, the Legal 500 recognized
Cohen Milstein as a Leading Plaintiff Class Action Firm for seven years in a row and Law360 selected the Antitrust practice
group as a Competition Law Practice Group of the Year in 2013 and 2014.

Mr. Pierson has served as lead or co-lead counsel in many antitrust cases on behalf of the victims of corporations engaged
in price-fixing, market monopolization and other unlawful conduct. Prior to joining Cohen Milstein in 2009, Mr. Pierson
spent more than 20 years primarily representing defendants in a broad range of complex matters. Some of the companies
he represented included Microsoft Corp., 3M Corp. and other major corporations, national associations and individuals in
class actions and other antitrust litigation. As a result of his experience as a defense lawyer, Mr. Pierson possesses deep
insight into defense strategies, understands the dynamics of the other side and is someone who has earned the respect
and credibility of opposing counsel.

Mr. Pierson is a hands-on litigator who has litigated and tried antitrust lawsuits and other complex civil cases in many
jurisdictions, helping to win settlements and judgments cumulatively totaling more than $1.8 billion in the past several
years. Currently, he is lead or co-lead counsel in many antitrust cases at the firm. Some of Mr. Pierson’s recent successes
include:

    •   Domestic Drywall Litigation (E.D. Pa.): Cohen Milstein was co-lead counsel in an antitrust litigation alleging that
        the seven major U.S. manufacturers of drywall conspired to manipulate prices. Mr. Pierson ran the case for Cohen
        Milstein and in 2015 took the lead for the direct purchaser plaintiffs in arguing against the defendants’ summary
        judgment motions (which were denied by the Court for four of the five defendants). The Court granted final
        approval to settlements totaling $190 million.
    •   Ductile Iron Pipe Fittings Litigation (D.N.J.): Cohen Milstein, as co-lead counsel, represented direct purchasers in a
        price-fixing class action against the three largest manufacturers of ductile iron pipe fittings—McWane Inc., Sigma
        Corporation and Star Pipe Products—and a monopolization case against McWane for excluding significant
        competition in the domestic ductile iron pipe fittings market. In May 2018 the Court granted final approval to
        final, outstanding settlement ending the litigating and bringing the total recovery to more than $17.3 million.


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    •   Cast Iron Soil Pipe & Fittings Litigation (E.D. Tenn.): Cohen Milstein, as co-lead counsel, represented direct
        purchasers against the two largest soil pipe and fittings manufacturers in the country (McWane Inc. and Charlotte
        Pipe & Foundry) and the trade association they control (Cast Iron Soil Pipe Institute) in a class action alleging that
        the defendants engaged in a nationwide price-fixing conspiracy and other anticompetitive actions. Mr. Pierson
        directed the litigation team. In May 2017, the Court granted final approval of a $30 million settlement.
    •   Urethanes (Polyether Polyols) Antitrust Litigation (D. Kan.): Cohen Milstein was co-lead counsel for direct
        purchaser plaintiffs in an antitrust class action alleging a nationwide conspiracy to fix the prices of chemicals used
        to make polyurethane foam. Four defendants—Bayer, BASF, Huntsman and Lyondell—settled for a total of $139.5
        million, while the case against the fifth manufacturer, Dow Chemical, went to trial. After a four-week jury trial, in
        which Mr. Pierson was one of the trial lawyers for the class, the jury returned a $400 million verdict for the
        plaintiffs, which was trebled under federal antitrust law to more than $1 billion, the largest verdict in the country
        in 2013, as reported by The National Law Journal. The U.S. Court of Appeals for the Tenth Circuit affirmed the
        judgment, and the case against Dow Chemical was settled for $835 while the matter was pending before the
        United States Supreme Court (resulting in a total recovery of $974.5 million in the case).
    •   Community Health Care System Litigation: Cohen Milstein was co-counsel representing an emergency room
        doctor and nurse who brought claims against Community Health Care System under the False Claims Act for
        allegedly defrauding the federal government in connection with health care bills. Mr. Pierson led Cohen Milstein’s
        team in the case which was resolved for $94 million.
    •   Electronic Books Antitrust Litigation (S.D.N.Y.): Cohen Milstein was co-lead counsel in a class action lawsuit alleging
        that Apple and five of the leading U.S. publishers conspired to raise the retail prices of e-books. Mr. Pierson led
        the Cohen Milstein team, which secured class certification, defeated motions to exclude the class expert, and
        successfully moved for exclusion of most of Apple’s expert testimony. The five publishing defendants settled for
        $166 million and a settlement was reached with Apple shortly before trial for an additional $450 million.
    •   Guantanamo Litigation (D.D.C.): Mr. Pierson represented Alla Ali Bin Ali Ahmed, a young man who had been
        arrested with many others while residing in a house in Pakistan and was then incarcerated in Guantanamo without
        a judicial hearing for more than seven years. After filing a habeas corpus petition, Mr. Pierson represented Mr.
        Ahmed at a multi-day evidentiary hearing before a United States District Court judge. At the conclusion of the
        hearing, the District Court ruled that the evidentiary record did not support Mr. Ahmed’s detention and ordered
        that he be released from Guantanamo and returned to his home country.

In 2020, Chambers & Partners named Mr. Pierson a “Ranked Individual” in the category, “Antirust: Plaintiffs – Nationwide:
USA.” Mr. Pierson has also been repeatedly named to Lawdragon’s list of 500 leading lawyers in the United States (2013,
2014 and 2016), and he is also regularly named to Lawdragon 500’s “Leading Plaintiff Financial Lawyers.” Since 2017, Legal
500 has named Mr. Pierson a “Leading Lawyer” in Antitrust Class Actions. Since 2012, Mr. Pierson has been selected as a
“Top Rated Antitrust Litigation Attorney” by Super Lawyers. In 2014, Mr. Pierson was distinguished as one of the six most
influential antitrust lawyers in the United States, by being named Law360’s “MVP – Competition Law.”

A champion for civil rights, he is a member of the Board of Trustees for the Lawyers’ Committee for Civil Rights Under the
Law, a national organization, and a Member of the ACLU of Maryland’s Committee on Litigation and Legal Priorities. Mr.
Pierson is also a Board member of the Washington Urban Debate League.

Mr. Pierson has taught Complex Litigation as an Adjunct Professor at Georgetown University Law School (a class that
focused primarily on legal, ethical and strategic issues presented by class action litigation) and Antitrust Class Actions as a
Visiting Lecturer at Yale Law School (a class examining legal, ethical and strategic issues in antitrust class action litigation).

Mr. Pierson attended Macalester College, earning a B.A., magna cum laude, in Economics and Political Science, and
graduated from the University of Michigan Law School, magna cum laude, where he was a Note Editor of the Michigan
Law Review and a member of the Order of the Coif. Following law school, he served as a Law Clerk for the Honorable Harry
T. Edwards, United States Court of Appeals for the District of Columbia Circuit, from 1983-1984 and as a law clerk for the
Honorable Chief Judge John Feikens, United States District Court for the Eastern District of Michigan, from 1984-1985.
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Laura H. Posner

Laura H. Posner is a Partner at Cohen Milstein and a member of the firm’s Securities Litigation & Investor Protection and
Ethics & Fiduciary Counseling practice groups.

Prior to joining the firm, Ms. Posner was appointed by the New Jersey Attorney General to serve as the Bureau Chief for
the New Jersey Bureau of Securities – the top Securities Regulator in New Jersey. In that capacity, Ms. Posner was
responsible for administrating and enforcing the New Jersey Uniform Securities Law and regulations thereunder, as well
as managing and overseeing the employees who staff the Bureau of Securities. Cases prosecuted under Ms. Posner’s
direction as Bureau Chief resulted in hundreds of millions of dollars in recoveries for New Jersey residents, as well as
more than 20 criminal convictions.

Ms. Posner is currently involved in the following notable matters:

    •   Miller Energy/KPMG (E.D. Tenn.): Cohen Milstein is Co-Lead Counsel in this certified securities class action,
        alleging that KPMG failed to meet its obligation as the independent auditor of Miller Energy Resources, Inc.,
        perpetrating a massive fraud by Miller Energy, including overstating the value of largely worthless oil reserves to
        more than $480 million, among other claims.
    •   IBEW Local 98 Pension Fund v. Deloitte (D.S.C.): Cohen Milstein is sole Lead Counsel in this putative securities
        class action against Deloitte entities for allegedly breaching its external auditor duties related to as SCANA’s
        multi-billion-dollar nuclear energy expansion project in South Carolina.
    •   Chahal v. Credit Suisse Grp. AG, et al. (S.D.N.Y.): Cohen Milstein is Co-Lead Counsel in this putative securities
        class action alleging fraud and market manipulation of XIV Exchange Traded Note market.
    •   In re Wells Fargo & Company Securities Litigation (S.D.N.Y.): Cohen Milstein is Co-Lead Counsel in this putative
        securities class action, alleging that Wells Fargo and certain executives misrepresented that the bank had
        improved its governance and oversight structures following a widespread consumer fraud banking scandal in
        direct violation of its 2018 consent orders with the CFPB, OCC, and the Federal Reserve.
    •   In Re Overstock Securities Litigation (D. Utah): Cohen Milstein is sole Lead Counsel in this putative securities
        class action against Overstock.com Inc., its former CEO, CFO, and current Retail President for engineering a
        market manipulation “short squeeze” scheme in the company’s common stock and insider trading.
    •   In re Pinterest Derivative Litigation (N.D. Cal.): Cohen Milstein, as Interim Lead Counsel, represents the
        Employees Retirement System of Rhode Island and other Pinterest shareholders in a consolidated shareholder
        derivative complaint against certain current officers and directors of Pinterest, including its Board Chairman and
        CEO, for breaches of fiduciary duty and other violations of Section 14(a) of the Exchange Act, relating to their
        alleged personal engagement in and facilitation of a systematic practice of illegal discrimination of employees on
        the basis of race and sex, from at least February 2018 through the present. As a result of this illegal misconduct,
        the company’s financial position, goodwill, and reputation among users has been harmed.
    •   Mylan N.V. Securities Litigation (S.D.N.Y.): Cohen Milstein is Co-Lead Counsel in this putative securities class
        action against Mylan N.V. and certain of its officers, alleging that Mylan engaged in a years-long pattern of
        deceiving shareholders about the true nature of its EpiPen and generic drugs businesses.

Ms. Posner’s recent high-profile successes include:

    •   Wynn Resorts, Ltd. Derivative Litigation (Eighth Jud. Dist. Crt., Clark Cnty., Nev.): Cohen Milstein represented
        New York State Common Retirement Fund and the New York City Pension Funds as Lead Counsel in a derivative
        shareholder lawsuit against certain officers and directors of Wynn Resorts, Ltd., arising out of their failure to
        hold Mr. Wynn, the former CEO and Chairman of the Board, accountable for his longstanding pattern of sexual
        abuse and harassment of company employees. In March 2020, the Court granted final approval of a $90 million

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        settlement in the form of cash payments and landmark corporate governance reforms, placing it among the
        largest, most comprehensive derivative settlements in history.
    •   Tradex Global Master Fund SPC Ltd. et al. v. Lancelot Investment Management, LLC, et al. (Crc. Crt., Cook Cnty.,
        Ill.): In August 2018, the Court granted final approval of a $27.5 million settlement, concluding a nearly decade-
        old putative investor class action against McGladrey & Pullen LLP, an accounting firm, for its alleged fraud and
        negligence arising out of the Tom Petters’ Ponzi scheme, one of the largest Ponzi schemes in U.S. history. This
        case significant for not only the dollar value of the final settlement, but the rarity of such a case in which the
        auditor was allegedly complicit in its client’s fraud, as well as the number of legal hurdles cleared.

Ms. Posner has recovered billions on behalf of defrauded investors. Her notable successes include 5 of the top 100
securities fraud class action settlements of all time, including:

    •   In re Schering-Plough Corp./ENHANCE Securities Litigation (D.N.J.) and In re Merck & Co., Inc. Vytorin/Zetia
        Securities Litigation (D.N.J.): Obtained $688 million for investors on the eve of trial, the third largest recovery
        ever achieved in the Third Circuit and District of New Jersey, the second largest securities fraud settlement ever
        against a pharmaceutical company and among the top 25 securities fraud settlements of all time.
    •   In re The Mills Corporation Securities Litigation (E.D. Va.): Obtained $202.75 million for investors, the largest
        recovery ever achieved in a securities class action in Virginia, and the second largest recovery ever in the Fourth
        Circuit.
    •   In re WellCare Health Plans, Inc. Securities Litigation (M.D. Fla.): Obtained $200 million for investors, the largest
        recovery ever achieved in a securities class action in Florida, and the second largest recovery in the Eleventh
        Circuit.

Ms. Posner has also been involved in several landmark derivative cases, including the In re Walt Disney Co. Derivative
Litigation, which redefined the fiduciary duties of corporate directors and officers. She has authored several successful
amicus briefs to the United States Supreme Court, most recently on behalf of the North American Securities
Administrators Association in support of the SEC in Liu v. SEC and Lorenzo v. SEC.

Ms. Posner is currently the Chair of the Association of the Bar of the City of New York’s (NYC Bar) Securities Litigation
Committee, and previously served as a member of the NYC Bar’s Securities Regulation and Consumer Affairs
Committees. Ms. Posner is also currently a Vice President of the Institute for Law and Economic Policy, a public policy
research and educational foundation seeking to preserve, study and enhance investor and consumer access to the civil
justice system. Ms. Posner is the former Chairwoman of the North American Securities Administrators Association
(NASAA) Enforcement Committee, and previously served on NASAA’s Multi-Jurisdictional Action Committee, Technology
Committee and State Legislation Committee.

Ms. Posner was recognized by Crain’s New York Business as a “Notable Woman in Law,” for 2020, and is regularly
honored as a New York Super Lawyer, and as a member of Benchmark Litigation’s “40 & Under Hot List,” and
Lawdragon’s Leading Plaintiff Financial Lawyers. In 2017, Ms. Posner received NASAA’s 2017 Outstanding Service Award.

Ms. Posner graduated with a B.A. in Political Science, magna cum laude, from the University of California, Los Angeles in
2001. She received her law degree at Harvard Law School in 2004, where she served on the Executive Editorial
Committee for the Harvard Women's Law Journal.

Julie Goldsmith Reiser

Julie Goldsmith Reiser is a Partner at Cohen Milstein and Co-Chair of the firm’s Securities Litigation & Investor Protection
group. Ms. Reiser’s practice focuses on public pension plans, institutional investors, retirees and plan participants,
representing them in high-stakes, complex litigation, including securities, ERISA, and antitrust litigation.

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In 2021, Law360 recognized Ms. Reiser as a “Titan of the Plaintiffs Bar,” not long after citing her as one of the “25 Most
Influential Women in Securities Law.” The National Law Journal placed her among the “Elite Women of the Plaintiffs Bar”
and, since 2018, Lawdragon has named her one of the leading 500 lawyers in America.

On October 2, 2020, Ms. Reiser was recognized by The American Lawyer as “Litigator of the Week,” for the historic $310
million settlement In re Alphabet Shareholder Derivative Litigation (Sup. Crt. Cal., Santa Clara Cnty.), a shareholder
derivative action, which establishes a framework for stockholders to hold boards of directors accountable for long-
standing patterns of corporate mismanagement of sexual harassment, discrimination, and retaliation claims at their
companies.

Ms. Reiser is highly regarded by clients, co-counsel, and oppossing counsel for her tenacious advocacy, shrewd
understanding of complex financial and economic issues, meticulous preparation, and dynamic leadership. Indeed, co-
counsel and oppossing counsel were quoted in Law360’s “Titans of the Plaintiffs Bar: Cohen Milstein’s Julie Goldsmith
Reiser” profile:

    •   “I think [Ms. Resier] is an excellent attorney. Very good in advocating in the courtroom and in settlement
        negotiations, a very good strategic thinker and a nice person.” Louise Renne, former City Attorney of San
        Francisco, founding partner of Renne Public Law Group, and co-counsel in Alphabet.
    •   Ms. Reiser is “a very candid, trustworthy person” and working with her and her co-counsel was a “highlight of the
        case.” Boris Feldman, partner at Freshfields Bruckhaus Deringer LLP and oppossing counsel in Alphabet.

In addition to Alphabet and the precedent-setting Wynn Resorts Shareholder Derivative Action (Eighth Jud. Dist. Crt., Clark
Cnty., Nev.), which she led to a total $90 million settlement, Ms. Reiser has led litigation teams in several of the country’s
most complex class actions and landmark settlements, including a $500 million settlement related to Countrywide’s
issuance of mortgage-backed securities (“MBS”) and the Fifth Circuit affirmation of an investor class in the BP securities
fraud litigation, stemming from the 2010 Deepwater Horizon oil spill, which settled for $175 million.

Currently, Ms. Reiser is litigating the following notable matters:

    •   In re Pinterest Derivative Litigation (N.D. Cal.): Cohen Milstein, as Interim Lead Counsel, represents the Employees
        Retirement System of Rhode Island and other Pinterest shareholders in a consolidated shareholder derivative
        complaint against certain current officers and directors of Pinterest, including its Board Chairman and CEO, for
        breaches of fiduciary duty and other violations of Section 14(a) of the Exchange Act, relating to their alleged
        personal engagement in and facilitation of a systematic practice of illegal discrimination of employees on the basis
        of race and sex, from at least February 2018 through the present. As a result of this illegal misconduct, the
        Company’s financial position, goodwill, and reputation among users has been harmed. Ms. Reiser is lead counsel
        in this litigation.
    •   Bank of America Corp. Stock Lending Markets Antitrust Lawsuit (S.D.N.Y.): Ms. Reiser represents Iowa PERS, Los
        Angeles County Employees Retirement Association, Orange County Employees Retirement System and Sonoma
        County Employees’ Retirement Association in this ground-breaking lawsuit, in which plaintiffs allege collusion
        among six of the world’s largest investment banks to prevent modernization of the securities lending market, a
        critical component of a strong economy.
    •   Public School Teacher’ Pension and Retirement Fund of Chicago v. Bank of America Corporation, et al. (S.D.N.Y.):
        Cohen Milstein is Co-Lead Counsel in this lawsuit charging a number of the world’s largest investment banks with
        conspiring to engineer and maintain a collusive and anti- competitive stranglehold over the interest rate swaps
        (IRS) market –one of the world’s biggest financial markets. Ms. Reiser represents the Los Angeles County
        Employees Retirement Association.
    •   In re Valeant Pharmaceuticals International, Inc. Third-Party Payor Litigation (D.N.J.) Ms. Reiser represents a
        putative class of third-party payors arising from an alleged Racketeer Influenced and Corrupt Organization Act
        scheme perpetrated by Valeant, its top executives, and co-conspirators at affiliated specialty pharmacies to shield
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        the company’s drugs from competition, fraudulently inflate the prices of its products, and artificially boost sales
        at the expense of third party payors.

Ms. Reiser’s successes include:

    •   L Brands, Inc. Derivative Litigation: Cohen Milstein, in partnership with the State of Oregon, the Oregon Public
        Employees Retirement Fund, and other shareholders, helped resolve allegations that officers and directors of L
        Brands, Inc., previous owners of Victoria’s Secret, breached their fiduciary duties by maintaining ties with alleged
        sex offender and pedophile Jeffrey Epstein and fostering a culture of discrimination and misogyny at the company.
        Following a Delaware General Corporate Law Section 220 books and records demand and an extensive,
        proprietary investigation, L Brands and the now-standalone company, Victoria’s Secret, agreed to stop enforcing
        non-disclosure agreements that prohibit the discussion of a sexual harassment claim’s underlying facts; stop using
        forced arbitration agreements; implement sweeping reforms to their codes of conduct, policies and procedures
        related to sexual misconduct and retaliation; and to invest $45 million each, for a total of $90 million, in diversity,
        equity and inclusion initiatives and DEI Advisory Councils. Ms. Reiser led the Cohen Milstein team in this matter.
    •   In re Alphabet Shareholder Derivative Litigation (Sup. Crt. Cal., Santa Clara Cnty.): Cohen Milstein, as Co-Lead
        Counsel, represented Northern California Pipe Trades Pension Plan and Teamsters Local 272 Labor Management
        Pension Fund in a shareholder derivative lawsuit against the Board of Directors of Alphabet, Inc. Shareholders
        alleged that the tech giant’s Board violated its fiduciary duty by enabling a double standard at Alphabet that
        allowed powerful executives to sexually harass and discriminate against women without consequence. On
        November 30, 2020, the court granted final approval of a historic settlement, including a $310 million
        commitment to fund diversity, equity, and inclusion initiatives at Alphabet-owned companies, and workplace and
        corporate governance reforms including limiting non-disclosure agreements and ending mandatory arbitration in
        sexual harassment, gender discrimination, and retaliation-related disputes. Ms. Reiser led this litigation.
    •   New York State Common Retirement Fund, et al. v. Stephen A. Wynn, et al. (Eighth Jud. Dist. Crt., Clark Cnty.,
        Nev.): Cohen Milstein represented New York State Common Retirement Fund and the New York City Pension
        Funds as Lead Counsel in a derivative shareholder lawsuit against certain officers and directors of Wynn Resorts,
        Ltd., arising out of their failure to hold Mr. Wynn, the former CEO and Chairman of the Board, accountable for his
        longstanding pattern of sexual abuse and harassment of company employees. In March 2020, the Court granted
        final approval of a $90 million settlement in the form of cash payments and landmark corporate governance
        reforms, placing it among the largest, most comprehensive derivative settlements in history. Ms. Reiser led this
        litigation.
    •   NovaStar Mortgage Backed Securities Litigation (S.D.N.Y.): Cohen Milstein was Lead Counsel in this certified MBS
        class action. Ms. Reiser represented Iowa PERS, one of the class representatives. In March 2019, the U.S. District
        Court for the Southern District of New York granted final approval of a $165 million all-cash settlement, bringing
        this decade-long lawsuit, the last of 11 MBS class actions Cohen Milstein successfully handled, to conclusion.
    •   In re BP Securities Litigation (S.D. Tex.): Ms. Reiser represented the New York State Common Retirement Fund as
        Co-Lead Plaintiff in a securities class action filed in 2010, alleging that BP injured investors by intentionally
        downplaying the severity of the Deepwater Horizon oil spill and preventing investors from learning the magnitude
        of the disaster. Ms. Reiser took the lead in all aspects of this litigation: case development, motion practice,
        oversight and implementation of discovery strategies, depositions, expert discovery and argument. After
        successfully arguing for class certification to the district court, Ms. Reiser presented plaintiffs’ defense of that
        court’s decision to the Fifth Circuit U.S. Court of Appeals, which affirmed the class. The case settled for $175 million
        a few weeks before trial was set to begin.
    •   Countrywide Mortgage Backed Securities Litigation (C.D. Cal.): Ms. Reiser represented the Iowa, Oregon and
        Orange County public retirement systems in class action litigation related to Countrywide’s issuance of mortgage-
        backed securities, which culminated in a landmark $500 million settlement. Over the course of the litigation, Ms.
        Reiser argued on investors’ behalf at the motion to dismiss stage. She also handled various arguments related to
        discovery disputes and oversaw merits and expert discovery. She took a majority of the fact depositions and was

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        recognized for having teased a number of salient points from witnesses during the depositions. Ms. Reiser also
        took the lead in working with experts to maximize damages.
    •   Policemen’s Annuity and Benefit Fund of the City of Chicago, et al. v. Bank of America, NA, et al. (S.D.N.Y.): Ms.
        Reiser developed and litigated this novel class action, challenging trustee inaction in preventing investor losses.
        She represented the Arkansas Public Employees Retirement System, IPERS and Chicago Laborers in the case, which
        settled for $69 million. Ms. Reiser worked with plaintiffs’ statistician to develop a sampling methodology for
        testing whether mortgages were underwritten properly and with plaintiffs’ economist in the bid for class
        certification and approach to damages. At the final hearing, Judge Katherine B. Forrest commended the investors’
        legal team: “This is a very, very good result for the plaintiffs … [and] is something of which plaintiff counsel can be
        proud.”
    •   ERIC v. Read (D. Or.): Oregon became the first state in the nation to implement a defined contribution savings
        program for private sector employees who either work for companies that don’t offer a retirement plan or aren't
        eligible to participate in their employer’s retirement plan, called OregonSaves. In October 2017, the ERISA Industry
        Committee, a national group representing large businesses filed a lawsuit, arguing that the program is preempted
        by ERISA. Ms. Reiser, retained as outside counsel, successfully defended OregonSaves from ERISA challenges,
        resulting in a settlement in March 2018.

Ms. Reiser also maintains an active pro bono practice. Recent notable successes include:

    •   Vivian Englund v. World Pawn Exchange, LLC (Cir. Crt., Coos Cnty., Or.): Cohen Milstein successfully represented
        the estate of a Kirsten Englund in a wrongful death case of first impression in Oregon state court and nationally,
        addressing the legal liability for federally licensed firearms dealers involved in online straw sales. The landmark
        settlement (October 2018) establishes important legal precedent at the state and federal levels regarding gun
        dealer responsibility for online sales of firearms. Given the precedential significance of this lawsuit, Cohen Milstein
        was named to The National Law Journal’s “2019 Pro Bono Hot List” and won Public Justice Foundation’s “2019
        Trial Lawyer of the Year – Finalist” award.

In addition, Ms. Reiser has represented plaintiffs in employment cases. In Wade v. Kroger (W.D. Ky.), she represented
African American employees who received a $16 million settlement to resolve claims that the retailer Kroger had
discriminated against them in pay and promotions. She was also involved in Beck v. The Boeing Co. (W. D. Wash.), a case
alleging sex discrimination in compensation and promotions that settled for $72.5 million.

Ms. Reiser has twice been named a winner of the Burton Awards, placing her among the “finest law firm writers” in the
nation. She was a winner of the Burton Awards in 2019, as a co-author of “INSIGHT: Holding Firearms Dealers Accountable
for Online Straw Sales,” Bloomberg Law (December 19, 2018), and in 2016 for “Pre-Dispute Arbitration Clauses: Taking
the Alternative Out of Dispute Resolution,” Bloomberg BNA, Class Action Litigation Report (December 11, 2015). After the
publication of “Pre-Dispute Arbitration Clauses,” Paul Bland, Executive Director of Public Justice wrote: “This is invaluable
advocacy that takes industry-side advocacy and exposes its flaws and failings. I’m very glad to see this kind of very high-
quality advocacy and critical thinking.”

Ms. Reiser also is the author or co-author of “Boards Must Be Held Accountable for Sexual Harassment Scandals,” Financial
Times (January 1, 2020); “Event-Driven Litigation Defense,” Harvard Law School Forum on Corporate Governance and
Financial Regulation (May 23, 2019); “INSIGHT: Sandy Hook Decision Reins in Gun Industry Shield Law,” Bloomberg Law
(March 28, 2019); “The Critical ABCs of Financial Antitrust Litigation & Recovery Opportunities,” an ISS Securities Class
Actions Services White Paper (February 18, 2019): “Trends in ERISA Litigation in 2017,” Law360 (December 17, 2017);
"Carefully Tailored ERISA Claims After Amgen V. Harris," Law360 (January 25, 2017); “Omnicare: Negligence is the New
Strict Liability When Pleading Omissions Under the Securities Act,” Bloomberg BNA, Corporate Law & Accountability
Report (April 10, 2015); the author of “Dodd Frank’s Protections for Senior Citizens: An Important, Yet Insufficient Step,”
University of Cincinnati Law Review, Volume 81, Issue 2 (May 30, 2013); “Why Courts Should Favor Certification of MBS
Actions,” ABA Securities Litigation Journal, Volume 22, Number 1 (Fall 2011); and the co-author of “The Misapplication of
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American Pipe Tolling Principles,” ABA Securities Litigation Journal, Volume 21, Number 2 (Winter 2011). She also co-
authored “Opt-Outs: Making Private Enforcement of the Securities Laws Even Better,” featured in the Winter/Spring 2008
edition of the ABA's Class Action and Derivative Suit Committee Newsletter and “Companies in the Cross Hairs: When
Plaintiffs Lawyers Choose Their Targets, They Look for These Employment Practices,” The Legal Times (February 21, 2005).

Ms. Reiser is a noted speaker, often called on to discuss important issues such as pension system participation in class
action litigation, the ABCs of antitrust litigation for investors, and trends in ERISA litigation.

Ms. Reiser attended Vassar College, graduating with honors, and earned her J.D. at the University of Virginia School of
Law. She has served as a board member at Seattle Works and the Pacific Northwest Ballet.

J. Douglas Richards

J. Douglas Richards is a leading lawyer whose extensive experience litigating both Commodity Exchange Act and Sherman
Act claims and expertise in the antitrust class action field is widely recognized.

Mr. Richards was named one of twenty-two antitrust "Litigation Stars" nationally, as one of the world’s leading
competition lawyers by The International Who’s Who of Competition Lawyers and Economists (2014), and has received
the highest available peer ranking for many years from Martindale-Hubbell. Mr. Richards has been appointed co-lead
counsel in numerous large antitrust class actions in the Southern District of New York (SDNY) and nationally. Mr. Richards
has argued dozens of appeals, among them a number of antitrust matters that have helped shape the landscape of
antitrust law, including Bell Atlantic v. Twombly, 550 U.S. 544 (2007) before both the Second Circuit and the United States
Supreme Court, and Second Circuit cases like In re Tamoxifen Citrate Antitrust Litig., 429 F.3d 370 (2d Cir. 2005), cert.
denied, 127 S.Ct. 3001 (2007), and Kruman v. Christie’s Int’l PLC, 284 F.3d 384 (2d Cir. 2002). Mr. Richards has unique
expertise germane to a number of recent large class action cases involving antitrust claims concerning futures exchange
trading, and has recently withdrawn from various other antitrust cases to enable him to focus more fully on exchange-
trading cases.

Mr. Richards, who served as Deputy General Counsel of the Commodity Futures Trading Commission (“CFTC”) from 1997
to 2000, and possesses extensive experience in the Commodity Exchange Act field, is focusing on a number of recent large,
ground-breaking class action cases involving antitrust claims concerning futures exchange trading, including:

    •   In re Interest Rate Swaps Market Manipulation Litigation, Case No. 1:16-md-02704-PAE, S.D.N.Y.: On August 3,
        2016, Cohen Milstein was appointed Co-Lead Counsel in this groundbreaking putative class action, charging 12
        Wall Street banks with conspiring to engineer and maintain a collusive and anti-competitive stranglehold over the
        interest rate swaps market – one of the world’s biggest financial markets. The case is past the motion to dismiss
        stage and in active discovery.
    •   In re Treasuries Market Manipulation Litigation, Case No. 1:15-md-02673-PGG, S.D.N.Y.: On August 23, 2017,
        Cohen Milstein was appointed Co-Lead Counsel in this groundbreaking putative antitrust securities class action,
        alleging two dozen financial institutions with an inside role at the auction for U.S. Treasuries, conspired to
        manipulate yields and prices to their own benefit.

During his tenure at the CFTC, Mr. Richards assumed responsibility for all litigation by and against the CFTC (including
personally arguing numerous appeals on behalf of the CFTC), and for two of those years simultaneously managed the
CFTC’s adjudicatory functions. In 1999, the Commission awarded Mr. Richards a Special Service Award for performing
those two roles at the same time and successfully eliminating a long-standing backlog of Commission adjudicatory matters.

Prior to joining Cohen Milstein, Mr. Richards served as head of the antitrust class action group at two major plaintiffs firms,
as a government regulator in his role Deputy General Counsel of the CFTC, and a partner at a boutique defense-side firm.
This experience from various sides of the litigation table gives Mr. Richards a three hundred and sixty degree view of cases
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that is particularly valuable for his clients. Mr. Richards began his career as an associate at Cahill Gordon & Reindel after
earning his JD from Harvard Law School and graduating, with honors, from the University of Chicago where he majored in
economics. He is a noted speaker at professional conferences, discussing the trends in commodities and pharmaceuticals
antitrust and class action law and written extensively about antitrust laws, including chapters for books edited by the
American Antitrust Institute covering issues of class action practice, law reviews, and other scholarly publications.

Christina Donato Saler

Christina Donato Saler is a Partner at Cohen Milstein, and a member of the firm’s Securities Litigation & Investor Protection
practice group.

Prior to joining Cohen Milstein in 2017, Ms. Saler was a securities class action litigator at a nationally recognized plaintiffs
law firm, where she distinguished herself as a skilled litigator and trusted client counselor of public pension funds and
other institutional investors.

Ms. Saler represents her clients in a broad range of securities, shareholder rights and derivative actions as well as other
complex litigation. Ms. Saler gained substantial trial experience prosecuting First Amendment cases involving individual
plaintiffs against media defendants. She has been recognized by Law & Politics and the publishers of Philadelphia Magazine
as a Rising Star, as listed in the Super Lawyer’s publications (2011 – 2013).

Ms. Saler is currently involved in the following notable matters:

    •   Eric Weiner v. Tivity Health, Inc. (M.D. Tenn.): Cohen Milstein is sole Lead Counsel, representing Oklahoma
        Firefighters Pension and Retirement System, as the Lead Plaintiff, and other purchasers of Tivity Health stock, in
        a putative securities class action for violations of the Exchange Act related to Tivity’s misleading the public about
        its relationship with United Healthcare, Inc. Ms. Saler is involved in all aspects of the litigation.
    •   Universal Health Services, Inc. Shareholder Derivative Litigation (Del. Ch.): Cohen Milstein represents Delaware
        County Employees’ Retirement Fund and Chester County Employees’ Retirement Fund in a shareholder derivative
        action alleging that nominal defendant Universal Health Services’ directors and officers breached their fiduciary
        duties of care and loyalty for failures in overseeing Universal Health Services’ operations and compliance with
        applicable laws and regulations pertaining to its billing practices for mental health patients.
    •   Pharmacy Benefit Manager (PBM) Ohio Litigation (Franklin C.P.): Cohen Milstein serves as Special Counsel to the
        Ohio Attorney General’s Office in breach of contract litigation against PBMs Express Scripts, Inc., OptumRx
        Administrative Services, LLC, and Centene Corporation for allegedly overcharging two of Ohio’s state-funded
        health plans on millions of prescription drug claims.
    •   In re Woodbridge Investments Litigation (C.D. Cal.): Cohen Milstein is a part of the executive leadership team in a
        consolidated securities class action against Comerica Bank for violating California statutory law and breaching its
        fiduciary duties by aiding and abetting an elaborate multi-billion-dollar Ponzi-scheme fraud committed by Robert
        H. Shapiro and the Woodbridge Group of Companies, a real estate investment company, which transacted the
        scheme through Comerica bank accounts.

Ms. Saler also works closely with clients to keep them apprised of regulatory trends and legal decisions that may impact
the management of their funds. In this capacity, Ms. Saler is the Editor of Cohen Milstein’s Shareholder Advocate, a
quarterly publication focused specifically on legal issues relevant to the public retirement systems and institutional
investor community.

In 2017, Governor Tom Wolf of Pennsylvania appointed Ms. Saler to the Board of the Pennsylvania Humanities Council
whose mission is to find ways of using the humanities to help people take action for positive change in their lives and
communities, and demonstrate this effectiveness to leaders and organizations invested in making Pennsylvania a better
place to live. Ms. Saler is a member of the Executive Committee and Chairs the Government Advocacy Committee.
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Ms. Saler is also a volunteer at Philadelphia Volunteer Indigence Program (VIP), where she represents individuals in
jeopardy of losing their homes in the Philadelphia Common Pleas Court’s Mortgage Foreclosure Program.

Ms. Saler received her B.A. from Fairfield University. She received her J.D., with honors, from Rutgers University Law
School. In addition to other academic honors, Ms. Saler was selected for the Rutgers Law Journal and served as the Lead
Articles Editor. She is also the author of “Pennsylvania Law Should No Longer Allow a Parent’s Right to Testamentary
Freedom to Outweigh the Dependent Child’s ‘Absolute Right to Child Support,’” 34 Rutgers Law Journal, 235 (Fall 2002).

Ms. Saler’s professional career began in advertising. She was a Senior Account Executive with the Tierney Agency where
she managed various advertising campaigns and Verizon’s contractual relationship with its spokesperson James Earl Jones.

Daniel H. Silverman

Daniel H. Silverman is a Partner and a member of the Antitrust Practice Group at Cohen Milstein, having joined the firm
in 2012. Mr. Silverman has prosecuted class actions on behalf of both consumers and employees in a variety of industries
in courts around the country. Among his successes, Mr. Silverman has helped litigate the following matters:

    •   Domestic Drywall Antitrust Litigation: Cohen Milstein was co-lead counsel in an antitrust litigation alleging that
        the seven major U.S. manufacturers of drywall conspired to manipulate prices. The Court granted final approval
        of settlements that totaled more than $190 million.
    •   VFX/Animation Workers: In In re Animation Workers Antitrust Litigation (N.D. Cal.), Mr. Silverman represented a
        class of animation and visual effects workers in a lawsuit alleging that the defendants, who include Pixar, Lucasfilm
        Ltd. and DreamWorks Animation, secretly agreed not to solicit class members and to coordinate on compensation.
        The Court approved settlements with all of the defendants for a total of $168.5 million.
    •   Plasma-Derivative Protein Therapies Antitrust Litigation: Cohen Milstein was co-lead counsel for plaintiffs alleging
        a conspiracy to reduce the supply and increase prices of IVIG and Albumin—life-saving therapies derived from
        blood plasma. The lawsuit was resolved for $128 million to compensate customers who were overcharged for
        these vital therapies.

Mr. Silverman is currently involved in litigating the following notable matters:

    •   Interest Rate Swaps Antitrust Litigation: Cohen Milstein is co-lead counsel in a class action against several of the
        world’s largest investment banks that are alleged to have colluded with one another to crush competition in the
        trillion-dollar market for interest rate swaps, a type of financial derivative. The case is in active discovery.
    •   Mixed Martial Arts (MMA) Antitrust Litigation: Cohen Milstein is co-lead counsel in a class action on behalf of
        MMA fighters alleging that Zuffa LLC – commonly known as the Ultimate Fighting Championship or “UFC” – has
        unlawfully monopolized the markets for promoting live professional MMA bouts and for purchasing the services
        of professional MMA fighters.
    •   Rotavirus Vaccines Antitrust Litigation: Cohen Milstein developed and filed a proprietary case against Merck &
        Co., Inc. on behalf of a class of direct purchasers, alleging that Merck engaged in an anticompetitive bundled
        discount scheme to maintain its monopoly power in the rotavirus vaccines market after entry by GlasxoSmithKline
        plc (GSK).

Prior to joining the firm, Mr. Silverman served as the Executive Director of Legal Economics, LLC, a Cambridge,
Massachusetts-based firm specializing in the analysis of complex economic issues related to legal issues. At Legal
Economics, he supported expert economic testimony in a variety of antitrust matters involving horizontal price-fixing,
mergers, and loyalty discounts in industries ranging from health care and computer hardware to live music promotion. His
experience at Legal Economics provides him with unique insight into the inner workings of expert testimony in antitrust

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matters. In addition, Mr. Silverman has represented public sector clients before the Federal Energy Regulatory
Commission, state public utility commissions, and federal appellate courts.

Mr. Silverman is a magna cum laude graduate of Brown University, with a B.S. in Physics, where he was elected to Phi Beta
Kappa. He earned a J.D., magna cum laude, from Harvard Law School. In law school, he served as a Managing Editor of the
Harvard Environmental Law Review. Mr. Silverman also served as a summer associate at the U.S. Department of Justice in
the Environment and Natural Resources Division, Law and Policy Section.

Daniel A. Small

Daniel A. Small is a Partner at Cohen Milstein and the immediate past Co-Chair of the firm’s Antitrust practice group, a
role and honor which he has held on and off since 2008. He also had the honor of serving on the firm’s Executive
Committee for over a decade through 2019.

Mr. Small is one of the most respected litigators in antitrust class actions. In 2020, Law360 named him a “Titan of the
Plaintiffs Bar” for his decades of success in antitrust and other cases, including his extensive involvement in a class action
against Sutter Health that settled on the eve of trial in October 2019 for $575 million and detailed injunctive relief. He is
also named on the Lawdragon “500 Leading Lawyers in America” list (2018 – 2021), and the Super Lawyers’ list of Top
Antitrust Litigation Attorneys in Washington, DC (2013 – 2020). Since 2009, Legal 500 has annually recognized Mr. Small
and Cohen Milstein as a “Leading Plaintiffs Antitrust Class Action Lawyer/Firm”; Benchmark Plaintiff has repeatedly
awarded Mr. Small with its “National Litigation Star – Antitrust” recognition; and in 2014, International Who’s Who of
Competition Lawyers & Economists named him "Leading Competition Lawyer."

Mr. Small is widely regarded for his intellectual energy, deeply studying the economic issues underpinning antitrust
disputes and developing a sophisticated understanding of how conspiracies and monopolies operate in a range of complex
markets – from animation and visual effects workers and computer software and hardware to wild blueberries and
hospital nurses – and achieving just compensation for victims and promoting more open markets nationwide.

Mr. Small has represented plaintiff classes, and defended unions, as lead or co-lead counsel in numerous antitrust cases
and obtained settlements and judgments totaling over one billion dollars. He has tried cases to verdict and argued in
numerous appellate courts, including the U.S. Supreme Court.

Currently, Mr. Small is litigating the following notable matters:

    •   Sutter Health Antitrust Litigation (Sup. Crt., San Fran. Cty., Cal.): Cohen Milstein is part of a small team of firms
        representing a certified class of self-funded employers and union trust funds against Sutter Health, a large hospital
        chain in Northern California, for restraining hospital competition through anticompetitive contracting practices.
        In October 2019, on the eve of trial, the case settled for $575 million and comprehensive injunctive relief, subject
        to approval by the court.
    •   Rotavirus Vaccines Antitrust Litigation (E.D. Pa.): Cohen Milstein developed and filed a proprietary case against
        Merck & Co., Inc. on behalf of a class of direct purchasers, alleging that Merck engaged in an anticompetitive
        bundled discount scheme to maintain its monopoly power in the rotavirus vaccines market after entry by
        GlasxoSmithKline plc. Cohen Milstein is co-lead counsel.
    •   National Association of Realtors Litigation (N.D. Ill.): Cohen Milstein, as co-lead counsel, is representing home
        sellers in a class action against the National Association of Realtors and four of the largest national real estate
        broker franchisors for conspiring to require home sellers to pay the broker representing the buyer of their homes,
        and to pay at an inflated amount, in violation of federal antitrust law.
    •   Google Wi-Fi Litigation (N.D. Cal.): Cohen Milstein is co-lead counsel in a nationwide class action alleging that
        Google violated the Wiretap Act when its Street View vehicles secretly collected payload data from unencrypted

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        Wi-Fi networks. Plaintiffs defeated a motion to dismiss raising novel Wiretap Act issues, and the ruling was
        affirmed on interlocutory appeal to the Ninth Circuit. The court approved a $13 million settlement in March 2020.

Past successes include:

    •   Animation Workers Litigation (N.D. Cal.): Cohen Milstein served as co-lead counsel representing a class of
        animation and visual effects workers who alleged that Pixar, Lucasfilm, DreamWorks, Disney and other studios
        conspired to suppress their pay primarily though no poach agreements. The court granted final approval of
        $168.95 million in settlements.
    •   NYU Hospitals Center Litigation (S.D.N.Y.): Cohen Milstein served as lead trial counsel defending 1199SEIU United
        Healthcare Workers East against an antitrust claim by NYU Hospitals Center alleging that 1199SEIU conspired with
        a multi-employer bargaining association and others to increase NYU’s required contributions to the Union’s
        benefit fund. In June 2018, the court granted defendants’ motion to dismiss the antitrust claim. All remaining
        claims were dismissed with prejudice in December 2018.
    •   Prime Healthcare Services Litigation (S.D. Cal.): Cohen Milstein defended the Service Employees International
        Union in an antitrust action brought by Prime Healthcare Services, a hospital chain in Southern California, alleging
        that SEIU conspired with Kaiser Permanente to drive Prime and certain other hospitals out of the market. Cohen
        Milstein led the successful effort to dismiss the complaint and amended complaint in the Southern District of
        California and to defend the dismissal on appeal to the Ninth Circuit.
    •   Michigan Blue Cross Litigation (E.D. Mich.): Cohen Milstein has served as co-lead counsel in this class action
        challenging Michigan Blue Cross’s use of most favored nation provisions in its provider agreements with numerous
        hospitals in Michigan. The court granted final approval of a $30 million settlement.
    •   Hy-Ko Products Antitrust Litigation (N.D. Ohio): Cohen Milstein represented Hy-Ko Products Co., a manufacturer
        of keys and key duplication machines, in a monopolization case against its dominant competitors. The litigation
        settled on favorable terms.
    •   In re Buspirone Antitrust Litigation (S.D.N.Y.): Cohen Milstein served as co-lead counsel in an end-payor class
        action alleging that Bristol Myers-Squibb Co., the manufacturer of the prescription drug Buspar, conspired to keep
        generic versions of the drug out of the market. The class of end-payors settled for $90 million.
    •   Pease v. Jasper Wyman & Son, et al. (Sup. Ct., Knox Cty., Me.): Cohen Milstein was lead counsel representing a
        class of wild blueberry growers in Maine who sued four blueberry processors for conspiring to depress blueberry
        prices. The case was tried to a jury in Maine state court, where Mr. Small was co-lead trial counsel. The jury found
        the processors liable for 100% of the damages estimated by plaintiffs’ expert, resulting in a judgment of $56
        million.

Mr. Small also maintains an active pro bono practice. Current notable cases include:

    •   Citizens for Responsibility and Ethics in Washington, et al. v. Trump, and District of Columbia et al. v. Trump: Cohen
        Milstein is representing restaurant and hotel plaintiffs and the Attorneys General of Maryland and the District of
        Columbia in lawsuits against President Trump, seeking to enjoin his ongoing receipt of emoluments in violation of
        the U.S. Constitution.
    •   Seeger, et al. v. United States Department of Defense (D.D.C.): Cohen Milstein is representing a group of civilian
        and military lawyers who represent a detainee in the military commission proceedings at the Guantánamo Bay
        naval station. Represented by Cohen Milstein, this group of lawyers filed a lawsuit under the Administrative
        Procedure Act against the Department of Defense, the Navy, and the Convening Authority, claiming that military
        commission personnel have been forced to live and work for years in facilities that have been found to have
        dangerous levels of cancer-causing chemicals and other toxic substances, ranging from formaldehyde to heavy
        metals and mold.

In 2018, Mr. Small, Cohen Milstein, and the co-lead counsel team in Animation Workers Antitrust Litigation were
nominated for Public Justice Foundation’s Trial Lawyer of the Year, recognizing the legal teams that made the most
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outstanding contributions to the public interest through precedent-setting or otherwise extraordinary litigation concluded
within the last year.

Mr. Small serves on the Advisory Board of the American Antitrust Institute (AAI), a pre-eminent thought-leadership
organization devoted to promoting competition. He is also Chair of the selection committee for the Jerry S. Cohen
Memorial Fund Writing Award, which annually recognizes top antitrust scholarship.

Mr. Small clerked for the Honorable Roger Vinson, United States District Court for the Northern District of Florida, from
1986 to 1988.

Mr. Small attended Colgate University, where he graduated with a B.A., cum laude, in History. He earned his J.D. at
American University’s Washington College of Law.

Daniel S. Sommers

Daniel S. Sommers is a Partner at Cohen Milstein, the immediate past Co-Chair of the firm's Securities Litigation & Investor
Protection practice, and a former member of the firm’s Executive Committee, on which he served for twelve years from
2007 through 2019.

Mr. Sommers is a highly-regarded securities litigator and thought leader in the areas of securities and class action litigation
as well as investor rights. During his over three-decade career at Cohen Milstein, Mr. Sommers has taken leadership roles
in litigating large, complex and significant securities cases. He has provided litigation counsel to institutional investors,
including state-wide public pension funds; public safety pension funds and Taft-Hartley pension funds. Many of his cases
have resulted in important rulings and legal precedents, as well as in significant recoveries for investors totaling hundreds
of millions of dollars.

Some of his notable matters include:

    •   Bear Stearns Mortgage Pass Through Securities Litigation (S.D.N.Y.): Co-lead counsel representing the New Jersey
        Carpenters Health Fund in a $505 million landmark settlement (including a $5 million expense fund) of a securities
        class action suit alleging that Bear Stearns violated securities laws in the sale of mortgage backed securities to
        investors. This is the largest recovery ever obtained in a securities class action on behalf of investors in mortgage-
        backed securities.
    •   Converium/SCOR Securities Litigation (Netherlands): Co-lead counsel in a groundbreaking $58.4 million securities
        class action recovery, in which the Amsterdam Court of Appeal declared binding a world-wide class action
        settlement of claims of non-U.S. investors who purchased Converium shares outside of the United States. The
        ruling was a major victory for worldwide investors because it successfully implemented the Dutch Collective
        Settlement Statute even though the underlying transactions had limited contact with the Netherlands.
    •   Fannie Mae Securities Litigation (D.D.C.): Played a significant role in a high-profile securities class action
        representing the Ohio Public Employees Retirement System and the State Teachers Retirement System of Ohio
        against Fannie Mae, several of its former executives and KPMG involving allegations of falsified financial
        statements. The $153 million settlement amount represents the largest recovery in a securities fraud class action
        ever obtained in the United States District Court for the District of Columbia.

Mr. Sommers has obtained significant recoveries for investors in numerous other securities class action cases in federal
courts throughout the United States including: Steiner v. Southmark Corporation (N.D. Tex.) (over $70 million recovery);
In re PictureTel Inc. Securities Litigation (D. Mass.) ($12 million recovery); In re Opus Bank Securities Litigation (C.D. Cal.)
(representing the Arkansas Public Employees Retirement System and obtaining a $17 million recovery); In re Physician
Corporation of America Securities Litigation (S.D. Fla.) ($10.2 million recovery); In re Gilat Satellite Securities Litigation
(E.D.N.Y.) ($20 million recovery); In re Pozen Inc. Securities Litigation (M.D.N.C.) ($11.2 million recovery); In re Nextel
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Communications Securities Litigation (D.N.J.) (up to $27 million recovery); In re PSINet Inc. Securities Litigation (E.D. Va.)
($17.8 million recovery); In re Cascade International Inc. Securities Litigation (S.D. Fla.) (global recovery of approximately
$10 million); In re GT Solar Securities Litigation (D.N.H.) (representing the Arkansas Public Employees Retirement System
and obtaining a recovery of $10.5 million); Mulligan v. Impax Laboratories, Inc. (N.D. Cal.) (representing the Boilermakers
Blacksmith National Pension Trust and obtaining a recovery of $8 million); Plumbers & Pipefitters National Pension Fund
v. Orthofix, N.V. (S.D.N.Y.) (representing the Plumbers & Pipefitters National Pension Fund and obtaining a recovery of
$11 million) and In re ECI Telecom Securities Ltd. Litigation (E.D. Va.) ($21.75 million recovery). He has also handled
significant appellate matters including arguing before the United States Court of Appeals for the Ninth Circuit in Hemmer
Group v. Southwest Water Company, where he obtained a reversal of the district court’s order dismissing investors’ claims
under the Securities Act of 1933. In addition, he was co-lead counsel for investors before the Supreme Court of the United
States in Broudo v. Dura Pharmaceuticals, Inc., 544 U.S. 336 (2005) (addressing the standards for pleading loss causation).

Mr. Sommers is also experienced in non-class action litigation. He represented TBG Inc., a multi-billion dollar privately-
held overseas corporation, in a multi-party, complex action alleging fraud in a corporate acquisition and represented
individuals in connection with investigations brought by the United States Securities and Exchange Commission. He also
has represented publicly traded corporations in the prosecution and defense of claims.

Mr. Sommers has litigated cases covering a wide-range of industries including the financial services, computer software,
pharmaceutical, healthcare, insurance, real estate and telecommunications industries among others. In addition, he has
substantial experience in cases presenting complex accounting and auditing issues.

A thought leader in the area of securities and class action litigation, as well as investor rights, Mr. Sommers is frequently
called on to speak both to other lawyers and institutional investors. He has been quoted on these topics in a variety of
publications including The Wall Street Journal, The Washington Post, Bloomberg BNA, Pension and Investments, and
Law360.

Mr. Sommers is the immediate past Chair of the Markets Advisory Council of the Council of Institutional Investors, having
served for two consecutive terms (2018 – 2019). He is currently a member of the Securities Litigation Committee of the
National Association of Public Pension Attorneys. He served as Chairman and Vice-Chairman of the Investor Rights
Committee of the Corporation, Finance and Securities Law Section, District of Columbia Bar, and through the years has
been a guest lecturer at Columbus School of Law at the Catholic University of America; Georgetown Law Center; and
George Washington University Law School. He has also served as a member of the editorial advisory boards of Bloomberg
BNA Securities Litigation & Law Report and Law360 Securities.

Named a Washington, D.C. Super Lawyer each year from 2011 through 2019, Mr. Sommers has also been awarded
Martindale-Hubbell’s highest rating of AV Preeminent®, and Benchmark Plaintiff has recognized him as a litigation star in
multiple years.

Mr. Sommers attended Union College, where he earned a B.A., magna cum laude, in Political Science, and graduated from
George Washington University Law School.

Christine E. Webber

Christine E. Webber is a Partner at Cohen Milstein and a member of the Civil Rights & Employment practice group. In this
role, Ms. Webber represents victims of discrimination and wage and hour violations in class and collective actions.

Ms. Webber is a tenacious, hands-on litigator, highly-regarded for her ability to organize large, high-profile class and
collective actions and work closely with economic and statistical experts on developing sophisticated statistical analyses
of class claims.


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Ms. Webber has had the honor of representing clients in some of the largest, groundbreaking discrimination and Fair
Labor Standards Act (FLSA) class and collective actions in the United States, including Keepseagle v. Vilsack (D.D.C.), a
historic nationwide race-based discrimination class action brought by Native American ranchers and farmers against the
United States Department of Agriculture (USDA). The landmark $760 million settlement required the USDA to pay $680
million in damages to thousands of Native Americans, to forgive up to $80 million in outstanding farm loan debt and to
improve the farm loan services the USDA provides to Native Americans. Ms. Webber was lead counsel in In re Tyson Foods
FLSA MDL (M.D. Ga.), a collective action involving FLSA claims at over 40 Tyson chicken processing plants, which ultimately
resolved the claims of 17,000 chicken processing workers who had been denied compensation for donning and doffing
required safety and sanitary equipment; and Hnot v. Willis Group Insurance (S.D.N.Y.), where she represented a class of
women vice presidents in Willis’ Northeast region, who complained of discrimination with respect to their salary and
bonuses. This “glass ceiling” case settled in 2007 for $8.5 million plus attorneys’ fees, a record-breaking average payment
of $50,000 per woman. Ms. Webber continues the fight in Dukes v. Wal-Mart – a nationwide pay and promotion sex
discrimination class action that went to the U.S. Supreme Court in 2011 and addressed standards for class certification in
employment discrimination matters.

Ms. Webber is currently leading several high-profile class and collective actions, including:

    •   Bird, et al. v. Barr (D.D.C.): Ms. Webber is leading a high-profile putative class action of women who suffered
        systemic discrimination on the basis of sex when they were terminated from the Federal Bureau of Investigation’s
        Basic Training program for new agents and intelligence analysts.
    •   CFHC, et al. v. CoreLogic Rental Property Solutions (D. Conn.): Ms. Webber represents the Connecticut Fair
        Housing Center and Carmen Arroyo in a cutting-edge legal challenge to CoreLogic’s algorithmic background check
        system which has an allegedly adverse impact on African-American and Latinos seeking tenant housing. In August
        2020, the district court denied CoreLogic’s motion for summary judgement regarding Plaintiffs’ standing and
        Plaintiffs’ claims of race and national origin discrimination in violation of the Fair Housing Act.
    •   Reynolds et al v. Fidelity Investments Institutional Operations Company (M.D.N.C.): Ms. Webber successfully
        negotiated a settlement of a nationwide FLSA class action involving thousands of employees at Fidelity
        Investments Institutional Operations Company, Inc. call centers who were not paid overtime for mandatory pre-
        shift work. The court granted final approval to the settlement in January 2020.
    •   Ralph Talarico v. Public Partnerships, LLC (E.D. Pa.): Ms. Webber is leading a conditionally certified collective action
        of more than 4,900 past and present “direct care” workers, who provide home care for individuals with disabilities,
        for denied overtime wages. The case involves novel joint employer issues which are currently pending before the
        Third Circuit.
    •   Castillo, et al. v. Western Range Association (D. Nev.): Ms. Webber is also representing a putative class of
        shepherds hired from Peru and Chile, who allege that Western Range Association, which brought the plaintiffs
        into the U.S. to work as herders through the H-2A visa program, grossly underpaid them, in violation of Nevada
        law.
    •   Dukes v. Walmart (federal courts nationwide): Ms. Webber is coordinating lawsuits across the country on behalf
        of over 200 women with individual pay and promotion sex-discrimination claims against Walmart, following
        decertification of a class. Additionally, she is representing over 800 women who still have charges pending before
        the EEOC. This novel approach is the latest step in addressing the merits of this massive discrimination lawsuit,
        which went up to the Supreme Court in 2011.

For her tireless work, Ms. Webber was the recipient of the 2019 Roderic V.O. Boggs award for her sustained commitment
to the Washington Lawyers’ Committee for Civil Rights and Urban Affairs, and she has been recognized by Lawdragon 500
Leading Plaintiff Employment Lawyers (2018 – 2020), The Best Lawyers in America (2018-2021), and Super Lawyers (2007,
2012 – 2020).

Prior to joining Cohen Milstein in 1997, Ms. Webber received a Women's Law and Public Policy fellowship which funded
the first of her four years at the Washington Lawyers' Committee for Civil Rights and Urban Affairs in their Equal
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Employment Opportunity Project. There, she worked on employment discrimination cases, focusing in particular on the
sexual harassment class action Neal v. Director, D.C. Department of Corrections, et al. (D.D.C.). Ms. Webber participated
in the trial of this groundbreaking sexual harassment class action in 1995. Ms. Webber also tried the race discrimination
case Cooper v. Paychex (E.D. Va.), and successfully defended the plaintiffs' verdict before the Fourth Circuit.
Ms. Webber is co-chair of the National Employment Lawyers' Association’s Class Action Committee, the nation’s pre-
eminent employee-side legal association, a position she has held since 1999. She speaks and writes frequently on
employment discrimination, wage and hour issues, and class actions.

Ms. Webber attended Harvard University, graduating magna cum laude, with an A.B. in Government, and earned her
J.D., magna cum laude, Order of the Coif, at the University of Michigan Law School. Following law school, she clerked for
the Honorable Hubert L. Will, United States District Judge for the Northern District of Illinois.


Michelle C. Yau

Michelle C. Yau is a Partner at Cohen Milstein and Co-Chair of the firm’s Employee Benefits/ERISA practice group. In this
role, Ms. Yau represents the interests of employees, retirees, plan participants or beneficiaries in ERISA cases, with a focus
on ERISA cases involving complex financial transactions or actuarial issues.

Ms. Yau is passionate about protecting pension plan participants. She brings to her practice a unique combination of
government experience related to enforcing labor statutes and experience in finance, addressing complex financial
instruments. Prior to joining Cohen Milstein in 2007, Ms. Yau was an Honors Program Attorney at the Department of Labor
where she enforced and administered a variety of labor statutes, and before pursuing a career in law she worked as a
financial analyst at Goldman Sachs in the Financial Institutions Group of the Investment Banking Division.

As a result of this unique experience, Ms. Yau has played an instrumental role in some of the most significant ERISA
lawsuits in recent U.S. history, including litigation that emerged from the Madoff Ponzi scheme, including:

    •   In re Beacon Association Litigation (S.D.N.Y.): Ms. Yau represented a multi-plan class of participants, beneficiaries
        and fiduciaries, which settled along with other consolidated cases for $219 million in 2013, representing 70% of
        the Class members’ out-of-pocket losses. The judge praised the settlement, describing the outcome as
        “extraordinary” and the praising the “hard work” done by plaintiffs’ counsel, including Cohen Milstein.
    •   In re Austin Capital Management Litigation (S.D.N.Y.): A case which was settled by the Department of Labor on
        the ERISA class on very favorable terms, Ms. Yau alleged that Madoff’s returns, based on his advertised investment
        strategy, were mathematically impossible, a fact Austin Capital ought to have recognized well before the fraud
        was revealed.

Ms. Yau is presently litigating a series of church plan lawsuits alleging that health care systems wrongfully claim their
benefit plans are exempt from ERISA’s protection. She oversees the day-to-day management of these cases, including
coordinating all the aspects of the litigation. She is also involved in a series of high-profile class actions involving 401ks,
Employee Stock Ownership Plans (ESOPs), and other types of employee benefit plans that are allegedly in breach of ERISA
and undervaluing the investments to defined beneficiaries.

Currently, Ms. Yau is representing clients in the following notable matters:

    •   Dignity Health Church Plan Litigation (N.D. Cal.): Cohen Milstein is co-counsel to a class of defined benefit
        participants, which alleges that Dignity Health is improperly claiming that its pension plans are exempt from
        ERISA’s protections because they are “church plans,” and as a result has underfunded its plans by over $1.2 billion.
        In 2016, the Supreme Court agreed to hear arguments on consolidated church plan cases, and in June 2017, it

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        reversed previous rulings and ordered plaintiffs, in this case, to file an amended complaint. Pending final approval
        by the court, Dignity has agreed to settle class claims for $100 million.
    •   BlackRock 401(k) Retirement Plan Litigation (N.D. Cal.): Cohen Milstein is representing BlackRock 401(k) Plan
        participants and beneficiaries, who allege that the Plan fiduciaries violated their duties under ERISA by investing
        employees’ 401(k) savings almost exclusively in BlackRock proprietary funds and by using Blackrock subsidiaries
        to broker securities lending deals using the Plan’s assets.
    •   Western Milling ESOP Litigation (E.D. Cal.): Cohen Milstein is representing participants and beneficiaries of the
        Western Milling Employee Stock Ownership Plan, who allege that the ESOP’s trustees breached their fiduciary
        duties by engaging in risky investments in violation of ERISA, including purchasing 100% of Kruse-Western, Inc.
        company stock, which subsequently dropped by 90% shortly after the purchase.

Ms. Yau played an instrumental leadership role in the following high-profile cases:

    •   Presence Health Plan Litigation (N.D. Ill.): Cohen Milstein represented Presence Health Network-sponsored
        pension plan participants and beneficiaries, who allege that defendants wrongly claimed that the plans under
        dispute qualified as ERISA-exempt “church plans” and subsequently denied participants the protections of ERISA,
        including underfunding the plans by over $175 million. In July 2018, the court granted final approval to a $50
        million settlement.
    •   Trinity Church Plan Litigation: Cohen Milstein is counsel to a class of defined benefit participants in which allege
        that the hospital’s plan is not a church plan and thus the class is entitled to ERISA’s protections and thereby
        underfunded the plan by over $600 million. In May 2017, the granted final approval of a $75 million settlement.
    •   Advocate Health Care Church Plan Litigation (N.D. Ill.): Cohen Milstein served as co-lead counsel to a class of
        defined benefit participants, which alleged that the hospital’s plan was not a church plan and thus the class was
        entitled to ERISA’s protections. In 2016, the Supreme Court agreed to hear arguments on consolidated church
        plan cases, and in June 2017, it reversed previous rulings in favor of the plaintiffs. The Supreme Court, however,
        did not decide plaintiffs’ other theories of liability and this case was returned to the district court for further
        litigation and subsequent mediation. In June 2018, the court granted final approval of a settlement.
    •   St. Anthony Medical Center Church Plan Litigation (N.D. Ill.): Cohen Milstein is counsel to a class of defined benefit
        participants, which alleges that the Medical Center violated numerous provisions of ERISA by improperly operating
        the plan as exempt from ERISA’s protections. As a result, the class of participants suffered cutbacks as much as
        40% of their promised benefits. In April 2019, the court granted final approval to a $4 million settlement.
    •   Merrill Lynch ERISA Litigation (S.D.N.Y.): Cohen Milstein served as interim co-lead counsel in a class action alleging
        that fiduciaries of the Merrill Lynch retirement plans imprudently purchased and held inflated Merrill employer
        stock for the retirement accounts of the companies’ employees. The litigation was resolved for $75 million. Ms.
        Yau was engaged in all aspects of the litigation.
    •   Madoff Ponzi Scheme Litigation (S.D.N.Y.): Cohen Milstein represented a multi-plan class of participants,
        beneficiaries and fiduciaries in re Beacon Assoc. Litig. The $219 million settlement in 2013 represented 70% of the
        Class members’ out-of-pocket losses. Ms. Yau was engaged in all aspects of the litigation.
    •   Weyerhauser Pension Plan Litigation: Cohen Milstein was lead counsel in a lawsuit alleging that the Weyerhaeuser
        Company caused its Defined Benefit Retirement Plans to engage in a risky investment strategy involving
        alternative investments and derivatives, causing the Plans’ master trust to become underfunded. A settlement
        was reached for injunctive relief on behalf of Plans’ participants and beneficiaries. Ms. Yau was engaged in all
        aspects of the litigation.

For her work in cutting-edge ERISA litigation, Law360 named Ms. Yau a Rising Star Under 40 in 2014. Ms. Yau is a prolific
public speaker and is frequently invited to speak at ABA functions and CLE programs on ERISA litigation updates and trends.

Ms. Yau received her law degree from Harvard Law School in 2003, where she was awarded several public interest
fellowships, including the Heyman Fellowship for academic excellence and a demonstrated commitment to federal public
service. Ms. Yau graduated Phi Beta Kappa with a B.A. in Mathematics from the University of Virginia. Ms. Yau was also
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selected as an Echols Scholar and awarded the Student Council Scholarship for leadership, academic achievement and
community service.




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                                 Attorney Profiles – Of Counsel & Associates
Christopher Bateman

Christopher Bateman is an Associate at Cohen Milstein, and a member of the firm’s Antitrust practice group. In this role,
Mr. Bateman represents a broad range of individuals and businesses in civil litigation, with a focus on multi-district class
actions and antitrust litigation.

Mr. Bateman is currently working on the following high-profile matters:

    •   In re Interest Rate Swaps Antitrust Litigation (S.D.N.Y.): Cohen Milstein serves as co-lead counsel and represents
        the Public School Teachers’ Pension and Retirement Fund of Chicago and other proposed buy-side investor class
        members in this ground breaking putative antitrust class action against numerous Wall Street investment banks.
        Plaintiffs allege that the defendants conspired to prevent class members from trading IRS on modern electronic
        trading platforms and from trading with each other, all to protect the banks’ trading profits from inflated bid/ask
        spreads.
    •   Iowa Public Employees’ Retirement System, et al. v. Bank of America Corp. et al. (S.D.N.Y.): Cohen Milstein is
        representing Iowa Public Employees Retirement System and other investors who allege that six of the world’s
        largest investment banks, including Bank of America, Credit Suisse, Goldman Sachs, JP Morgan, Morgan Stanley,
        and UBS, conspired together to prevent the modernization of the $1.7 trillion stock lending market in order to
        maintain control over a critical component of a strong economy.

Before joining Cohen Milstein, Mr. Bateman was a law clerk for the Honorable Naomi Reice Buchwald, U.S. District Court
for the Southern District of New York. Before that, he was a litigation attorney at a distinguished global law firm, where
he worked with clients in the financial services and energy sectors.

Mr. Bateman received his B.A., cum laude, High Honors, from Dartmouth College, where he was a Rufus Choate Scholar.
He received his J.D., cum laude, from Harvard Law School, where he received Dean’s Scholar awards in Civil Procedure
and in Federal Courts and the Federal System. While in law school, Mr. Bateman was an Article Selection Editor for the
Harvard Civil Rights-Civil Liberties Law Review. He is the co-author of “Toward Greener FERC Regulation of the Power
Industry,” 38 Harvard Environmental Law Review 275 (2014).

While attending law school, Mr. Bateman was a legal intern at the Environmental Defense Fund.

Before law school, Mr. Bateman was an editorial associate at Vanity Fair for several years, where he wrote about politics,
civil rights, culture, and environmental issues, and edited feature articles.

Luke Bierman

Luke Bierman is Of Counsel to Cohen Milstein, and adviser to the Firm’s Ethics and Fiduciary Counseling and Securities
Litigation & Investor Protection practice groups. Mr. Bierman's role is to counsel pension funds and public entities on
fiduciary, ethics, governance and compliance issues. He joined Cohen Milstein in 2011, bringing with him a singular
perspective and substantive experience as in-house counsel to one of the leading pension funds in the country,
appointments to state task forces to review the state code of judicial ethics and professionalism, and a scholarly and
academic background as the Dean and Professor of Law at a rising law school that President Bill Clinton has called
“interesting and innovative.” His experience provides him with a unique context for assisting public pension funds at
critical and challenging times for those funds, and to offer collaborative and creative solutions.

Mr. Bierman served from 2007 to 2010 as General Counsel for the Office of the New York State Comptroller, the sole
trustee of the state’s then $150 billion pension fund and the state’s chief fiscal officer for the state of New York’s then
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$130 billion budget. This was during the period when the Office of the Comptroller faced unprecedented challenges
including an international placement agent scandal and the Great Financial Crisis, and Mr. Bierman led the review of
policies and procedures in the Office. In this role, Mr. Bierman managed a legal staff that included 55 attorneys, and was
responsible for legal advice and counsel on all matters relating to the comptroller’s constitutional and statutory
responsibilities, including fiduciary, governance, ethics, litigation, investment, pension benefits, state and municipal
finance and legislative matters. He also managed the 35 outside law firms that represented the Comptroller in litigation
and transactional matters.

Mr. Bierman is a noted expert on legal ethics and professionalism, who has spoken and written widely about state courts
and judicial conduct. He currently serves as a member of the North Carolina Commission on Administration of Law and
Justice and on the North Carolina Chief Justice’s Commission on Professionalism. He was a member of the Massachusetts
Supreme Judicial Court’s Task Force on the Code of Judicial Conduct, which was assigned to review and suggest updates
to the Court. He served on the ABA Presidential Task Force on Financing Legal Education and the ABA Presidential Task
Force on Legal Access JobCorps. While working at the American Bar Association, Mr. Bierman initiated the project that
resulted in revisions to the Model Code of Judicial Conduct (2007), which many states have since adopted.

Mr. Bierman is the Dean and Professor of Law at Elon University School of Law in Greensboro, North Carolina, an innovative
law school that blends the most important traditional elements of legal education with highly experiential learning in the
nation’s first 2½ year JD program. Previously, Mr. Bierman was the Associate Dean for Experiential Education and
Distinguished Professor of Practice of Law at Northeastern University School of Law in Boston, where he was responsible
for Northeastern’s Cooperative Legal Education Program.

Earlier in his career, Mr. Bierman served as a Fellow in Government Law and Policy at Albany Law School. He also has
served as Director of the Institute for Emerging Issues at North Carolina State University, where he held the rank of
Associate Professor of Political Science; as Founding Director of the Justice Center and Special Assistant to the President
of the American Bar Association; as Visiting Specialist in Constitutional Law with the rank of Associate Professor at The
Richard Stockton College of New Jersey; and as law clerk to the Presiding Justice and an Associate Justice as well as Chief
Attorney of the New York Supreme Court, Appellate Division, Third Department. Mr. Bierman also has taught at
Northwestern University School of Law, the University at Albany and Trinity College in Hartford.

Mr. Bierman is widely published for his legal analysis and is a frequent lecturer and commentator about corporate
governance reform, fiduciary responsibility and ethics and justice reform. He was a member of the board of directors of
the Council of Institutional Investors, where he co-chaired the policies committee.

Mr. Bierman earned his Ph.D. and M.A. in Political Science from the University at Albany; his J.D. from the Marshall Wythe
School of Law of the College of William and Mary, where he was a member of the Law Review; and his B.A. in American
Political History magna cum laude with High Honors from Colgate University, where he was elected to Phi Beta Kappa. He
is an elected member of the American Law Institute.

Molly J. Bowen

Molly J. Bowen is an Associate at Cohen Milstein and a member of the Securities Litigation & Investor Protection practice
group, where she represents clients in securities class actions and shareholder derivative lawsuits.

Ms. Bowen brings extensive consumer fraud experience to her securities litigation work. While at Cohen Milstein, Ms.
Bowen also worked closely with the Public Client practice, representing the interests of state Attorneys General and other
public-sector clients in protecting consumers from health care and consumer fraud. Prior to joining Cohen Milstein, Ms.
Bowen was a litigator at a prominent national law firm in Miami, where she focused on antitrust and securities class
actions, and False Claims Act and legal malpractice claims.


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Some of her current representative matters include:

   •   In re Pinterest Derivative Litigation (N.D. Cal.): Cohen Milstein, as Interim Lead Counsel, represents the Employees
       Retirement System of Rhode Island and other Pinterest shareholders in a consolidated shareholder derivative
       complaint against certain current officers and directors of Pinterest, including its Board Chairman and CEO, for
       breaches of fiduciary duty and other violations of Section 14(a) of the Exchange Act, relating to their alleged
       personal engagement in and facilitation of a systematic practice of illegal discrimination of employees on the basis
       of race and sex, from at least February 2018 through the present. As a result of this illegal misconduct, the
       Company’s financial position, goodwill, and reputation among users has been harmed.
   •   In re Wells Fargo & Company Securities Litigation (S.D.N.Y.): Cohen Milstein is Co-Lead Counsel, representing
       Public Employees’ Retirement System of Mississippi and the State of Rhode Island, Office of the General Treasurer,
       in this putative securities class action, alleging that Wells Fargo and certain executives misrepresented that the
       bank had improved its governance and oversight structures following a widespread consumer fraud banking
       scandal in direct violation of its 2018 consent orders with the CFPB, OCC, and the Federal Reserve.
   •   In Re Overstock Securities Litigation (D. Utah): Cohen Milstein is sole Lead Counsel, representing The Mangrove
       Partners Master Fund, Ltd. and other investors, in this putative securities class action against Overstock.com Inc.,
       its former CEO, CFO, and current Retail President for engineering a market manipulation “short squeeze” scheme
       in the company’s common stock and insider trading.

Some of Ms. Bowen’s recent successes include:

   •   In re Alphabet Shareholder Derivative Litigation (Sup. Crt. Cal., Santa Clara Cnty.): Cohen Milstein, as Co-Lead
       Counsel, represented Northern California Pipe Trades Pension Plan and Teamsters Local 272 Labor Management
       Pension Fund in a shareholder derivative lawsuit against the Board of Directors of Alphabet, Inc. Shareholders
       alleged that the tech giant’s Board violated its fiduciary duty by enabling a double standard at Alphabet that
       allowed powerful executives to sexually harass and discriminate against women without consequence. On
       November 30, 2020, the court granted final approval of a historic settlement, including a $310 million
       commitment to fund diversity, equity, and inclusion initiatives at Alphabet-owned companies, and workplace and
       corporate governance reforms including limiting non-disclosure agreements and ending mandatory arbitration in
       sexual harassment, gender discrimination, and retaliation-related disputes.
   •   Credit Suisse Group AG Securities Litigation (S.D.N.Y.): Cohen Milstein, as Co-Lead Counsel, represented the
       International Brotherhood of Teamsters Local No. 710 Pension Plan in a securities class action against Credit Suisse
       Group AG, involving misrepresentations of its trading and risk limits, and subsequent accumulation of billions of
       dollars in extremely risky, highly illiquid investments, including the surreptitious accumulation of nearly $3 billion
       in distressed debt and U.S. collateralized loan obligations (“CLOs”). On December 16, 2020, the court granted final
       approval of a $15.5 million settlement.

Ms. Bowen also maintains an active pro bono practice involving notable matters, such as:

   •   Small Claims Matter (D.C. Small Claims Court): Ms. Bowen represents a low-income tenant in a small claims action
       asserting a novel claim of unjust enrichment based on the landlord’s assessment of late fees deemed excessive by
       local statute.
   •   Vivian Englund v. World Pawn Exchange, LLC (Cir. Crt., Coos Cnty., Or.): Cohen Milstein successfully represented
       the estate of a Kirsten Englund in a wrongful death case of first impression in Oregon state court and nationally,
       addressing the legal liability for federally licensed firearms dealers involved in online straw sales. The landmark
       settlement establishes important legal precedent at the state and federal levels regarding gun dealer
       responsibility for online sales of firearms. Given the precedential significance of this lawsuit, Cohen Milstein was
       named to The National Law Journal’s “2019 Pro Bono Hot List” and won Public Justice Foundation’s “2019 Trial
       Lawyer of the Year – Finalist” award.

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Ms. Bowen regularly publishes on developments in securities law and was named a winner of the Burton Awards in 2019,
placing her among the “finest law firm writers” in the nation, for “INSIGHT: Holding Firearms Dealers Accountable for
Online Straw Sales,” Bloomberg Law (December 19, 2018).

Prior to pursing private practice, Ms. Bowen was a law clerk to the Honorable Karen Nelson Moore of the United States
Court of Appeals for the Sixth Circuit.

Ms. Bowen graduated magna cum laude from Macalester College with a B.A. in Geography in 2007. She earned her J.D.,
summa cum laude, graduating first in her class, from Washington University School of Law in 2013, where she was a
member of the Appellate Clinic and served as the Articles Editor for the Washington University Law Review. During law
school, Ms. Bowen focused on union-side labor law, including participating in an externship at the Service Employees
International Union (SEIU) legal department.

Jamie Bowers

Jamie Bowers is an Associate at Cohen Milstein and a member of the firm’s Employee Benefits Practice Group. In her role,
Ms. Bowers represents the interests of employees, retirees, plan participants and beneficiaries in ERISA cases across the
country.

Ms. Bowers has been recognized by the legal industry for her exceptional work for an attorney under the age of 40,
including being named to Law360’s “Rising Stars - Benefits” (2020) and Super Lawyers’ “Rising Stars – Employee Benefits”
(2020).

Ms. Bowers is involved in the following high-profile matters:

    •   T. Rowe Price 401(k) Plan Litigation (D. Md.): Cohen Milstein is litigating a case against T. Rowe Price, where
        plaintiffs allege that T. Rowe Price included their proprietary funds in their plan that charged higher fees than
        other competitor funds and also underperformed those funds, to the detriment of participants. Ms. Bowers is
        actively involved in all aspects of the litigation.
    •   St. Anthony’s Medical Center Church Plan Litigation (N.D. Ill.): Cohen Milstein is co-lead counsel in a case against
        St. Anthony’s Medical Center. The plaintiffs allege that St. Anthony’s is violating numerous provisions of ERISA by
        wrongfully claiming that its defined benefit pension plan is exempt from ERISA because it is a church plan. Ms.
        Bowers is actively involved in all aspects of the litigation.
    •   Cape Fear River Contaminated Water Litigation (E.D.N.C.): Cohen Milstein serves as Interim Co-Lead Counsel in
        this litigation, overseeing a series of five putative toxic tort class actions filed against E.I. DuPont de Nemours
        Company and The Chemours Company.

In addition to her ERISA case work, Ms. Bowers has represented clients in disability and immigration proceedings pro
bono.

Prior to joining Cohen Milstein, Ms. Bowers served as a judicial law clerk for the Honorable Gary R. Jones at the United
States District Court for the Northern District of Florida, Gainesville Division. In this role she dealt with a variety of issues
arising under federal law, including initial criminal appearances, plea changes, writs of habeas corpus, prisoner litigation,
employment litigation, personal injury litigation, civil rights litigation, mass torts litigation, social security disability, and
various matters under the Federal Rules of Civil and Criminal Procedure.

Ms. Bowers attended Duke University, graduating with a B.A. in Environmental Science in 2011. She earned her J.D. from
Georgetown University Law Center in 2014. During law school, Ms. Bowers served on the Executive Board as the
Administrative Editor of the Georgetown Environmental Law Review.

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Stacy N. Cammarano

Stacy N. Cammarano is an Associate at Cohen Milstein and a member of the firm’s Civil Rights & Employment practice
group. Ms. Cammarano’s practice focuses on representing employees in Title VII, Fair Labor Standards Act (FLSA) and
other discrimination and retaliation claims.

Prior to joining Cohen Milstein in 2018, Ms. Cammarano was an employment litigation associate at a well-regarded
Washington, D.C.-based whistleblower and employment litigation boutique. Prior to that she was a law clerk for Senior
Judge David Briones of the U.S. District Court for the Western District of Texas.

Immediately following law school, Ms. Cammarano was a legal researcher for the Open Society Justice Initiative and later
the Managing Director for the Center for Human Rights and Global Justice.

Ms. Cammarano has authored and co-authored several articles, including “No Justice for Those Harassed by Judges,” The
Washington Post, May 9, 2018, “Whose Right and Who’s Right? The US Supreme Court v. The European Court of Human
Rights on Corporate Exercise of Religion,” Boston University International Law Journal, Vol. 34, Pg. 1 (2016) (with Ioana
Cismas), and “I Beg Your Pardon: Maintaining the Absolute Ban on Torture through the Presidential Pardon,” National
Lawyers Guild Review, Vol. 69, Pg. 197 (2012).

Ms. Cammarano received her B.A., with High Distinction, from the University of Michigan. She received the Sidney J. and
Irene Shipman Scholarship and the William J. Branstrom Freshman Prize for academic achievement. She received her J.D.
from the University of Texas Law, where she was Staff Editor and Submissions Director of the Texas Journal of Women
and the Law. She was a Rapoport Center Human Rights Scholar and the recipient of the University of Texas School of Law
Dean’s Scholarship.

Jay Chaudhuri

Mr. Chaudhuri has spent his career fighting for and working on behalf of the people of North Carolina. Prior to joining
Cohen Milstein, Mr. Chaudhuri served as General Counsel & Senior Policy Advisor at the North Carolina Department of
State Treasurer, the sole trustee of the state’s $90 billion pension fund and administrator of the $8 billion defined
contribution plan.

Mr. Chaudhuri oversaw all legal and corporate governance matters. In his role, he recovered more than $100 million for
the pension and unclaimed property funds, including settlements with a real estate investment manager and custodian
bank. He played a key role in uncovering alleged wrongdoing that led to eight investment managers paying the pension
fund back $15 million and tougher, cutting-edge ethical standards for these managers.

Mr. Chaudhuri also helped organize a coalition of 11 public pension funds against Massey Energy’s Board of Directors and
Chairman, after a coal-mining explosion resulted in the death of 29 workers. That engagement resulted in key corporate
governance changes and the Chairman’s resignation. Today, the coalition’s engagement is cited as a model of
collaboration among shareholder rights advocates. In addition, Mr. Chaudhuri worked closely with the Harvard
Shareholder Rights Project where the Department helped declassify twenty corporate boards, including Stanley Black &
Decker, Hess, Lexmark, Foot Locker, and Jarden Corporation. Mr. Chaudhuri served as Chair of the Council of Institutional
Investors, an association of the pension funds with combined assets of more than $3 trillion which serves as the leading
voice for effective corporate governance and strong shareholder rights. As Chair, he led the development and adoption
of the organization’s long-term strategic plan.
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Before joining the Department of State Treasurer, Mr. Chaudhuri served as Special Counsel at the North Carolina
Department of Justice, where he lead an investigation by all 50 Attorneys General that resulted in a landmark agreement
with two leading social networking sites to better protect children from Internet predators. For his efforts, the National
Association of Attorneys General honored him with the Marvin Award, given to an individual who furthers that
association’s goals.

The North Carolina Bar Association has awarded Mr. Chaudhuri its Citizen Lawyers Award, given to lawyers who provide
exemplary service to the communities. Lawyers Weekly has also honored him with its Leader in the Law award. In
addition, he has been awarded the William C. Friday Fellowship, Henry Toll Fellowship, and American Marshall Memorial
Fellowship.

Mr. Chaudhuri currently serves in the North Carolina State Senate representing parts of Raleigh, Cary, and Morrisville. As
one of the newest state senators, he serves on the Commerce, Pension & Retirements and Aging, Judiciary II, State and
Local Government, and Appropriations on General Government committees. Mr. Chaudhuri has co-sponsored a bill to
repeal House Bill 2, a bill critics have referred to as the most anti-LGBT legislation in the country. He is the first South
Asian American to serve in the North Carolina General Assembly.

Mr. Chaudhuri graduated from Davidson College, Columbia University School of International and Public Affairs, and North
Carolina Central University School of Law (cum laude), where he was executive editor of the Law Journal.

Leonardo Chingcuanco

Leonardo Chingcuanco is an Associate at Cohen Milstein and a member of the firm’s Antitrust practice group. Mr.
Chingcuanco represents a broad range of individuals and businesses in civil litigation, with a focus on multi-district class
actions and antitrust litigation.

Prior to becoming an Associate at Cohen Milstein, Mr. Chingcuanco served as a Law Clerk for the Honorable Rosemary
Collyer of the U.S. District Court for the District of Columbia.

Before that, Mr. Chingcuanco worked as an Associate Regional Counsel at the U.S. Environmental Protection Agency,
during which time he was the recipient of the Regional Administrator’s Award for Excellence and a 2018 Regional Honor
Award.

Mr. Chingcuanco earned his B.A., magna cum laude, at the University of California, San Diego. He earned his J.D. from
Stanford Law School, where he was a member of the Stanford Law Review.

Robert W. Cobbs

Robert W. Cobbs is an Associate at Cohen Milstein and a member of the firm’s Antitrust practice group.

Currently, Mr. Cobbs is litigating the following notable matters:

    •   Interest Rate Swaps Antitrust Litigation (S.D.N.Y.): Cohen Milstein serves as co-lead counsel in a groundbreaking
        antitrust class action representing the Public School Teachers’ Pension and Retirement Fund of Chicago and a
        proposed buy-side investor class against numerous Wall Street investment banks. The class alleges that the
        defendants conspired to prevent class members from trading IRS on modern electronic trading platforms and
        from trading with each other, all to protect the banks’ trading profits from inflated bid/ask spreads.
    •   Stock Lending Antitrust Litigation (S.D.N.Y.): Cohen Milstein serves as co-counsel in a groundbreaking antitrust
        class action alleging that major investment banks conspired to prevent the stock lending market from evolving by
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        boycotting and interfering with various platforms and services designed to increase transparency and reduce costs
        in the stock lending market.

Mr. Cobbs’ recent successes include:

    •   Google Wi-Fi Litigation (N.D. Cal.): Cohen Milstein was co-lead counsel in a nationwide class action alleging that
        Google violated the Wiretap Act when its Street View vehicles secretly collected payload data from unencrypted
        Wi-Fi networks. Plaintiffs defeated a motion to dismiss raising novel Wiretap Act issues, and the ruling was
        affirmed on interlocutory appeal to the Ninth Circuit. The court approved a $13 million settlement in March 2020.
    •   Anadarko Basin Oil and Gas Lease Antitrust Litigation (W.D. Okla.): Cohen Milstein was co-lead counsel for
        plaintiffs in a class action alleging that Chesapeake Energy, SandRidge Energy and a former executive of both
        companies conspired to rig bids for leases of land held by private landowners in parts of Oklahoma and Kansas.
        This litigation followed the U.S. Department of Justice’s early 2016 indictment of a co-founder and former CEO of
        Chesapeake Energy for allegedly participating in this bid-rigging conspiracy. Plaintiffs alleged that Defendants
        illegally conspired to stabilize and depress the price of royalty and bonus payments paid to landowners in the
        Anadarko Basin oil and gas province — a massive geological formation holding natural gas and oil deposits that
        includes large parts of Oklahoma and Kansas. Pursuant to this conspiracy, Plaintiffs alleged that Defendants
        communicated about and agreed on prices, allocated particular geographic areas between themselves, and rigged
        bids for leases of land, lowering acquisition prices across the region and thereby harming the proposed class of
        landowners. In April 2019, the court granted final approval of a $6.95 million settlement.

Prior to joining Cohen Milstein, Mr. Cobbs clerked for the Hon. Pierre N. Leval, United States Court of Appeals for the
Second Circuit; and for the Hon. J. Rodney Gilstrap, United States District Court for the Eastern District of Texas.

Mr. Cobbs graduated from Amherst College with a B.A. in English and Russian, magna cum laude with distinction, and
received his J.D. from Yale Law School. During law school, he served as a Notes Editor of the Yale Law Journal and as a
Submissions Editor of the Yale Journal on Regulation.

Arthur E. Coia

Arthur E. Coia is Of Counsel at Cohen Milstein and is a member of the Securities Litigation & Investor Protection practice
group. In that role, Mr. Coia works to keep clients, many of which are Taft-Hartley pension plans, informed of potential
fraud and corporate governance issues within their investments so they are able to consider appropriate action in a timely
manner.

Prior to joining the firm in 2013, Mr. Coia spent more than 20 years in the investment advisory business. He was President
of an asset management company for 10 years, where he oversaw the management of more than $4 billion in assets.
Earlier in his career, Mr. Coia worked as a Portfolio Manager and Securities Analyst for a well-respected trust company
and other independent “buy side" advisors. Because of his prior role as a fiduciary in managing benefit fund assets, Mr.
Coia understands how important it is for such funds to recover all assets to which they are legally entitled, and to take
timely corporate governance actions where appropriate. Mr. Coia uses his unique combination of investment experience
and legal knowledge to raise client awareness of instances where they have been defrauded of assets and helps them with
the recovery process.

Mr. Coia earned a B.S. in Finance from Georgetown University McDonough School of Business, and received his J.D. from
Georgetown University Law Center.

Brian Corman



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Brian Corman is an Associate at Cohen Milstein and a member of the Civil Rights & Employment practice group. Mr.
Corman’s practice focuses on litigating federal fair housing and employment class actions, as well as wage and hour cases
under the federal Fair Labor Standards Act (FLSA).

Prior to joining Cohen Milstein in 2015, Mr. Corman was a Litigation Associate at a top-tier defense firm. There, he focused
on Foreign Corrupt Practices Act internal investigations for Fortune 500 clients, as well as pro bono cases in federal district
court and before the Supreme Court.

Mr. Corman’s current cases include:
    • Long Island Housing Services, Inc., et al. v. NPS Holiday Square LLC, et al. (E.D.N.Y.): Cohen Milstein is representing
       Long Island Housing Services (LIHS), Suffolk Independent Living Organization (SILO) and Suffolk County residents
       in a Fair Housing Act race and disability discrimination class action against a prominent Long Island-area property
       management company.
    • Lopez, et al. v. Ham Farms, LLC, et al. (E.D.N.C.): Cohen Milstein represents migrant seasonal and H-2A farm labor
       workers in a wage and hour dispute under the FLSA, the Migrant and Seasonal Agricultural Worker Protection Act
       (MSPA), and the North Carolina Wage & Hour Act.
    • Castillo v. Western Range Association (D. Nev.): Cohen Milstein represents H-2A shepherds in a class action against
       Western Range Association in a wage and hour dispute.
    • Sutton v. McCoy (N.D. Ga.): Cohen Milstein and the ACLU are representing a plaintiff in a race-based Fair Housing
       Act discrimination lawsuit, where the plaintiff claims she was unjustly evicted for inviting an African-American
       family to her home.
    • Arroyo v. CoreLogic Rental Property Solutions (D. Conn.): Cohen Milstein, Connecticut Fair Housing Center and the
       National Housing Law Project are representing an individual plaintiff against CoreLogic, a tenant-screening
       company, for race-based discrimination in violation of the Fair Housing Act related to its criminal record check.
    • Walmart: Cohen Milstein represents female Walmart workers in multiple federal district and appellate court cases
       alleging gender-based discriminatory pay and promotions practices in violation of Title VII of the Civil Rights Act.
       These individual actions stem from Dukes v. Walmart, a seminal class action that went before the Supreme Court.

Recent notable litigation successes include:

    •   Gentiva Health Services (N.D. Ga.): Cohen Milstein represented hundreds of health care workers in a nationwide
        class action against Gentiva, one the country’s largest home health care service providers. Plaintiffs sought unpaid
        overtime wages under FLSA. In June 2017, the court granted final approval of a confidential settlement.
    •   Long Island Housing Services, Inc., et al. v. Village of Mastic Beach (E.D.N.Y.): Cohen Milstein represented LIHS and
        African American tenants in a Fair Housing Act and race discrimination case. The case settled in August 2017 for
        $387,500.
    •   Following law school, Mr. Corman clerked for the Honorable Harry Pregerson of the Ninth Circuit Court of Appeals.
        He then participated in a D.C. Bar Association Pro Bono Fellowship at the Lawyers’ Committee for Civil Rights
        Under Law, working on education, voting rights and fair housing cases.

Mr. Corman earned his law degree from the University of California, Berkeley, School of Law, where he was an editor of
the California Law Review, a member of the Jessup International Law Moot Court Team, co-chaired the Berkeley Law
Expulsion Clinic, and externed for the Honorable William Alsup of the U.S. District Court for the Northern District of
California. Mr. Corman received his B.A., summa cum laude, Phi Beta Kappa, in Political Science from Columbia University
School of General Studies.
Mr. Corman was a professional ballet dancer for eight years, performing with the Houston Ballet and Washington Ballet,
among other companies.

Alison Deich

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Alison Deich is an Associate at Cohen Milstein and a member of the firm’s Antitrust practice group. In this role, Ms. Deich
represents a broad range of individuals and businesses in civil litigation, with a focus on multi-district class actions and
antitrust litigation.

Ms. Deich is working on the following high-profile antitrust matters:

Jien v. Perdue Farms, Inc. (D. Md.): Cohen Milstein serves as Co-Lead Counsel, representing a proposed class of poultry
plant workers, in a suit alleging that the nation’s largest chicken and turkey producers conspired to suppress their wages.
In re Broiler Chicken Antitrust Litigation (N.D. Ill.): Cohen Milstein represents a putative class of broiler chicken consumers
in a suit alleging that the nation’s largest chicken producers, including Perdue Farms and Tyson Foods, conspired to raise
the price of chicken.
Ms. Deich is also involved in other high-profile matters on behalf of the firm, including:

Thompson v. Trump (D.D.C.): The NAACP and Cohen Milstein represent Congressman Bennie Thompson in a suit alleging
that Donald J. Trump, Rudolph G Giuliani, the Proud Boys and the Oath Keepers conspired to prevent members of Congress
from carrying out their duty to certify the results of the 2020 election on January 6, 2021.
Cape Fear River Contaminated Water Litigation (E.D.N.C.): Cohen Milstein serves as Interim Co-Lead Class Counsel,
overseeing a putative class action against E.I. DuPont de Nemours Company and The Chemours Company for discharging
toxic chemicals into the Cape Fear River—a source of drinking water for five counties in North Carolina.
In re Flint Water Crisis Class Action Litigation (E.D. Mich.): Cohen Milstein is Interim Co-Lead Class Counsel for a group of
related class action lawsuits filed in federal court on behalf of Flint, Michigan residents and businesses harmed by exposure
to toxic levels of lead and other hazards from the city’s drinking water.
Prior to joining Cohen Milstein, Ms. Deich clerked for the Honorable Cornelia Pillard of the United States Court of Appeals
for the D.C. Circuit. She also clerked for the Honorable Katherine Polk Failla of the U.S. District Court for the Southern
District of New York, as well as the Honorable Goodwin Liu of the California Supreme Court.

Ms. Deich received her B.A. from the University of Virginia, where she graduated with highest distinction, Phi Beta Kappa,
and received several honors, including the Lewis M. Hammond Award. Ms. Deich received her J.D. from Harvard Law
School, where she graduated magna cum laude and won the Ames moot court competition.

Prior to law school, Ms. Deich helped draft research papers for various non-profit organizations.

Suzanne Dugan

Suzanne M. Dugan is Special Counsel to Cohen Milstein and leads the firm’s Ethics & Fiduciary Counseling practice, a
practice she helped found within the Securities Litigation & Investor Protection practice group.

Ms. Dugan joined Cohen Milstein after more than 20 years of service in government, including as Special Counsel for Ethics
for the Office of the New York State Comptroller, and as counsel to and acting director of the New York State Ethics
Commission. Her service and experience in government offer the broad and unique perspective of a regulator and the
understanding of an in-house counsel.

Ms. Dugan brings her experience gained from having served as ethics counsel to the third largest public pension fund in
the country to advise and counsel pension fund trustees and senior managers on issues and challenges, providing
collaborative and creative solutions for pension funds as they navigate changing economic challenges and organizational
requirements.

From this unique vantage, Ms. Dugan counsels pension funds on fiduciary responsibility, ethical duties, strategic
governance and compliance issues. She consults with governmental entities and other clients on design, implementation,
management and assessment of comprehensive ethics programs. She also assists in conducting investigations and
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structuring recommendations, and provides expert legal and consulting services to law firms retained to conduct special
reviews, providing an additional layer of oversight and accountability.

Ms. Dugan has worked with public pension fund and municipal government clients in the following capacities:

    •   Service as Fiduciary Counsel, Ethics Counsel, and Compliance Counsel to public pension plans from coast to coast,
        including some of the largest institutional investors in the country.
    •   Providing ethics and fiduciary training to boards of trustees, designing and delivering educational programs for
        sophisticated public pension plans and government entities.
    •   Outside Ethics Officer to municipalities across the country, evaluating and investigating complaints of unethical
        conduct, providing objective and independent guidance, and working to ensure a culture of ethical leadership.

Ms. Dugan serves on the Fiduciary and Plan Governance Steering Committee of the National Association of Public Pension
Attorneys, a professional organization dedicated to providing legal educational opportunities and informational resources
to its member attorneys. Ms. Dugan also is an active member of the Council on Government Ethics Laws, an international
organization dedicated to issues involving governmental ethics, elections, campaign finance, lobby laws and freedom of
information. She is a member of the Hearing Officer panel for the New York State Joint Commission on Public Ethics.

Ms. Dugan is a frequent lecturer at conferences and forums addressing ethics and fiduciary issues in the public and
nonprofit sectors, including pension funds, bringing with her an understanding of ethical issues born out of practical
experience as well as scholarly pursuits. She has served as an adjunct professor, teaching a course on Government Ethics,
and writes frequently on ethics, fiduciary responsibilities of pension trustees and the role of pension fund attorneys. In
2014, Ms. Dugan won the Burton Award, the country’s most prestigious legal writing award run in association with the
Library of Congress, for her Bloomberg BNA article, “Ethics and Fiduciary Issues for Public Pension Plans: Lessons Learned".

Ms. Dugan is also an active member of her community. She is currently an elected Trustee of her local public library. In
addition, she serves as a member of the Governance Committee of a Planned Parenthood affiliate, following many years
of service on the Board of Directors. She also previously served as the pro bono legal director of a not-for-profit in the
Albany area.

Ms. Dugan is an elected member of the American Law Institute, where she is a member of the Consultative Group on
Government Ethics.

Ms. Dugan began her career as a judicial clerk with the Appellate Division, Third Department, of the New York State
Supreme Court. She graduated magna cum laude from Siena College and earned her J.D. cum laude from Albany Law
School of Union University.

Donna M. Evans

Donna M. Evans is Of Counsel at Cohen Milstein and a member of the firm’s Antitrust practice group.

Ms. Evans’ practice spans thirty years as a trial lawyer in civil cases and includes many years as a litigation partner at large
global firms. Ms. Evans is an accomplished trial lawyer and has tried numerous cases to verdict, including obtaining, as
part of a trial team, one of the largest plaintiff jury verdicts in Massachusetts Superior Court.

Ms. Evans’ experience includes pharmaceutical litigation in which she has represented plaintiffs in antitrust class actions;
prescription drug manufacturers; biomedical device companies and inventors; private medical consulting services; and
global pharmaceutical companies. For nearly a decade, Ms. Evans has focused on cutting-edge pay-for-delay
pharmaceutical antitrust litigation, which addresses collusive, non-competition agreements between brand and generic
drug manufacturers in order to delay entry of lower-priced generic drug products. Ms. Evans was part of the trial team in
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In re Nexium Antitrust Litigation, the first pharmaceutical antitrust case to go to trial following the Supreme Court’s
landmark decision in FTC v. Actavis, 570 U.S. 756 (2013). She is also involved in the litigation of generic drug price-fixing
cases, which come on the heels of a government investigation led by the U.S. Department of Justice alleging similar
conduct, which, while ongoing, has already resulted in indictments and guilty pleas.

Ms. Evans currently serves as a member of Cohen Milstein’s Professional Development Mentoring Committee and co-led
the firm’s two-day young associate training program in 2017 and 2019.

Among other honors, in 2019 and 2020, Ms. Evans was selected for Lawdragon’s “500 Leading Plaintiff Financial Lawyers”
list. Ms. Evans has been named a Massachusetts Super Lawyer numerous times, and served on the Hon. Nancy Gertner’s
Equality Commission and the Corporate Advisory Board of the Commonwealth Institute, advising women-owned
businesses.

Ms. Evans’ successfully concluded matters include:

    •   In re Lidoderm Antitrust Litigation (N.D. Cal.): Cohen Milstein served as Co-Lead Counsel for the End-Payor Class
        in a suit alleging that Endo and Teikoku, manufacturers of the Lidoderm patch, paid Watson Pharmaceuticals to
        delay its generic launch. The case settled on the eve of trial and on September 20, 2018, Plaintiffs obtained final
        approval of a $104.75 million settlement – more than 40% of Plaintiffs’ best-case damages estimate. This case was
        ranked by Law360 as “The Biggest Competition Cases Of 2017 So Far” (July 7, 2017).
    •   In re Loestrin Antitrust Litigation (D.R.I.): Cohen Milstein served as Co-Lead Counsel for the End-Payor Plaintiffs in
        a case alleging that Warner Chilcott PLC entered into agreements to delay the introduction of a generic version of
        the contraceptive drug Loestrin and thereafter engaged in a “product hop” to further impede generic entry. The
        case settled on the last business before trial for $63.5 million – representing one of the largest settlements in a
        federal generic suppression case in over a decade. On September 1, 2020, the settlements received final approval.
    •   In re Solodyn Antitrust Litigation (D. Mass.): Cohen Milstein served as a member of the executive committee and
        Ms. Evans played a significant role in discovery on behalf of the End-Payor Plaintiffs. The case, which settled mid-
        trial, resulted in a $43 million recovery for the Class.

Ms. Evans is currently representing End-Payor Plaintiffs in the following pay-for-delay pharmaceutical antitrust cases in
which Cohen Milstein serves as Co-Lead Counsel:

    •   In re Lipitor Antitrust Litigation (D.N.J.): Plaintiffs allege that Pfizer, the manufacturer of the cholesterol drug
        Lipitor, the best-selling drug in pharmaceutical history, conspired with Ranbaxy, the generic manufacturer, to
        delay its introduction of a generic Lipitor product. On August 21, 2017, the Third Circuit handed a sweeping victory
        to Plaintiffs, reviving their antitrust claims. This case was ranked by Law360 as “The Biggest Competition Cases Of
        2017 So Far” (July 7, 2017).
    •   In re Tracleer Antitrust Litigation (D. Md.): Plaintiffs allege that Defendant Actelion engaged in an anticompetitive
        scheme to withhold samples of its life-saving pulmonary arterial hypertension medication from would-be rivals,
        under the guise of the REMs program, which conduct ultimately delayed generic competition.

Ms. Evans is also currently involved in pay-for delay cases in which Cohen Milstein plays a significant role, including: In re
Niaspan Antitrust Litigation (E.D. Pa.), In re Suboxone Antitrust Litigation (E.D. Pa.), In re ACTOS Antitrust Litigation
(S.D.N.Y.) and In re Zytiga Antitrust Litigation (D.N.J).

In addition, Ms. Evans is involved in cases on behalf of direct purchaser plaintiffs, including: In re Zetia Antitrust Litigation
(E.D. Va.), In re Generic Pharmaceuticals Pricing Antitrust Litigation (E.D. Pa.), In re Sensipar (Cinacalcet Hydrochloride
Tablets) Antitrust Litigation (D. Del.), In re Intuniv Antitrust Litigation (D. Mass.) and In re Ranbaxy Fraud Antitrust Litigation
(D. Mass.).

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Throughout her career, Ms. Evans has been deeply involved in the issue of equality. She served on the Honorable U.S.
District Court Judge Nancy Gertner’s Equality Commission, the Boston Bar Association’s Diversity and Attorney Attrition
Standing Committee, and the BBA’s Task Force on Professional Challenges and Family Needs. Ms. Evans participated in
writing a ground-breaking BBA report addressing the costs of attorney attrition, Facing the Grail: Confronting the Cost of
Work-Family Imbalance, as well as implementing the report’s recommendations in Boston law firms. Ms. Evans has also
served on the Board of Directors of Greater Boston Legal Services and has been active in pro bono representation,
including fair housing issues.

Ms. Evans graduated from the University of North Carolina at Chapel Hill with a B.A. in English and Political Science, and
an M.A. in English. She received a J.D., cum laude, from the University of North Carolina at Chapel Hill Law School, where
she served as a Note and Comment Editor on the Board of the North Carolina Law Review. She interned with the Criminal
Division of the U.S. Attorney’s Office for the District of Massachusetts during law school.

Ms. Evans has written articles on topics including the federal mail fraud statute and construction pay-when-paid contract
clauses, and she authored a chapter in Inside the Minds, addressing best practices in client relationships. She taught legal
writing at Boston University Law School for six years, has guest lectured at Duke University and the University of North
Carolina law schools, and – prior to practicing law – she taught English at the University of North Carolina and was a Visiting
Lecturer in English at North Carolina State University.

David O. Fisher

David O. Fisher is an Associate at Cohen Milstein and a member of the firm’s Antitrust practice group. Mr. Fisher represents
a broad range of individuals and businesses in civil litigation, with a focus on multi-district class actions and antitrust
litigation.

Prior to becoming an Associate at Cohen Milstein, Mr. Fisher served as a Law Clerk for the Honorable Paul B. Matey of the
United States Court of Appeals for the Third Circuit and for the Honorable Thomas I. Vanaskie of the United States Court
of Appeals for the Third Circuit.

Earlier, Mr. Fisher was a Staff Attorney for the United States Court of Appeals for the Fourth Circuit and a Law Clerk for
the Honorable Randy Crane of the United States District Court for the Southern District of Texas.

Mr. Fisher’s current cases include:

    •   Stock Lending Antitrust Litigation (S.D.N.Y.): Cohen Milstein is co-leading an antitrust class action alleging that
        major investment banks conspired to prevent the stock lending market from evolving by boycotting and
        interfering with various platforms and services designed to increase transparency and reduce costs in the stock
        lending market.

Mr. Fisher earned his B.A., with High Honors, in the Plan II Honors Program at the University of Texas at Austin. He earned
his J.D., with Honors, from the University of Texas School of Law. During law school, Mr. Fisher was an Articles and Notes
Editor for the Texas International Law Journal and a Symposium Director for the Texas Environmental Law Journal.

Mr. Fisher’s publications include: “The U.S.-Mexico Border Wall and the Case for ‘Environmental Rights,’” 50 Tex.
International Law Journal 145 (2015).

Mr. Fisher is fluent in Spanish and proficient in Portuguese.

Zachary Glubiak


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Zachary Glubiak is an Associate at Cohen Milstein and a member of the firm’s Antitrust practice group. In this role, Mr.
Glubiak represents a broad range of individuals and businesses in civil litigation, with a focus on multi-district class actions
and antitrust litigation.

Prior to joining Cohen Milstein, Mr. Glubiak served as the John Marshall Fellow in the Solicitor General’s Office of the
Virginia Attorney General. In this capacity, Mr. Glubiak litigated constitutional and other high-profile matters on behalf of
the Commonwealth, including defending the constitutionality of recently enacted gun-control legislation, serving as lead
counsel in appeals before the United States Court of Appeals for the Fourth Circuit, and presenting oral arguments before
both the Supreme Court of Virginia and the Court of Appeals of Virginia.

Prior to joining the Solicitor General’s Office, Mr. Glubiak clerked for the Honorable Pamela A. Harris of the United States
Court of Appeals for the Fourth Circuit.

Mr. Glubiak received his B.A. from Columbia University and his M.S.T. from Fordham University’s Graduate School of
Education. He received his J.D. from Stanford Law School, where he was the Co-Founder and Co-President of the Stanford
Plaintiffs’ Lawyers Association.

Prior to law school, Mr. Glubiak was a history teacher, coach, and advisor at KIPP NYC College Prep, a high school in South
Bronx, NY.

Mr. Glubiak is admitted only in Virginia. He has applied for admission to the District of Columbia Bar and is currently
working under the close supervision of the partners of the firm who are admitted to practice in the District of Columbia.

Susan M. Greenwood

As an attorney in the New York office, Susan M. Greenwood is a member of Cohen Milstein’s Securities Litigation &
Investor Protection Practice Group. With extensive experience in the area of securities law and class action litigation, Ms.
Greenwood analyzes and evaluates securities litigation case opportunities.

Prior to joining Cohen Milstein, Ms. Greenwood was a Securities Law Specialist at Bloomberg Law, providing analysis of
trends and developments in securities litigation, regulation and enforcement and serving as the editor of the Bloomberg
Law Securities Litigation and Enforcement Report. She also has served as counsel at a prominent insurance company and
two large litigation firms.

Ms. Greenwood attended Cornell University, graduating cum laude with Distinction, and earned her J.D. at the University
of Pennsylvania School of Law.

D. Michael Hancock

D. Michael Hancock is Of Counsel at Cohen Milstein and a member of the firm’s Civil Rights & Employment practice group.

Mr. Hancock is the former Assistant Administrator for the U.S. Department of Labor’s (DOL) Wage and Hour Division. As
a senior DOL employee for 20 years, conducting policy-related work, including policy interpretation and enforcement, he
helped enforce a wide range of workplace protections, from minimum wage, overtime, child labor and the Family Medical
Leave Act, to guest worker and other employment-based immigration programs. Most recently, as Acting Director, DOL’s
Division of Interpretation and Regulatory Analysis, and as Assistant Administrator for Policy, Mr. Hancock managed a team
of 40 senior managers and analysts and worked with, among others, the Solicitor of Labor, the Secretary of Labor, the
Office of Management and Budget, and the White House.



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At the DOL, Mr. Hancock also served as Branch Chief, Wage and Hour Division, Division of Interpretations and Regulatory
Analysis, and as National Farm Labor Coordinator, Wage and Hour Division. While on detail from the DOL, he served as
Senior Labor Advisor to the U.S. Agency for International Development (USAID), where he provided guidance to the Bureau
of Democracy, Conflict and Humanitarian Assistance, Office of Democracy and Governance, on a broad range of labor,
civil society, democracy and development programs funded and administrated by USAID.

Prior to joining the DOL in 1995, Mr. Hancock was the Executive Director of Farmworker Justice, where he helped provide
policy support to farmworker organizations, labor unions, migrant legal services programs, administrative and legislative
bodies, and other organizations. Before that, he was General Counsel of the National Coalition to Ban Handguns and
President of the Foundation for Handgun Education. He also served as Executive Director of the Aviation Consumer Action
Project.

Mr. Hancock was awarded a fellowship from Howard University — the Reginald Heber Smith Community Lawyer
Fellowship, Ozark Legal Services, Fayetteville, Arkansas — to practice poverty law in rural Arkansas, and was a law clerk at
Ozark Legal Services. He also worked as an administrator and social worker with the Arkansas Department of Human
Services.

Mr. Hancock received his B.S. from Oklahoma State University, and his J.D., with honors, from the University of Arkansas,
where he was appointed to the Arkansas Law Review.

Joshua Handelsman

Joshua Handelsman is an Associate at Cohen Milstein and a member of the firm’s Securities Litigation & Investor Protection
practice, where he represents institutional and individual shareholders in derivative lawsuits and securities class actions.

Prior to joining Cohen Milstein, Mr. Handelsman served as a law clerk to the Honorable Harris Hartz of the United States
Court of Appeals for the Tenth Circuit.

Before his clerkship, Mr. Handelsman was an associate at a nationally renowned defense law firm, where he focused on
antitrust class actions.

Mr. Handelsman earned his B.A., summa cum laude, from Dickinson College, and was elected Phi Beta Kappa. He earned
his J.D. from Yale Law School.


Johanna M. Hickman

Johanna M. Hickman is an Of Counsel at the Cohen Milstein and a member of the Public Client practice group. In this
position, Ms. Hickman represents state Attorneys General and other public-sector clients in investigations and lawsuits
involving health care fraud and other fraudulent and deceptive trade practices. Previously, she assisted in litigation by a
state attorney general regarding the robo-signing of mortgage foreclosure documents. In addition, she has worked on a
number of confidential investigations.

Currently Ms. Hickman is representing public clients in the following high-profile matters:

    •   Nursing Homes: Representing attorneys general in investigations and litigation related to deceptive marketing by
        several nursing home chains that promised, but failed to provide, basic care to their elderly residents. She is
        involved in all aspects of the investigations and litigation, including conducting and analyzing the results of
        investigations, developing legal theories, conducting fact and expert discovery and writing briefs.


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Ms. Hickman serves on the adjunct faculty of the Georgetown University Law Center, where she teaches a course in
advanced legal writing and practice. Prior to joining Cohen Milstein in 2013, Ms. Hickman practiced at a leading
defendants’ firm, where she advised clients regarding environmental and toxic tort liability, negotiated the environmental
aspects of corporate transactions, and represented clients in complex insurance coverage litigation. Prior to that, Ms.
Hickman clerked for two years for the Honorable James I. Cohn of the United States District Court for the Southern District
of Florida.

Ms. Hickman graduated with Highest Honors from the University of North Carolina at Chapel Hill with a B.A. in Journalism
and Mass Communication. Ms. Hickman earned her J.D., cum laude, from the Georgetown University Law Center. She
served as a Law Fellow, a Global Teaching Fellow, and a Staff Member and Symposium Editor of the Georgetown Journal
of Legal Ethics. As a member of Georgetown’s Barristers’ Council, she was a finalist in Georgetown's 35th Annual Leahy
Moot Court Competition, and her team won the Award for Best Brief Overall at the 2005 Pace National Environmental
Law Moot Court Competition.

Anita F. Hill

Anita F. Hill is Of Counsel at Cohen Milstein, and a member of the Firm’s Civil Rights & Employment Practice Group. In that
role, she advises on class action workplace discrimination cases. Ms. Hill, who joined the Firm in 2011, has played a leading
role in furthering equal opportunity and ending discrimination in the United States, and brings with her more than three
decades of legal, governmental, policymaking and academic experience to the Civil Rights Practice. She is a noted speaker,
thinker, commentator and author who has contributed to a broad range of important civil rights and social issues, including
race, gender discrimination, media and the law. She has appeared on numerous television and news programs, and her
writings and opinions regularly are published in leading newspapers and magazines in the United States and the world.

Ms. Hill began her career as an associate with a boutique defendants’ firm based in Washington, D.C., which specialized
in antitrust, federal agency and environmental work for corporate clients; in that role, she researched and wrote appellate
and agency briefs on questions concerning environmental, corporate, antitrust and administrative law. She then served
as special counsel to the assistant secretary of the Department of Education’s Office for Civil Rights, where she advised on
legal and policy matters related to individual and systemic claims of educational discrimination, reviewed legal and policy
positions for government-wide enforcement efforts and wrote position papers on various civil rights education issues
including race and gender discrimination claims and with a specific focus on issues facing historically black colleges and
universities.

Later, Ms. Hill became adviser to the Chairman of the Equal Employment Opportunity Commission (EEOC), reviewing and
analyzing Commission policy, writing legal policy and position papers for the Chairman and advising him on the
effectiveness of the program and the functions of the Commission.

For more than three decades, Ms. Hill has taught law and public policy. She began her teaching career as an assistant
professor at Oral Roberts University and later joined the faculty at the University of Oklahoma College of Law. In 1989,
Ms. Hill became the first African American to be tenured at the University of Oklahoma, College of Law, where she taught
contracts and commercial law. Since 1999, Ms. Hill has been on the faculty of Brandeis University where she holds the
title of University Professor, the highest academic rank awarded by Brandeis. Hill is one of only seven University Professors
in the school’s history. She teaches in the areas of civil rights, legal history and race and gender law and policy.

Ms. Hill is the author of numerous academic articles on international commercial law, contracts, bankruptcy and civil
rights—all areas in which she has taught. She has given presentations on commercial law as well as race and gender
equality to hundreds of business, professional, academic and civic organizations in the United States and abroad. In
addition, she has appeared on several television programs, such as Face the Nation and Meet the Press, and has written
for leading newspapers and magazines including Newsweek, The New York Times and Boston Globe and Time.com. Ms.
Hill is the author of Speaking Truth to Power and served as the co-editor of Race, Gender, and Power in America: The
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Legacy of the Hill-Thomas Hearings. Her latest book is Reimagining Equality: Stories of Gender, Race and Finding Home
(Beacon Press, 2011), an analysis of the housing market collapse of 2008 and its impact on gender and racial equality.

She is the recipient of numerous awards, grants and honorary degrees. Hill’s professional and civic contributions include
chairing the Human Rights Law Committee of the International Bar Association, and membership on the Board of
Governors of the Tufts Medical Center and the Board of Directors of the National Women’s Law Center and the Boston
Area Lawyers Committee for Civil Rights. Ms. Hill was the subject of the documentary, Anita: Speaking Truth to Power,
which premiered at the Sundance Film festival in January 2013.

Ms. Hill attended Oklahoma State University, where she majored in Psychology, and earned her J.D. at Yale University Law
School.



Sarah Holz

Sarah Bidinger Holz is an Associate at Cohen Milstein and a member of the firm’s Employee Benefits practice group. Ms.
Holz represents the interests of employees, retirees, plan participants and beneficiaries in ERISA cases across the country.

Prior to becoming an Associate at Cohen Milstein, Ms. Holz served as a Law Fellow at the firm. In this role, she worked
across Cohen Milstein’s practices and was involved in litigating individual and class action cases at the district and appellate
levels.

Ms. Holz is actively involved in the following high-profile litigation:

    •   BlackRock 401(k) Retirement Plan Litigation (N.D. Cal.): Cohen Milstein is representing BlackRock 401(k) Plan
        participants and beneficiaries, who allege that the Plan fiduciaries violated their duties under ERISA by investing
        employees’ 401(k) savings almost exclusively in BlackRock proprietary funds and by using Blackrock subsidiaries
        to broker securities lending deals using the Plan’s assets.
    •   Western Milling ESOP Litigation (E.D. Cal.): Cohen Milstein is representing participants and beneficiaries of the
        Western Milling Employee Stock Ownership Plan. Plaintiffs allege that the ESOP’s fiduciaries breached their
        fiduciary duties and engaged in prohibited transactions under ERISA by causing the ESOP to purchase 100% of
        Kruse-Western, Inc. company stock at an inflated stock price which did not take into account significant liabilities
        of the company. The value of the company stock subsequently dropped by 90% shortly after the purchase and has
        not significantly recovered.
    •   Scott, et al. v. UnitedHealth Group, Inc., et al. (D. Minn.): Cohen Milstein is representing a class of participants and
        beneficiaries of self-funded employee welfare benefit plans under which claims are administered by UnitedHealth
        and its wholly owned subsidiaries. The Complaint alleges that UnitedHealth breached its fiduciary duties under
        ERISA by engaging in “cross-plan offsetting” whereby it mixes more than $1 billion of assets from different
        employee health plans it administers to solve problems in its administration of other health plans.
    •   Pharmacy Benefit Manager (PBM) Ohio Litigation (Franklin C.P.): Cohen Milstein serves as Special Counsel to the
        Ohio Attorney General’s Office in a breach of contract litigation against PBMs Express Scripts, Inc. and OptumRx
        Administrative Services, LLC for allegedly overcharging two of Ohio’s state-funded health plans on millions of
        prescription drug claims.

Before joining Cohen Milstein, Ms. Holz was a Legal Fellow at the Southern Poverty Law Center, where she represented
incarcerated persons challenging their conditions of confinement in Mississippi prisons. Prior to that, Ms. Holz served as
a law clerk for the Honorable David A. Ezra of the United States District Court for the Western District of Texas.



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Ms. Holz earned her B.A., magna cum laude, from Providence College, where she received the Presidential Scholarship
and was the president of her campus’ chapter of Habitat for Humanity. She earned her J.D., cum laude, from Boston
University School of Law in 2015. During law school, Ms. Holz was an Articles Editor for International Law Journal. Her
publications include: “Syrian Refugees and the Right to Work: Developing Temporary Protection in Turkey,” 33 B.U. Int’l
L. J. 223 (Spring 2015). She was also the President of the law school’s Human Rights Law Society and received one of two
Faculty Awards for Community Service.

Prior to law school, Ms. Holz taught high school English in Forrest City, Arkansas through the Teach for America program.

Julia Horwitz

Julia Horwitz is an Associate at Cohen Milstein and a member of the firm’s Consumer Protection practice. In this role, Ms.
Horwitz focuses on litigating class actions on behalf of consumers who have been deceived and harmed by large
corporations.

    •   General Motors Litigation (E.D. Mich.): Cohen Milstein is Lead Counsel and Chair of the Plaintiffs’ Steering
        Committee, overseeing this consolidated consumer class action filed against GM in over 30 states. Plaintiffs allege
        that GM’s eight-speed automatic transmissions (GM 8L90 and the 8L45) manufactured between 2015 and 2019
        were defective. Ms. Horwitz is lead associate in this litigation, overseeing all discovery and co-counsel
        communications.
    •   DZ Reserve et al. v. Facebook (N.D. Cal.): Cohen Milstein represents a putative class of advertisers who claim that
        one of Facebook’s key advertising metric (Potential Reach) is inflated and misleading.

Prior to joining Cohen Milstein, Ms. Horwitz served as a law clerk for the Honorable Mary Ellen Coster Williams at the
United States Court of Federal Claims. She worked at the Electronic Privacy Information Center in Washington, D.C. from
2012-2015, first as an Open Government Coordinator and Counsel, and then as the Director of the Consumer Privacy
Project.

Ms. Horwitz has authored and edited several legal treatises, including “Privacy in the Modern Age: The Search for
Solutions,” Co-editor, New Press, April 28, 2015; and Rotenberg, McCall, Horwitz, “The Open Government Clinic: Teaching
the Basics of Lawyering,” INDIANA LAW REVIEW, Vol. 48 No. 1, October 2014.

Ms. Horwitz also was an Adjunct Professor at Georgetown Law School Fall Semester 2013.

Ms. Horwitz attended Brown University, graduating with a B.A. in English, magna cum laude, Phi Beta Kappa, in 2008. She
earned her J.D. from the University of Chicago Law School in 2012. During law school, Ms. Horwitz was a staff member on
the Edwin F. Mandel Legal Aid Clinic Employment Discrimination Project.

Benjamin F. Jackson

Benjamin F. Jackson is an Associate at Cohen Milstein and a member of the firm’s Securities Litigation & Investor Protection
practice, where he represents institutional and individual shareholders in derivative lawsuits and securities class actions.

Prior to joining Cohen Milstein, Mr. Jackson was a litigation associate at a highly regarded national defense firm, where
he focused on securities, antitrust, white collar investigations, and intellectual property litigation.

Mr. Jackson served as a law clerk to the Honorable Robert D. Sack of the United States Court of Appeals for the Second
Circuit and to the Honorable Katherine B. Forrest of the United States District Court for the Southern District of New York.



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Mr. Jackson earned his A.B., summa cum laude, at Washington University in St. Louis. He earned his J.D., magna cum
laude, from Harvard Law School, where he won the Ames Moot Court Competition. While attending law school, Mr.
Jackson served as Forum Chair of the Harvard Law Review and Co-Chair of the Harvard Law School Mississippi Delta
Project.

Mr. Jackson’s legal publications include Censorship and Freedom of Expression in the Age of Facebook, 44 N.M. L. Rev.
121 (2014); Note, Danger Lurking in the Shadows: Why Regulators Lack the Authority to Effectively Fight Contagion in the
Shadow Banking System, 127 Harv. L. Rev. 729 (2013); and Recent Case, U.S. Bank National Ass’n v. Ibanez, 941 N.E.2d 40
(Mass. 2011), 125 Harv. L. Rev. 827 (2012).

Mr. Jackson currently serves as a member of the Banking Law Committee of the New York City Bar Association. Before
attending law school, he was a consultant in the financial services practice of a global strategy consulting firm.




Nicholas J. Jacques

Nicholas J. Jacques is an Associate at Cohen Milstein and a member of the firm’s Human Rights practice. Mr. Jacques’s
practice focuses on representing individuals who have been victims of torture, human trafficking, forced and slave labor,
and other violations of international law.

Prior to becoming an Associate at Cohen Milstein, Mr. Jacques was a Law Fellow at the firm. In this role, he worked across
Cohen Milstein’s practices and was involved in litigating individual and class action cases at the district and appellate
levels.

Immediately before his Fellowship, Mr. Jacques was a law clerk to the Honorable Carolyn Dineen King for the United States
Court of Appeals for the Fifth Circuit, as well as a law clerk to the Honorable Nancy Moritz for the United States Court of
Appeals for the Tenth Circuit.

Mr. Jacques received his B.A., summa cum laude, from Northeastern University, where received several academic awards,
including the Kappa Tau Alpha Top Scholar Award. He received his J.D., magna cum laude, from Cornell Law School, where
he received numerous academic awards, including The Freeman Award for Civil-Human Rights and the Arthur S. Chatman
Labor Law Prize.

While at law school he was Articles Editor at Cornell Law Review, Executive Bench Editor for the Moot Court Board, and
Chapter President of the National Lawyers Guild.

Mr. Jacques’s publications include, “Information Gathering in the Digital Age: Towards a Liberal Right to Record,” 102
Cornell Law Review 783 (2017).

Prior to law school, Mr. Jacques was a journalist at The Boston Globe.

Brian E. Johnson

Brian E. Johnson is an Associate at Cohen Milstein and a member of the Consumer Protection practice group, where he
assists in the development of potential cases and provides support in all aspects of current litigation.



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Prior to joining Cohen Milstein, Mr. Johnson was an Associate at a Missouri-based law firm where he represented
consumers in financial lawsuits involving the Fair Debt Collection Practices Act, Fair Credit Reporting Act and the Telephone
Consumer Protection Act. Following law school, Mr. Johnson served as a Law Clerk for the Honorable Margaret L. Sauer
and the Honorable Janette K. Rodecap, 16th Circuit Court of Jackson County, Missouri.

Mr. Johnson is a graduate of Missouri State University, where he received a dual B.A., magna cum laude, in History and
German in 2005. He earned his J.D. from the George Washington University Law School in 2012. Mr. Johnson also studied
at Webster University in Vienna, Austria, earning a M.A. in International Relations in 2007.


Nicholas C. Johnson

Nicholas C. Johnson is Of Counsel at Cohen Milstein and a member of the firm’s Complex Tort Litigation practice group.
In that role, Mr. Johnson's practice focuses on catastrophic injury and wrongful death, medical malpractice, nursing
home abuse, and personal injury cases.

Prior to joining Cohen Milstein in 2014, Mr. Johnson worked for two South Florida defense firms, gaining valuable
experience representing Fortune 500 insurance companies in the defense of claims and lawsuits. Earlier in his career,
Mr. Johnson practiced as an Assistant Public Defender in Palm Beach County, where he represented indigent clients
charged with misdemeanors and felonies, ranging from DUI to crimes punishable by life in prison. He was awarded the
Best Advocate Award at the Florida Public Defender College in November 2008. Mr. Johnson tried approximately 30 jury
trials to verdict as an Assistant Public Defender. Eager to resume his representation of individuals, Mr. Johnson joined
Cohen Milstein.

Some of his past successes include:

    •   Doe. v. JFK Medical Center (Cir. Crt., Palm Beach Cty., Fla.): In April 2019, Cohen Milstein settled a medical
        malpractice lawsuit against JFK Medical Center on behalf of a client who had a documented seizure disorder, for
        which he was prescribed twice daily anticonvulsant medication. During a medical evaluation, one of the doctors
        employed by JFK Medical Center withheld our client's anticonvulsant medication, causing him to suffer a severe
        and debilitating seizure. The seizure resulted in comminuted shoulder fractures, a reverse total shoulder
        replacement surgery, and severe permanent functional impairment to both shoulders.
    •   Doe v. Florida Medical Corporation: Cohen Milstein represented the family of a woman who tragically died while
        being held in the Marion County Jail. Upon booking, she immediately exhibited symptoms of MRSA, a deadly
        disease, which the jail medical staff failed to include in her differential diagnosis. Her condition continued to
        deteriorate during her incarceration, leading to her death from bacterial endocarditis, a condition of her
        untreated infection. She left behind an 8-year-old-son, the sole beneficiary of her estate.
    •   Skiles v. Boca Raton Regional Hospital (Cir. Crt., Palm Beach Cty., Fla.): In October 2018, Cohen Milstein settled a
        medical malpractice, wrongful death case, arising from the defendant’s failure to perform an x-ray to rule-out a
        potential bowel perforation or “Free Air” following a colonoscopy procedure, even though the hospital was
        obligated to under Medicare rules, regardless of a patient’s insurance coverage, because it was an emergency
        request. The x-ray was never performed, and Mr. Skiles was sent home. Later that day, his wife rushed him to
        the hospital due to severe abdominal pain, whereupon a perforated bowel was diagnosed, ultimately leading to
        bowel resection surgery. Although Mr. Skiles initially survived his surgery, he later died due to complications of
        sepsis.
    •   Fearon v. Orlando Health, Inc. (Cir. Crt., Orange Cty., Fla.): In August 2018, Cohen Milstein settled a wrongful
        death and medical negligence case against Orlando Health, the parent company of Orlando Regional Medical
        Center, on behalf of the decedent’s widow and children. Mr. Fearon, the decedent, was experiencing
        intermittent chest pain, shortness of breath, and calf pain which became so severe that he went to Orlando
        Regional Medical Center’s Emergency Room. He was evaluated for cardiac related issues and subsequently
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        discharged. Moments later, Mr. Fearon died. The medical staff allegedly failed to recognize the symptoms of
        pulmonary embolism and failed to accordingly provide lifesaving treatment.
    •   Sears v. Florida Hospital (Cir. Crt., Seminole Cty., Fla.): In May 2018, after extensive litigation including over 40
        depositions, Cohen Milstein successfully settled a catastrophic injury medical negligence for a client who was
        not secured to his surgery gurney and dropped on his head during surgery, resulting in traumatic brain injury
        with debilitating consequences.
    •   Hilton v. Sebring Hospital, et al. (Cir. Crt., Highlands Cty., Fla.): Cohen Milstein represented a former emergency
        room patient who was never notified by the hospital of the results of a “critical” blood culture, ultimately
        leading to irreversible spinal cord damage and paraplegia.
    •   Pavlov v. PBSO (S.D. Fla.): Cohen Milstein represented the mother of a 28-year-old mentally disturbed man who
        was shot and killed by a Deputy Sheriff of the Palm Beach County Sheriff’s Office. Mr. Johnson was instrumental
        in litigating this case, which at that time, resulted in the largest settlement paid out by the Palm Beach County
        Sheriff's Office.
    •   Negligent Security Matter (Cir. Crt., Palm Beach Cty., Fla.): Cohen Milstein represented the mother of a 20-year-
        old man who was shot and killed in the parking lot of a West Palm Beach nightclub, which had been plagued
        with violent crimes over the years. The complaint alleged that the nightclub failed to provide adequate security
        that led to this tragic incident. On October 6, 2017, the parties entered into a confidential settlement.
    •   Patient v. Confidential Defendant (Cir. Crt., Alachua Cty., Fla.): On March 17, 2016, Cohen Milstein successfully
        negotiated a confidential settlement on behalf of their client who had suffered permanent bodily damage at the
        hands of a Florida Cardiologist. Mr. Johnson exposed the Defendant’s misconduct and medically negligent
        treatment when using a stent inappropriately.
    •   Nursing Home Neglect Litigation (Cir. Crt., Alachua Cty., Fla.): Cohen Milstein represented the spouse of an 85-
        year-old man who experienced a series of falls in a nursing home before finally fracturing his hip, which required
        hip replacement surgery. Mr. Johnson was instrumental in reaching a confidential settlement in this case that
        alleged neglect on the part of the nursing home.

Mr. Johnson has been selected by National Trial Lawyers as a Top 100 Plaintiff Civil Trial Lawyer in the State of Florida.
He is consistently recognized by the Best Lawyers in America in the field of Personal Injury Litigation – Plaintiffs, as well
as Florida Super Lawyer and Palm Beach Illustrated.

In June 2019, Mr. Johnson was appointed to serve on the Florida Justice Association’s (FJA) Board of Directors. He is
currently chair of its Minority Caucus.

Mr. Johnson is Past President of the prestigious F. Malcolm Cunningham, Sr. Bar Association. He has been a member
since 2014.

In October 2020, Mr. Johnson was appointed to serve on The Florida Bar’s Grievance Committee and will serve until
2023. He is an alumnus of The Florida Bar’s Wm. Reece Smith, Jr. Leadership Academy 2015-2016 class, and served the
program through the Florida Bar’s Leadership Academy Committee through 2019.

Mr. Johnson has served as an appointed member of the Palm Beach County Bar Association’s Judicial Campaign
Practices Commission since 2018. In addition, he served on the North County Section’s Board of Directors between 2017
and 2019.

Mr. Johnson is also an active member of the American Association for Justice (AAJ). He is involved in several AAJ
committees, including the Minority Caucus, the Voter Protection Committee, and the Public Education Committee. In
June 2019, Mr. Johnson was appointed to serve on AAJ's Board of Directors by FJA as the minority state delegate. Mr.
Johnson is an alumnus of AAJ's Leadership Academy (2016-2017).

Mr. Johnson is a community advocate and was appointed to the Board of Scholar Career Coaching in June 2018.
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Mr. Johnson is also a prolific writer, and his articles have been published in Florida Justice Association Journal and AAJ’s
Trial magazine.

Mr. Johnson was born and raised in Kingston, Jamaica, and graduated from Boston University with a B.A. in Economics
and completed his Master’s in Sports Management at the University of Florida. He graduated cum laude from St.
Thomas University School of Law in 2007.

Eric A. Kafka

Eric A. Kafka is an Associate at Cohen Milstein and a member of the firm’s Consumer Protection practice group.

Mr. Kafka is a tireless advocate for consumers. Since joining Cohen Milstein in 2015, Mr. Kafka has represented plaintiffs
in a wide range of consumer class actions, including product liability, false advertising, and data breach class actions.

Mr. Kafka is also an active member of the Plaintiffs’ Bar. He is a member of both the American Association for Justice (AAJ)
and Public Justice. Mr. Kafka serves on Public Justice’s Class Action Preservation Committee.

Currently, Mr. Kafka is litigating the following notable matters:

    •   LLE One, LLC v. Facebook (N.D. Cal.): Cohen Milstein represents a putative class of advertising purchasers, who
        claim that Facebook intentionally inflated key metrics regarding their paid video advertisements’ performance.
        Plaintiffs allege that the inflated metrics caused them to buy more video advertisements and to pay a higher price
        than they otherwise would have paid.
    •   Johnannessohn, et al. v. Polaris (D. Minn.): Cohen Milstein represents a putative class of purchasers of Polaris
        Sportsman four-wheel all-terrain vehicles (ATVs) who allege that their Sportsman ATV’s have a defect where it
        emits excess exhaust heat, which can burn riders and melt ATV components. Plaintiffs allege that Polaris violated
        state consumer protection laws by failing to disclose the exhaust heat defect.
    •   Singer, et al. v. Facebook (N.D. Cal.): Cohen Milstein represents a putative class of advertisers who claim that
        Facebook’s key advertising metrics (Potential Reach and Estimated Daily Reach) are inflated and misleading.
    •   In re: Marriott International Inc. Customer Data Security Breach Litigation (D. Md.): In April 2019, the Court
        appointed Cohen Milstein the Consumer Plaintiffs’ Co-Lead Counsel to oversee a class action related to the data
        breach that compromised the personal data of nearly 400 million customers, making it one of the largest data
        breaches in U.S. history.

Mr. Kafka was actively involved in the following concluded matters:

    •   In re Anthem, Inc. Data Breach Litigation (N.D. Cal.): Cohen Milstein was Co-Lead Counsel on behalf of a putative
        class of 78.8 million insureds, whose personal data and health information was stolen as a result of a massive data
        breach of Anthem, Inc., one of the nation’s largest for-profit health care companies. In August 2018, the Court
        granted final approval of a $115 million settlement – the largest data breach settlement in history.
    •   HCA Litigation (M.D. Fla.): Cohen Milstein was Lead Counsel in a class action, alleging that emergency room
        patients were billed unreasonably high fees for emergency radiology services, in excess of the amount allowed by
        their mandatory Florida Personal Injury Protection (PIP) insurance. In December 2018, the Court granted final
        approval of a $220 million injunctive relief settlement.

Prior to attending law school, Mr. Kafka worked on multiple political campaigns, including President Obama's 2008
presidential campaign.



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Mr. Kafka earned his J.D. from Columbia Law School, where he was a Harlan Fiske Stone Scholar. He received his B.A. from
Yale University.

Peter Ketcham-Colwill

Peter Ketcham-Colwill is an Associate at Cohen Milstein and a member of the firm’s Public Client practice group. Mr.
Ketcham-Colwill’s practice focuses on the representation of state Attorneys General and other public-sector clients in
investigations and lawsuits involving false claims and fraudulent and deceptive trade practices.

Prior to joining Cohen Milstein in 2018, Mr. Ketcham-Colwill practiced as a litigation associate at an international disputes
and transactions law firm in Washington, D.C.

Mr. Ketcham-Colwill most recently served as the Voter Protection Director for the Democratic Party of Virginia’s 2018
Coordinated Campaign. He also worked as a Regional Voter Protection Director for the Ohio Democratic Party’s 2016
Coordinated Campaign.

Following law school, Mr. Ketcham-Colwill served as a Law Clerk for the Honorable David Ezra, U.S. District Court for the
Western District of Texas.

Mr. Ketcham-Colwill graduated from Princeton University with an A.B. in the Woodrow Wilson School of Public and
International Affairs. He earned his J.D. with Highest Honors from The George Washington University Law School, where
he was the Senior Executive Editor of The George Washington Law Review.

Prior to law school, Mr. Ketcham-Colwill worked for the U.S. House of Representatives Committee on Energy and
Commerce, where he organized investigative hearings and drafted legislation related to consumer protection and the
environment.

Jessica Kim

Jessica (Ji Eun) Kim is an Associate at Cohen Milstein and a member of the firm’s Securities Litigation & Investor Protection
practice group.

Prior to joining Cohen Milstein, Ms. Kim was a litigation associate at a prestigious global defense firm, where she focused
on white collar criminal matters, internal investigations, and regulatory enforcement involving the U.S. Securities and
Exchange Commission, and related litigation.

Ms. Kim received a dual B.B.A. and B.A. from Korea University and her J.D. from Harvard Law School.

While attending law school, Ms. Kim was an Executive Technical Editor for the Harvard Civil-Rights Civil-Liberties Law
Review, and Co-President of the Harvard Mediation Program. She was also a member of the Harvard Criminal Justice
Institute, where she represented clients charged with misdemeanors and felonies in the Roxbury and Dorchester Divisions
of the Boston Municipal Court Department.

Megan K. Kistler

Megan Kinsella Kistler is an Associate at Cohen Milstein and a member of the firm’s Securities Litigation & Investor
Protection practice, where she represents institutional and individual shareholders in derivative lawsuits and securities
class actions.



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Prior to joining Cohen Milstein, Ms. Kistler served as an Assistant U.S. Attorney in the United States Attorneys’ Offices for
the Northern District of New York, Criminal Division, and the Middle District of Florida, Economic Crimes and Asset
Forfeiture Sections. As an Assistant U.S. Attorney, she investigated and prosecuted complex schemes involving public
corruption, wire fraud, health care fraud, bank fraud, international tax fraud, government programs fraud, money
laundering, and identity theft. Ms. Kistler was the recipient of the “Tampa Region Financial Crimes and Inspectors General
Council Certificate of Achievement in Public Corruption Investigation” award for her work at the U.S. Attorney’s Office for
the Middle District of Florida on the prosecution of two Tampa police officers who committed theft of government funds.

Before becoming a federal prosecutor, Ms. Kistler worked as a litigation associate for several years at a highly-regarded
international defense law firm, where she was involved in white collar criminal defense and commercial litigation.

Ms. Kistler earned her B.S., magna cum laude, from Georgetown University’s School of Foreign Service. She earned her
J.D., from New York University School of Law in 2010. During law school, Ms. Kistler was a legal intern for the Honorable
Denny Chin of the U.S. District Court for the Southern District of New York, as well as the U.S. Attorney’s Office, Eastern
District of New York, International Narcotics Strike Force.

Ms. Kistler is admitted only in New York. She is applying for admission to the District of Columbia Bar and is currently
working under the close supervision of the partners of the firm who are admitted to practice in the District of Columbia.

Adam J. Langino

Adam J. Langino is Of Counsel at Cohen Milstein and a member of the firm’s Complex Tort Litigation practice group,
focusing on truck accidents, products liability, catastrophic injury and wrongful death, and managed care abuse litigation.

Mr. Langino is an experienced, hands-on trial attorney, who has tried more than 20 jury trial cases in his career. Mr.
Langino represents clients who have been seriously or catastrophically injured by holding accountable the corporations
or persons that have caused them harm.

Prior to joining Cohen Milstein, Mr. Langino served for three years as an Assistant Public Defender in West Palm Beach,
Florida. As an Assistant Public Defender, Mr. Langino handled complex felony criminal cases, including first-degree felonies
and crimes punishable by life in prison. He gained valuable trial experience and secured freedom for the wrongly accused.
Before his service as an Assistant Public Defender, Mr. Langino clerked for the Federal Public Defender in Minneapolis,
Minnesota.

Currently, Mr. Langino is litigating the following notable matters:

    •   Edwards v. Tesla (Sup. Crt. Cal., Alameda Cnty.): On June 25, 2020, Cohen Milstein filed a product liability lawsuit
        against Tesla, Inc. on behalf of Kristian and Jason Edwards. Ms. Edwards sustained catastrophic injuries as a result
        of the failure of the airbags to deploy in her Tesla Model 3 during an accident.
    •   Reed, et al. v. USA (E.D. Tenn.): Cohen Milstein is representing plaintiffs in a wrongful death and property damage
        mass action against the U.S. Department of Interior and National Park Service for the negligence of its employees
        to perform their duties during The Chimney Tops 2 Fire in Tennessee, which originated in the Great Smoky
        Mountains National Park and ultimately damaged or destroyed 2,500 homes, buildings and other structures, and
        killed more than 12 people.
    •   CSX Litigation (E.D.N.C.): On October 4, 2018, Cohen Milstein filed a putative class action on behalf of faith leaders,
        businesses, and residents in the southern and western portions of Lumberton, North Carolina who have twice
        suffered catastrophic flooding and damage due to CSX Corporation and CSX transportation entities ignoring and
        trying to block government entities from building a floodgate on a train underpass it owns and operates, including
        preventing the city from building a temporary berm in 2018 to protect its citizens from impending Hurricane
        Florence.
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Some of his past successes include:

    •   Paz-Orjales v. Ford Motor Company (Cir. Crt., Osceola Cty., Fla.): Cohen Milstein successfully settled a catastrophic
        lawsuit on behalf of Paz-Orjales against Defendants Ford Motor Company for the catastrophic injuries resulting in
        his quadriplegia. The complaint alleged that due to a defective design, the Ford truck’s roof collapsed and crushed
        Mr. Orjales during a roll-ever accident.
    •   Pelico v. Yorktown Association Inc. (Cir. Crt., Palm Beach Cty., Fla.): Cohen Milstein represented Pelico in a
        wrongful death lawsuit against the property management company that maintains the swimming pool in which
        his daughter drowned. The father contends that Heritage had a duty to make sure that the pool was reasonably
        safe, including controlling access to the pool by minors.
    •   Staton v. Elite Auto Logistics, Inc. (M.D. Fla.): In July 2018, Cohen Milstein settled a personal injury and negligence
        lawsuit on behalf of Lowell Staton against Elite Auto Logistics, Inc. and Larry Watson for negligently causing a truck
        crash that caused his disabling injuries.
    •   Mincey v. Takata (Cir. Crt., Duval Cty., Fla.): Cohen Milstein was lead counsel in a lawsuit brought on behalf of
        Patricia Mincey and her family. Ms. Mincey sustained catastrophic injuries that rendered her paralyzed from the
        neck down in 2014 when the driver’s side airbag deployed too aggressively during a vehicle collision. She passed
        away in early 2016 due to complications from the quadriplegia caused by the problematic airbag. The suit charged
        that the Takata Corporation, the manufacturer of the airbag system, knew of the airbag defect and hid the
        problem from consumers. Evidence uncovered by the firm showed that Takata concealed the defective nature of
        the airbag system for more than a decade. The case was resolved in July 2016. Mr. Langino was involved in all
        aspects of the litigation, including discovery, taking depositions and directing motions.
    •   Quinlan v. Toyota Motor Corporation (S.D. Fla.): Cohen Milstein was lead counsel in a product liability case filed
        against Toyota, alleging that manufacturing defects in the defendant’s car caused the car being driven by the
        plaintiff to suddenly accelerate and go out of control, resulting in catastrophic injuries that left Quinlan a
        quadriplegic. The defendant entered into a confidential settlement.
    •   Fuse v. Palm Tran (Cir. Crt., Palm Beach Cty., Fla.): Cohen Milstein represented the family of a 5-year-old disabled
        child in a catastrophic injury case alleging that the disabled child suffered permanent brain damage during
        transport on the Palm Tran Connection service, a transportation service for elderly and disabled patrons, when
        the vehicle’s driver ignored her calls for help, failed to provide first aid, and delayed access to emergency medical
        aid. The case was resolved in a settlement in excess of $1 million.
    •   Hauser v. Rice Insulation (Cir. Crt., Lee Cty., Fla.): Cohen Milstein represented the Hauser family in a product
        liability lawsuit alleging that Rice Insulation, an insulation contractor, installed foam insulation incorrectly in the
        plaintiff’s house, resulting in the house burning to the ground. The lawsuit included the contractor as well as the
        manufacturer for not providing sufficient warnings that the product might ignite under certain conditions. The
        matter was resolved confidentially. Mr. Langino managed all aspects of the litigation.
    •   Palmer v. Baylines Inc.: Cohen Milstein represented the Palmer family in catastrophic injury and product safety
        lawsuit in which a truck driver fell asleep at the wheel and crashed into a vehicle carrying the Palmers, resulting
        in the death of Mrs. Palmer. Mr. Langino brought a catastrophic injury case against the trucking company Baylines
        Inc., and a product safety case against the carmaker of the vehicle that the Palmers were driving alleging that the
        airbags did not deploy properly, leading to Mrs. Palmer’s death. The case was resolved in a confidential
        settlement. Mr. Langino managed all aspects of the litigation, including expert witnesses.

Mr. Langino presently serves as the Newsletter Chair for the Product Liability Section of the American Association for
Justice. He was selected to the 2015 class of the American Association for Justice Leadership Academy, which is comprised
of a select group of plaintiff trial lawyers chosen from across the country for national leadership training. Mr. Langino has
been consistently recognized by The National Trial Lawyers as one of Florida’s “Top 40 Under 40” and a “Top 100 Trial
Lawyer,” Florida Super Lawyers “Rising Stars,” Florida Trend “Up and Comer,” and is Martindale-Hubbell AV rated.


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Mr. Langino attended the University of Maryland, graduating magna cum laude with Honors in Government and Politics,
and earned his J.D., cum laude, from the University of Minnesota School of Law, where he received an award for Best Oral
Argument and participated in the Wagner Labor Law Moot Court program.

A former amateur boxer, Mr. Langino has volunteered as boxing coach for at risk youths for the Police Athletic League
located in Palm Beach Gardens, FL. He is the Past-President of Club 100 Charities and a past-board member of Cops Helping
Kids, charities that are dedicated to improving Palm Beach County by focusing on the needs of the youth and elderly.

Joel P. Laitman

Joel P. Laitman is Of Counsel at Cohen Milstein and a member of the Securities Litigation & Investor Protection Practice
Group. Mr. Laitman has served as lead counsel in five of the firm’s major mortgage-backed securities class actions brought
on behalf of pension funds and other institutional investors against major investment banks. These cases alleged that the
underlying mortgages failed to comply with the underwriting standards described in the Offering Documents.

Besides initiating these cases and directing and leading discovery with his colleague Chris Lometti, Mr. Laitman argued all
motions and conducted all hearings both before the District Court and the Second Circuit. In just three of these cases that
have settled to date, recoveries totaling $720 million were achieved for the benefit of injured investors: $335 million in
the RALI MBS case brought against Goldman Sachs, UBS and Citigroup; $275 million in the Harborview MBS case brought
against RBS; and $110 million in the HEMT MBS case brought against Credit Suisse.

The settlements achieved in these cases have been commended by Courts and by legal publications. Commenting on the
Harborview litigation, Judge Loretta A. Preska, of the U.S. District Court, Southern District of New York, noted that the
case brought on behalf of the plaintiffs was “interesting and different” and that settlement on their behalf “was a job well
done.” Judge Fallia, in approving the RALI Settlement, commended the firm for prosecuting the case for seven years and
“never giving up” despite substantial obstacles.

The litigations and settlements have garnered awards from the leading legal publications. In 2014 and 2015, the National
Law Journal cited the Harborview and RALI MBS in designating the firm an Elite Trial Law Firm and placing the firm on the
Hot List; Law360 cited the RALI and Harborview cases in designating the firm one of “The Most Feared Plaintiffs Firms” in
2015, the third year in a row that Cohen Milstein received the designation; and in 2015, Law360 selected Cohen Milstein
as the sole plaintiff firm to be chosen in two “Practice Groups of the Year” categories and one of only five class action law
firms to be recognized, singling out the RALI and Harborview cases in the award.

In addition, Mr. Laitman has argued a number of seminal cases before the Second Circuit in the securities field including:
Teamsters Local 445 Freight Div. Pension Fund v. Dynex Capital, Inc., 531 F.3d 190 (2d Cir. 2008) (addressing corporate
scienter under Section 10 (b)); Teamsters Local 445 Freight Div. Pension Fund v. Bombardier, Inc., 546 F.3d 196 (2d Cir.
2008) (addressing standard for establishing market efficiency in certification of Section 10(b) claims); N.J. Carpenters
Health Fund v. Royal Bank of Scotland Group, PLC, 709 F.3d 109 (2d Cir. 2013) (“NovaStar”) (reversing dismissal of
Securities Act claims); Wyo. State Treasurer v. Moody's Investors Serv. (In re Lehman Bros. Mortgage-Backed Sec. Litig.)
(“Lehman”), 650 F.3d 167 (2d Cir. 2011) (addressing rating agency liability under the Securities Act); and N.J. Carpenters
Health Fund v. RALI Series 2006-QO1, 477 Fed. Appx. 809 (2d Cir. 2012) (“Harborview/RALI”, addressing class member
knowledge as grounds for denial of class certification).

A member of Phi Beta Kappa, Mr. Laitman is a graduate of Columbia University, with a B.A., magna cum laude, and earned
his law degree at Georgetown University Law Center.

Stephan A. LeClainche



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Stephan A. LeClainche, Of Counsel at Cohen Milstein, is a member of the firm’s Complex Tort Litigation practice group and
head of the Medical Malpractice team. In his role, Mr. LeClainche represents victims and the families of victims of all types
of medical negligence. His practice specializes in medical malpractice, but also includes medical device litigation,
automobile negligence, sexual abuse and other serious injury and wrongful death cases.

Mr. LeClainche is an experienced trial attorney, whose admission to the prestigious American College of Trial Lawyers
attests to his reputation among peers as an outstanding trial lawyer. He understands, however, that legal skill in a
courtroom is only a part of the qualifications that a good attorney brings to the practice in representing the victims of
negligence. Equally important is the empathy an attorney must possess in counseling and guiding these victims and their
families. The best attorneys are advisers and advocates, compassionate yet aggressive—a partner to clients, making them
part of the team. These are traits that Mr. LeClainche brings to each of his cases.

Mr. LeClainche was named to Lawdragon's 2020 list of “500 Leading Plaintiff Consumer Lawyers.” The Best Lawyers in
America recognized him as the 2020 “Lawyer of the Year” in West Palm Beach, FL in the category of Personal Injury
Litigation – Plaintiffs and the 2019 “Lawyer of the Year” in West Palm Beach, FL in the category of Medical Malpractice
Law – Plaintiffs. He was also named to Palm Beach Illustrated 2019 “Top Lawyers” list for Medical Malpractice Law,
recognized in the 2020 edition of Super Lawyers in Personal Injury and Medical Malpractice, and as one of Daily Business
Review’s 2018 “Most Effective Lawyers: Medical Malpractice.”

Prior to joining Cohen Milstein in 2015, Mr. LeClainche was a name partner in a boutique trial law firm based in West Palm
Beach. A Florida Board-Certified Civil Trial Lawyer since 1996 with nearly four decades of experience litigating civil lawsuits,
Mr. LeClainche is both a veteran attorney and a seasoned investigator, investing the time necessary to unearth and analyze
every potentially relevant facet of a case. Many of his cases represent the cutting edge of both medicine and law, and
grow out of the evolution of medicine and its practice. The cases may be different, but the complexities, challenges and
stakes are always high, requiring attention to detail – and dedication to a client’s needs and concerns.

Some of Mr. LeClainche’s litigation and trial successes include the following notable matters:

    •   A $2.5 million settlement in the wrongful shooting and death of Seth Adams by the PBSO.
    •   A confidential settlement reached in a medical malpractice case against an interventional cardiologist regarding
        his controversial practice of using a stent in the mid-popliteal artery to treat arterial occlusion. The case involved
        the off-label use of a medical device and a surgeon acting outside the scope of his practice.
    •   A $40 million verdict recovered for a child in a wrongful death case.
    •   A $7 million settlement in a medical malpractice case involving failure to notify a patient of a MRSA infection in
        his blood.
    •   A $5 million settlement reached during trial in a medical malpractice case.
    •   A $4.9 million settlement in a medical malpractice case involving a head injury suffered by a patient who was
        dropped to the floor from an OR table during surgery.
    •   Verdicts of $1.7 million and $10 million in two separate cases involving sexual abuse of minors.
    •   A $2.3 million verdict for personal injuries suffered during a fall at an amusement park.
    •   A $2.8 million verdict for a death and personal injuries suffered by husband and wife in a motor vehicle accident.
    •   A $2 million settlement involving death due to failure to diagnose pulmonary embolism in a hospitalized patient.
    •   Co-lead of the trial team of lawyers who, after years of costly litigation, successfully recovered $27 million on
        behalf of 10 victims of child abuse in a case brought in Federal Court in New York

Mr. LeClainche currently represents clients in a diverse variety of medical malpractice cases, including:

        •        Several lawsuits involving injuries arising from laparoscopic and open gall bladder surgery.


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        •       Misdiagnosis on colonoscopy resulting in the client being given a clean bill of health only to be
                subsequently diagnosed with Stage 4 colon cancer.

In addition to his admission to the American College of Trial Lawyers, Mr. LeClainche’s accomplishments over the years
have enabled him to achieve an AV-Preeminent rating from Martindale-Hubbell, the highest rating available for ethics and
legal ability from the nation’s oldest guide to lawyers and law firms. Mr. LeClainche is also a long-time member of the
American Board of Trial Advocates – Palm Beach County Chapter.

Mr. LeClainche attended Florida International University, graduating magna cum laude with a B.A. in Political Science, and
earned his J.D. from the University of Florida College of Law. Mr. LeClainche was born and raised in Kingston, Jamaica.

Scott M. Lempert

Scott M. Lempert is Of Counsel at Cohen Milstein and a member of the firm's Employee Benefits (ERISA) Practice Group.
He joined the firm in 2016 and represents the interests of employees, retirees, and plan participants and beneficiaries in
ERISA cases in the district court and on appeal.

Mr. Lempert is currently engaged in litigating a number of so-called “church plan” lawsuits. These cutting-edge legal cases
assert that many non-profit health care systems in the United States wrongfully claim their benefit plans are exempt from
ERISA regulation under the church plan exemption. Currently, Cohen Milstein serves as lead or co-lead counsel in 12
separate cases in various jurisdictions throughout the U.S.

Mr. Lempert has over 20 years of experience litigating complex commercial class actions on behalf of employees, retirees
and consumers in retiree benefits, employment, consumer protection and antitrust matters. Prior to joining Cohen
Milstein he worked on many high-profile matters, including:

    •   In re: Unisys Corp. Retiree Medical Benefits ERISA Litig. – a series of cases involving representation of thousands
        of retirees, both as class actions and individually, seeking restoration of lifetime retiree medical benefits unlawfully
        terminated after retirement. These cases successfully achieved multiple settlements and court judgments
        providing lifetime retiree medical benefits for some and a continuing stream of payments to pay for medical
        benefits for other retirees.
    •   Raetsch v. Lucent Technologies – 36 million dollar settlement involving unlawful transfer of excess defined benefit
        pension funds to an account to pay for retiree medical benefits.
    •   Mehling v. New York Life Insurance Co. -- 14 million dollar settlement challenging excessive fees charged to New
        York Life employees and the company’s pension plan for Plan assets invested in New York Life owned mutual
        funds.
    •   Stagi v. National R.R. Passenger Corp. – Gender discrimination class action alleging unlawful disparate impact on
        female union employees resulting from enforcement of an Amtrak employee policy that blocked union employees
        from promotion to management. Settlement provided Amtrak employees compensation for denial of
        opportunities for promotion and the striking of the unlawful employment policy.

Mr. Lempert graduated Phi Beta Kappa from the University of Delaware with a B.A., magna cum laude, in Psychology, and
received his J.D., from the University of Pennsylvania Law School. During law school, he served as Vice President of the
Law School Government and was a Morris Fellow.

Christopher Lometti

Christopher Lometti is Of Counsel in Cohen Milstein’s Securities Litigation & Investor Protection practice group. In this
role, Mr. Lometti has litigated some of the most significant mortgage-backed securities (MBS) class action lawsuits to
emerge from the financial crisis.
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Mr. Lometti, together with his colleague Joel Laitman, initiated the Bear Stearns, Harborview, RALI, Lehman and HEMT
MBS litigation at their named firm prior to joining Cohen Milstein. The lawsuits were high-risk matters involving novel
claims on behalf of their Taft-Hartley pension fund clients injured by the dramatic downgrades of their MBS holdings from
AAA to junk status. The MBS litigations have earned Cohen Milstein’s Securities Litigation Practice numerous accolades
from the National Law Journal, Law360 and American Lawyer.

Mr. Lometti’s successes include the following notable matters:

    •   Bear Stearns MBS Litigation: $500 million settlement with JPMorgan Chase. Cohen Milstein was lead counsel in a
        class action lawsuit alleging Bear Stearns violated securities laws in selling toxic mortgage-backed securities that
        failed to meet the bank’s own underwriting standards and that contained false and misleading information as to
        the appraised values of the underlying mortgages. Mr. Lometti was one of the key litigators in the case, developing
        strategy and conducting extensive fact discovery into the 22 offerings backed by approximately 71,000 largely Alt-
        A mortgages that Bear Stearns sold to investors from May 2006 to April 2007.
    •   RALI MBS Litigation: $335 million settlement with Citigroup, Goldman Sachs and UBS. Cohen Milstein was lead
        counsel in a class action litigation alleging RALI and its affiliates sold shoddy MBS securities that did not meet the
        standards of their underwriters. Mr. Lometti was one of the senior litigators on the class action, conducting fact
        discovery, deposing economic experts and preparing witnesses.
    •   Harborview MBS Litigation: $275 million settlement with Royal Bank of Scotland. Cohen Milstein was lead counsel
        in a complex case, in which presiding Judge Loretta A. Preska, of the U.S. District Court, Southern District of New
        York, commented on the “job well done” by the Cohen Milstein team of which Mr. Lometti was a senior litigator.
    •   HEMT MBS Litigation: $110 million settlement with Credit Suisse. Cohen Milstein was lead counsel in a case
        alleging Credit Suisse and its affiliates sold toxic securities to pension fund investors. The suit, filed in 2008, was
        one of the first class action cases involving mortgage-backed securities to be filed.
    •   Lehman Litigation: $40 million settlement. Cohen Milstein was lead counsel in a class action lawsuit against
        individuals affiliated with the bankrupt firm, the largest bankruptcy in U.S. history. Mr. Lometti was a senior
        litigator on the lawsuit, developing strategy.
    •   Dynex Litigation: $7.5 million settlement. Cohen Milstein was lead counsel in a class action lawsuit involving the
        asset-backed securities. Mr. Lometti was a central member of the team to litigate this seminal lawsuit involving
        hybrid securities. In the litigation, the U.S. District judge issued one of the first decisions certifying an investor
        class pursuing fraud claims in connection with the sale of asset-backed securities. The Dynex litigation laid out a
        road map that could be followed in litigating an asset-backed security.
    •   Braskem Litigation: $10 million settlement. Cohen Milstein represented shareholders in a class action suit alleging
        that the Brazilian petrochemical company lied to investors in its American Depository Receipts about its role in a
        bribery scheme involving Petrobras, Brazil’s giant oil producer.

Currently, Mr. Lometti is litigating the following matters:

    •   NovaStar MBS: Cohen Milstein is lead counsel in litigation alleging that RBS, Wells Fargo (formerly Wachovia) and
        Deutsche Bank sold toxic mortgage-backed securities to investors. The litigation is one of the last outstanding class
        action MBS lawsuits. The Second Circuit Court of Appeals reversed an earlier dismissal of the lawsuit, paving the
        way for prosecution of the case. In March 2017, the U.S. District Court, Southern District of New York preliminarily
        approved a $165 million all-cash settlement. Final approval of the settlement is pending.

Prior to his arrival at Cohen Milstein, Mr. Lometti played a substantive role in litigating and settling the massive class action
suit against WorldCom, one of the largest bankruptcies in history, representing significant stakeholders in the telecom’s
bond offerings. The lawsuit resulted in a settlement of $6.15 billion.


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Mr. Lometti has been repeatedly recognized for his career accomplishments, including being named to the 2016
Lawdragon 500, one of the industry’s leading peer-reviewed surveys, as well as annually recognized by New York Super
Lawyers (2011- 2018).

He has served as a non-industry arbitrator for the New York Stock Exchange and National Association of Securities Dealers
helping to resolve disputes, and as a mediator for the New York State Court System.

Mr. Lometti received a Bachelor of Arts from Fordham College in 1983, and his J.D. from Fordham Law School in 1986.

Diana L. Martin

Diana L. Martin is Of Counsel at Cohen Milstein, and a member of the firm’s Complex Tort Litigation and Consumer
Protection practice groups.

Ms. Martin’s practice focuses on appellate litigation involving complex product liability, consumer class, mass tort, and
managed care litigation. She not only handles appeals in these areas of law, but also provides appellate support at the
trial stage. In this role, she works as an integral part of the trial team by strategizing best practices, drafting and arguing
complex and case dispositive motions, handling jury instruction charge conferences, and assisting trial counsel in
preserving and protecting the record in the event of an appeal.

Ms. Martin is often involved in cases that involve complex issues or require the development of innovative strategies for
novel or evolving theories of liability. These areas have included developing legal theories to avoid the application of legal
immunity to workers’ compensation carriers who deny or delay medical care to injured workers, and using Florida’s
Deceptive and Unfair Trade Practices Act to hold hospitals accountable for drastically overbilling patients on a uniform
basis. Her experience spans various practice areas, such as constitutional and civil rights law, commercial litigation, mass
tort and class action litigation, managed care litigation, products liability law, and catastrophic personal injury litigation.

Ms. Martin is on the litigation team for the following notable matters:

    •   Reed, et al. v. USA (E.D. Tenn.): Cohen Milstein is representing plaintiffs in a wrongful death and property damage
        mass action against the U.S. Department of Interior and National Park Service for the negligence of its employees
        to perform their duties during The Chimney Tops 2 Fire in Tennessee, which originated in the Great Smoky
        Mountains National Park and ultimately damaged or destroyed 2,500 homes, buildings and other structures, and
        killed more than 12 people.
    •   Bernardo, et al. v. Pfizer, Inc., et al. (S.D. Fla.): On February 20, 2020, Cohen Milstein filed a false advertising,
        medical monitoring, and personal injury class action against Pfizer, Inc., Boehringer Ingelheim, Sanofi, and other
        pharmaceutical companies on behalf of multiple plaintiffs and putative class members across the United States
        who, as a result of taking Zantac (ranitidine), may have been afflicted with cancer or may now be subjected to an
        increased risk of developing cancer.
    •   Lindsay X-LITE Guardrail Litigation (State Crts.: Tenn., S.C.): Cohen Milstein represents more than five families of
        decedents and victims of catastrophic injuries in a series of individual products liability, wrongful death and
        catastrophic injury lawsuits in Tennessee and South Carolina state courts against the Lindsay Corporation and
        several related entities for designing, manufacturing, selling, and installing defective X-Lite guardrails on state
        roadways.

Ms. Martin has successfully litigated the following matters:

    •   Herrera, et al. v. JFK Medical Center, et al. (M.D. Fla.): Cohen Milstein was lead counsel in a class action lawsuit
        alleging that four Florida plaintiffs and others like them were billed inflated and exorbitant fees for emergency
        radiology services, in excess of the amount allowed by law, covered in part by their mandatory Florida Personal
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        Injury Protection insurance. When the district court struck plaintiffs’ class claims, Ms. Martin successfully
        petitioned the Eleventh Circuit Court of Appeals to accept immediate appellate review and obtained a reversal of
        the district court’s order. Cohen Milstein resolved the case and secured final approval of a $220 million injunctive
        relief settlement.
    •   H.C., et al. v Ric Bradshaw, et al. (S.D. Fla.): Cohen Milstein, in conjunction with the Human Rights Defense Center
        (HRDC) and the Legal Aid Society of Palm Beach County, successfully represented juvenile offenders against the
        Palm Beach County Sheriff’s Office and the Palm Beach County School Board, challenging the practice of placing
        juvenile offenders in solitary confinement and for allegedly denying mandated educational services to juvenile
        offenders held at the Jail, “including services needed to address their disabilities,” in violation of the federal
        Individuals with Disabilities Education Act (IDEA). The 2018 settlement was first-of-its-kind in Florida, as it ended
        the systemic practice of holding juveniles charged as adults in solitary confinement and ensures educational
        services of such juveniles.
    •   In re: Caterpillar, Inc. Engine Products Liability Litigation (D.N.J.): Cohen Milstein was co-lead counsel in a
        nationwide product liability class action lawsuit alleging Caterpillar sold diesel engines with defective exhaust
        emissions system that resulted in power losses and shutdowns. The case was settled in September 2016 for $60
        million.
    •   Hand et al., v. Scott et.al (N.D. Fla.): Cohen Milstein and Fair Elections Legal Network, a national voting rights
        organization, achieved a major victory in 2018 on behalf of former felons in Florida, who claimed their
        constitutional rights had been infringed by Florida’s Clemency Board. The court ruled that the Clemency Board’s
        process to grant or deny former felons’ restoration of voting rights applications was unconstitutionally arbitrary
        and violated the U.S. Constitution’s First and Fourteenth Amendments. While this case was on appeal before the
        11th Circuit, Floridians voted to allow such voting rights restoration to felons.
    •   Mincey v. Takata (Cir. Crt., Duval Cty., Fla.): Cohen Milstein was lead counsel in a lawsuit brought on behalf of
        Patricia Mincey and her family, a Florida woman who sustained catastrophic injuries that rendered her a
        quadriplegic in 2014 when the driver’s side airbag in her Honda Civic deployed too aggressively during a collision
        due to a product defect. Patricia Mincey passed away in early 2016 due to complications from her quadriplegia.
        The suit charged that Takata, the manufacturer of the airbag system, knew of the airbag defect and hid the
        problem from consumers. When the defendants removed Ms. Mincey’s case to federal court in an attempt to
        have it bogged down in multi-district litigation, Ms. Martin successfully had the case remanded to Florida state
        court, where it is was resolved in July 2016.
    •   Wal-Mart Employment Discrimination Litigation (S.D. Fla.): Cohen Milstein represented individual female Walmart
        employees in a lawsuit alleging that the company discriminated against them on the basis of their sex. Ms. Martin
        worked as part of the trial and appellate teams until the parties reached a confidential settlement with the
        plaintiffs.

In 2018, Ms. Martin was recognized by the Daily Business Review as the “Most Effective Lawyer” in the area of Pro Bono.

Ms. Martin currently serves as Audit Committee Chair of Families First of Palm Beach County. She is a past President of
Florida Legal Services and served as a Board Member between 2007 and 2016. Ms. Martin was also a Board Member of
the Florida Bar Foundation in 2015-2016. She has written numerous legal articles, which have been published in a variety
of journals, including Trial Magazine, The Florida Bar Journal, and the Florida Justice Association Journal. Ms. Martin also
co-authors Florida Insurance Law and Practice, an annual publication by Thomson/West.

Ms. Martin attended Flagler College, graduating summa cum laude with Departmental Honors in Philosophy/Religion. She
earned her J.D. from the University of Florida Levin College of Law, graduating with High Honors and achieving admission
to the Order of the Coif.

Ms. Martin clerked for three years between 2002 and 2005 for the Honorable Martha C. Warner in Florida’s Fourth District
Court of Appeal.

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David M. Maser

David M. Maser is an Of Counsel at Cohen Milstein, and a member of the firm’s Securities Litigation & Investor Protection
practice group.

Prior to joining Cohen Milstein, Mr. Maser worked with a nationally recognized securities class action plaintiffs law firm
for more than a decade, where he helped create the firm’s securities monitoring program and cultivated important
relationships with the firm’s growing portfolio of institutional investor clients, nationally and globally.

As a result of his work, Mr. Maser successfully engaged over 25 public fund and union clients with well over $200 billion
in assets under management. Clients he has represented have been involved in more than 60 actions, generating more
than $4.6 billion in case recoveries.

Mr. Maser has worked extensively in both the public and private sectors and brings more than 25 years of experience and
insight to pension funds and other institutional clients, specifically at the intersection of law, business and government.

Through his extensive experience in the public and private sectors, Mr. Maser has established bipartisan relationships in
the political arena on the federal, state and local levels. His ability to see the big picture and create bipartisan
collaborations has earned him a reputation as an exceptional diplomat and strategic consensus builder.

Andrew Mendrala

Andrew Mendrala is an Associate at Cohen Milstein and a member of the firm’s Public Client practice. Mr. Mendrala’s
practice focuses on the representation of state Attorneys General and other public-sector clients in investigations and
lawsuits involving false claims and fraudulent and deceptive trade practices.

Prior to joining Cohen Milstein, Mr. Mendrala was a Supervising Attorney and Teaching Fellow at the Georgetown
University Law Center’s Civil Rights Clinic. Prior to that he was a Senior Litigation Associate at a prestigious national defense
law firm, where he focused primarily on criminal defense and regularity enforcement matters involving state Attorneys
General, local agencies, the Department of Justice and related entities, as well as internal investigations, and civil litigation
at both the trial and appellate levels.

Mr. Mendrala clerked for The Honorable Deborah K. Chasanow of the United States District Court for the District of
Maryland.

Mr. Mendrala earned his B.A., with honors, from Washington and Lee University, and he received his J.D., magna cum
laude, from Howard University School of Law, where he was the recipient of several merit scholarships and a Senior Staff
Editor of the Howard Law Journal. Mr. Mendrala earned his LLM in Advocacy from Georgetown University Law Center.

Jan E. Messerschmidt

Jan E. Messerschmidt is an Associate at Cohen Milstein and a member of the firm’s Securities Litigation & Investor
Protection practice, where he represents institutional and individual shareholders in derivative lawsuits and securities
class actions.

Prior to joining Cohen Milstein, Mr. Messerschmidt was an associate at a highly-regarded national litigation boutique,
where he represented both plaintiffs and defendants in a range of issues involving antitrust, securities, cybersecurity,
contract, personal tort, and malicious prosecution claims.



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Before entering private practice, Mr. Messerschmidt served as a law clerk to the Honorable Beryl A. Howell, Chief Judge
of the United States District Court for the District of Columbia. He was also a law clerk to the Honorable Rosemary S. Pooler
of the United States Court of Appeals for the Second Circuit.

Mr. Messerschmidt earned his B.A., magna cum laude, from New York University, where he was the Co-Founder and Editor
of Journal of Politics & International Affairs. He earned his J.D. from Columbia Law School, where he was a Harlan Fiske
Stone Scholar and received the Parker School Certificate for Achievement in International and Comparative Law. During
law school, Mr. Messerschmidt had the distinction of participating in the Philip C. Jessup International Law Moot Court
Competition (U.S. National Champions (2012, 2013)), and he was the Head Articles Editor for Columbia Journal of
Transnational Law and the note author of, “Hackback: Permitting Retaliatory Hacking by Non-State Actors as
Proportionate Countermeasures to Transboundary Cyberharm,” 52 COLUM. J. TRANSNAT’L L. 275 (2013)

Prior to law school, Mr. Messerschmidt was a legislative policy analyst for the New York City Council, Policy Division.

Amy Miller

Amy Miller is Of Counsel at Cohen Milstein and a member of the firm’s Securities Litigation & Investor Protection practice,
where she represents institutional and individual shareholders in derivative lawsuits and securities class actions.

Prior to joining Cohen Milstein, Ms. Miller was a partner at a highly regarded national securities plaintiffs’ class action law
firm, where she led the firm’s corporate governance practice and represented clients in derivative lawsuits, class actions,
investigations, and appraisal proceedings.

Ms. Miller also worked at two other highly regarded plaintiffs’ securities litigation boutiques during the last decade.

Prior to representing institutional investors in securities class actions, Ms. Miller started her career and worked as a
litigation associate at one of the nation’s top securities defense firms for over seven years.

Ms. Miller was an extern for the Honorable George B. Daniels of the U.S. District Court for the Southern District of New
York.

Ms. Miller earned her B.A. from Boston University, magna cum laude, and she received her J.D. from New York Law School,
summa cum laude. While attending law school, Ms. Miller was the Articles Editor for the New York Law School Law Review.

Regina D. Poserina

Regina D. Poserina is Of Counsel at Cohen Milstein and a member of the firm’s Whistleblower/False Claims Act practice.

Ms. Poserina represents whistleblowers in qui tam cases brought throughout the United States under the federal and
state False Claims Act statutes against recipients of Government funds. A retired registered nurse, Ms. Poserina focuses
predominantly on representing whistleblowers in healthcare fraud, including Medicare/ Medicaid and nursing home
fraud. She also has extensive experience in qui tams related to other Governmental programs, including the Department
of Defense, Housing and Urban Development, Food Stamp/Department of Agriculture, Small Business Administration, and
Department of Education fraud.

Prior to joining Cohen Milstein, Ms. Poserina was Of Counsel at a highly regarded False Claims Act and employment
litigation firm in New Jersey and Pennsylvania, and was the sole proprietor of her own firm, focusing on False Claims Act
and employment litigation. Ms. Poserina has argued cases before the United States Court of Appeals for the Third Circuit,
and successfully briefed a case to the United States Supreme Court. Ms. Poserina’s career successes include representing
the whistleblowers in U.S. ex rel. Druding et al v. Care Alternatives, a precedent setting case involving Medicare hospice
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care, and in U.S. ex rel. Dunleavy v. The County of Delaware, et al., a case where the United States’ Supreme Court ruled
on the issue of who can be a proper defendant under the False Claims Act. Ms. Poserina also acted as amici curiae for
Taxpayers Against Fraud, a nonprofit whistleblowers organization headquartered in Washington, D.C.

She is also an active member of Taxpayers Against Fraud, a nonprofit, public interest organization dedicated to combating
fraud against the Federal Government through the promotion and use of the Federal False Claims Act and its qui tam
provisions; and the National Employment Lawyers Association and its local chapters.

Ms. Poserina received her B.S. in Nursing from Villanova University and her J.D. from Temple University.

Prior to pursuing a career in law, Ms. Poserina worked as a registered nurse in Intensive Care and Cardiac Surgical Intensive
Care Units throughout the United States.

Casey M. Preston

Casey M. Preston is Of Counsel at Cohen Milstein and a member of the firm’s Whistleblower/False Claims Act practice
group.

Mr. Preston focuses on representing whistleblowers across the country in qui tam actions brought under the False Claims
Act against individuals and corporations that engage in fraudulent conduct that causes significant economic harm to
federal and state government programs as well as taxpayers. He has significant experience in investigating, reporting, and
prosecuting Medicare and Medicaid fraud schemes and also has substantial experience with other types of government
fraud, including non-compliance with government contracts, Title IV federal student aid fraud, customs and tariff fraud,
and sales of defective mortgages. He also represents individuals who report securities fraud, tax fraud, and customs fraud
through federal whistleblower programs. In addition, Mr. Preston has significant experience handling complex commercial
cases and securities litigation in courts across the U.S.

Some of Mr. Preston’s current representations include:

    •   A sealed qui tam action against a drug manufacturer that allegedly induced physicians to prescribe its drugs by
        providing kickbacks in the form of free practice management and business advisory services.
    •   A sealed qui tam action against a drug company that is alleged to have violated the Anti-Kickback Statute by paying
        physicians to provide sham speaker programs to induce them to prescribe its drug.
    •   A sealed qui tam action alleging that a medical equipment supplier is selling unnecessary equipment and supplies
        to Medicare beneficiaries.
    •   A sealed action against a hospital system for overcharging Medicare for services furnished at its off-campus
        locations.
    •   A SEC whistleblower program case reporting that a biotech company is misleading investors about the status of a
        groundbreaking technology that it claims to be developing.

Mr. Preston has played a key role in a number of successful cases, including:

    •   United States ex rel. Kieff v. Wyeth: A qui tam action alleging that drug manufacturer Wyeth overcharged the
        state Medicaid programs by not providing them the statutorily required “best price” for a widely prescribed drug.
        This action resulted in a recovery of more than $780 million by the government.
    •   United States ex rel. O’Connor v. National Spine and Pain Centers, LLC: A qui tam action alleging that pain
        management practices defrauded the government health care programs by (a) billing for services furnished by
        physician assistants and nurse practitioners as “incident to” a physician’s service when the services did not qualify
        as such, and (b) referring patients for unnecessary drug tests. The United States intervened in and settled this
        action for approximately $3.3 million.
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    •   United States ex rel. Davis v. Southern SNF Management, Inc.: A qui tam action against skilled nursing facilities
        that were involved in a multi-year scheme of increasing the facilities’ Medicare collections by assigning Medicare
        patients to levels of therapy far greater than medically appropriate and billing Medicare at the higher amounts
        associated with this unnecessary therapy. There was a $10 million recovery by the government.
    •   United States ex rel. Saidiani v. NextCare, Inc.: A qui tam action against the NextCare chain of urgent care centers
        that allegedly billed the government for unnecessary medical tests and services performed on beneficiaries of the
        government health care programs. There was a $10 million recovery by the government.
    •   United States ex rel. Rai v. Kool Smiles, P.C.: A qui tam action against the Kool Smiles pediatric dentistry chain for
        allegedly billing the state Medicaid programs for unnecessary dental procedures. There was a $23.9 million
        recovery by the federal government and several states.
    •   [Sealed] v. [Sealed]: Successfully represented an investor in several commercial real estate LLCs in a fraud and
        breach of fiduciary duty action against the LLCs’ manager.
    •   In re Fleming Cos. Inc. Securities Litigation: Represented stock and bondholders in a class action against grocery
        chain and food distributor Fleming Companies and its outside auditor that resulted in a $94 million recovery for
        investors.
    •   In re Carreker Corp. Securities Litigation: Represented stockholders in a securities class action against a software
        company that resulted in a $5.25 million recovery for investors.
    •   Staro Asset Management v. Provell Inc.: Represented a hedge fund in a securities fraud action against a marketing
        company through which the hedge fund secured a $4 million recovery.
    •   In re Cigna Corp. Securities Litigation.: Represented a state pension fund in a securities class action against health
        insurer Cigna that resulted in a $93 million recovery for stockholders.

In addition, Mr. Preston has provided pro bono services to the Legal Clinic for the Disabled and the Brady Center to Prevent
Gun Violence.

Mr. Preston served as law clerk for the Hon. William J. Nealon, U.S. District Court for the Middle District of Pennsylvania
and the Hon. Terrence R. Nealon, Court of Common Pleas, Lackawanna County, Pennsylvania.

Mr. Preston received his B.S. from The Citadel and his J.D. from the Villanova University School of Law.

Karina G. Puttieva

Karina G. Puttieva is an Associate at Cohen Milstein and a member of the firm’s Consumer Protection practice. Ms.
Puttieva’s practice focuses on litigating class actions on behalf of consumers who have been misled, deceived or harmed
by large corporations.

Prior to joining Cohen Milstein, Ms. Puttieva was a litigation associate at a highly regarded national defense firm, where
she focused on consumer data privacy issues, government investigations and criminal litigation, and civil litigation in the
areas of antitrust, consumer fraud, and misappropriation of intellectual property.

Ms. Puttieva is currently litigating the following matters:

    •   Facebook 2018 Data Breach Litigation (N.D. Cal.): Cohen Milstein is Co-Interim Class Counsel in a nationwide
        personal data breach class action against Facebook. According to Facebook, the data breach was the result of a
        software vulnerability that existed for over a year between 2017 – 2018.
    •   DZ Reserve et al. v. Facebook (N.D. Cal.): Cohen Milstein represents a putative class of advertisers who claim that
        Facebook’s key advertising metrics (Potential Reach and Estimated Daily Reach) are inflated and misleading.
    •   General Motors Litigation (E.D. Mich.): Cohen Milstein is Lead Counsel and Chair of the Plaintiffs’ Steering
        Committee, overseeing this consolidated consumer class action filed against GM in over 30 states. Plaintiffs allege

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        that GM’s eight-speed automatic transmissions (GM 8L90 and the 8L45) manufactured between 2015 and 2019
        were defective.
    •   COVID-19 Business Interruption Insurance Litigation: Cohen Milstein represents restaurants and small businesses
        across the United States in litigation against their property and casualty insurance providers for failing to cover
        their COVID-19-related business interruption claims.

Ms. Puttieva earned her B.A., magna cum laude, from Haverford College and her J.D. from University of California,
Berkeley, School of Law, where she was the Submissions Editor and Associate Editor of the Berkeley Journal of Criminal
Law.

While attending law school, Ms. Puttieva was a judicial extern for the Honorable Christina A. Snyder of United States
District Court for the Central District of California and she was a law clerk for the United States Attorney’s Office for the
Northern District of California.

Prior to law school, Ms. Puttieva worked as a victim/witness coordinator at the Family Violence/Sexual Assault Unit of the
Philadelphia District Attorney’s Office.

Poorad Razavi

Poorad Razavi is an Of Counsel at Cohen Milstein and a member of the firm’s Complex Tort Litigation practice group. Mr.
Razavi’s practice focuses on products liability, vehicle defects, roadway design and maintenance defects, trucking and car
accidents, chemical exposure, negligent security, and multi-million dollar wrongful death and catastrophic injury suits.

Mr. Razavi has represented clients in state and federal courts across the nation, including in Florida, California, Indiana,
Ohio, Georgia, New York, Nevada, Michigan, Alabama, South Carolina, and Tennessee. He has litigated claims against all
of the major insurance carriers, as well as automobile, tire, and component part manufacturers, including General Motors,
Toyota, Honda, Chrysler, Takata, and Continental, as well as highway guardrail manufacturers, installers and other
contractors. Mr. Razavi has also handled a broad range of non-traditional personal injury and wrongful death cases
throughout the country, including claims involving chemical and pesticide exposure, chlorine gas exposure, mold
exposure, construction defect, boating defect, negligent vehicle repairs, and negligent tractor-trailer operation.

What is particularly unique about Mr. Razavi’s experience is his background as a former civil litigation defense attorney
and his perspective into the mindset of insurance companies and corporate defendants. This background gives him a
unique understanding about how to maximize the value of a claim in order to ensure that clients receive maximum
compensation for their injuries.

Mr. Razavi also has extensive experience in claims against the Department of Transportation and private state contractors
for roadway design and defects. He has litigated multiple roadway design and maintenance defect claims resulting in
multi-million dollar settlements and subsequent installation and remediation of guardrails, re-paving, curbing, and
rehabilitation of roadways in multiple counties.

Currently, Mr. Razavi is litigating the following notable matters:

    •   Dunn v. Sacoolas (E.D. Va.): On September 9, 2020 Cohen Milstein filed a wrongful death lawsuit on behalf of
        Charlotte Charles and Tim Dunn, citizens of the U.K., against Anne Sacoolas, a U.S. citizen, after she hit 19-year-
        old Harry Dunn, the son of Charlotte and Tim, on his motorcycle, causing him catastrophic injuries that ultimately
        led to his death.
    •   Bernardo, et al. v. Pfizer, Inc., et al. (S.D. Fla.): On February 20, 2020, Cohen Milstein filed a false advertising,
        medical monitoring, and personal injury class action against Pfizer, Inc., Boehringer Ingelheim, Sanofi, and other
        pharmaceutical companies on behalf of multiple plaintiffs and putative class members across the United States
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        who, as a result of taking Zantac (ranitidine), may have been afflicted with cancer or may now be subject to an
        increased risk of developing cancer.
    •   Lindsay X-LITE Guardrail Litigation (State Crt.: Tenn., S.C.): Cohen Milstein represents more than five families of
        decedents and victims of catastrophic injuries in a series of individual products liability, wrongful death and
        catastrophic injury lawsuits in Tennessee and South Carolina state courts against the Lindsay Corporation and
        several related entities for designing, manufacturing, selling, and installing defective, X-Lite guardrails on state
        roadways.
    •   Ratha, et al. v. Phatthana Seafood Co. (C.D. Cal.): Cohen Milstein is representing seven Cambodian plaintiffs in a
        cross-border human rights lawsuit, involving human trafficking, forced labor, involuntary servitude, and peonage
        by factories in Thailand that produce shrimp and seafood for export to the United States.
    •   ExxonMobil - Aceh, Indonesia (D.C.C.): Cohen Milstein is representing eleven Indonesian citizens in a cross-border
        human rights lawsuit involving allegations of physical abuse, sexual assault, other forms of torture, and murder
        committed by Indonesian soldiers who were hired by Exxon Mobil Corporation.

Mr. Razavi has successfully litigated the following matters:

    •   Saori Yamauchi, et al. v. Toyota Motor Corporation, et al. (Cir. Crt., Dutchess Cty., N.Y): Cohen Milstein and local
        New York co-counsel filed a product liability and personal injury complaint against Toyota Motor Corporation,
        Autoliv, and related entities on behalf of Saori Yamauchi. Mrs. Yamauchi sustained a catastrophic injury during an
        accident in her Toyota Sienna because of the vehicle’s airbag system deploying in a dangerous manner. The case
        is currently being litigated in the Supreme Court of the State of New York in Dutchess County.
    •   Hand, et al. v. Scott, et al. (N.D. Fla.): Cohen Milstein and Fair Elections Legal Network, a national voting rights
        organization, achieved a major victory on behalf of former felons in Florida, who claimed their constitutional rights
        had been infringed by Florida’s Clemency Board. U.S. District Court Judge Mark E. Walker ruled that the process
        by which Florida’s Clemency Board grants or denies former felons’ restoration of voting rights applications is
        unconstitutionally arbitrary and violates the U.S. Constitution’s First Amendment right of free association and free
        expression, as well as the Fourteenth Amendment.
    •   Quinteros, et al. v. DynCorp, et al. (D.D.C.): Cohen Milstein represented over 2,000 Ecuadorian farmers and their
        families who suffered physical injuries and property damage as a result of aerial spraying of toxic herbicides on or
        near their land by DynCorp, a U.S. government contractor. A bellwether trial on behalf of the first six Ecuadorian
        clients concluded in April 2017, when the ten-person jury unanimously determined that DynCorp was responsible
        for the conduct of the pilots with whom it had subcontracted to conduct the chemical spraying after April 2003.
        This resolution allowed for a successful case settlement.

Additionally, Mr. Razavi initiated the investigation and discovery of a major nation-wide vehicle airbag defect resulting in
the filing of a subsequent class action against the world’s largest automobile manufacturers, in which he was selected to
the Interim Plaintiffs’ Executive Committee.

Mr. Razavi is repeatedly selected as “Rising Star” by Florida Super Lawyers and a “Legal Elite Up and Comer” by Florida
Trend Magazine. Mr. Razavi is AV rated by Martindale-Hubbell.

Mr. Razavi is also a frequent writer and speaker. His articles have been published in Florida Justice Association’s Journal
and focus on preservation of evidence in fighting against the automobile industry, as well as defective guardrail and
roadway design. Annually, Mr. Razavi is a speaker at Florida Justice Association seminars, including “Identifying and
Developing Roadway and Guardrail Defect Claims” at FJA’s Advanced Trial Skills seminars.

In addition to his private practice, Mr. Razavi proudly serves the legal and local community, holding several prominent
Palm Beach County Bar Association roles, including being appointed Co-Chair for the Palm Beach County Bar Association’s
Annual Bench Bar Conference in 2016 and was an elected Board Member for the Palm Beach County Justice Association
from 2015 through 2019.
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Mr. Razavi graduated from Indiana University with a B.S. in International Business and Business Economics. He received
his J.D. from the University of Cincinnati College of Law and was a Merit Scholarship recipient.

Takisha D. Richardson

Takisha D. Richardson is an Associate at Cohen Milstein, and a member of the firm’s Complex Tort Litigation practice
group, as well as the firm’s Sexual Abuse, Sex Trafficking, and Domestic Violence team. Ms. Richardson focuses on
representing child sexual abuse victims and adult survivors of sexual abuse.

Prior to joining Cohen Milstein, Ms. Richardson was an Assistant State Attorney and Chief of the Special Victims Unit of
the State Attorney’s Office for Palm Beach County. She brings more than a decade of experience both as an attorney and
as a supervisor of a team responsible for the prosecution of crimes against children and the elderly, and sexually motivated
offenses. Prior to that role, she prosecuted felony cases at all levels and was an Assistant Public Defender.

Ms. Richardson has vast trial experience. To date, she has tried over 100 jury and non-jury trials, most of which involved
sexual abuse and/or homicide matters.

Currently, Ms. Richardson is litigating the following notable matters:

    •   Doe, et al. v. Washington Hebrew Congregation, et al. (D.D.C.): On April 15, 2019, Cohen Milstein, on behalf of the
        families of 11 children between the ages of three and four, filed a lawsuit against Washington Hebrew
        Congregation Edlavitch Tyser Early Childhood Center and its Director for failing to protect their children from
        sexual abuse by a preschool teacher over a two-year period.
    •   Doe v. Scores, et al. (Cir. Crt., Hillsborough Cty., Fla.): On January 29, 2020, Cohen Milstein filed a lawsuit on behalf
        of a young woman against Scores Holding Company, Inc. and its affiliates for illegally employing her when she was
        a minor at one of its Florida locations, subjecting her to be sexual abuse and human trafficking.

Ms. Richardson’s past successes include:

    •   Jimmy Dac Ho (Cir. Crt., Palm Beach Cty., Fla.): Ms. Richardson helped prosecute and incarcerate a former law
        enforcement officer for first-degree murder and kidnapping (with a firearm) of a 29-year-old aspiring law school
        student from Boynton Beach, Florida.
    •   Stephen Budd (Cir. Crt., Palm Beach Cty., Fla.): Ms. Richardson brought to trial a former fourth-grade teacher who
        was found guilty on five charges of sexual assault and sentenced to serve three consecutive life sentences on the
        first three charges and 15 years on each of the final two charges.
    •   Carlos Soto (Cir. Crt., Palm Beach Cty., Fla.): Ms. Richardson successfully prosecuted this lawsuit involving sexual
        battery of a child. The bravery of the victim, who testified at trial, aided in the conviction of the defendant on all
        charges and who is serving 45 years in prison.
    •   Jorge Gonzalez (Cir. Crt., Palm Beach Cty., Fla.): Ms. Richardson prosecuted the defendant, who is now serving a
        life sentence in prison, as a result of the seven-year-old victim bravely telling a family friend about being forced
        to receive inappropriate, sexual touching.

Ms. Richardson is a Fellow in the Florida Bar’s Wm. Reece Smith, Jr. Leadership Academy 2019-2020 class, a program
designed to assist a select group of lawyers from across the state in becoming better leaders within the Bar and legal
community.

In 2019, Ms. Richardson also received the Daily Business Review’s “Innovative Practice Areas” award which honors the
firm’s Sexual Abuse, Sex Trafficking and Domestic Violence team.

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Ms. Richardson is a member of the Sex Abuse Response Team (SART), a countywide coalition responsible both for
advocacy on behalf of victims of sexual abuse and for maintaining national Law Enforcement protocols.

Ms. Richardson attended Florida Agricultural & Mechanical University in Tallahassee Florida, where she received her B.S.
in Political Science. She earned her J.D., from University of Florida’s Frederic G. Levin College of Law, where she was the
recipient of the Virgil Hawkins Scholarship.

While attending law school, Ms. Richardson was a member of the U.F. Trial Team where she earned the title Vice President
of Intramural Competitions and a Final Four Trial Team Competitor. She served as Vice President of the U.F. Black Law
Student’s Association.

Matthew W. Ruan

Matthew W. Ruan is Of Counsel at Cohen Milstein and a member of the firm's Antitrust practice group. In this role, Mr.
Ruan represents a broad range of individuals, businesses, and unions in civil litigation, with a focus on multi-district class
actions and antitrust litigation.

Mr. Ruan is currently litigating the following matters:

    •   Sutter Health Antitrust Litigation (Sup. Crt., San Fran. Cnty., Cal.): Cohen Milstein is part of a small team of firms
        representing a certified class of self-funded employers and union trust funds against Sutter Health, a large hospital
        chain in Northern California, for restraining hospital competition through anticompetitive contracting practices.
        In October 2019, on the eve of trial, the case settled for $575 million and comprehensive injunctive relief, subject
        to approval by the court.
    •   In re Automotive Parts Antitrust Litigation (E.D. Mich.): Cohen Milstein is representing a putative class of direct
        purchasers alleging price-fixing conspiracy against manufacturers of automotive bearings, windshield wiper
        systems, occupant safety systems, and various other automotive parts.
    •   Stock Lending Litigation (S.D.N.Y.): Cohen Milstein and co-counsel filed a putative class action on August 17, 2017
        in the Southern District of New York on behalf of Iowa Public Employees Retirement System and other investors,
        alleging collusion among six of the world’s largest investment banks to prevent modernization of the $1.7 trillion
        stock loan market. Plaintiffs allege that Bank of America, Credit Suisse, Goldman Sachs, JP Morgan, Morgan
        Stanley, and UBS conspired to overcharge investors and maintain the power they hold over the stock loan market,
        obstructing multiple efforts to create competitive electronic exchanges and enhance price transparency that
        would benefit both stock lenders and borrowers.

Prior to joining Cohen Milstein, Mr. Ruan was an associate attorney at Berman DeValerio. While there, he focused on
antitrust, securities, and consumer class actions. He also was an associate at Heins Mills & Olson, PLC and also served as a
judicial extern for the Hon. Blanch M. Manning of the U.S. District Court for the Northern District of Illinois.

Mr. Ruan graduated from the University of Chicago, with Honors, with an A.B. in Anthropology in 2000. He received his
J.D. from the University of Michigan Law School in 2003. During law school, Mr. Ruan served as the Associate Editor of
the Michigan Journal of International Law.

Raymond M. Sarola

Raymond M. Sarola is Of Counsel at Cohen Milstein and a member of the firm’s Whistleblower/False Claims Act and the
Ethics and Fiduciary Counseling practice groups.

Mr. Sarola represents whistleblowers in qui tam cases brought under the federal and state False Claims Act statutes in
industries that conduct business with the government, including health care, defense, and financial services. As a member
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of the firm’s Ethics and Fiduciary Counseling practice, Mr. Sarola calls on his experience as a trustee on the New York City
pension fund boards in counseling public pension funds fiduciary issues.

Prior to joining Cohen Milstein, Mr. Sarola served as Senior Policy Advisor & Counsel in the Mayor's Office of the City of
New York, where he represented the Mayor and Commissioner of Finance on the boards of the City's pension systems
and deferred compensation plan and advised on legal issues regarding pension investments, benefit payments, securities
litigation and corporate governance initiatives. Previously, Mr. Sarola was a litigation associate at a noted defendants’
firm, where he focused on securities, antitrust, and other complex commercial litigation, and internal investigations.

Mr. Sarola’s government service and corporate defense litigation experience has been invaluable to his role in counseling
clients in their claims against the government and corporate entities.

Mr. Sarola has been involved in high-profile whistleblower cases including:

    •   United States et al., ex rel. Lauren Kieff, v. Wyeth: Mr. Sarola assisted in this qui tam action against the
        pharmaceutical company Wyeth, resulting in a $784.6 million settlement, the seventh-largest False Claims Act
        recovery on record.
    •   United States ex rel. Davis, et al. v. Southern SNF Management, Inc. et al.: Mr. Sarola was actively involved in this
        qui tam case in which the whistleblowers alleged the skilled nursing facilities in which they worked were involved
        in a multi-year scheme to increase the facilities’ Medicare reimbursement by assigning Medicare patients to levels
        of therapy far greater than medically appropriate and billing Medicare at the higher amounts associated with this
        unnecessary therapy. The government recovered $10 million from the defendants.

Some of Mr. Sarola’s current representations include:

    •   A sealed qui tam action against a healthcare company alleging that it performed medically unnecessary
        procedures on patients covered by Medicare and Medicaid.
    •   A sealed qui tam action against healthcare companies alleging that they denied necessary treatment to patients
        in violation of Medicare regulations.
    •   Multiple qui tam actions alleging the unnecessary provision of skilled therapy in nursing homes.
    •   A sealed qui tam action alleging fraud in the bidding for a public contract.
    •   A sealed qui tam action against a provider of telehealth services alleging overbilling and underprovision of
        healthcare services.
    •   A sealed qui tam action against a healthcare company for allegedly defrauding the government’s Electronic Health
        Record Incentive Programs.
    •   Sealed qui tam actions against pharmaceutical companies alleging that they overcharged the government
        healthcare programs for brand-name drugs.
    •   Submissions under the Securities and Exchange Commission Whistleblower Program and the Internal Revenue
        Service Whistleblower Program alleging securities and tax fraud against major financial services companies and
        other entities.
    •   Submissions under the SEC and Commodity Futures Trading Commission Whistleblower Programs alleging
        violations of the Foreign Corrupt Practices Act and the Commodity Exchange Act.

Mr. Sarola has published articles on whistleblower issues, including the use of statistical sampling to prove large fraud
cases. He has also published and spoken at conferences on pension fund fiduciary issues, in particular the SEC’s pay-to-
play rule. He is a member of Taxpayers Against Fraud, a nonprofit, public interest organization dedicated to combating
fraud against the Federal Government through the promotion and use of the False Claims Act.

In addition, Mr. Sarola was part of the Cohen Milstein team that successfully represented the estate of Kirsten Englund in
a wrongful death case of first impression in Oregon state court and nationally, addressing the legal liability for federally
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licensed firearms dealers involved in online straw sales. The landmark settlement (October 2018) establishes important
legal precedent at the state and federal levels regarding gun dealer responsibility for online sales of firearms. Given the
precedential significance of this lawsuit, Cohen Milstein was named to The National Law Journal’s “2019 Pro Bono Hot
List” and won Public Justice Foundation’s “2019 Trial Lawyer of the Year – Finalist” award. Mr. Sarola was a co-author of
“INSIGHT: Holding Firearms Dealers Accountable for Online Straw Sales,” Bloomberg Law (December 19, 2018), which
discussed this case and won a 2019 Burton Award for Distinguished Legal Writing.

Mr. Sarola received his B.A. from the University of North Carolina at Chapel Hill, and earned his J.D. from the University of
Pennsylvania Law School, where he also earned a Certificate of Study in Business and Public Policy from the Wharton
School. While in law school, he was a Summer Intern for the Honorable Clarence Newcomer, United States District Court
for the Eastern District of Pennsylvania.

Aniko R. Schwarcz

Aniko R. Schwarcz is an attorney in the Civil Rights and Employment Practice group. She also serves as Director of Civil
Rights and Employment Case Development. In that capacity she investigates and develops new cases, and works with
other members of the Practice Group to advance litigation. Ms. Schwarcz is often the first point of professional contact
for prospective clients and other referral sources, and she has extensive experience working with current and prospective
class members.

At present, Ms. Schwarcz is working on cases involving claims of sex discrimination within municipal agencies, access to
health care for LGBT Federal employees, Equal Pay Act claims, and others. In her recent work on Jock et al v. Sterling
Jewelers Inc., a nationwide Title VII gender discrimination and Equal Pay Act case currently in arbitration, Ms. Schwarcz
played an key role interviewing and collecting affidavits from prospective class members, which were produced in support
of the successful motion for class certification. Prior to that, Ms. Schwarcz interviewed and filed hundreds of EEOC charges
on behalf of former class members in the Dukes v. Wal-Mart Stores, Inc. case.

Ms. Schwarcz attended Vanderbilt University, graduating cum laude with a B.A. in Social Policy, and received her J.D. from
the University of Maryland School of Law. Ms. Schwarcz, a practicing attorney, also holds an M.S.W. from the University
of Maryland School of Social Work. Her social work training provides her with deeper insight and a broadened capacity for
understanding both the social and economic effects of workplace discrimination on the firm’s clients.

Julie S. Selesnick

Julie S. Selesnick is Of Counsel at Cohen Milstein and a member of the firm's Employee Benefits/ERISA practice group,
where she represents the interests of employees, retirees, and plan participants and beneficiaries in ERISA cases in the
district court and on appeal. Her practice is currently focused on health care, where she is putting a decade of insurance
coverage experience to good use focusing on insurance carrier TPAs that exercise fiduciary duties under ERISA-covered
health plans. Ms. Selesnick is also a member of the firm’s COVID-19 Business Interruption Insurance Coverage Task Force.

Prior to joining Cohen Milstein in 2017, Ms. Selesnick was a trial attorney and a partner at a distinguished national defense
firm. Over the course of her career, Ms. Selesnick has represented clients in a variety of disputes before juries, federal and
state courts, arbitrators, and mediators throughout the country.

Ms. Selesnick is involved in the following high-profile disputes:

    •   St. Anthony Medical Center, Inc. Church Plan Litigation (N.D. Ill.): Cohen Milstein is representing St. Anthony
        Medical Center Retirement Plan participants and beneficiaries, who allege that defendants wrongfully claimed
        that the retirement plan was exempt from ERISA’s protections because it is a “Church Plan,” and, as such, does
        not comply with many of the protections afforded to plan participants under ERISA.
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    •   Scott, et al. v. UnitedHealth Group, Inc., et al. (D. Minn.): Cohen Milstein is representing a class of participants and
        beneficiaries of self-funded employee welfare benefit plans under which claims are administered by UnitedHealth
        and its wholly owned subsidiaries. The Complaint alleges that UnitedHealth breached its fiduciary duties under
        ERISA by engaging in “cross-plan offsetting” whereby it mixes more than $1 billion of assets from different
        employee health plans it administers to solve problems in its administration of other health plans.
    •   National Association for the Advancement of Colored People (NAACP) DACA Litigation (D.D.C.): Cohen Milstein is
        representing The NAACP in a race-based discrimination lawsuit against United States President, the U.S.
        Department of Justice, the Department of Homeland Security, and Immigration and Customs Enforcement for
        rescinding the Deferred Action for Childhood Arrivals (DACA) and adversely impacting the lives of millions of
        undocumented immigrants of color who are eligible to participate in DACA. It is the favorable district court Opinion
        in this case, vacating the DACA rescission memo, that the Supreme Court upheld in June 2020.
    •   COVID-19 Business Interruption Insurance Litigation: Cohen Milstein represents restaurants and small businesses
        across the United States in litigation against their property and casualty insurance providers for failing to cover
        their COVID-19-related business interruption losses.

Ms. Selesnick is an accomplished writer and has written numerous legal and non-legal articles blog posts, and contributed
to ERISA Litigation textbooks and cumulative supplements.
Ms. Selesnick graduated with a B.A., cum laude, from the San Diego State University and was elected Phi Beta Kappa and
Pi Sigma Alpha, and she received her J.D., from the George Washington University School of Law, Order of the Coif.

Maya Sequeira

Maya Sequeira is an Associate at Cohen Milstein and a member of the Public Client practice group. Ms. Sequeira’s practice
focuses on the representation of state attorneys general and other public-sector clients in investigations and litigation
involving consumer protection, Medicaid fraud, and other areas of enforcement that protect government interests and
vulnerable communities.

Ms. Sequeira’s current cases include:

    •   Opioids Crisis Litigation & Investigation: Ms. Sequeira represents the states of Indiana, New Jersey, and Vermont
        in investigations and litigation against entities responsible for the marketing, distribution and sale of opioids.
    •   Emoluments Litigation: Ms. Sequeira is a member of the legal teams in Citizens for Responsibility & Ethics in
        Washington v. Trump (S.D.N.Y.) and District of Columbia v. Trump (D. Md.), which seek to enjoin President Trump’s
        unconstitutional receipt of emoluments on behalf of restaurant and hotel plaintiffs and the Attorneys General of
        Maryland and the District of Columbia.

Prior to joining Cohen Milstein, Ms. Sequeira’s work focused on representing women in cases of gender and pregnancy
discrimination and employees in cases of race discrimination. Ms. Sequeira co-authored an amicus brief to the United
States Supreme Court in support of reasonable accommodations for working pregnant women. Ms. Sequeira also served
as Regional Voter Protection Director for Hillary For America and the Ohio Democratic Party during the 2016 presidential
campaign. She is currently a member of the Legal Services Corporation’s Emerging Leaders Council, created to raise public
awareness of the current crisis in legal aid and the importance of ensuring access to justice for all Americans.

Ms. Sequeira graduated from Columbia University with a B.A. in Political Science in 2005. She earned her J.D. from the
University of Michigan Law School in 2013. During law school, Ms. Sequeira was a law clerk for the California Department
of Justice, Corporate Fraud Division, and a legal intern with the San Diego County Public Defender.

Richard A. Speirs



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Richard A. Speirs is Of Counsel at Cohen Milstein and a member of the firm’s Securities Litigation & Investor Protection
practice group. He has worked on many of the mortgage-backed securities fraud cases that were successfully litigated by
the firm. Currently, in addition to litigating securities fraud cases, Mr. Speirs is principally responsible for developing and
litigating the firm’s derivative and merger-related lawsuits.

Since joining the firm, Mr. Speirs has litigated the following notable matters:

    •   Bear Stearns Mortgage Pass-Through Certificates Litigation: $505 million settlement by JPMorgan Chase & Co. to
        settle a class action litigation arising from Bear Stearns' sale of $27.2 billion of mortgage-backed securities that
        proved defective during the U.S. housing and financial crises.
    •   RALI MBS Litigation: $335 million settlement with Citigroup, Goldman Sachs and UBS. Cohen Milstein was lead
        counsel in a class action litigation alleging RALI and its affiliates sold shoddy MBS securities that did not meet the
        standards of their underwriters. Mr. Speirs was a critical member of the team of litigators, conducting fact
        discovery, deposing economic experts and preparing witnesses.
    •   Harborview MBS Litigation: $275 million settlement with Royal Bank of Scotland. Cohen Milstein was lead counsel
        in a complex case, in which presiding Judge Loretta A. Preska, of the U.S. District Court, Southern District of New
        York, commented on the “job well done” by the Cohen Milstein team.
    •   NovaStar Mortgage Backed Securities Litigation: $165 million settlement on behalf of investors in a Securities Act
        litigation involving billions of dollars of mortgage-backed securities underwritten by the Royal Bank of Scotland,
        Wachovia and Deutsche Bank.
    •   HEMT MBS Litigation: $110 million settlement on behalf of investors in mortgage-backed securities issued and
        underwritten by Credit Suisse after more than seven years of litigation, which included the first written decision
        certifying a Securities Act class of mortgage-backed securities in the country.
    •   Sino-Forest Corp. Securities Litigation: Cohen Milstein served as lead counsel for U.S. investors in securities fraud
        class action brought on behalf of investors in Sino-Forest Corp., a Canadian corporation, which achieved $150
        million in settlements from numerous defendants.
    •   Intuitive Surgical Inc. Derivative Litigation: Cohen Milstein was co-lead counsel in a now settled derivative action
        against the company’s directors and officers, asserting breaches of fiduciary duties and insider trading claims in
        connection with concealing regulatory compliance problems and safety defects in the company’s flagship product,
        the da Vinci robotic surgery system.
    •   Ocwen Financial Corp. Derivative Litigation: Cohen Milstein was co-lead counsel in a derivative action alleging that
        Ocwen’s board of directors breached their fiduciary duties by permitting a pervasive scheme of wrongdoing in
        violation of applicable federal and state consumer financial protection laws. The defendants had exposed Ocwen
        to substantial harm by concealing failures with respect to the Company’s compliance with regulations governing
        the servicing of mortgage loans, failing to establish adequate internal controls, permitting former Chairman and
        Chief Executive Officer to be involved in a series of improper self-dealing transactions and allowing insiders to
        trade on material adverse information. The litigation resulted in a settlement involving the adoption of significant
        corporate governance measures.

Mr. Speirs’ current notable matters include:

    •   Tower Research Capital: Representing Korean traders in a Commodity Exchange Act class action against a high
        frequency trading firm alleging manipulation of the market for KOSPI 200 futures contracts (the representative
        stock market index of South Korea and one of the most widely traded futures in the world) using spoofing or faked
        trades.
    •   New York State Common Retirement Fund, et al. v. Stephen A. Wynn, et al.: Representing the New York State
        Common Retirement Fund and the New York City Pension Funds in a derivative shareholder lawsuit against certain
        officers and directors of Wynn Resorts, Ltd. in light of their failure to hold Mr. Wynn, the former CEO and Chairman
        of the Board, accountable for his longstanding pattern of sexual abuse and harassment of Company employees.

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        The lawsuit seeks to preserve stockholder value in Wynn Resorts, Ltd. by strengthening procedures for responding
        to claims of harassment and creating stronger governance and risk management controls at the Board level.
    •   Mr. Speirs is also actively involved in several matters involving derivative claims and related books and records
        demands under Delaware or other relevant state laws.

In a career spanning more than 30 years, Mr. Speirs has been lead or co-lead attorney in a number of securities class
actions where the court has issued an important decision under the federal securities laws. Among the issues decided
were: the improper grouping of unaffiliated investors in a lead plaintiff motion (In re Telxon Corp. Securities Litigation, No.
5:98-cv-02876-KMO, 67 F. Supp. 2d 803 (N.D. Ohio 1999)); recommendation of default sanction against auditing firm for
discovery misconduct involving electronic audit work papers (Hayman v. PriceWaterhouseCoopers, No. 1:01-CV-1078,
2004 U.S. Dist. LEXIS 27295 (N.D. Ohio July 2, 2004)); and liability under Section 10(b) of a non-issuer for disclosures made
by the issuer (In re BP Prudhoe Bay Royalty Trust Securities Litigation, No. 2:06-cv-01505-MJP, 2007 U.S. Dist. LEXIS 83007
(W.D. Wash. Oct. 26, 2007)).

Mr. Speirs has appeared on numerous panels and legal events to discuss securities fraud and investor protection. He
attended Brooklyn College of the City University of New York, where he received a B.A., cum laude, and earned his J.D. at
Brooklyn Law School, where he earned the Order of the Coif.

Harini Srinivasan

Harini Srinivasan is an Associate at Cohen Milstein and a member of the firm’s Civil Rights & Employment Litigation
practice.

Prior to joining Cohen Milstein, Ms. Srinivasan was an associate at a highly respected plaintiff-focused employment
litigation firm, where she represented clients in employment discrimination cases involving claims under Title VII, the Age
Discrimination Act, the Americans with Disabilities Act, the Fair Labor Standards Act, and state and federal wage theft
statutes.

Prior to working in private practice, Ms. Srinivasan was a Georgetown Law Center Women’s Law and Public Policy Fellow
and worked at the National Partnership for Women & Families.

Ms. Srinivasan has authored and co-authored several articles for Law360 and Corporate Compliance Insight.

Ms. Srinivasan received her B.A., with honors, from the University of Chicago, and she received her J.D., cum laude, from
American University Washington College of Law, where she was on the editorial staff of the American University Journal
of Gender, Social Policy.

Paul Stephan

Paul Stephan is an Associate at Cohen Milstein and a member of the firm’s Consumer Protection practice. Mr. Stephan’s
practice focuses on litigating class actions on behalf of consumers who have been misled, deceived or harmed by large
corporations.

Mr. Stephan is involved in the following high-profile litigation:

    •   In re MGM Resorts International Data Breach Litigation (D. Nev.): On February 1, 2021, the court appointed
        Cohen Milstein as Co-Lead Interim Class Counsel in this consolidated data breach class action against MGM
        Resorts related to the July 2019 data breach of personal information of between 10.6 million and 142 million
        MGM customers.


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    •   COVID-19 Business Interruption Insurance Litigation: Cohen Milstein represents restaurants and small
        businesses across the United States in litigation against their property and casualty insurance providers for
        failing to cover their COVID-19-related business interruption losses.
    •   Ariza v. Luxottica Retail North America (LensCrafters) (E.D.N.Y.): Cohen Milstein represents purchasers of
        LensCrafters’ Accufit Digital Measurement System (Accufit) services, who allege that LensCrafters used false,
        misleading advertising and deceptive sales practices about Accufit being “five times more accurate” in
        measuring pupillary distance than traditional methods, to induce customers to purchase LensCrafters higher-
        priced prescription lens products.
    •   Edenville and Sanford Dam Failure Litigation (Mich. Claims Crt.; Saginaw Circ. Crt.): Cohen Milstein represents
        residents and businesses in Midland and Saginaw County, MI in two property damage lawsuits against Michigan
        government agencies for their mismanagement of the Edenville and Sandford dams, the subsequent failure of
        the dams, and the resultant catastrophic flooding.
    •   Reed, et al. v. USA (E.D. Tenn.): Cohen Milstein represents plaintiffs in a wrongful death and property damage
        mass action against the U.S. Department of Interior and National Park Service for employee negligence related
        to the handling of the Chimney Tops 2 Fire in the Great Smoky Mountains National Park, which destroyed more
        than 2,500 homes and buildings, and killed 14 people in 2016.

Prior to joining Cohen Milstein, Mr. Stephan was a law clerk for the Honorable Anne E. Thompson of the United States
District Court for the District of New Jersey.

Mr. Stephan is the author of an article on arbitration that is forthcoming in the University of Memphis Law Review.

Mr. Stephan earned his B.A., summa cum laude and Phi Beta Kappa, from University at Buffalo, The State University of
New York. Mr. Stephan received his J.D., magna cum laude, Order of the Coif, from University of Pennsylvania Law
School, where he was a Comments Editor of the University of Pennsylvania Law Review.

While attending law school, Mr. Stephan was also a law clerk for the U.S. Government Accountability Office, Office of
General Counsel.

Daniel R. Sutter

Daniel R. Sutter is an Associate at Cohen Milstein and a member of the Firm’s Employee Benefits practice group. In his
role, Mr. Sutter represents the interests of employees, retirees, plan participants and beneficiaries in ERISA cases across
the country.

Prior to becoming an Associate at the firm, Mr. Sutter served as a Legal Fellow in the Employee Benefits practice. In this
role he investigated, developed, and drafted complaints against major financial institutions for ERISA violations involving
complex investment vehicles. Mr. Sutter’s previous experience at Cohen Milstein also includes serving as a Law Clerk
(2013-2016) and as an Analyst (2010-2016); in both roles he researched potential cases for various practice groups. During
2015, Mr. Sutter served as a law clerk at the Consumer Financial Protection Bureau, Legal Division.

Mr. Sutter attended George Washington University, graduating with a B.A. in Finance in 2010. He earned his J.D. from the
George Washington University Law School in 2016. During law school, Mr. Sutter was a member of the Federal Circuit Bar
Journal. He also studied at the London School of Economics.

Susan G. Taylor

Susan G. Taylor is Of Counsel at Cohen Milstein and a member of the firm’s Securities Litigation & Investor Protection
practice, where she brings to bear more than 19 years of litigation and trial experience prosecuting high profile securities
fraud, consumer fraud, and antitrust class action claims.
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Prior to joining Cohen Milstein, Ms. Taylor was a partner at a highly regarded national securities litigation firm, where she
recovered over $2.5 billion for shareholders from many of the largest corporations in the United States. In addition to her
substantial trial experience, Ms. Taylor has overseen the successful mediation of numerous securities fraud cases of all
sizes.

Prior to working in the private section, Ms. Taylor was a Special Assistant U.S. Attorney in the Southern District of
California, San Diego, where she focused on criminal prosecutions, as well as a Staff Attorney at the San Diego County
District Attorney’s Office.

Ms. Taylor volunteers at the Mid-Atlantic Innocence Project as a Case Screener and is a former member of the Board of
Directors of the Istanbul International Community School (2014 – 2017). She was named a California Super Lawyer in 2015
and 2016.

Ms. Taylor earned her B.A. from The Pennsylvania State University, and she received her J.D. from The Catholic University
Columbus School of Law.


Catherine A. Torell

Catherine A. Torell is the Director of Securities Research and Analysis at Cohen Milstein and is a member of the Securities
Litigation & Investor Protection practice group. As Director of Securities Research and Analysis, Ms. Torell has the exclusive
role of analyzing every securities case that is brought to the firm.

Ms. Torell is also responsible for thoroughly researching the factual and legal merits of all of the federal securities fraud
class actions filed in the United States. Based on her research, she generates written analyses to evaluate the merits of
each case for the firm’s Case Evaluation Committee and assesses the potential importance of the case to the firm’s clients.
As a result, she has played an integral role in helping to cultivate and significantly expand the Cohen Milstein’s investor
client base.

Ms. Torell also prepares the written analyses that are sent to the firm’s institutional clients. Those analyses describe and
evaluate the merits of the cases in which those clients have sustained substantial losses and include a recommendation
as to whether the firm believes the client should pursue a lead plaintiff role in the case.

Prior to focusing exclusively on her current role, Ms. Torell also actively participated in many of the firm’s notable securities
class actions, including In re Parmalat Securities Litigation 376 F. Supp. 2d 472 (S.D.N.Y. 2005).

Ms. Torell has been practicing law for more than 25 years. Prior to joining Cohen Milstein, Ms. Torell was counsel at a
number of prominent plaintiffs’ class action firms, serving in co-lead and leadership positions in numerous successful class
action cases that resulted in settlements collectively totaling hundreds of millions of dollars for the clients she
represented. She served as a co-lead counsel in In re Providian Financial Securities Litigation, which resulted in a $38
million settlement. In approving the settlement, the Court remarked on the "extremely high quality" and "skill and
efficiency" of plaintiffs' counsel's work throughout the litigation.

Ms. Torell attended Stony Brook University, receiving a B.A., magna cum laude, in Political Science, and earned her J.D.
from St. John's University School of Law, where she was the recipient of the Federal Jurisprudence Award.

Jessica Weiner



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Jessica Weiner is an Associate at Cohen Milstein and a member of the Antitrust practice group. In this role, Ms. Weiner
represents a broad range of individuals and businesses in civil litigation, with a focus on multi-district class actions and
antitrust litigation.

In 2019, Ms. Weiner was presented with the American Antitrust Institute’s “Outstanding Antitrust Litigation Achievement
Award,” recognizing outstanding antitrust lawyers under the age of 40.

Currently, Ms. Weiner is involved in the following notable cases:

    •   Sutter Health Antitrust Litigation (Sup. Crt., San Fran. Cty., Cal.): Cohen Milstein is part of a small team of firms
        representing a certified class of self-funded employers and union trust funds against Sutter Health, a large hospital
        chain in Northern California, for restraining hospital competition through anticompetitive contracting
        agreements. In October 2019, on the eve of trial, the case settled for $575 million and comprehensive injunctive
        relief, subject to approval by the court.
    •   In re Flint Water Crisis Class Action Litigation (E.D. Mich.): Cohen Milstein is Interim Co-Lead Class Counsel for a
        group of related class action lawsuits filed in federal court on behalf of Flint, Michigan residents and businesses
        harmed by exposure to toxic levels of lead and other hazards from the city’s drinking water. In August 2020, the
        State of Michigan agreed to a $600 million settlement with the proposed class and other plaintiffs, subject to court
        approval.

Ms. Weiner was involved in the past notable cases:

    •   In re Dental Supplies Antitrust Litigation (E.D.N.Y.): Cohen Milstein was Co-Lead Counsel on this price fixing
        antitrust class action in which dental practices and laboratories alleged that the three largest dental supply and
        equipment distributors in the U.S. fixed price margins and pressured manufacturers to squeeze out competitors,
        resulting in artificially inflated prices for dental supplies and equipment. In June 2019 the court granted final
        approved of an $80 million settlement.

Prior to joining Cohen Milstein, Ms. Weiner clerked for the Honorable Helene N. White of the U.S. Court of Appeals for
the Sixth Circuit. She also clerked for the Honorable Lawrence E. Kahn of the U.S. District Court for the Northern District
of New York.

Ms. Weiner graduated from Cornell University with a B.A. in Industrial and Labor Relations in 2009. She received her J.D.
from Harvard Law School, cum laude, in 2014. During law school, Ms. Weiner served as an Article Editor and Online Editor
of the Harvard Journal of Law & Gender.




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